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EXHIBIT 1
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of California [|
Mickelson, et al.,
Plaintiff
v. ) Civil Action No, 5°22-¢v-04486-BLF
PGA Tour, inc. ~
Defendant )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Clout Public Affairs, LLC, c/o: David C, Polyansky, 411 First St SE, Washington, DC 20003

(Name of person to whom this subpoena is dir ected)

4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the

material:
Those set forth in the attached rider.

Place: | . | Date and Time:
Quinn Emanuel Urquhart & Sullivan, LLP, 1300 U St NW

#900, Washington, DC 20005 | 41/30/2022 5:00 pm

C1 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it,

pikes: ~ , — Date and Time:

The following provisions of Fed. R, Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: __ 11/2/2022

CLERK OF COURT
OR

. onl Nine /,

Signature of Clerk or + Deputy Clerk : Altar, nfl s is signet

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Plaintiff LIV Golf, Inc
. , who issues or requests this subpoena, are:
Kevin Teruya, 865 S. Figueroa St, 10th FI., L.A., CA 90017, kevinteruya@quinnemanuel.com 213-443-3000

Notice to the person who issues or requests this subpoena
if this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ, P, 45(a)(4).
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AQ 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises ina Civil Action (Page 2}

Civil Action No. §:22-cy-04486-BLF

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ, P. 45.)

l received this subpoena for (rame of individual and title, if any)

on (date)

7 Lserved the subpoena by delivering a copy to the named person as follows:

on (date) ; or

(1 I returned the subpoena unexecuted because:

Untess the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc.:

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AO 88B (Rev, 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c} Place of Compliance,

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A} within 100 miles of where the person resides, is empfoyed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer, or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, ts
employed, or regularly transacis business in person; and

(B) inspection of premises at the premises 10 be inspected.

(d) Protecting a Person Subject to 2 Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions, A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Conunand to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection usless also commarded to appear for a deposition,
hearing, of trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises---or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the lime specified for
compliance or 14 days after the subpoena is served. fan objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a parly’s officer from
significant expense resulting from compliance.

(3) Guashing or Modifying a Subpoena,

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i} fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 43(c),

(ii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies, or

{iv} subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information, or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party.

(C) Specifving Conditions as an Alternative. Ts the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions ifthe serving party:

(i shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

{e) Duties in Responding to a Subpoena,

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
If a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or it. a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form, The
person responding need not produce the same electronically stored
infornaation in more than one form.

(D) inaccessible Electronically Stored Information. ‘The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compe discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. [f that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b\(2)(C). The court may specrfy conditions for the discovery,

(2) Claiming Privilege or Protection.

{A} Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B} Jaformation Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

{g) Contempt.

The court for the district where compliance is required—and also, after 2
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

For access to subpoena materials, see Fed, R. Civ. P. 45(a} Committee Note (2013).

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JOHN B. QUINN, SBN 90378
johnquinn@quinnemanuel.com

DOMINIC SURPRENANT, SBN 165861
dominicsurprenant@quinnemmanuel.com

KEVIN TERUYA, SBN 235916
kevinteruya@quinnemanuel.com

QUINN EMANUEL URQUHART & SULLIVAN

LLP

865 South Figueroa Street, 10th Floor

Los Angeles, California 90017

Telephone: 213.443.3000

ROBERT P. FELDMAN, SBN 69602
bobfeldman@quinnemanuel.com

555 Twin Dolphin Dr., 5th Floor

Redwood Shores, California 94065

Telephone: 650.801.5000

Facsimile: 650.801.5100

Attorneys for Plaintiffs Matt Jones, Bryson
DeChambeau, Peter Uihlein, and LIV Golf, Inc.

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

PHIL MICKELSON, TALOR GOOCH,
HUDSON SWAFFORD, MATT JONES,
BRYSON DECHAMBEAU, IAN POULTER,
PETER UIHLEIN, and LIV Golf, INC.,
Plaintiffs,
¥.

PGA TOUR, INC.,

Defendant.

Plaintiff LIV Golf, Inc., by and through its

be served on Clout Public Affairs, LLC (“Clout”), commanding that all documents and tangible things
that are in Clout’s possession, custody, or control and responsive to the following Requests be produced

for inspection and/or copying by November 30, 2022, at 5:00 pm to Quinn Emanuel Urquhart &

Civil action NO. 5:22-cv-04486-BLF

RIDER TO SUBPOENA TO PRODUCE
DOCUMENTS IN A CIVIL ACTION TO
CLOUT PUBLIC AFFAIRS, LLC

attorneys, hereby causes the attached subpoena to

Sullivan, LLP, 1300 U St NW #900, Washington, DC 20005.

This subpoena for documents relates to the above-captioned action, a lawsuit pending in the

United States District Court for the Northern District of California. Attached as Exhibit A is the

Amended Complaint.

10710.00001/13713454.4 |

RIDER TO SUBPOENA TO PRODUCE DOCUMENTS TO CLOUT PUBLIC AFFAIRS, LLC
CASE NO. 5:22-cv-04486-BLF

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Each of the following Requests is to be read in accordance with the Definitions and Instructions

that follow.
DEFINITIONS
1. For purposes of these Requests and the instructions thereto, the following definitions
apply:
2, “Clout,” “You,” “Your” or any variant thereof means Clout Public Affairs, LLC; its

predecessors and successors; its past and present officers, employees, and representatives; and
individuals and entities who act, have acted, or have purported to act on Your behalf.

3, “Communication,” or any variant thereof, means any contact between two or more
persons by which any information or knowledge is transmitted or conveyed, or is attempted to be
transmitted or conveyed, between two or more persons and shall include, without limitation, written
contact by means such as emails, text messages, iMessages, WhatsApp messages, Slack messages,
Facebook Messenger, Google Chat, Viber, Signal, Line, WeChat, Snapchat, Telegram, Microsoft
Teams, Zoom, social media direct messages, instant messages, letters, memoranda, telegrams,
telecopies, telexes, or any other document, and any oral contact, such as face-to-face meetings or
telephone conversations.

4, “Document” includes the original and each non-identical copy of any written, printed,
typed, filmed, recorded (electronically or otherwise), or other graphic matter of any kind or description,
photographic matter, sound recordings, or reproductions, however produced or reproduced, whether
draft or final, as well as any summarization, compilation, or index of any documents. The term
“document” includes, but is not limited to, letters, memoranda, reports, evaluations, x-rays, work
records, studies, analyses, tabulations, graphs, logs, work sheets, work papers, medical records,
correspondence, photographs, videotapes, films, slides, negatives, summaries, files, records,
Communications, agreements, contracts, invoices, checks, journals, ledgers, telegrams, telexes, hand-
written notes, periodicals, pamphlets, computer or business machine printouts, accountants’ work
papers, accountants’ statements and writings, notations or records of meetings, printers’ galleys, books,
papers, speeches, public relations issues, advertising, materials filed with government agencies, office

manuals, employee manuals or office rules and regulations, reports of experts, and any other written

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RIDER TO SUBPOENA TO PRODUCE DOCUMENTS TO CLOUT PUBLIC AFFAIRS, LLC
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matter. A draft or non-identical copy is a separate document within the meaning of this term.
Documents shall include any Communication memorialized in written, electronic, or recorded means.

5. “Lawsuit” means the above-captioned action pending in the U.S. District Court for the
Northern District of California.

6. “LIV Golf’ means Plaintiff LIV Golf, Inc., LIV Golf, Ltd., LIV Golf, Holdings Ltd.,
LIV Golf Investments Ltd., LIV Golf, LIV Golf International Series, LIV Golf Invitational Series, and
includes its past and present directors, officers, agents, predecessors, successors, assigns, legal
representatives, non-legal representatives, personal representatives, investors, general partners, limited
partners, employees, subsidiaries and parent companies, sister companies, and affiliated entities, and
also includes individuals and entities who act, have acted, purport to act, or have purported to act on
behalf of LFV Golf Inc. “LIV Golf” also includes any term, nickname, codename, project name or
abbreviation that relate to LIV Golf or are used by You or Your agents to refer to LIV Golf.

7, “Person” means any natural person or any legal entity, including, without limitation,
any business or governmental entity or association.

8. “PGA Tour” or any variant thereof, means Defendant PGA Tour, Inc., and includes its
past and present directors, officers, agents, commissioners, predecessors, successors, assigns, legal
representatives, non-legal representatives, personal representatives, attorneys, general partners, limited
partners, employees, subsidiaries and parent companies, sister companies, and affiliated entities, and
also includes individuals and entities who act, have acted, purport to act, or have purported to act on
behalf of PGA Tour, Inc.

9, “Saudi Arabia” or any variant thereof, means the Kingdom of Saudi Arabia; its
government; officials; branches; and individuals and entities who act, have acted, purport to act, or
have purported to act on behalf of the Kingdom of Saudi Arabia, such as the Public Investment Fund
of Saudi Arabia.

10. The phrases “relate to,” “related to,” and “relating to,” or any variant thereof, include,
but are not limited to, the following meanings: referring to, supporting, located in, considered in
connection with, bearing, bearing on, evidencing, indicating, reporting on, recording, alluding to,

responding to, concerning, opposing, favoring, connected with, commenting on, in respect of, about,

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RIDER TO SUBPOENA TO PRODUCE DOCUMENTS TO CLOUT PUBLIC AFFAIRS, LLC
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regarding, discussing, showing, describing, reflecting, analyzing, constituting, and being.

11. “9/11 Families United” or any variant thereof, means the organization comprised of
the coalition of families demanding legislative action and disclosure of information regarding the 9/11
attacks and includes its past and present directors during the period in which they were directors,
officers, agents, predecessors, successors, assigns, legal representatives, nonlegal representatives,
personal representatives, general partners, limited partners, employees, subsidiaries and parent
companies, sister companies, and affiliated entities, and also includes individuals and entities who act,
have acted, purport to act, or have purported to act on behalf of 9/11 Families United. “9/11 Families
United” also includes any term, nickname, codename, project name, or abbreviation that relate to 9/11
Families United or are used by You or Your agents to refer to 9/11 Families United.

12. “9/11 Justice” or any variant thereof, means 9/11 Justice, Inc. and the organization
comprised of the coalition of families demanding legislative action and disclosure of information
regarding the 9/11 attacks and includes its past and present directors during the period in which they
were directors, officers, agents, predecessors, successors, assigns, legal representatives, nonlegal
representatives, personal representatives, general partners, limited partners, employees, subsidiaries
and parent companies, sister companies, and affiliated entities, and also includes individuals and
entities who act, have acted, purport to act, or have purported to act on behalf of 9/11 Justice. “9/11
Justice” also includes any term, nickname, codename, project name, or abbreviation that relate to 9/11
Justice or are used by You or Your agents to refer to 9/11 Justice.

13. For purposes of interpreting or construing the scope of the Requests contained herein,
the terms contained in such Requests shall be given their most expansive and inclusive interpretation.
In order to bring within the scope of these Requests all information that might otherwise be construed
to be outside of their scope, the following rules of construction apply:

a. the singular shall include the plural and vice versa;

b. the masculine, feminine or neuter pronoun shall! not exclude other genders;

c. the connectives “and” and “or? shall be construed either disjunctively or
conjunctively as necessary to bring within the scope of the Request all responses

that might otherwise be construed to be outside its scope;

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RIDER TO SUBPOENA TO PRODUCE DOCUMENTS TO CLOUT PUBLIC AFFAIRS, LLC
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d. the terms “any,” “all,” and “each” shall each be construed as encompassing any and
all;
e. the word “including” shall be read to mean including without limitation;
f. the present term shall be construed to include the past term and vice versa; and
g. references to employees, officers, directors, or agents shall include both current and
former employees, officers, directors, and agents.
14. Notwithstanding the above, for any undefined term which You reasonably and on a
good faith basis contend is vague or ambiguous, You shall apply the ordinary, dictionary definition of
said term. Vagueness or ambiguity in this respect shall not be a basis for You to withhold or otherwise

fail to search for and produce otherwise responsive Documents.

INSTRUCTIONS

1. Ail Documents requested herein must be produced in their entirety, with all attachments
and enclosures, regardless of whether You consider the attachments and enclosures to be relevant or
responsive to the Request, and regardless of whether the Document has already been produced by a
different party in this Lawsuit.

2. in responding to these Requests, You shall produce all documents and information in
Your possession, custody, or control, and all documents reasonably available to You, including those
in the possession, custody, or control of Your present and former attorneys, consultants, investigators,
accountants, agents, representatives, or other persons acting on Your behalf.

3. These Requests shall not be deemed to call for identical copies of documents.
“Identical” means precisely the same in all respects; for example, a document with handwritten notes
or editing marks shall not be deemed identical to one without such notes or marks.

4, Responsive Documents and Communications are to be clearly designated so as to reflect
their owner and/or custodian and the location from where they were produced.

5. In the event You are able to produce only some of the Documents called for in a

particular Request, You shall produce all the Documents available and state the reason(s) for inability

to produce the remainder.

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RIDER TO SUBPOENA TO PRODUCE DOCUMENTS TO CLOUT PUBLIC AFFAIRS, LLC
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6. If there are no Documents responsive all or part of a Request, You shall so state in
writing. If a Document requested is no longer existing or available, You shall so state in writing, and
identify in detail why such Documents are unavailable.

7, If You object to a portion of any Request, You shall produce all Documents called for
by that portion of the Request to which You do not object.

8. No paragraph contained in these Requests shall be construed with reference to any other
paragraph for purposes of limitation.

9. Documents and Communications responsive to a Request shall be produced as they have
been kept in the ordinary course of business, including the file labels and other identifying information
concerning the source or custodian of the Document or Communication.

10. Ifany Document or Communication requested herein is withheld from production under
a claim of privilege or legal protection against disclosure, state for each Document or Communication
not produced:

a, The nature of the privilege or other ground for protection against disclosure (including
work product) that is being claimed and, if the privilege is governed by state law, the
state privilege rule being invoked; and

b. The following information:

i, the type of Document or Communication withheld (e.g., letter or memorandum);

il. the general subject matter of the Document or Communication sufficient to
support and explain the basis for the privilege claimed;

ili. the date of the Document or Communication;

iv. the author of the Document or Communication, the addressees of the Document
or Communication, and any other recipients, and, where not apparent, the
relationship of the author, addressees and recipients to each other; and

v. the relationship of the author to each addressee and recipient.

11, If information is redacted from a Document or Communication produced in response to
a Request, identify the redaction by stamping the word “Redacted” on the Document or

Communication at each place where information has been redacted and by separately logging each

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RIDER TO SUBPOENA TO PRODUCE DOCUMENTS TO CLOUT PUBLIC AFFAIRS, LLC
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redaction on a privilege log or other written statement of the grounds for assertion of privilege or other
legal protection against disclosure.

12. _ All objections to any category of Documents and Communications to be produced
pursuant to this Request must be made in a written response served on counsel for LIV Golf, Inc, For
each item or category as to which You object in whole or in part, the response must state with specificity
the grounds for objecting to the Request, including the reasons, and state whether any responsive
materials are being withheld on the basis of that objection. An objection to part of a Request must
specify the part and permit inspection of the rest. An objection may state that a Request is overbroad,
but if the objection recognizes that some part of the Request is appropriate, the objection shall state the
scope that is not overbroad.

13. Copies of all electronic media, computer tapes, disks (hard or floppy), cards, files, CD-
ROMs, DVDs or other storage media containing information or data responsive to the Requests herein
must be made (and, if necessary, translated by the respondent into reasonably usable form) and
produced,

14. In producing responsive Documents and Communications, paper Documents and
Communications should be scanned at a resolution of 300 dots per inch, producing the following:

a. Single-page “.TIF” image files with Group IV compression. Each .TIF image will be
endorsed in the lower-right corner with a unique production number and each .TIF file
name will be identical to that production number.

b. An IPRO “.LFP” image load file containing the physical document boundaries of the
original paper documents.

c. A “.TXT” file containing the OCR (optical character recognition) text of either each
imaged page or cach document. Each .TXT file will be named the same as its
corresponding .TIF file or as the corresponding . TIF file of the first page of the relevant
document.

15, In producing responsive Documents and Communications, electronically-stored

information (including, but not limited to, e-mail, web pages, and .html files) should be retrieved in its

native format or formats and produced either in the native format or formats in which it is ordinarily

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RIDER TO SUBPOENA TO PRODUCE DOCUMENTS TO CLOUT PUBLIC AFFAIRS, LLC
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maintained or in a reasonably usable form in accordance with ES! Production Specifications to be
agreed among the parties.

16. Restate in Your written responses and objections to these Requests each specific
Request immediately prior to stating Your answer to that specific Request.

17... Where any Request seeks Documents relating to an allegation in the Amended
Complaint, You shall produce such Documents regardless of whether they predate or postdate the date
of the allegation.

18. These Requests are to be deemed continuing Requests, and documents and information
that are responsive but are discovered subsequent to an initial production should nevertheless be
promptly produced in the same manner, and at the same address, as the initial production.

19. Unless otherwise specified in a particular Request, the time period relevant for these

Requests is January 1, 2019 to the present.

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RIDER TO SUBPOENA TO PRODUCE DOCUMENTS TO CLOUT PUBLIC AFFAIRS, LLC
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REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO, 1:

All Communications with the PGA Tour related to Saudi Arabia, LIV Golf, the September 11,
2001 terrorist attacks, Phil Mickelson, 9/11 Families United, 9/11 Justice, or this lawsuit.

REQUEST FOR PRODUCTION NO. 2:

All Documents, Communications, bills, and invoices related to consulting services provided to
the PGA Tour, whether formal or informal, paid or unpaid, related to Saudi Arabia, LIV Golf, the
September | 1, 2001 terrorist attacks, Phil Mickelson, 9/11 Families United, 9/11 Justice, or this lawsuit.

REQUEST FOR PRODUCTION NO. 3:

Ail Documents and Communications related to any public affairs campaign you have
conducted related to LIV Golf, any golfer who has participated in a LIV Golf tournament, or this

lawsuit.

REQUEST FOR PRODUCTION NO. 4:

All Documents and Communications related to any coalition development you have
conducted related to LIV Golf, any golfer who has participated in a LIV Golf tournament, or this

lawsuit,

REQUEST FOR PRODUCTION NQ. 5:

All Documents and Communications related to any strategic & crisis communications you
have conducted related to LIV Golf, any golfer who has participated in a LIV Golf tournament, or

this lawsuit.

REQUEST FOR PRODUCTION NO. 6:

All Documents related to any competitive research you have conducted related to LIV Golf,

any golfer who has participated in a LIV Golf tournament, or this lawsuit.

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RIDER TO SUBPOENA TO PRODUCE DOCUMENTS TO CLOUT PUBLIC AFFAIRS, LLC
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REQUEST FOR PRODUCTION NO. 7:

All Communications with 9/11 Families United, 9/11 Justice, or anyone associated with either
(e.g., agents, members, officers, directors, employees, or associates) related to Saudi Arabia, the PGA

Tour, LIV Golf, the September 11, 2001 terrorist attacks, Phil Mickelson, protests, or this lawsuit.

DATED: November 1, 2022 Respectfully submitted,

/s/ Kevin Teruya
Kevin Teruya
Quinn Emanuel Urquhart & Sullivan LLP

COUNSEL FOR PLAINTIFF LIV GOLF INC.

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RIDER TO SUBPOENA TO PRODUCE DOCUMENTS TO CLOUT PUBLIC AFFAIRS, LLC
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RACHEL S. BRASS, SBN 219301
rbrass@gibsondunn,com

GIBSON, DUNN & CRUTCHER LLP

555 Mission Street, Suite 3000

San Francisco, California 94105-0921

Telephone: 415.393.8200

Facsimile: 415.393.8306

ROBERT C. WALTERS, pre hac vice
rwalters@gibsondunn.com

GIBSON, DUNN & CRUTCHER LLP

2001 Ross Avenue, Suite 2100

Dallas, Texas 75201-2911

Telephone: 214.698.3100

JOHN B. QUINN, SBN 90378
johnquinn@quinnemanuel.com

QUINN EMANUEL URQUHART & SULLIVAN

LLP

865 South Figueroa Street, 10th Floor

Los Angeles, California 90017

Telephone: 213.443.3000

ROBERT P. FELDMAN, SBN 69602
bobfeldman@quinnemanuel.com

QUINN EMANUEL URQUHART & SULLIVAN
LLP

555 Twin Dolphin Dr., 5th Floor

Redwood Shores, California 94065

Telephone: 650.801.5000

Facsimile: 650.801.5100

Attorneys for Plaintiffs Talor Gooch, Hudson
Swafford, Matt Jones, Bryson DeChambeau, Ian
Poulter, Peter Uthlein, and LIV Golf Inc.

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WILLIAM V. ROPPOLO, pro hae vice
william.roppolo@bakermckenzie.com

BAKER McKENZIE LLP

1111 Brickell Avenue, Suite 1700

Miami, Florida 33131 USA

Telephone: 305.789.8900

Attorneys for Phil Mickelson

(additional counsel on signature page)

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

PHIL MICKELSON, TALOR GOOCH,
HUDSON SWAFFORD, MATT JONES,
BRYSON DECHAMBEAU, IAN POULTER,
PETER UIHLEIN, and LIV GOLF INC.
Plaintiffs,
v.

PGA TOUR, INC.,

Defendant.

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AMENDED COMPLAINT
JURY TRIAL DEMANDED

AMENDED COMPLAINT - DEMAND FOR JURY TRIAL
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With knowledge as to their own conduct and on information and belief as to all other matters,
Plaintiffs Phil Mickelson, Talor Gooch, Hudson Swafford, Matt Jones, Bryson DeChambeau, lan
Poulter, Peter Uihlein, and LIV Golf Inc. (“LIV Golf”) (collectively, “Plaintiffs’”) allege:

INTRODUCTION

l. The PGA Tour, Inc. (sometimes “the Tour”) began when Jack Nicklaus, Arnold Palmer,
and other elite golfers in the 1960s determined the PGA of America was not compensating them their
market value; they split off the Players Tournament Division and formed the Tour, a tax-exempt entity
organized ostensibly to “promote the common interests of professional tournament golfers.” From that
seemingly laudable origin, the Tour has evolved into an entrenched monopolist with a vice-grip on
professional golf. As the Tour’s monopoly power has grown, it has employed its dominance to craft
an arsenal of anticompetitive restraints to protect its long-standing monopoly. Now, threatened by the
entry of LIV Golf, and opposed to its founding mission, the Tour has ventured to harm the careers and
livelihoods of any golfers, including Plaintiffs Phil Mickelson, Talor Gooch, Hudson Swafford, Matt
Jones, Bryson DeChambeau, [an Poulter, and Peter Uihlein (“Player Plaintiffs”), who have the temerity
to defy the Tour and play in tournaments sponsored by the new entrant. The Tour has done so to crush
nascent competition before it threatens the Tour’s monopoly.

2. Before LIV Golf's entry, golfers who sold their services in the elite professional golf
services market had no meaningful option but to play on the Tour if they wanted to pursue their
profession at the highest levels. This provided the Tour with enormous power over the players,
including the ability to force players into restrictive terms that foreclose them from playing in
competing events and the ability to suppress player compensation below competitive levels. Members
of the Tour receive a lower percentage of the Tour’s revenues than professional athletes in other major
sports, even though the Tour is a tax-exempt non-profit corporation and other major sports leagues are
for-profit enterprises. This control has also given the Tour the power to impose restrictions on
players—who are independent contractors but are denied independence by the Tour-—-that make it risky
and costly for players to affiliate with another promoter and prohibitively difficult for any would-be
entrant to challenge the Tour’s monopoly. And, in its response to LIV Golf’s competitive challenge,

the Tour has exercised this power by punishing the players to choke off the supply of elite professional

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golfers-—an essential input to LIV Golf’s competitive challenge—and cement its dominance over the
sport. The Tour’s monopoly power has also allowed it to weaken golf itself, by its failure to innovate
and broaden the game’s appeal and bring the game into the 21st century.

3. As part of its orchestrated plan to defeat competition, the Tour has threatened lifetime
bans on players who play in even a single LIV Golf event. It has backed up these threats by imposing
unprecedented suspensions on players (including the Player Plaintiffs) that threaten irreparable harm
to the players and their ability to pursue their profession. It has threatened sponsors, vendors,
broadcasters, and agents to coerce players to abandon opportunities to play in LIV Golf events. And it
has orchestrated a group boycott with the European Tour,’ which is unlawful under either the per se
rule or the Rule of Reason, to amplify the Tour’s anticompetitive attacks and foreclose LIV Golf from
having access to players. The PGA Tour also has leaned on other entities in the so-called golf
“ecosystem,” including certain entities that put on golf’s “Majors,” to do its bidding in its effort to
maximize the threats and harm to any golfer who defies the Tour’s monopsonistic requirements and
plays in LIV Golf events.

4. The Tour’s unlawful strategy has been both harmful to the players and harmful to LIV
Golf in threatening its otherwise-promising launch. For example, the Tour’s conduct caused LIV Golf
to cancel its 2022 business plan to launch its full competing League. LIV Golf was not deterred,
however, and it changed its 2022 strategy and launched a smaller version of its concept—the LIV Golf
Invitational Series—with no League, no franchises, no broadcast deal, fewer elite players, and fewer
tournaments. Some players (including Player Plaintiffs) were interested nonetheless. So, in response,
the Tour ratcheted up its strategy and doubled-down on its efforts to punish Plaintiffs and to protect its
monopoly. The Tour (1) enforced its unlawful player restrictions that deny players (including Player
Plaintiffs) the ability to sell their services to others, (2) imposed lengthy suspensions on players for

exercising their right as independent contractors to play in a competing promoter’s events, and (3)

| ‘The European Tour recently changed its name to DP World Tour, but, because it was called
European Tour for most of the time period relevant to this case and in most of the relevant

documents, it is referred to herein as the European Tour for consistency and clarity.
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ramped up its threats targeting Player Plaintiffs and others. The Tour has likewise threatened and
blacklisted numerous other third parties with whom LIV Golf has sought to contract, in its effort to
defeat LIV Golf’s entry and entrench its monopoly.

5. The Tour’s conduct serves no purpose other than to cause harm to players and LIV Golf,
and foreclose the entry of the most meaningful competitive threat the Tour has ever faced. Banning
Player Plaintiffs and other top professional golfers from its own events degrades the Tour’s strength of
field and diminishes the quality of the product that it offers to golf fans by depriving them from seeing
many top golfers participate in Tour events. The only conceivable benefit to the Tour from degrading
its own product in this manner is the destruction of competition. Indeed, the Tour has conceded its
anticompetitive purpose in attacking and injuring the players. When the Tour adjusted its rules to
render them more effective in defeating competitive entry, a memorandum authored by PGA Tour
Commissioner Jay Monahan made clear that the rule change was expressly designed to enable the Tour
to foreclose competition. And when the Tour imposed unprecedented punishments on the players for
playing in LIV Golf events, the Tour explained to the players that it was doing so precisely because
LIV Golf is attempting to compete with the Tour.

6. Player Plaintiffs have devoted the bulk of their professional careers to growing the PGA
Tour. Yet the Tour has repaid them of late with suspensions, punishments, threats, and disparagement
for merely playing professional golf for another promoter and embracing competition for their services.
The Tour has denied them income-earning opportunities, attacked their goodwill and reputation,
interfered with their businesses, attacked their business partners, threatened them with multiple
punishments—including threats to deny them from participating in golf’s marquee events, even when
they have earned placement or exemptions to participate in those tournaments—and unlawfully
prevented them from exercising their independent contractor rights, And, at every step, the Tour has
repeatedly admitted that it has done this to destroy nascent competition.

7. The Tour long stood alone as the only tour anywhere in the world that features the best
golfers in the world. The PGA Tour Commissioner Jay Monahan boasted on June 22, 202? that the
“Tour is doing everything it possibly can. . . [to] mak[e] certain that the best players in the world are

competing on the best Tour in the world, the PGA Tour.” The Tour has ensured that remains the case

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through its anticompetitive PGA Tour Player Regulations. First, the Tour’s Conflicting Events
Regulation prohibits its members from participating “in any other golf tournament or event” in North
America, without exception, if a Tour-sanctioned event is scheduled in the same week, regardless of
whether the players would otherwise have any plans to participate in the Tour’s sanctioned event. The
Tour has a sanctioned event almost every week of the year, hence the Conflicting Event Regulation
effectively prohibits Tour members from playing in any non-Tour golf event in North America. The
effect is both a naked restraint on competition and a reduction in output, as Tour members are
forectosed from playing anywhere else when they are not playing in Tour events. For international
tours or events, a player may request up to three exemptions a year, but the Tour Commissioner has
complete discretion whether to grant these exemptions, something he has refused to do for each of the
LIV Golf events. The Conflicting Events Regulation thus invests the leader of the incumbent
monopolist with unbridled discretion to foreclose players from participating in any competing events.
And while the Tour has historically granted releases to players that allow them to compete in other
events throughout the world, Tour Commissioner Monahan has taken a different stance regarding LIV
Golf, denying event releases even for LIV Golf events overseas. As Commissioner Monahan admitted,
he has departed from past practice in prohibiting members from participating in LIV Golf events
outside North America because LIV Golf plans to compete with the Tour. And he has enforced the
Conflicting Events Regulation to deny players permission to participate in LIV Golf events in North
America because LIV Golf’s North American events compete with the Tour,

8. Second, the Tour uses its Media Rights Regulation as an additional means of foreclosing
players from participating in competing events. This regulation prohibits any members from appearing
in any “golf program” (“any golf contest, exhibition or play”) that takes place “anywhere in the world”
and is shown on any media of any type. It is fandamental for any organizer of elite-level professional
golf tournaments to broadcast the tournament on television and other media, yet the Tour contends no
PGA Tour members may participate in any such televised non-Tour golf event anywhere in the world.
This broad prohibition is no accident, as the PGA Tour specifically broadened this provision to prevent
competitive entry of leagues such as LIV Golf. The provision serves no procompetitive purpose nor

benefits consumers, but rather restricts output and forecloses competition, as it prevents all Tour

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members from playing golf, even casually, if it is recorded for distribution over any media anywhere
in the world during weeks when they are not participating in PGA Tour events.

9. In short, these regulations—the Media Rights Regulation and the Conflicting Event
Regulation—-foreclose the players, who are independent contractors, from participating in any golf
event that the PGA Tour deems to be a competitive threat. These provisions limit output by keeping
golfers on the sidelines when not playing on the Tour. And these provisions, in turn, foreclose
competition and entrench the PGA Tour’s monopoly power. If these provisions are not enjoined, they
will foreclose LIV Golf's nascent entry into the markets and prevent LIV Golf from fulfilling its
competitive promise, thus harming LIV Golf, the Player Plaintiffs, golf fans, the game of golf, and
competition itself.

10. ‘It is no secret that the PGA Tour is targeting players in order to defeat the threat of
competitive entry. The PGA Tour has been clear since the threat of competitive entry emerged that its
most powerful weapon to defeat competition is to target its members—-who comprise virtually all of
the elite professional golfers in the world-—to prevent them from playing on a competing tour. For
example, PGA Tour Commissioner Monahan wrote in a January 2020 strategy memorandum that the
best way to prevent a competitor from emerging is to prevent PGA Tour members (including Player

Plaintiffs) from supporting the new promoter:

The impact that [the new league] could have on the PGA TOUR is dependent on the level
of support it may receive from these players. Without this support, [the new league's]
ability to attract media and corporate partners will be significantly marginalized and its
impact on the TOUR diminished.

A nascent golf league without the golfers necessary to put on elite events is no threat at all. Deprive
the new league of access to virtually all of the top golfers in the world, and it will pose no challenge to
the Tour’s dominance.

11. Accordingly, the Tour set out to destroy competition in its infancy by doing everything
in its power to lock up its members (including Player Plaintiffs) and deny them the opportunity for
sustained competition for their services. The Tour’s conduct has included at least seven practices, each
of which is exclusionary, anticompetitive and unlawful under the Sherman Act:

a. The Tour has repeatedly threatened its members (including Player Plaintiffs) with

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devasting consequences if they join LIV Golf. On muitiple occasions, the Tour
threatened a lifetime ban for any player who joins or participates in LIV Golf. Then,
in June and July 2022, the Tour imposed a career-threatening ban on Player
Plaintiffs (and others) for playing in LTV Golf events. For other golfers who
resigned their Tour membership because they did not want to be subject to the
Tour’s punishments, the Tour responded by actually imposing a lifetime ban.

b. The Tour amended and expanded its Media Rights and Conflicting Events
Regulations in response to the threat of competitive entry. And it then enforced
these unlawful provisions to foreclose members from participating in LIV Golf
events.

C. The Tour orchestrated a group boycott with the European Tour to ensure that any
golfer who considers defying the Tour’s threats by playing in any LIV Golf events
(including Player Plaintiffs) cannot pursue his career and livelihood anywhere in the
global golf “ecosystem.” The Tour’s agreement is established through the
statements of its partners. For example, during a meeting in Malta in July 2021,
representatives of the entity that sponsored LIV Golf met with the CEO and other
representatives of the European Tour to seek a partnership with the European Tour
in launching the new league. The minutes from that meeting prepared by the
European Tour’s title sponsor state that the CEO of the European Tour, Mr. Keith
Pelley, “Confirmed new series appeal and fit, however, stated main issue is US PGA
mighty power and need to avoid a collision course between ET [European Tour] and
PGA.” Under pressure from the “mighty power” of the PGA Tour, the European
Tour agreed to boycott and rejected the opportunity to partner with the new entrant,
and instead strengthened its strategic alliance with the PGA Tour. As part of this
illegal partnership, the PGA Tour pressured the European Tour to amend its
Regulations to restrict European Tour golfers from playing in LIV Golf events, and
it pressured the European Tour to punish its members who played in LIV Golf events

with ~$125,000 fines and suspension from any tournaments the PGA Tour and the

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European Tour co-sanction. The European Tour agreed to all of the PGA Tour’s
demands to implement the group boycott.

d. Similarly, the PGA Tour has encouraged the PGA of America (a separate entity) to
threaten to disallow LIV Golf players from playing both in the Major tournament it
sponsors (the PGA Championship) and the Ryder Cup, one of golf's marquee
events. And it has leaned on other golfing entities to do its bidding. The Tour leaned
on Augusta National to pressure golfers against joining LIV Golf. The Tour has
also leaned on the Royal & Ancient (“R&A”) (sponsor of The Open) to publicly
question whether LIV Golf players could play in their respective tournaments. And
the Tour has leaned on the Official World Golf Ranking (‘OWGR”) to call into
question whether LIV Golf tournaments would be eligible for OWGR ranking
points. This conduct serves no beneficial purpose, but rather serves to harm the
careers of the players (including Player Plaintiffs) who play in LIV Golf events, and
to deter other players from joining LIV Golf to avoid career destruction at the hands
of the Tour.

e. At various points, the Tour has threatened Tour members’ agents and business
partners with punishment if the players joined LIV Golf. In addition, the Tour has
threatened numerous vendors and small companies in the golf and sports production
industry that they will be blacklisted from working with the Tour if they work with
LIV Golf.

f The Tour has threatened non-member golfers with exclusion from the golf
“ecosystem” if they participate in any LIV Golf events. For example, the Tour
threatened college golfers (who are not PGA Tour members and have no obligation
to conform to the Tour’s rules for its members) that if they played in any LIV Golf
events they would be banned from entry into the PGA Tour University program,
which provides top college golfers entry into the Tour’s developmental tour (Korn
Ferry Tour).

g. The Tour has also threatened sponsors and broadcasters that they must sever their

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relationships with players who join LIV Golf, or be cut off from having any
opportunities with the PGA Tour. Based on these threats, several sponsors have cut
ties with players who have joined LIV Golf (including the Player Plaintiffs),
sometimes ending years-long relationships. The Tour has also intimidated sponsors
and vendors into not doing business with LIV Golf, lest they lose the opportunity to
do business with the dominant golf tour in North America, the PGA Tour.
12. These restraints have damaged competition and harmed Plaintiffs. They have harmed
Player Plaintiffs by, for example, (1) diminishing competition for their services and reinforcing the
Tour’s monopsony power in the markets in which the Plaintiffs sell those services; (2) denying them
income-earning opportunities, tournament performance opportunities (including denying them
opportunities to participate in tournaments in which they have qualified), sponsorship revenue, and
independent contractor rights; and (3) harming their reputations, goodwill, and brands. These restraints
have likewise proved effective at harming competition in the relevant markets by preventing other
players from joining LIV Golf who would have joined the new league but for these competitive
restraints, thus threatening the competitive viability of LIV Golf and any other potential competitor by
protecting the PGA Tour’s monopoly power and monopsony power over the purchase of services from
professional golfers to participate in elite golf events. The Tour’s restraints have harmed LIV Golf by,
for example, (i) raising to supracompetitive levels its costs to recruit players who are subject to the
Tour’s threats; (ii) completely preventing LIV Golf from securing the services of many players who
have been subjected to the Tour’s threats of severe punishments should they participate in LIV Golf
events; (iii) forcing LIV Golf to scrap its launch plans for 2022, and instead launch a smaller-scale
series; and (iv) preventing LIV Golf from entering into agreements with third parties and raising to
supracompetitive levels its costs for contracting with those third parties who are willing to defy the
Tour’s threats, thus raising LIV Golf*s costs and degrading its product offerings. The impacts of the
Tour’s continuing restraints threaten LIV Golf's competitive viability and existence.
13. Without fair process, PGA Tour Commissioner Monahan—who is necessarily partial —
imposed a 21-month Tour suspension on some Player Plaintiffs, through March 31, 2024 (other Player

Plaintiffs’ suspensions are indefinite or 9 months as of this Complaint), for exercising their independent

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contractor rights to play in the first two LTV Golf events. After imposing these suspensions, the Tour
followed its procedurally and substantively unconscionable appeals process to maintain the suspension
without giving Player Plaintiffs fair proceedings to be heard by neutral and independent decision-
makers. Plaintiffs Gooch, Swafford and Jones (among other Player Plaintiffs) had earned the right to
play in the FedEx Cup Playoffs (a series of lucrative and high-profile events scheduled at the end of
the PGA Tour’s 2022 season) through strong performance and dedication to the Tour, but the Tour
banned them from playing in those tournaments, diminishing the strength of its own fields and harming
these Plaintiffs. The injury to these players extended beyond mere foreclosure from these tournaments
(itself a substantial and irreparable injury), but also crippled their chances of qualifying for both the
Majors and the Tour’s premier invitationals in future seasons. The punishment that accrued to these
players from not being able to play in the FedEx Cup Playoffs is substantial, and involves both
monetary injury (as the Tour has maintained) as well as irreparable injuries.

14. The Tour has argued that the Player Plaintiffs have already been fully compensated by
LIV Golf for all suspensions the Tour might impose and all of the consequential harms that may flow
from those suspensions (including exclusions from the Majors and other important professional golf
tournaments and lost sponsorship opportunities). That is simply not true. While the supracompetitive
payments LIV Golf was required to make in order to attract players in the face of the Tour's
anticompetitive threats were in many cases above the compensation levels that would have been
required in the absence of the Tour’s anticompetitive conduct, it is also true that (a) many of the injuries
the players will suffer are not compensable through money, (b) the monetary injuries the players have
suffered and/or will suffer have exceeded and will exceed substantially the amounts they have been
paid by LIV Golf, and (c) the negotiated amounts reflect a mutual understanding by the parties that at
some point the PGA Tour would adjust its position and allow fair competition from LIV Golf. None
of these Player Plaintiffs has agreed to a potential ban from the Majors or other important tournaments,
or a long-term ban from the Tour should the Tour succeed in blocking successful long-term entry by
LIV Golf.

15. | Without injunctive relief prohibiting the PGA Tour’s anticompetitive conduct, the

Tour’s antitrust violations will continue. Without injunctive relief prohibiting the PGA Tour's

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anticompetitive conduct, Player Plaintiffs will be irreparably harmed, including by the Tour’s unlawful
suspensions that have denied and will continue to deny them income earning opportunities, tournament
performance opportunities, sponsorship revenue, and independent contractor rights that they have
earned, as well as by the actions of the Tour and the European Tour that deny them the opportunity to
participate in events sponsored by others throughout the golf “ecosystem.” LIV Golf will also be
irreparably harmed if the Tour’s anticompetitive conduct is not abated. While LIV Golf has been able
to pursue the launch of its business in the face of supracompetitive costs and artificially reduced access
to supply (i.e. players), facing headwinds of this nature is not sustainable. As a result, if the Tour’s
anticompetitive conduct is not enjoined, LIV Golf's entry will be thwarted and its ability to maintain a
meaningful competitive presence in the markets will be destroyed, which will harm not only LIV Golf,
but also competition. The Tour will continue to enforce its unlawful Regulations and take
anticompetitive actions unless and until a Court enjoins the Tour’s unenforceable Regulations and
unlawful conduct. Moreover, the Player Plaintiffs will be irreparably harmed in that the Tour’s
unreasonable control over their media rights and their participation in non-Tour events will continue
unless enjoined permanently. And, if LIV Golf’s entry into the relevant markets is thwarted by the
PGA Tour’s anticompetitive conduct, Player Plaintiffs’ careers will be detrimentally impacted, they
will lose the most significant avenue to gain entry into the Majors, they will lose the platform to display
their craft, and they will lose the opportunity to sell their advertising and sponsorship space and sell or
license their name image and likeness for their branding, reputation and businesses. On the other hand,
with an injunction, the anticompetitive conduct of the PGA Tour will be lifted, LIV Golf will have the
opportunity to compete on the merits, and Player Plaintiffs and other professional tournament golfers
will enjoy the benefits of competition for their services that the antitrust and other laws protect.
PARTIES

16. Plaintiff Phil Mickelson is a Hall of Fame American professional golfer who resides in
San Diego, California. Mr. Mickelson was a three-time NCAA Champion at Arizona State University.
In 1991, he won the Northern Telecom Open, which was the last time an amateur won a tournament
on the PGA Tour. He is a 30-year veteran of the PGA Tour who has won 57 worldwide professional

events, including six Majors—the most recent in 2021, which earned him the title of the oldest Major

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winner in the game’s history. He spent over 26 consecutive years in the top 50 of the Official World
Golf Ranking (the only player in the history of the sport to ever do so), including over 700 weeks
ranked in the top 10 in the world. Mr, Mickelson has represented the United States as a professional
golfer in 24 team tournaments, which includes 12 Presidents Cups and 12 Ryder Cups, both American
records. He participated as a vice captain in additional United States team tournaments, and played in
the Dunhill Cup, World Amateur Team Championship and two Walker Cups for the United States as
an amateur. Mr. Mickelson also has a strong commitment to giving back through the Phil and Amy
Mickelson Foundation. Since its inception in 2004, the Foundation has focused primarily on supporting
a variety of youth and family initiatives. He also founded Birdies for the Brave, the PGA Tour’s
national military outreach initiative, which raises money for a variety of charities supporting veterans
and military families. Mr. Mickelson dedicated his entire professional career, 30 years, to the PGA
Tour. He has hosted tournaments on the Tour and engaged in countless endeavors to advance the Tour,
its purpose, and the game of golf. Mr. Mickelson has invested in himself and his investment has
benefited the Tour’s business tremendously over the last 30 years. As a lifetime member—a hard-
earned accomplishment and honor, requiring 20 PGA Tour wins and 15 years of membership on the
Tour—Mr. Mickelson desires to continue being a member of the Tour and to play in events on the
Tour.

17. Plaintiff Talor Gooch is a 30-year-old professional golfer who resides in Texas. He is
a member of the Tour. Mr. Gooch played golf at Oklahoma State University until 2014 when he began
his professional career. He joined the PGA Tour Canada in 2015 and earned his way onto the Korn
Ferry Tour in 2016. In 2017, Mr. Gooch won the News Sentinel Open (which later became the Visit
Knoxville Open on the Korn Ferry Tour) and then earned his way onto the PGA Tour in 2018. In 2021,
he won his first PGA Tour tournament at the RSM Classic. Mr. Gooch was on top of the PGA Tour’s
FedEx Cup Rankings for the 2021-22 season following the RSM Classic. Mr. Gooch has played in
over one hundred PGA Tour events. As of the filing of the Complaint in this Action, he was the 20th
ranked golfer on the FedEx Cup rankings. Mr. Gooch played in 21 PGA Tour events in the 2021-22
PGA Tour season and qualified for the FedEx Cup Playoffs, but was denied the opportunity to compete

in the Playoffs by the Tour’s anticompetitive conduct. Mr. Gooch desires to continue to be a member

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of the Tour and to play in events on the Tour.

18. Plaintiff Hudson Swafford is a 34-year-old professional golfer who resides in Georgia.
He is a member of the Tour. He started his professional golf career in 2011 after graduating with a
B.S. in Consumer Economics from the University of Georgia. Mr. Swafford joined the Nationwide
Tour in 2012, and, that same year, won the Stadion Classic at UGA, a golf tournament on the Web.com
Tour (which became known as the Korn Ferry Tour in 2019). In 2013, Mr. Swafford finished 21st in
the Web.Com Tour Finals to earn his PGA Tour card for 2014. Mr. Swafford won his first PGA Tour
victory in 2017 at the CareerBuilder Challenge. In 2018, Mr. Swafford suffered a rib injury and then,
in 2019, Mr. Swafford had to undergo a surgery to remove a small bone from the bottom of his foot,
forcing him to miss four months of play. In September 2020, Mr. Swafford won his second PGA Tour
victory at the Corales Puntacana Resort and Club Championship. In 2022, Mr. Swafford earned his
third PGA Tour victory at the American Express. Since the start of his career, Mr. Swafford has played
in over 250 Tour events. Mr. Swafford played in 21 PGA Tour events in the 2021-22 season, and as
of the filing of the Complaint in this Action was 67th in the FedEx Cup rankings, and qualified for the
FedEx Cup Playoffs. Mr. Swafford was denied the opportunity to compete in the Playoffs by the Tour’s
anticompetitive conduct. Mr. Swafford desires to continue to be a member of the Tour and to play in
events on the Tour.

19. Plaintiff Matt Jones is a 42-year-old professional golfer who resides in Arizona. He is
a member of the Tour. He was born in Sydney, Australia, and upon meeting fellow Australian Greg
Norman at six years old became determined to become a professional golfer. Mr. Jones moved to the
United States to attend Arizona State University where he was a first-team All-American golfer. Mr.
Jones joined the Nationwide Tour in 2004 and earned his PGA Tour card in 2008. In 2014, Mr, Jones
won the PGA Tour’s Sheil Houston Open. In 2015, and again in 2019, he won the Emirates Australian
Open on the PGA Tour of Australasia. In 2021, Mr. Jones won the PGA Tour Honda Classic. Mr.
Jones has played in over 350 Tour events. Mr. Jones played in 20 PGA Tour events in the 2021-22
season, and as of the filing of the Complaint in this Action was ranked 65th in the FedEx Cup rankings,
and qualified for the FedEx Cup Playoffs. Mr. Jones was denied the opportunity to compete in the

Playoffs by the Tour’s anticompetitive conduct. Mr. Jones desires to continue to be a member of the

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Tour and to play in events on the Tour.

20. Plaintiff Bryson DeChambeau is a 28-year-old professional golfer who resides in Texas.
He is a member of the Tour. Mr. DeChambeau grew up in California and played golf at Southern
Methodist University while majoring in physics. In 2015, Mr. DeChambeau became just the fifth
person to win both the NCAA individual championship and the U.S. Amateur title. He made his PGA
tour debut in 2015 at the FedEx St. Jude Classic. In 2015, while still an amateur, he was the runner-up
in the Australian Masters. He began his professional career in 2016 at the RBC Heritage event,
finishing fourth. That year, Mr. DeChambeau won the Korn Ferry DAP Championship, earning his
Tour card. In 2017, Mr. DeChambeau won his first PGA Tour event at the John Deere Classic. In
2018, Mr, DeChambeau won the Memorial Tournament. He then won the first two FedEx Cup Playoff
events at the Northern Trust and Dell Technologies Championship. Mr. DeChambeau was picked for
the U.S. team in the 2018 Ryder Cup. In 2019, Mr. DeChambeau won the Shriners Hospitals for
Children Open and the Omega Dubai Desert Classic. In 2020, Mr. DeChambeau won the Rocket
Mortgage Classic and won the U.S. Open, his first Major. In 2021, he won the Arnold Palmer
Invitational and played on the winning U.S. team at the 2021 Ryder Cup. In 2022, Mr. DeChambeau
underwent surgery on his left wrist from a fracture. Mr. DeChambeau desires to continue to be a
member of the Tour and to play in events on the Tour.

21. Plaintiff lan Poulter is a 46-year-old professional golfer who splits his residence
between Florida and England. He is a member of the Tour. He was born in England, and began playing
golf at just four years old before turning professional in 1994, Mr. Poulter won the 1999 Open de Cote
d’lvoire on the Challenge Tour and was promoted to the European Tour. He was a member of the
victorious 2004 European Ryder Cup team and then joined the PGA Tour in 2005. In addition to his
many international victories, Mr. Poulter won the 2010 World Golf Championship-Accenture Match
Play Championship, the 2012 World Golf Championships-HSBC Champions, and the 2018 Houston
Open. Mr. Poulter has played in over 300 Tour events. Mr. Poulter played in 16 PGA Tour events in
the 2021-22 season and, as of the filing of the Complaint in this Action, was ranked 168th in the FedEx

Cup rankings. Mr. Poulter desires to continue to be a member of the Tour and to play in events on the

Tour.

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22. ‘Plaintiff Peter Uihlein is a 32-year-old professional golfer. He is a member of the Korn
Ferry Tour, which is owned and controlled by the Tour. Mr. Uihlein was born in New Bedford,
Massachusetts, played golf at Oklahoma State, and resides in Florida. Mr. Uihlein has two professional
victories on the Korn Ferry Tour—the Nationwide Children’s Hospital Championship in 2017 and the
MGM Resorts Championship in 2021. Mr. Uihlein has also won on the European Tour in 2013 at the
Madeira Islands Open. Mr. Uihlein has represented the United States in two Walker Cups (2009 and
2011) and won the 2010 Eisenhower Trophy. Mr. Uihlein won the 2010 U.S. Amateur Championship.
As of the filing of the Complaint in this Action, Mr. Uihlein ranked 59th on the Korn Ferry Tour regular
season points list. Mr. Uihlein desires to be a member of the Tour and/or continue to be a member of
the Korn Ferry Tour, and to play in events on the Tour and the Korn Ferry Tour.

23. LIV Golf is a Delaware corporation with its principal place of business in New York,
New York, LIV Golf is the sponsor of the LIV Golf Invitational Series, an eight-event series of golf
tournaments, a majority of which have been or will be set in the United States, from June to October
2022. LIV Golf also is the sponsor of a planned season-long golf tour, the League, which the PGA
Tour’s anticompetitive conduct thwarted and which LEV Golf was forced to delay in 2022.

24, Defendant PGA Tour is a Maryland non-profit corporation, with its principal place of
business in Ponte Vedra Beach, Florida. The PGA Tour sponsors a season-long series of golf
tournaments throughout the calendar year called the PGA Tour. Those events occur primarily in the
United States. In the 2021-22 PGA Tour season, the Tour sponsored events in twenty states, including
six events in California. The Tour is engaged in interstate commerce.

JURISDICTION AND VENUE

25, Plaintiffs’ action arises under Sections | and 2 of the Sherman Antitrust Act, 15 U.S.C.
§§ 1, 2. Plaintiffs seek injunctive reltef under 15 U.S.C. § 26 and damages under 15 U.S.C. § 15(a).
This Court has subject matter jurisdiction over the federal antitrust claims under 28 U.S.C. § 1331
(federal question) and 28 U.S.C. § 1337 (commerce and antitrust regulation); this Court has jurisdiction
over the related state-law claims under 28 U.S.C. § 1367 (supplemental jurisdiction).

26. This Court may exercise personal jurisdiction over the PGA Tour under Section 12 of

the Clayton Act, 15 U.S.C, § 22. The PGA Tour manages or operates two golf courses (TPC Harding

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Park and TPC Stonebrae) in this District and employs dozens of individuals who work there. It
organizes and promotes annually at least six golf tournaments throughout California (Fortinet
Championship, The American Express, Farmers Insurance Open, AT&T Pebble Beach Open, The
Genesis Invitational, and the Barracuda Championship), two of which are within the Northern District
of California. California hosts more PGA Tour golf tournaments than any other state. The Tour issued
the first of its known anticompetitive threats to Player Plaintiffs and other players that is at issue in this
lawsuit in La Jolla, California in January 2020. The PGA Tour also threatened Player Plaintiffs and
other players with lifetime bans in Los Angeles, California in February 2022, The Tour has unlawfully
restricted Player Plaintiffs from participating in events that compete against the PGA Tour, and its
conduct has already hindered---and threatens to irrevocably harm—LIV Golf's ability to compete in
the market.

27. This Court also may exercise personal jurisdiction over the PGA Tour under California
Code of Civil Procedure § 410.10. The Tour operated, conducted, engaged in, and carried on a business
venture in this state; committed tortious acts within this state that harmed Plaintiffs; and is engaged in
substantial and not isolated activity within this state.

28. Venue is proper in this district under Sections 4 and 12 of the Clayton Act (15 U.S.C.
§§ 15, 22) because the Tour may be found in this District and transacts business in this District through
the management or operation of two golf courses, hosting and promoting two golf tournaments, and
employing individuals in this District.

BACKGROUND AND FACTS
Overview of Professional Golf

29, The business and sport of professional golf are organized around tours and tournaments
that combine players of comparable skill levels. These tours and tournaments bring golf competition
to fans, financially compensate players, and provide opportunities for sponsors and advertisers to
market their products to golf fans of these events.

30. The elite level of men’s professional golf is comprised of (1) the PGA Tour, which
sponsors and co-sponsors a series of tournaments scheduled from September to September each season;

(2) four annual standalone “Major” tournaments sponsored by entities other than the Tour: the Masters,

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the U.S. Open, The Open (or The British Open), and the PGA Championship; (3) two bi-annual team
events (Ryder Cup and the Presidents Cup); (4) quadrennial Olympic competition; and (5) a handful
of standalone events in which Tour members are only permitted to compete if they are given permission
by the Tour Commissioner.

31. Until LIV Golf's nascent entry, the Tour was the sole elite golf tour in the United States
and the world. Other elite professional golf events are standalone events (such as the Majors) that are
not part of an organized tour that extends throughout a season. Professional golfers who qualify for
membership on the Tour invariably compete on it, as it offers by far the largest tournament purses, the
greatest opportunities to qualify for the Majors, the greatest opportunities for exposure in the golf world
and beyond, and the most expansive opportunities to secure large endorsements from sponsors. As of
the filing of the Complaint in this Action, all of the top 30 golfers in the world were active members of
the Tour, except those golfers whom PGA Commissioner Monahan suspended or forced to resign. No
other golf tour in the world is a reasonable competitive substitute for the PGA Tour. For example, the
average purse of a PGA Tour event is roughly two-and-a-half times the average purse of a European
Tour event, roughly nine times the average purse of an Asian Tour event, and 13 times the average
purse of a Korn Ferry Tour event. The PGA Tour is the only golf tour shown regularly on broadcast
television in the United States, and it earns vastly more in sponsorship, advertising, and broadcast
revenue than any other golf tour.

32. The Tour and the four Majors are complements, not competitors. The Tour schedules
no events during the weeks of three of the Majors and schedules only a minor event with a lower prize
pool the week of The Open. Conversely, the Majors do not compete with the Tour; rather, they
encourage and incentivize players to participate on certain tours (the PGA Tour in particular) by
adopting eligibility requirements that open playing spots to golfers who have performed well on those
tours. Similarly, LIV Golf does not compete with the Majors, as it schedules its Series and will
schedule its League around the Majors.

33. The European Tour is a purchaser of professional golfers’ services and a promoter of
professional golf events, but it is effectively a feeder into and only a potential competitor to the PGA

Tour. In the 1980s and early 1990s, the European Tour exerted some competitive pressure on the Tour

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for certain star international players, including Seve Ballesteros, Nick Faldo, and Bernhard Langer, but
that has not been the case for many years. Instead, when European Tour members qualify for Tour
membership, they almost invariably elect to immediately become PGA Tour members. None of the
Top 30 golfers in the world are only members of the European Tour. PGA Tour superstar Rory
Mcllroy, originally from Northern Ireland who began his career on the European Tour, has described
the European Tour as “a stepping stone,” explaining “you can go to America and play for more money
and more ranking points. | think as well with the world ranking points, everyone out here, all of their
contracts with sponsors, it’s all about world ranking points, If players are getting paid more and earning
more world ranking points, why would you play over there [European Tour]?” The actions of other
European players who qualify for the Tour are consistent with Mcllroy’s views: they join the PGA
Tour when they qualify.

34. European Tour Board Member Paul McGinley told The Independent that “the
[European] Tour has accepted it is a junior partner to the PGA Tour now and will act as a feeder tour
with more and more co-sanctioned events on both sides of the pond.” McGinley continued: “We are
there to enhance that and enable the PGA Tour to become the premier golf tour in the world. We
realise that the [European] Tour will not be that, but we want to be very much... a kind of international
arm and create pathways for players to come into the ecosystem via the European Tour and perhaps
the Korn Ferry Tour and then graduate onto the premier tour in the world which is the PGA Tour.”
Likewise, European Tour Commissioner Keith Pelley told The New York Times that the European Tour
agreed not to compete with the PGA Tour for player services as of November 2020.

35. | Nonetheless, the European Tour remained a potential competitor to the PGA Tour,
particularly as a potential partner of a new entrant that could challenge the Tour’s dominance.
Recognizing this potential competition from the European Tour and the substantial threat that a new
entrant partnered with the European Tour would pose, the Tour entered into an illegal agreement with
the European Tour as part of its scheme to ensure that the European Tour does not partner with any
entrant (including LIV Golf) that might seek to become part of the golf “ecosystem.” In a January
2020 strategy memorandum describing the PGA Tour’s plan to foreclose new entry, Commissioner

Monahan explained that this alliance with the European Tour was aimed at removing the European

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Tour as a potential partner for a new entrant: “We have continued discussions with the European Tour
about the potential to work more closely together, thereby removing the European Tour as a potential
partner of” a new entrant. The Tour’s strategy was thus designed to ensure no new potential competitor
could emerge to challenge its monopoly.

36. The Tour executed Monahan’s plan in November 2020, when it announced that it had
purchased a minority stake in the European Tour’s media production company, and that the two tours
would work in concert with one another. As detailed below, since that alliance was formed, the
European Tour has joined the PGA Tour in a group boycott aimed at punishing players to foreclose
LIV Golf’s entry. As set forth in more detail below, that group boycott violates Section | of the
Sherman Act, under either a per se analysis or a Rule of Reason analysis, because it has harmed (and
will continue to harm) competition and has no redeeming procompetitive virtue.

37. There are also a number of more limited lower-level tours that operate in the U.S. and
throughout the world, but none is a meaningful competitor to the Tour. In fact, the Tour owns, operates,
or controls a number of these lower-level tours, ensuring that they do not become meaningful
competitors to the PGA Tour and that any bans imposed by the PGA Tour (and its co-conspirator, the
European Tour) have a widespread impact on any affected players. These tours include:

e PGA Tour Champions — A tour for players over the age of 50, organized and
managed by the Tour;

* Korn Ferry Tour — The PGA Tour’s development tour in North America, through
which players (like Plaintiff Uihlein) can qualify for the PGA Tour; organized and
managed by the PGA Tour and described by the Tour as “the path to the PGA Tour”;

¢ PGA Tour Latinoamerica — A tour with events in Latin America, through which
players can qualify for promotion to the Tour, organized and managed by the Tour;

® Mackenzie Tour-PGA Tour Canada — A tour with events in Canada, through which
players can qualify for promotion to the Tour, organized and managed by the Tour; -

e PGA Tour Series-China — A tour with events in China, organized and managed by
the Tour;

e Asian Tour — A tour with events principally in Asia;

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¢ Japan Tour — A tour with events in Japan;
« Sunshine Tour — A tour with events in Africa; and
¢ KPGA Korean Tour — A tour with events in South Korea.

38. These tours offer considerably lower levels of competition, far lower prize pools, far
smaller sponsorship and income opportunities, and far less, if any, broadcast exposure and viewership
throughout most of the world. As a result, players who qualify for the PGA Tour join the PGA Tour.
Simply put, until LIV Golf’s entry, the PGA Tour had no competition as the premier professional golf
tour in the United States and the world. If the PGA Tour succeeds in thwarting LIV Golf's entry, it
will once again face no meaningful competition in the United States or the world.

39. While the on-course competition among participants in the elite professional golf
services market is intense, the Tour itself faces no meaningful competition in the relevant markets.
Until LIV Golf arrived on the scene, no other tour came close to the PGA Tour in terms of the money,
exposure, quality of on-course competition for players, fan interest, advertising or sponsorship
opportunities.

40, In addition, players in Tour events have a significantly greater opportunity than players
in the lower-tier tours to qualify for spots in the Majors, Ryder Cup, Presidents Cup, and the Olympics
by winning tournaments that provide entry into the Majors and that provide greater opportunity to earn
more points in the world golf ranking system. A common way for players to qualify for the Majors is
by being ranked within the Top 50 of the OWGR. While players in any tournament recognized by the
OWGR can qualify for points, the OWGR awards points based on a tournament’s competitive strength
and the player’s finishing position. Thus, players on the Tour are eligible to earn far more points than
players on lower-tier tours. In addition, OWGR points are often used to determine the amount of
money players receive from sponsors. Qualification for the Olympics is determined solely by OWGR
rankings. Again, as PGA Tour player Rory Mellroy explained “it’s all about world ranking points,”
and players can earn the most points on the PGA Tour.

41, The OWGR’s Governing Board includes PGA Tour Commissioner Monahan, as well
as the top executives from a number of the other bodies: the CEO of the European Tour (Keith Pelley),

the General Counsel of the European Tour (Ben Bye), the COO of the European Tour (Keith Waters),

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the CEO of the PGA of America (Seth Waugh), the Executive Director of the United States Goif
Association (Mike Whan), the Senior Director of the Masters Tournament of the Augusta National
Golf Club (Will Jones), the CEO of the R&A (Martin Slumbers), and the former CEO of the R&A
(Peter Dawson). As set forth in detail below, the PGA Tour has entered into an unlawful agreement
with the European Tour to foreclose competitive entry by locking arms in a group boycott to exclude
from the world golf “ecosystem” LIV Golf, any players who play in LIV Golf events (including the
Plaintiffs), and any other vendor, tour promoter, or other entity that partners with LIV Golf. And the
Tour has leaned on the other world golfing bodies that have representatives on the OWGR Governing
Board to do its bidding to heighten threats for associating with LIV Golf.
PGA Tour Structure

42, The Tour’s charter promises it will act to “promote the common interests of professional
tournament golfers.” The Tour certified to the Internal Revenue Service that its non-profit purpose is
to promote the sport of professional golf and the common interests of touring golf professionals.

43. The professional golfers who have earned the right to compete on the Tour are the most
skilled and popular professional golfers in the United States and the world, Player Plaintiffs were
active members of the Tour until they were given lengthy suspensions for playing in LIV Golf events.
Players from the United States who are members of the Tour include Tiger Woods, Plaintiff Mickelson
(now suspended), Justin Thomas, Jordan Spieth, Plaintiff DeChambeau (now suspended), Dustin
Johnson (now resigned), Scottie Scheffler, Bubba Watson, and Brooks Koepka (now suspended). The
PGA Tour’s Media Guide also states that its membership includes 94 international players from 29
countries and territories outside the United States, including Justin Rose, Rory McIlroy, Sergio Garcia
(now resigned), Jon Rahm, Adam Scott, Henrik Stenson (now suspended), Louis Oosthuizen (now
resigned), Hideki Matsuyama, and Cameron Smith. They include some of the biggest names in sports
and popular culture in the United States and the world.

44. — All member golfers on the Tour are independent contractors, not employees of the Tour.
There is no team or other employer to cover their many and substantial expenses as a professional
athlete (e.g., coaches, caddies, trainers, therapists, travel, and lodging).

45. The Tour is managed by its Commissioner, Jay Monahan, who assumed the role on

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January 2, 2017. Commissioner Monahan sits on the Board of the European Tour, the Governing
Board of the OWGR, and the Board of Directors and Executive Committee of the International Golf
Federation. Through these various roles, Commissioner Monahan assures that the Tour controls what
it terms the world golf “ecosystem.” Being blacklisted by the PGA Tour means effective expulsion
from the golf “ecosystem” anywhere in the world.

Elite Professional Golf Has Stagnated Under the PGA Tour’s Monopoly

46. As Commissioner Monahan acknowledged in a memorandum to the PGA Tour Policy
Board (the “January 2020 Monahan Memorandum”), the PGA Tour is “the world’s leading
professional golf tour” and “is second to none due to the strength of its members.” Thus, not
surprisingly, virtually every golfer of public prominence worldwide is a member of the PGA Tour.

47, While the quality of play on the PGA Tour continues to flourish, the business of
professional golf has stagnated under the Tour’s monopoly. In the age of social media, the accessibility
and relatability of elite professional golfers should lend itself to a boom in fan interest and viewership,
as it has with other sports. The opposite has happened. Without any meaningful competition (prior to
LIV Golf's entry), the Tour has failed to innovate and its product has grown stale. At the same time,
the Tour’s fanbase has shrunk and continues to age (the average age of a PGA Tour fan is 64), a trend
sharply at odds with other major sports. Likewise, the Tour’s compensation to its members fell behind
compensation to other professional athletes, as measured by the share of revenue the players receive,
reflecting the Tour’s monopsony power over players’ services.

48. Despite offering a stagnant product with a shrinking and aging fanbase, the Tour has
used its monopoly position to extract substantially increased revenues from broadcasters and
advertisers. As a monopsonist, however, the Tour has not passed those increased revenues through to
its members. For example, the Tour’s revenue has increased between 2011 and 2019 by 163 percent,
yet the share of revenue it provided its members fell substantially. This is because there is no
competition for players’ services, allowing the Tour to direct its increased revenues into its bloated
bureaucracy, extravagant facilities, and multimillion-dollar compensation and lavish perks for
Commissioner Monahan and the other executives who run the monopoly, rather than sharing them with

players. Tour data shows that average Tour purses grew an anemic 2.5 percent per year on average

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from 2014 through 2019—from $6.62 million in 2014 to $7.47 million in 2019. By comparison, the
total salary pool for other major professional sports leagues grew at much stronger rates over the same
period—15 percent per year for the NFL, eight percent per year for the NBA, and four percent per year
for the NHL, even though the 2014 base levels for the other professional sports were substantially
higher.

49, — The Tour has failed to offer its members compensation on par with professional athletes
in other sports. The number one player on the Tour money list in 2019 was Brooks Koepka, with $9.68
million in tournament winnings. His winnings were the equivalent to the 129th highest paid NFL
player, the 121st highest paid NBA player, and the 128th highest paid MLB player.

50. It is incongruous that Tour members’ share of revenue lags so significantly behind those
of players in other sports over the same period, because the Tour is a nonprofit entity that does not
compensate players for their travel and other expenses, while the other major professional sports are
for-profit enterprises with franchise owners. Unlike those other sports, however, which have free-
agency systems that establish competition among franchise owners for players’ services, the PGA Tour
faced no viable competition before LTV Golf’s entry. If LIV Golf's entry is foreclosed, the Tour will
once again face no viable competition. As a monopolist, the PGA Tour does not compete for players’
services, and the Player Plaintiffs’ earnings have been and are suppressed.

51. The lagging compensation the Tour pays to its members is also striking in light of the
expenses and risks that the players bear. Unlike professional athletes in other sports, professional
golfers have to pay out-of-pocket to play on the Tour. Tour members pay for their own travel to and
lodging at Tour events, and they pay for their coaches, therapists, trainers, and caddies. In addition,
the players have no guarantees from the Tour—they earn nothing if they get injured, and they get
nothing if they miss the cut. As a result, Tour members can end up with negative earnings for the year.

42. For example, Pat Perez described a fellow Tour member that “one year ma[d]e $22,000
on the Tour. He lost, he was in the hole about 90 grand. Mind you, he didn’t play well and I get it, but
how can he be out money? He earned his card and he was out like $90 grand that year.”

53. A Tour player agent was quoted as saying: “What I think the average fan doesn’t know

is how much a player spends to go to work. ,.. [T]hey spend so much money or reinvest so much

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money in themselves and what they pay their team and what they spend on private airfare, renting
homes and [paying] chefs and trainers and physical therapists and everything that goes into it. Its a
very lucrative sport, but it’s also a very expensive sport for them, unlike team-sport athletes who are

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flown around every place and supplied all those things.” But without competition, elite professional
golfers have historically had no option other than the Tour.

54. The Tour’s monopoly (and monopsony) hold over elite professional golf is also
reflected in its failure to innovate or retain (let alone expand) its audience. The Tour’s television ratings
have struggled. Out of 27 PGA Tour tournaments for which data are available, 16 tournaments (almost
60 percent) had viewership in 2019 that was below the five-year average for that tournament. In 2020
(before the COVID outbreak shut down the Tour), six out of seven tournaments had viewership that
was below the five-year average for that tournament. The PGA Tour’s fanbase is aging faster than any
other sport, because it has failed to capture the attention of younger viewers. As Rory Mcllroy (a PGA
Tour Member, President of the Players Advisory Council, and PGA Tour Board Member) recognized,
“competition is a good thing” and “any business needs competition for things to progress and move
on.” But the PGA Tour has faced no competition for many years, it has had no reason to innovate and
grow its fan base, and its product has grown stale.

55. LIV Golf promises to bring competition and innovation to the market for the promotion
of elite professional golf, which will benefit fans, broadcasters, advertisers, players, and all other
stakeholders. As the long-standing monopolist facing competition for the first time in at least decades,
the Tour has responded not by competing on the merits, but rather by engaging in a course of
anticompetitive conduct designed to choke off LIV Golf's nascent competition, to the detriment of LIV
Golf, the players (including Player Plaintiffs), fans, broadcasters, advertisers, and others.

Anticompetitive PGA Tour Player Regulations

56. Membership on the Tour is governed by the PGA Tour Player Regulations &
Tournament Regulations (“Regulations”). Exhibit 1. Several interrelated provisions of the Regulations
unreasonably restrict the independent contractor-players’ ability to participate in competing events.

57. Media Rights Regulation. The Regulations contain two provisions relevant to this

case that govern players’ media rights. First, Section V.B.1.a. of the Regulations purports to grant to

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the PGA Tour the media rights for players when they are participating in Tour-sponsored tournaments.
Plaintiffs do not challenge that provision on the understanding that the Tour interprets it to apply to
golfers only when they are playing in Tour-sponsored events. However, if the Tour relies on that
provision to support its position that it can control Tour members’ golf media rights even when they
are not participating in a Tour event, the Plaintiffs would challenge that provision as being
anticompetitive.

58. A second provision in the Regulations, Section V.B.1.b. (the “Media Rights
Regulation”) provides that “[n]o PGA Tour member shall participate in any live or recorded golf
program without the prior written approval of the Commissioner, except that this requirement shall not
apply to PGA Tour cosponsored, coordinated or approved tournaments, wholly instructional programs
or personal appearances on interview or guest shows.” Exhibit 1. The Tour broadly defines “golf
program” to cover “any golf contest, exhibition or play that is shown anywhere in the world in any
form of media now known or hereinafter developed.” Jd. According to the PGA Tour, this provision
prevents all Tour members from participating in any golf program anywhere in the world, during any
time of the year, even when they are not participating in a Tour event. According to the PGA Tour,
the effect is a year-round prohibition on all ‘Tour-member independent contractors from participating
in any competing golf event anywhere in the world that is broadcast on any media. For example, when
the Player Plaintiffs participated in a LIV Golf event in London that was streamed on the Internet (but
not shown on any television network in the United States), the PGA Tour declared that the Player
Plaintiffs had violated this rule.

59. The global prohibition on playing in competing events is not needed to create or improve
any product or offering by the Tour, or to improve any aspect of any product for fans. For example,
other provisions purportedly grant the Tour the media rights for Tour events in which the players are
participating. The global prohibition serves only to prohibit the Tour’s independent contractor players
from playing in any competing events during weeks when they are not playing in Tour events.

60. The Media Rights Regulation is fundamentally inconsistent with the rights of the Player
Plaintiffs as independent contractors, denying them the right to sell their own media rights to other

bidders for their services. As a result, the Tour has deprived and continues to deprive the Player

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Plaintiffs of the opportunity to pursue their profession, thus depriving them of income-earning,
marketing, branding, and charitable opportunities.

-61. Furthermore, this provision has injured and foreclosed entry by LIV Golf at its planned
scale and harmed LIV Golf by imposing on it a cost basis that the Tour itself describes as “irrational.”
In addition, and critically, the Tour has compromised LIV Golf’s ability to secure a television broadcast
contract, a critical component of any sustainable elite golf tour. Even though LIV Golf has been able
to convince some players to defy the Tour’s threatened lifetime bans and to participate in LIV Golf
events, the Media Rights Regulation has precluded LIV Golf from securing agreements to broadcast
its tournaments because United States platforms are disinclined to sign a broadcast contract with LIV
Golf while the Tour claims to control the media rights of the players participating in LIV Golf
tournaments. As the PGA Tour has maintained, the Media Rights Regulation purportedly denies any
competing tour the opportunity to broadcast tournaments to fans, an essential element of the business
plan of LIV Golf or any other elite professional golf promoter. Unless it is enjoined, this provision
will threaten the competitive entry of LIV Golf or any other potential competitor, which would both
harm LIV Golf and also the Player Plaintiffs by denying them the opportunity to sell their services in
a competitive market.

62. The anticompetitive intent of the Media Rights Regulation is exposed by the Tour’s
amendment of the definition of “golf program” in the provision in November 2019 in response to
rumors of potential competitive entry. Whereas the prohibition had previously applied to “any golf
contest, exhibition or play that is shown in the United States,” the prohibition was expanded to cover
“any golf contest, exhibition or play that is shown anywhere in the world.” Exhibit | (emphasis added).
Commissioner Monahan admitted this anticompetitive purpose in his January 2020 Memorandum:
“Our current Tournament Regulations provide a significant hurdle for PGA Tour members with respect
to contracting with Private Equity Golf under its proposed structure... In particular, the Tournament
Regulations governing Conflicting Events and Media Rights/Releases would be applicable. . . -[T]n
November 2019 the Policy Board ratified a revised Media Rights/Release regulation to ensure that all
golf events are unequivocally covered on a global basis.” The Tour did not negotiate with the Player

Plaintiffs or any other Tour Member over its unilateral expansion of the Media Rights Regulation and

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does not compensate them for the Tour’s purported exclusionary control over their year-round global
media rights. The expansion ensures that players are restricted from participating with a competing
golf tour anywhere in the world.

63. The anticompetitive purpose of the Media Rights Regulation is further illustrated by
comparison with the European Tour. The European Tour does not prohibit its independent contractor
golfers from using their media rights when they are not playing in European Tour events. Rather, the
European Tour’s rules make clear that the players’ grant of media rights applies on/y when they
participate in European Tour events. During other weeks of the year, that grant of media rights “does
not otherwise affect the Member’s rights as an independent contractor in respect of their own image
except as set out in these Regulations, including Regulation ES({c) [Ryder Cup] below.” The European
Tour also “recognises the individual rights of all Members operating as independent contractors. . . and
will not unreasonably seek to restrain its Members from Participating in certain golf tournaments or
events which are not sanctioned by the European Tour... .”

64. Some Player Plaintiffs requested releases from the Media Rights Regulation to play in
the LIV Golf London Invitational. The PGA Tour denied their request (as well as those of other Tour
members) and instead imposed iengthy suspensions on all players who participated in the event.

65. The Tour’s anticompetitive use of the Media Rights Regulation is further demonstrated
through its selective enforcement of the provision against other events that it does not deem to be
competitive threats. For example, the Tour did not require members to obtain releases to participate in
a Pro-Am golf competition called the JP McManus held in the Republic of Ireland from July 4-5, 2022,
even though the event was broadcast in the United States, Europe, and throughout the world, In
contrast, days earlier the Tour enforced the provision with draconian punishments when the Player
Plaintiffs and others played in the LIV Golf Portland Invitational from June 30 — July 2, 2022. The
key difference between the LIV Golf event and the JP McManus event is that the Tour views only LIV
Golf as a competitive threat.

66. The anticompetitive purpose and effect of the Media Rights Regulation is clear. The
incumbent monopolist has granted itself the right to foreclose the best golfers in the world from playing

in events that create real competition, at its own discretion. And if golfers defy the Tour’s threats, the

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competitor that is able to secure the players’ services is nonetheless foreclosed from securing contracts
to broadcast the event on television or any other media.

67. Conflicting Events Regulation. A second exclusionary provision in the Regulations
(Section V.A.2-3, the “Conflicting Events Regulation”) grants Tour Commissioner Monahan with the
discretion to prohibit the Player Plaintiffs and ali other Tour members from playing in any other golf
tournament anywhere in the world. Exhibit 1. Commissioner Monahan has exercised his discretion to
foreclose competition from LIV Golf by preventing any Tour members from participating in any LIV
Golf events, under penalty of career-threatening suspensions.

68. The Conflicting Events Regulation contains two components, each of which the Tour
has employed to attack the Player Plaintiffs in its effort to foreclose LIV Golf's entry. First, the
provision prohibits any Tour member from playing in any other golf tournament in North America
during any week when the Tour sponsors or co-sponsors an event-—without exception, even when the
player is not playing in the Tour event. Because the Tour typically sponsors or co-sponsors events
approximately 48 weeks per year, the Conflicting Events Regulation effectively prevents independent
contractor Tour members from ever playing in non-PGA Tour events in North America. Second, the
Regulations also prohibit the Player Plaintiffs and all other Tour members from playing in any events
outside North America during weeks in which the Tour is sponsoring or co-sponsoring an event, unless
the Commissioner grants a release. These releases are limited to three per year, and the Commissioner
has complete discretion to deny them.

69. The releases the Commissioner can choose to grant do not permit meaningful
competition by other tours. No releases are permitted for any event in North America. Even as to
international events, the Commissioner retains “sole discretion” to deny a release. Exhibit 1. While
the Tour has historically granted releases for international events, the Tour changed its practice once
the threat of potential competitive entry became evident. For the LIV Golf London Invitational, the
Tour denied releases for all members. In doing so, Commissioner Monahan clarified that the Tour
denied the requested relief because LIV Golf is organizing a tour that competes with the PGA Tour in
North America. The Commissioner’s vice president wrote, “While releases have been granted in

limited circumstances for one-off events outside North America or for events outside of North America

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on tours based exclusively outside of North America, the event for which you have requested a release
is the first in an eight-event “2022 LIV Golf Invitational Series” season, and more than half of them
will be held in the United States.” Furthermore, even if the Commissioner did not exercise his
discretion to attack competition, the Regulation provides that a player may obtain only three
Conflicting Event releases per season, and may do so only if he also plays in a minimum of 15 Tour
cosponsored or approved tournaments. Also, the PGA Tour Commissioner is only required to give a
player a decision 30 days in advance of the event, which makes it difficult for those planning
international events to know which players will be permitted by the Tour Commissioner to play in the
field.

70. The scope of this Conflicting Events Regulation is expanded by another provision in the
Regulations which provides that in any week in which a Tour, PGA Tour Champions, Korn Ferry Tour,
PGA Tour Latinoamerica, PGA Tour Canada, or PGA Tour China cosponsored tournament is
scheduled, no Tour member may participate in any golf activity (including public exhibitions, clinics,
and pro-ams) in the same geographic area without the prior approval of the Commissioner.

71. The Tour has made clear that it will weaponize the Conflicting Events and the Media
Rights Regulation to attack competition. Im January 2020, Commissioner Monahan told a meeting of
PGA Tour members that the Tour will impose “‘strict enforcement of the Conflicting Event and Media
Rights/Release rules” on players to prevent them from playing golf on a competing tour. When Player
Plaintiffs participated in the LIV Golf London Invitational, Commissioner Monahan summarily
suspended them within an hour of tee-off. Then, to expand the i terrorem effect of the suspension on
all other Tour members, Commissioner Monahan immediately notified all PGA Tour members of his
action.

72. The Tour has forced members of the Korn Ferry Tour—the developmental tour-—like
Plaintiff Uihlein, to be bound by the same Regulations and has enforced them to punish young
developing professional golfers who play in LIV Golf events.

73. Furthermore, the Tour’s argument that it is merely enforcing its membership rules and
its assertion that there is some legitimate justification for those rules in preventing simultaneous Tour

membership and participation in LIV Golf events are betrayed as mere pretext by the Tour’s attacks on

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golfers who play in LIV Golf events but are not PGA Tour members. For example, The PGA Tour has
even banned golfers who are members in good-standing of the European Tour from the European Tour
events it co-sanctions with the PGA Tour simply because they played in a LIV Golf event, including
members of the European Tour who were granted permission to play in the LIV Golf event. Those
golfers were not bound by the PGA Tour’s membership rules (because they were not Tour members)
and did not violate any Tour rule, and yet they were punished by the Tour for playing in a LIV Golf
event, Similarly, the Tour has threatened college golfers—who are not Tour members and are not
bound by any Tour rule-—that they will not be permitted to participate in the pathway onto the Korn
Ferry Tour or the PGA Tour if they play in any LIV Golf events.

74, The Tour’s attack on LIV Golf is not the first time the Tour has used the Media Rights
and Conflicting Events Regulations to attack nascent competitive entry. Before LIV Golf, the last
meaningful threat of competitive entry to challenge the PGA Tour was the World Golf Tour, led by
Greg Norman, which attempted to launch in 1994. In response, then-Tour Commissioner Tim Finchem
wrote to Mr. Norman that the Tour would not grant conflicting event releases for “events held within
the United States” and that it would only grant a media rights release if the World Golf Tour would
pay a prohibitive sum to the PGA Tour. And even then, the Tour’s releases would only be granted for
events held on a Monday, Tuesday, or Wednesday. ‘The Commissioner also threatened Tour members
that they would lose PGA Tour membership cards if they joined the competing tour. Within days, the
World Golf Tour collapsed. No other meaningful competitive threat emerged for more than a quarter
century.

75. The Player Plaintiffs are members of the Tour (albeit now subject to lengthy
suspensions) and remain subject to the Regulations. They requested releases from the Media Rights
and Conflicting Events Regulations to participate in one or more LIV Golf events. The Tour denied
their requests and imposed severe punishment when they exercised their rights as independent
contractors to play in the LIV Golf events (detailed further below). While the PGA Tour’s charter
requires that the PGA Tour’s acquisition of players’ media rights be used “to promote the common
interests of professional golfers,” the Tour uses its acquisition of players’ media rights to prevent other

promoters from competing for its members’ services.

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76. Furthermore, after dozens of Tour members (including the Player Plaintiffs} sought
Conflicting Events releases to participate in a LIV Golf event in London, the Tour amended its
Conflicting Events Release request form to require its members to verify the event would not be shown
on any medium in the United States—an impossible verification given modern technology. As the
sequence of events makes clear, the Tour added that provision (the Contractual Assurance
Confirmation) in response to LIV Golf’s attempted competitive entry. This amendment makes it even
harder for the Player Plaintiffs to exercise their independent contractor right to play for other promoters

during their off-weeks.

The PGA Tour’s Anticompetitive Response to Potential Competitive Entry in 2020
77. After the PGA Tour used its Media Rights and Conflicting Events Regulations to deter

entry by the World Golf Tour in 1994, there was no attempted entry into professional golf for over 25
years. Then, in late 2019 and into 2020, a number of individuals and entities, some of whom later
became involved with LIV Golf, attempted to launch a competing tour known as the Premier Golf
League (“PGL”). The Tour orchestrated an anticompetitive response that blocked PGL’s attempted
entry.

78. PGL was a venture involving the Raine Investor Group SPV, World Golf Group
(“WGG”), the Public Investment Fund of Saudi Arabia, and Performance 54. PGL developed a
proposal for a new golf league, and it approached various golf stakeholders as part of its effort to launch
a new elite professional golf tour to compete with the Tour.

79. | PGL had discussions with player representatives in the fourth quarter of 2019 and began
offering contracts to players in January 2020.

80. In January 2020, the Tour obtained copies of PGL’s marketing materials and the
packages the PGL offered Tour players.

81. In response, Commissioner Monahan distributed his January 2020 Memorandum
acknowledging that the PGL “would be competitive to the PGA TOUR,” and detailed the PGA Tour’s
“response” to “mitigate any impact” from this potential competitive threat.

82. Inhis January 2020 Memorandum, Commissioner Monahan explained that the principal

means to defeat the threat of competition was to prevent players from joining the new league. As

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Commissioner Monahan wrote, “[t]he impact that [the new league] can have on the PGA TOUR is
dependent on the level of support it may receive from these players. Without this support, [the new
league’s]} ability to attract media and corporate partners will be significantly marginalized and its
impact on the TOUR diminished.”

83. | Commissioner Monahan pointed out that PGA Tour members would have “a significant
hurdle” to join the new league because the Regulations prohibit players from joining a competing tour.
In addition, Commissioner Monahan pointed to a rule he claimed would prevent players from
competing in the team format proposed by the new ieague (based on a rule prohibiting “players having
a financial interest in another player”) and prevent players from competing in “conflicting events”
except under limited circumstances.

84. In the 2020 memorandum, Commissioner Monahan also informed the Tour Policy
Board that in November 2019, in response to rumors about potential competitive entry of an upstart
international golf tour, the Tour had amended the Regulations to expand the Media Rights Regulation
“to ensure that all golf events are unequivocally covered on a global basis.” He also detailed plans to
“further crystallize[] these restrictions,”

85. Commissioner Monahan proposed two additional revisions to the Regulations, one that
would tighten restrictions on conflicting events and a second that would prohibit players from having
an equity interest in another’s performance, a direct response to the PGL’s team concept. On
information and belief, these revisions were later adopted.

86. In addition, Commissioner Monahan stated that the PGA Tour has “communicated with
key members of the Tournament Advisory Council,” a group of PGA Tour tournament directors who
advise the PGA Tour on its business conditions, “to prepare for a possible entrance of the [new league]
to the marketplace.” Commissioner Monahan similarly detailed that the PGA Tour has “liaised with
each [Major Championships and Governing Bodies] organization to learn of its position regarding [the
new league].” And the PGA Tour communicated with the OWGR regarding the new league’s
eligibility for OWGR ranking points.

87. The January 2020 Monahan Memorandum described the PGA Tour’s efforts to secure

commitments from across the global golf ecosystem to foreclose potential competitive entry.

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Recognizing that the competitive threat from the new league would be greatly strengthened through a
partnership with the European Tour, Commissioner Monahan stated that the PGA Tour has “continued
discussions with the European Tour about the potential to work more closely together, thereby
removing the European Tour as a potential partner of [the upstart competitor|.” As described, the PGA
Tour did in fact partner with the European Tour to prevent competitive entry.

88. | Commissioner Monahan and the PGA Tour executed this anticompetitive plan to
prevent players ftom joining the PGL and “remov[e]” others in the ecosystem as potential partners of
the PGL, ensuring that the competitive threat from the PGL was thwarted before it could launch.

The PGA Tour Threatens Players Considering Joining The PGL

89, At a Tour players’ meeting in January 2020 at Torrey Pines in La Jolla, California,
Commissioner Monahan read aloud a message to Tour players similarly detailing some of his messages
from his January 2020 Memorandum. In that meeting, Commissioner Monahan told PGA Tour
players, “[t]he schedule for the [PGL] is designed to directly compete and conflict with the PGA Tour’s
FedExCup schedule, and to not conflict with [and be in addition to] the Masters, PGA Championship,
U.S. Open and The Open Championship.” Then, Commissioner Monahan threatened the Tour
members with a ban from the PGA Tour if they joined the PGL or any other new league, stating: “If
the Team Golf Concept or another iteration of this structure becomes a reality in 2022 or at any time
before or after, our members will have to decide whether they want to continue to be a member of the
PGA Tour or play on a new series.”

90. As Commissioner Monahan made clear, the Tour demanded exclusivity from its
independent contractor members, under penalty of a ban from the Tour.

91. In March 2020, Monahan repeated his threats to the players, stating that the Tour would
“vigilantly protect [the Tour’s] business model” from the competitive entrance of a new league.

92. The Tour’s threats to the players’ livelihoods had their intended effect. As one player
was quoted anonymously in a leading golf publication in early 2020, “the risk of getting banned by the
PGA Tour has to be an obvious concern.” Many other Tour Members felt the same. As of 2020, the
potential harm to the Player Plaintiffs resulting from a ban from the Tour made the idea of signing on

to a new Start-up too risky to bear. Nonetheless, many Tour members—recognizing that they were

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disadvantaged by the Tour’s monopsonistic control over the market—remained very interested in new
playing opportunities in addition to the Tour.
The Tour Induces The European Tour Into a Group Boycott

93, As Commissioner Monahan admitted in his January 2020 Memorandum, the PGA Tour
agreed with the European Tour to remove the European Tour as a potential partner of any new entrant.

94, Throughout 2020, the PGL had been negotiating with the European Tour to develop a
partnership to co-sponsor events, which would have been a key step toward enabling the PGL to launch.

95. | The co-sponsorship was important because it would have assured that PGL events
would qualify players to earn points under the OWGR system. OWGR rankings are used to determine
qualification for the Majors. Professional golfers are reluctant to join any tour that does not provide a
path to qualify for the Majors.

96. | Under the rules of the OWGR (on whose board Commissioner Monahan sits), a brand
new tour purportedly cannot qualify for OWGR points for at least three years and must be sponsored
by one of the six full members of the International Federation of PGA Tours (PGA Tour, European
Tour, Asian Tour, Japan Tour, Australasia Tour, and Sunshine Tour). This establishes a barrier to the
entry of any new tour: No elite professional tour can sustain in the long-term unless it provides players
with a path to earn OWGR points, but no professional tour can secure points until it has existed for at
least three years (absent an OWGR waiver of that requirement) and has sponsorship from one of the
established International Federation members. To navigate through this Catch-22, the PGL sought to
partner with the European Tour as part of its plan to enter and obtain a sponsor for its OWGR
application,

97. Recognizing the PGL’s need for a partnership with the European Tour, the PGA Tour
forged an alliance with the European Tour through threats and financial incentives to put a bearhug
around the European Tour and cut off a potential partner of the PGL. To obtain this agreement, the
Tour threatened rule changes that would have made it more difficult for top European players who
participate on the PGA Tour to play in European Tour events.

98. The PGA Tout’s approach proved highly effective. In November 2020, the European

Tour announced that it would not partner with the PGL, but instead it would enter into an alliance with

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the PGA Tour. One condition of the agreement was that the European Tour not partner with or sponsor
the PGL, thereby removing a key partner for the PGL’s planned entry. Additionally, through the
alliance with the European Tour, PGA Tour Commissioner Monahan secured a seat on the Board of
Directors of the European Tour and the PGA Tour made a massive investment in the European Tour
and its subsidiaries. The Tour’s illegal alliance with the European Tour enabled it to require the
European Tour to work in concert with the PGA Tour to prevent competitive entry. The Tour used its
strategic alliance with the European Tour throughout the next two years to carry out its anticompetitive
scheme to thwart LIV Golf’s entry. The Tour entered into the illegal agreement with the illegal purpose
to eliminate a competitor and future potential entrants.

99. The PGA Tour’s efforts to thwart the PGL’s entry were successful. The PGI never got
off the ground, the venture as it existed disbanded, and the PGL was left with no real prospect of
viability. In 2022, the PGL offered to partner with the PGA Tour, but under the Tour’s control. The
Tour summarily rejected the proposal.

100. And through its campaign to destroy the PGL, the PGA Tour had secured an
anticompetitive agreement with the European Tour to foreclose any future potential competitive
entrants.

LIV Golf Promises Long-Needed Competition

101. After the Tour destroyed PGL’s viability and the venture disbanded, LIV Golf formed
in 2021. LIV Golf is a new golf company whose goal is to improve professional golf for all
stakeholders: fans, players, broadcasters, sponsors, and tournament hosts. It seeks to offer more of
what fans, broadcasters, and sponsors want, including an exciting new format that will ensure
heightened competition among golf's star players. LIV Golf seeks to modernize the professional game
by allowing the game’s superstars to realize their true market potential, while enhancing the
professional golf marketplace with a dynamic, team-inspired format that will complement individual
competition.

102. LIV Golf developed a new golf tour (the League) that would include 48 top golfers who

would compete both as individuals and on 12 teams of four. The LIV Golf League’s format is inspired

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by the globally successful format for Formula | racing.? Twelve headline players would be player-
owners, cach holding an equity interest in their team and having substantial opportunities to guide their
team to on-course and commercial success. Hach LIV Golf League team of four was also set to have
two substitute players, thereby offering 72 total players the opportunity to play. The player-owner of
each team was to select four of the six players to play in a given week. By introducing an innovative
format highlighting weekly head-to-head competition among the top players in the game, LIV Golf
League’s format would have created a more desirable product offering than the PGA Tour format,
which has not changed for decades and has the lowest youth viewership of any North American major
sport. LIV Golf League was going to include 54-hole tournaments with shotgun starts* and no cut,
offering a faster-paced format with high levels of competition in every tournament, dramatically
improving the fan experience.

103. The LIV Golf League format was designed as a fan-friendly alternative to the PGA
Tour. The proposed “shotgun” format would reduce the number of hours required to watch a
tournament and increase the excitement of the viewer experience. The team format would provide
opportunities for team allegiances among fans and lead to multiple levels of competition within any
given tournament. The LIV Golf League would also benefit sponsors, advertisers, and other
stakeholders, as each team was to be independently commercialized with freedom to develop and select
team sponsors and a home city or region. LIV Golf had strategies for improved broadcast output and
an entertainment experience with more storylines and content.

104. The LIV Golf League was also set to improve conditions for players. In contrast to the
PGA Tour’s stagnating tournament purses (until LIV Golf emerged), with about half the players not
making the cut and earning nothing in any given tournament, LIV Golf League was set to introduce

the benefits of competition to players, including offering players greater economic benefits more

* Formula | is the world’s premier international auto racing series.
3 Shotgun starts are when all golfers in a tournament tee off of different holes at the same time so that
they finish their rounds around the same time, as compared to tournaments where all golfers tee off of

the first hole and proceed to the eighteenth hole in consecutive fashion.
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commensurate with their ability to attract revenue, equity ownership opportunities in their own success,
and guaranteed income for every tournament in which they participated. LIV Golf would not require
players to sign away their name, image and likeness rights for non-LIV Golf events. LIV Golf also
would not foreclose players from playing in other tournaments during weeks in which LIV Golf is not
playing, which would respect players’ independent contractor status and allow them to participate in
other tournaments and tours (to the extent not banned by the Tour).

105. The introduction of competition from the LIV Golf League would provide new and
improved options for players, fans, and other stakeholders. Innovation would replace stagnation.
Players, fans, sponsors, advertisers, and broadcasters would all benefit. The introduction of the LIV
Golf franchise model to the sport of golf—with city, country, and regional affiliations--would engage
more fans and increase commercial opportunities.

106. The LIV Golf League also aspired to enhance player opportunities more broadly and
add meaningfully to the playing opportunities for professional golfers worldwide. It planned to provide
qualification opportunities for players not initially selected and to embrace other tours, providing their
players with pathways into the League. This format was designed to ensure a high level of competition
throughout each season, as well as a fair and inclusive platform for golfers throughout the world,
including younger development golfers.

107. If not for the anticompetitive conduct of the Tour, the LIV Golf League would have
launched in 2022. LIV Golf had developed a ground-breaking business plan. It secured a chief
executive officer and Commissioner—Greg Norman, a giant in the world of golf and a highly
successful businessman in multiple industries—hired an experienced team of executives, assembled a
board, and built out a full front office with dozens of employees and numerous industry consultants
and contractors. LIV Golf partnered with the Asian Tour and invested several hundred million dollars
in the Asian Tour to sponsor marquee events throughout the world and develop the sport at multiple
levels on a worldwide basis. LIV Golf negotiated with broadcast companies, sponsors, venues,
advertisers, vendors, and several other business partners who expressed interest in LIV Golf League.
All these successful stakeholders indicated, however, that they would commit only when LIV Golf

League had signed up the players needed to launch LIV Golf and, critically, secured the players’ media

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rights.

108. LIV Golf also sought to cultivate relationships with other tours in the existing golf
“ecosystem,” in order to ensure that there were further player pathways into and out of LIV Golf events
(both within and across seasons) and to ensure that LIV Golf's entry would be additive and beneficial
to the sport of golf throughout the world. For example, L1V Golf made offers to the Ladies European
Tour and the LPGA, which rejected those offers due to the PGA Tour’s opposition to LIV Golf, and
due to the PGA Tour’s board seats in those organizations and its control over the golfing world. As
described below, the PGA Tour has thwarted LIV Golf’s efforts by spearheading a group boycott
designed to exclude LIV Golf from the “ecosystem” and punish any player who plays in any LIV Golf
events.

The Tour’s Anticompetitive Response to the Potential Entry of LIV Golf

109. Inresponse to the potential entry of LIV Golf, the PGA Tour has used a carrot-and-stick
approach to prevent the Player Plaintiffs and other PGA Tour Members from playing with LIV Golf.

110. The carrot is a loosening of the PGA Tour’s purse strings to make somewhat greater
compensation available to players than the Tour historically provided. This increased compensation to
players in response to competitive entry is direct proof of the PGA Tour’s monopsony power and the
anticompetitive effects on players (including the Player Plaintiffs) from excluding competition. When
the PGA Tour faced the meaningful threat of competitive entry for the first time in a quarter-century,
it suddenly and substantially increased player compensation, thus providing direct proof of the Tour’s
monopsony power in suppressing player compensation below competitive levels.* These changes in
the Tour’s practices made only in response to nascent competitive entry are also indicative of the
anticompetitive effects that will be imposed on the markets if the Tour is successful in defeating LIV
Golf’s nascent entry—once the Tour is free from competitive pressures, it will have both the ability
and incentive to suppress player payments, as it did for many years before LIV Golf's nascent entry.

lll. The stick used by the Tour is an array of anticompetitive actions by the PGA Tour to

4 Despite these increases in compensation in response to LIV Golf's entry, PGA Tour compensation

for players remains well below competitive levels.
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destroy the careers and livelihood of players who participate in any LIV Golf events (including the
Player Plaintiffs), their business partners and agents, and anyone who associates with LIV Golf or its
players. It is particularly notable that as LIV Golf's threat of entry grew, and as the press reported
increased player interest and player signings, the Tour ramped up the intensity of its punishment and
threats. As Commissioner Monahan made clear in his January 2020 Memorandum, the Tour knew that
if it could deter players from joining a new league, the new league’s “ability to attract media and
corporate partners will be significantly marginalized” and “its impact on the [Tour] diminished.”
Particularly for a 501(c)(6) organization that is required to further the interests of its members, the
Tour’s commitment to attack and destroy the careers of its members in order to defeat competition is
striking. The Tour’s conduct is also blatantly anticompetitive, serves no purpose but to harm
competition, and cannot be justified under the antitrust laws.

112. The carrot. In April 2021, in direct response to rumors of LIV Golf's potential entry
into the marketplace, the PGA Tour announced the “Player Impact Program,” a $40 million bonus pool
for the top 10 players on the PGA Tour who drive engagement with sponsors and fans. This new bonus
pool, announced by the PGA Tour in response to potential competitive entry, is a clear indicator of the
benefits of competition for players. As the PGA Tour recognized, competition in the labor market from
LIV Golf will force it to raise compensation to the players or it will lose its talent to the new entrant.
The PGA Tour’s “Player Impact Program,” however, was a half-measure, and offered far less than the
compensation the players would earn in a competitive labor market.

113. In August 2021, in response to reports that LIV Golf's efforts to secure player
commitments were gaining momentum and that the new entrant would offer substantially greater
compensation, the Tour announced it would increase the purse sizes for tournaments and bonus pools
for the 2021-2022 PGA Tour season by 18 percent compared to the purse size and bonus pools for the
2020-2021 PGA Tour season. As noted above, PGA Tour purse sizes had grown at an anemic low-
single-digit rate for years, but when competitive entry was rumored, the Tour responded with an 18
percent increase for the next season. This is clear and direct proof of the Tour’s monopsony power,
the benefits of LIV Golf’s competitive entry, and the harm to competition and the Player Plaintiffs if

the Tour is permitted to destroy LIV Golf's nascent entry.

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114. In October 2021, the Tour announced it would increase the purse size for the Players
Championship by $5 million (from $15 to $20 million) and would provide players with a $50,000
bonus if they compete in 15 PGA Tour events.

115. In December 2021, the Tour published its increased purse size for 2022 (increasing from
$367 million to $427 million in aggregate) including: (1) increasing FedEx Cup bonus pool from $60
million to $75 million; (2) increasing Top 10 Comcast Business Tour bonus from $10 million to $20
million; (3) increasing the Player Impact Program prize pool from $40 million to $50 million; and (4)
making official the October 2021 compensation announcements.

116, In December 2021, the Tour also disclosed initial plans to copy LIV Golf’s team-goif,
international, prestigious, exclusive, no-cut, high purse, tournament format. Whereas the Tour and its
spokespersons had previously used LIV Golf’s new format as an excuse for justifying their opposition
to the new entrant, the Tour’s announcement that it planned to knock off LIV Golf’s format revealed
that any opposition based on the new format was merely pretext. And again, the Tour’s response to
LIV Golf’s innovations demonstrates the benefits of competition.

117. In February 2022, the Tour leaked further information about its plan to copy LIV Golf’s
ideas in creating a fall series of team events with high purses and no cuts. With that announcement,
the Tour also discussed further plans to increase player compensation, reflecting further competitive
benefits of LIV Golf's nascent entry.

118. The increased purses and bonuses that the Tour offered in response to LIV Golf's
anticipated entry were, however, a half-measure. They are materially less than the compensation the
players would earn in a competitive labor market. In a nutshell: before LIV Golf's anticipated entry,
the Tour’s market power and the barriers to entry it had created allowed the Tour to compensate its
players at levels substantially below what would exist in a competitive market. In response to LIV
Golf's attempted entry, the Tour increased player compensation on numerous occasions, but still at less
than competitive levels. For example, LIV Golf offers tournament purses between 200 percent to 300
percent higher than PGA Tour’s purses, including guaranteed income to all participants. The lowest
purse on the LIV Golf tour is millions of dollars greater than the largest purse ever offered by the PGA

Tour. The point at which compensation becomes competitive will be determined only when the Tour

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is enjoined from using its anticompetitive threats, retaliations, and restrictive contractual provisions,
and has to compete on a level playing field with LIV Golf to secure players’ services.

119. Nonetheless, even the early effects of the threat of competitive entry were striking. The
Tour increased player compensation several times in response to the potential competitive entry of LIV
Golf, totaling $735 million in a matter of a few months. This is clear and direct evidence of the Tour’s
monopsony power and the benefits of competition from LIV Golf. It is also direct evidence of the
harm to competition that will result if LIV Golf’s competitive entry is thwarted. Without the threat of
competition from LIV Golf, the Tour would again face neither competition nor any reasonable
likelihood of competition in the future. The Tour would then have both the ability and incentive to
suppress player compensation to the sub-competitive levels that existed in the decades before LIV Golf
launched.

120, In response to the increased compensation from the PGA Tour, players recognized that
the threat of competitive entry prompted the changes:

i. Plaintiff Mickelson: “I’m appreciative of the fact that there is competition, and
that leverage has allowed for a much better environment on the PGA Tour,
meaning we would not have an incentive program like the PIP [Player Impact
Program] for the top players without this type of competition. We would not
have the increase in the FedEx Cup money. We would not have the increase in
the Players Championship to $20 million this year if it wasn’t for this threat.”

ii, Joel Dahmen: “The PGA Tour... magically come up with $40 million for PIP
and then there paying us all 50 grand to play 15 events, which is another X
million dollars. ‘That’s like, $50 million they just magically found laying
around overnight. The money is there. There’s a way to do it.”

ili. Jason Kokrak: “I’m curious to see if the PGA Tour would’ve ever increased
any of that without this competition.”
121. As PGA Tour Member and then-PGA Tour Policy Board Member Jordan Spieth said,
“] think as a player overall it [competition from LIV Golf] will benefit us .... Tcan only say from my

point of view I think that it’s been beneficial to the players to have competition.” PGA Tour member

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Rickie Fowler said, “I think competition is a good thing, and in business, whatever it may be... . if
you're trying to be the best, you want to find ways that you can be better than your competitors. It goes
through sport, business, tours, whatever it may be.” And Mr. Fowler noted that these new tours are
coming about because the PGA Tour’s stale product left players frustrated: ‘“‘These tours or leagues,
however you want to classify or call them, they wouldn’t really be coming up if they didn’t see that
there was more opportunity out there. I’ve always looked at competition being a good thing. It’s the
driving force of our game.”

122. Then, after LIV Golf had achieved some success with its first LIV Golf Invitational
Series event and contracting with some popular golfers, the Tour managed to come up with yet more
money to try to deter golfers from leaving the Tour for LIV Golf. On June 21, 2022, just days after
LIV Golf London Invitational, the Tour copied LIV Golf’s concept of limited field, no cut, team events
with high purses, and announced its version of the events to begin in 2023. In that announcement, the
Tour announced another increase of approximately $54 million to existing events and, in total, over
$100 million purse increases across all of its events. In its announcement to its players, the Tour
admitted the increase came from its “reserves.” The Tour had the money, but didn’t compensate the
athletes or seek to offer innovative tournament ideas until LIV Golf introduced actual—albeit fragile-—
competition in the relevant market. On August 1, 2022, the Tour announced the purse amounts for the
entire 2022-2023 schedule, which totaled a record $415 million in prize money in official events and
another $145 million in bonuses—further showing how competition from LIV Golf caused the Tour to
increase compensation for players.

123. The stick. The Tour’s increased purses were not successful in deterring player interest
in LIV Golf. As noted, the Player Plaintiffs and other players recognized that competition was good
for the game of golf and for them, and the promise of true competition for their services fueled player
interest in LIV Golf, which offered a more desirable format, more favorable terms for the Player
Plaintiffs and other players (such as owning their media rights), and far greater compensation than the
Tour was offering even with the recent increases in compensation. As a result, in a desperate effort to
thwart competitive entry and protect its monopoly position, the Tour launched a campaign of threats

against its own members, including the Player Plaintiffs, that promised career destruction for any

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players who joined LIV Golf.

124. After news broke in April 2021 that LIV Golf made formal offers to a number of the
top players in the world, on May 4, 2021, Commissioner Monahan addressed a meeting of Tour players
(including the Player Plaintiffs) and informed the players that any golfer who joined LIV Golf would
immediately lose their status as a PGA Tour member and face a lifetime ban from the PGA Tour. The
players, including the Player Plaintiffs, were understandably intimidated by the Tour’s threat.

125. The Tour intended its threat of lifetime ban to be a serious deterrent. It was. The
prospect of leaving the Tour for an upstart golf promoter that could not guarantee its long-term
existence, under threat of a lifetime ban from the incumbent monopsonist, was prohibitively risky. If
banned from the Tour, the player would face a serious risk of being foreclosed from pursuing his chosen
profession, a harrowing prospect for any golfer, and particularly younger golfers capable of 20 or more
years of elite play.

126. In the 24 hours after the Tour announced that it would impose a lifetime ban on players
who join LIV Golf, and after the Tour leaned on them for support, other entities in the golf “ecosystem”
issued public statements reinforcing and expanding the Tour’s threat:

e Seth Waugh, the CEO of the PGA of America, which sponsors the PGA
Championship, publicly indicated the PGA of America’s support for the PGA Tour
and the European Tour in excluding competition from the “ecosystem of the
professional game.” He stated: “We are in full support of the PGA Tour and the
European Tour regarding the current ecosystem of the professional game.”

e Augusta National, which sponsors the Masters, issued a statement that “Fi]he PGA
Tour and European Tour have each served the global game of golf with honor and
distinction... . As it has for many decades, the Masters Tournament proudly
supports both organizations in their pursuit to promote the game and world’s best
players.”

e A spokesperson for the R&A, which sponsors The Open, stated, “we have deep
relationships with the [PGA Tour and the European Tour] and are supportive of

them.”

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127. When the Tour learned that LIV Golf was continuing to talk with players’
representatives (including the Player Plaintiffs’ representatives) despite the threat of lifetime bans, the
Tour threatened certain of the players’ representatives, saying that it would harm the representatives’
and the players’ business interests if they continued to engage in discussions with LIV Golf. These
threats to players’ representatives highlight the pretext in the Tour’s assertions that it is merely
enforcing its own rules. No Tour rule grants it the authority to threaten the business of a player’s agent
or representative if a player participates in a LIV Golf tournament. And there is no conceivable
procompetitive justification that could support such bullying. The Tour’s actions are transparently
anticompetitive, as they are aimed purely at kneecapping competition from LIV Golf before it can get
off the ground and threaten the Tour’s monopoly.

128. Furthermore, the Tour threatened—without basis—the Player Plaintiffs, their
representatives, and other players and their representatives, that the Tour would withhold players’
vested retirement funds if they were to join LIV Golf. Again, this threat is not justified under any Tour
rule, but rather is targeted purely at undermining LIV Golf's competitive entry.

129. Several player representatives, including those of the Plaintiffs, were threatened that the
Tour would use its connections to pressure their sponsors to revoke sponsorship agreements were they
to join LIV Golf. Upon information and belief, the Tour successfully pressured sponsors to revoke
player sponsorships. This conduct is not justifiable as the enforcement of any Tour rule, but instead is
a transparent use of the Tour’s muscle to attack players in order to undermine LIV Golf's competitive
entry.

130. Through all of these actions, the Tour has harmed both the Player Plaintiffs and LIV
Golf. Furthermore, the Tour’s continued anticompetitive bullying aimed at any players or other parties
who do business with LIV Golf (including the Player Plaintiffs) presents a severe threat of thwarting
LIV Golf’s nascent competitive entry. [If not enjoined by the Court, the Tour’s ongoing anticompetitive
conduct threatens to irreparably harm LTV Golf, the Player Plaintiffs (both as direct targets of the Tour’s
anticompetitive conduct and as sellers into the market in which the Tour aims to secure its monopsony

power), and competition itself.

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The Tour Uses Its Strategic Alliance with the European Tour to Exclude LIV Golf and Its
Partners from the “Ecosystem”

131. Before the PGA Tour formed an illegal alliance with the European Tour, the European
Tour was a willing partner for prospective innovators and entrants into the global golf ecosystem. This
included Golf Saudi and the Saudi investors who ultimately sponsored LIV Golf. For example, in a
panel discussion in 2019, European Tour CEO Keith Pelley asserted that Saudi Arabia “are at the
forefront of helping us develop the game.” In fact, the European Tour partnered with Golf Saudi in
launching the Saudi International, co-sanctioning the tournament for three years from 2019 to 2021,

132. While the Tour and those it has leaned on now use the Saudi sponsorship of LIV Golf
as a weapon to smear LIV Golf and the golfers (including the Player Plaintiffs) who play in LTV Golf
events and justify their attacks on the golfers, Mr. Pelley’s statements reveal that attacks on the Saudi
sponsorship of LIV Golf are pure pretext. The Tour had no problem entering into a partnership with
the European Tour at the same time that the European Tour co-sanctioned the Saudi International and
while Mr. Pelley gushed about the prospect of partnering with Golf Saudi to grow the sport. And the
Tour has no problem accepting its own sponsorship money from companies that do billions of dollars
in business with Saudi Arabia each year. An estimated 23 PGA Tour sponsors conduct regular business
with Saudi Arabia each year—an estimated $40 billion dollars of business with Saudi Arabia. That the
PGA Tour eagerly does business with these companies while criticizing golfers for playing on a tour
primarily sponsored by the Public Investment Fund of Saudi Arabia is simply hypocrisy. And it
exposes as pretext any notion that the Tour is orchestrating an attack on the players because the Tour
is somehow unable to do business with anyone who has business connections to Saudi Arabia. The
Tour’s campaign to destroy these players is about defeating competition even at the cost of punishing
its own members.

133. The European Tour’s support for Golf Saudi changed starkly once the European Tour
entered into its alliance with the PGA Tour and when Golf Saudi supported a potential competitive
entrant to the PGA Tour.

134. The Tour’s agreement with the European Tour to form a group boycott to block
competitive entry that could challenge the PGA Tour’s dominance is a matter of public record. For

example, on May 4, 2021, the European Tour released a statement that “we are aligned with the PGA
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Tour in opposing an alternative golf league, in the strongest possible terms.”

135. Just over a week later, on May 12, 2021, European Tour Commissioner Keith Pelley
wrote to representatives of Golf Saudi, noting its understanding that “Golf Saudi appears to be leading
the current pursuit of a new golfing enterprise, referred to widely as the Super Golf League or [LIV
Golf.” Commissioner Pelley wrote that the European Tour believed Golf Saudi was “talking to our
members about joining this rebel enterprise.” In an effort to deter Golf Saudi from supporting a new
entrant, Commissioner Pelley threatened that the European Tour would refuse to co-sanction the Saudi
International (which the European Tour had co-sanctioned since 2019) unless Golf Saudi “publicly
denounce[d] [LIV Golf].”

136. Commissioner Pelley also made clear that his threats to Golf Saudi were in furtherance
of the European Tour’s anticompetitive agreement with the Tour to lock arms in a global “ecosystem”

to foreclose LIV Golf's entry:

We had, and indeed still have, aspirations of working with Golf Saudi in
continuing to build the Saudi International into a world class event, and indeed
look for other opportunities and have shared this view with our Strategic
Alliance partners at the PGA TOUR.

It is, however, impossible for us to continue those discussions while Golf Saudi
is championing an alternative Tour that we believe is detrimental to both the
European Tour, the PGA TOUR and global professional golf. I know PGA
TOUR Commissioner Jay Monahan feels the same.

We would therefore encourage you in the strongest possible terms to publicly
denounce SGL as soon as possible which would allow us to reopen dialogue

about the Saudi International and how Golf Saudi, operating inside the
ecosystem, could resume the joint vision we began in 2017.°

137. The Tour and the European Tour also threatened other prospective partners of LIV Golf,
making clear that they will seek to punish those who support LIV Golf by excluding them from the so-
called world golf “ecosystem.” For example, LIV Golf sought to enter into a relationship with the
Asian Tour to co-sanction LIV Golf’s tournaments to ensure that players would qualify for OWGR
points (which, as described above, is essential to the long-term success of an elite level tour) and to

establish a broader relationship for investment in the Asian Tour to grow the sport globally. In

5 “SGL” in Commissioner Pelley’s email stands for Super Golf League and refers to the entity and

potential entrant that is now known as LIV Golf.
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response, the European Tour sent a list of “Consequences” to the CEO of the Asian Tour—aunder the
logos of the European Tour and the PGA Tour-—-that the Asian Tour would suffer if tt entered into any
partnership with LIV Golf. Those consequences included (1) eliminating a “[p]athway for Asian Tour
members onto European Tour,” (2) taking away “[e]xisting tournaments we co-sanction, totaling in
excess of US$10m of prize money and 250 playing opportunities,” (3) eliminating all future “co-
sanctioned tournaments between the European Tour/PGA TOUR and Asian Tour” and (4) the Asian
Tour would lose its “[p]osition within existing global golf ecosystem.” Notably, the European Tour
and Tour threatened not only to punish the Asian Tour directly, but to punish golfers on the Asian Tour
by eliminating a “pathway for Asian Tour members onto [the] European Tour” and by removing prize
money that had previously been available to Asian Tour members. Despite these threats, LIV Golf
was able to offer constructive collaboration and investment in the Asian Tour sufficient to convince
the Asian Tour to partner with LIV Golf in the face of the threats from the European Tour and Tour.

138. Despite these threats, LIV Golf and its sponsors continued in the effort to work
constructively with existing golfing bodies to grow the sport. For example, on July 5, 2021,
representatives of the entities that would sponsor LIV Golf met in Malta with leaders of European Tour.
They presented an offer that would have made the European Tour a partner in innovating in the sport
worth up to $1 billion for the European Tour. As reflected in the meeting minutes provided by a
representative of the European Tour’s title sponsor (DP World), the representatives from European
Tour were “[g]rateful for the detailed work and preparation” and “[c]onfirmed” the LIV Golf series
had “appeal and fit.” However, the European Tour representatives “stated main issue is US PGA
mighty power and need to avoid a collision course between ET and PGA.” Simply put, partnering
with LIV Golf was good for the European Tour, its members, and the sport of golf, but the European
Tour feared the “mighty power” of the PGA Tour, turning down the opportunity to partner with LIV
Golf because of its “need to avoid a collision course between ET and PGA.”

139. When Golf Saudi did not yield to Commissioner Pelley’s May 2021 demand that it
“publicly denounce” LIV Golf, the European Tour followed through on its threat to refuse to continue
sanctioning the Saudi International. Then, in August 2021, the Tour announced through the press that

it would not grant any PGA Tour members conflict releases for the Saudi International as it had done

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since 2019, because the Saudi International was no longer sanctioned by the European Tour.

140. Inresponse to the PGA Tour’s threats to deny releases to play in the Saudi International,
the players expressed their concerns:

a. Sergio Garcia: “When you get banned from playing, or whatever, it hurts the game. ...
People want to see us play all around the world and enjoy us wherever we go.”

b. Rory Mellroy: “My view as a professional golfer is I’m an independent contractor, I
should be able to play where I want if I have the credentials and I have the eligibility to
do so.... Just the one thing I would worry about is if guys want to go to Saudi and they
are going to make ten percent of their yearly income just by going and playing and [the
PGA Tour is] restricting them from doing that, punishing them, that creates resentment
for the players and that creates a problem between the tours.”

c, Xander Schauffele: “I feel like there just needs to be some sort of counter in the way
certain things work. I’ll try and do what | need to do, and they’ II tell me what I can and
can’t do at a certain point, but I feel like they need to counter. They can’t just tell me
no, you can’t do this and then just kick rocks, kid. That’s not really how Id want to do
things.”

141. Despite the Tour’s threat, the demand from the Tour members to play in this non-Tour-
sanctioned event was so strong that over 30 players (including Plaintiffs Mickelson and DeChambeau)
sought releases to play in the Saudi International. In response to this pressure from the players, the
Tour granted the release requests under the Conflicting Events and Media Rights Regulations, but
imposed conditions on the players (including Plaintiffs). The Tour informed players that the
Regulations fully supported the denial of the players’ requests but that it would permit players to play
in the Saudi International provided that: (1) players who have not played in the AT&T Pebble Beach
Pro-Am (a PGA Tour event that takes place annually in this district) at least once in the last five years
must commit to playing Pebble Beach at least twice in the next three years; and (2) players who have
played Pebble Beach at least once in the last five years must commit to play Pebble Beach at least once
in the next two years. The Tour did not impose these conditions and restrictions when it granted past

releases—it did so only after Golf Saudi refused the threat to denounce and boycott LIV Golf,

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142. In a message to European Tour members, Commissioner Pelley made clear that the
opposition to having players participate in the Saudi International, which the European Tour had co-
sanctioned from 2019 to 2021, was an attack on competition from LIV Golf, which he described as “a
clear existential threat.” As Commissioner Pelley stated, “we have done everything we can to
encourage the Asian Tour and LIV Investments to play within our ecosystem,” letting golfers play for
a partner of LIV Golf would “damage” our business. Commissioner Pelley was blunt in conceding that
the tours are acting to protect their own business interests, which diverge from the interests of the
players whom they are supposed to support: “We want the best for our members but at the same time
will vehemently do everything we can to protect your Tour.”

143. Similarly, on December 16, 2021, the PGA Tour and European Tour flexed the muscle
of their group boycott and made good on their threats to the Asian Tour. After the Asian Tour accepted
investment and partnership with LIV Golf, Asian Tour CEO Cho Minn Thant received a call from
Martin Slumbers, the CEO of the R&A, which hosts The Open. Mr. Slumbers told Mr. Thant that the
R&A would end its years-long practice of giving the Asian Tour Order of Merit winner entry into The
Open because the PGA Tour and European Tour, with whom the R&A was aligned, were displeased
about LIV Golf’s investment in the Asian Tour. Days later, the media confirmed the R&A would
revoke the Asian Tour Order of Merit winner’s entry into the Open, identifying punishment of LIV
Golf as the basis for harming individual Asian Tour players. Once again, the Tour and those it was
pressuring were attacking LIV Golf and its partners by punishing golfers who had any association with
LIV Golf.

144, As LIV Golf's player recruitment efforts continued, the Tour encouraged the European
Tour to tighten its grip on its members and ensure they would not leave the “ecosystem” to play with
LIV Golf. In threatening and imposing punishment on European Tour members, Commissioner Pelley
made clear that it was doing so (1) pursuant to its agreement with the PGA Tour, (2) in an effort to
thwart competition from LIV Golf, and (3) that the punishments were aimed at coercing players to act
contrary to their individual interests. For example, on April 19, 2022, Commissioner Pelley wrote to
European Tour members, reminding them of the European Tour’s Conflicting Events Regulation. He

stated: “Conflicting events, regardless of how attractive they might appear to you personally,

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potentially compromise our efforts in these areas and could significantly hurt your Tour in both the
short and long term.” He continued: “Please, therefore, continue to bear this bigger picture in mind,
particularly considering some of these conflicting events in 2022 are scheduled directly opposite some
of our most prestigious ‘heritage events.”” He also stated: “We are unwavering in our belief that
working together with PGA Tour .. . will make our sport less fractured and benefit global golf.”

145. As part of their concerted efforts to tighten the reins, on June 24, 2022, the PGA Tour
and European Tour suspended golfers who participated in the initial LIV Golf tournament from their
three co-sanctioned events—the Scottish Open, Barbasol, and Barracuda Championships—and fined
the suspended golfers €100,000. They further threatened to double the sanctions for future violations
(which all participants in the second LIV Golf tournament in Portland, Oregon had already committed).

146. Just four days later, on June 28, 2022, the PGA Tour and the European Tour announced
a further agreement to solidify their strategic alliance whereby: (1) the PGA Tour invested more in the
European Tour Productions (the European Tour’s media arm) to take a 40 percent share; and (2) the
PGA Tour arranged for the European Tour to be a direct feeder tour into the PGA Tour, with the top
10 performing golfers on the European Tour earning PGA Tour cards. In a press conference
announcing the agreement, when asked whether players who play in LIV Golf events could earn the
tour cards, European Tour Commissioner Pelley and PGA Tour Commissioner Monahan both
struggled to answer, until Commissioner Pelley conceded their plan to impose total bans on golfers
who participate in LIV Golf events: “This won’t come into place until next year and [ honestly don’t
think we’ll have that problem by then” because LIV Golf players will not be permitted to play on the
European Tour to earn a PGA Tour card.

147, The PGA Tour’s agreement with the European Tour to form a group boycott against
LIV Golf and its players is further reflected in the punishments the European Tour imposed on its
members who participated in LIV Golf events. The European Tour has historically considered playing
in a competing event without a release to be a minor breach of its Regulations, with a punishment of
€12,000 for a violation. In contrast, when its members participated in the first LIV Golf event, the
European Tour issued punitive sanctions at the behest of the Tour, including fines of approximately

€100,000 and suspensions from the three events the European Tour co-sanctions with the PGA Tour

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(but not other European Tour events not co-sanctioned by the PGA Tour), and threatened that
participating in further LIV Golf events would lead to double fines and suspensions. To engineer these
punishments, the European Tour first amended its regulations twice-—after entering into the illegal
alliance with the PGA Tour—to make the relevant violation of the European Tour’s Regulation a
“Serious Breach,” which would give the Commissioner discretion to punish players and expand the
scope of the Regulation.

148. On July 1, 2022 three of the golfers suspended from the co-sanctioned events, lan
Poulter, Adrian Otaegui, and Justin Harding, sued the European Tour to stay their suspensions and
allow them to participate in the Scottish Open. The players challenged the European Tour’s sanction
process as unfair and partial, and challenged the legality of its regulations. They also challenged the
sanctions as contrary to the European Tour’s interest, as tt was clear the European Tour was acting in
concert with the PGA Tour.

149, The matter was referred to an arbitrator (pursuant to European Tour rules and an
agreement between the players and the European Tour to stay the players’ suit), who granted the
players’ request to stay their suspension from the Scottish Open until the merits of their appeal could
be heard before an independent panel. The arbitrator reasoned that European Tour CEO and
Commissioner Keith Pelley undertook “no process . . . close to replicating the guidelines for a
disciplinary hearing” and “was on record as having made strong adverse public statements on LIV,”
and, as the European Tour stated itself, he was “‘necessarily partial.’”

150. On July 1, 2022, the PGA ‘Tour demonstrated its power over the European Tour, and
laid bare its anticompetitive motives in banning participants in LIV Golf events from its tournaments,
by banning from the co-sanctioned events in the United States (the Barbasol and the Barracuda) all
European Tour golfers in good standing who had played in the LIV Golf London Invitational. These
golfers were not members of the PGA Tour, and thus could not have violated any PGA Tour rule. And

even though they are members of the European Tour, they had not violated any European Tour rule

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because they were permitted by the European Tour to participate in the LIV Golf event.’ Nonetheless,
the PGA Tour barred these golfers from playing in co-sanctioned events, because the PGA Tour has a
policy of total foreclosure of LIV Golf players from any of its events.

151. On July 20, 2022, in furtherance of its agreement with the Tour to boycott LIV Golf and
those who associate with it, the European Tour removed Henrik Stenson as the European Team’s 2023

Ryder Cup Captain because he joined LIV Golf.
PGA Tour Leans on the Majors to Do Its Bidding Against LIV Golf

152. The Tour’s threats to impose bans on players who join LIV Golf are vastly strengthened
if the ban encompasses not only PGA Tour events, but also the four annual Major Championships—
the PGA Championship, the Masters, the Open, and the U.S. Open—as well as the biannual Ryder
Cup. Participating in and winning the Majors and the Ryder Cup are the ultimate goal of most top
professional golfers. And, in turn, one of the goals of playing on a tour each year is to secure
qualification to the Majors and the Ryder Cup. The Tour is aware that if it can foreclose LIV Golf
players from having access to these events—or even create enough credible doubt about whether
participation in LIV Golf will end a player’s chance of playing in those events—LIV Golf will find it
prohibitively difficult to sign and sustain a critical mass of players to field a competitive elite-level
tour. Accordingly, the Tour has pressured and encouraged the Major organizations to join its group
boycott and to prevent LIV Golf from entering the global golf ecosystem.

153. For example, PGA Tour Commissioner Jay Monahan wrote in his January 2020
Memorandum: “We have liaised with each [Major] organization to learn of its position regarding
Private Equity Golf.”

154. As with the Tour’s ramping up of its player threats over time as the threat of LIV Golf's
competitive entry has grown, the Tour’s pressure on the Major organizations has grown over time as
well. For example, as part of its strategy to pressure the Majors into doing its bidding, in July 2022,

the Tour had its 2022 Presidents Cup Captain and Hall of Fame Golfer Davis Love IIT use his position

6 The golfers did not need a release from the European Tour to play in the LTV Golf London event
because they had not qualified for the conflicting event on the European Tour. Thus, the golfers had

not breached any European Tour rule and were not subject to any discipline from the European Tour.
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and influence to publicly encourage Tour members to enter into a group boycott of the Majors if the
Majors do not ban all players who have played in LIV Golf. As Mr. Love stated, in encouraging a per
se unlawful group boycott among Tour members: “Well, here’s the biggest lever; and it’s not the nice
lever. But if a group of veterans and a group of top current players align with 150 guys on the Tour,
and we say, ‘Guess what? We’re not playing,’ that solves it, right? [If LIV guys play in the U.S. Open,
we’re not playing. If they sue in court, and they win, well, we’re not playing. You know, there won't
be a U.S. Open. It’s just Hike a baseball strike.” As Mr. Love’s comments make clear, the Tour and its
representatives view themselves as being above the law, exempt from the requirements of the Sherman
Act, and free to engineer a self-help group boycott aimed at frustrating any injunction entered by this
Court.

155. The PGA Championship and the Ryder Cup. The PGA of America is a separate entity
from the PGA Tour, which organizes the PGA Championship and co-organizes the Ryder Cup along
with the European Tour. The PGA of America has a representative, President Jim Richerson, on the
PGA Tour Policy Board. On May 4, 2021, during a time when LIV Golf was gaining momentum in
attracting players’ interest and on the eve of the PGA Championship in South Carolina, the CEO of the
PGA of America, Seth Waugh, stated publicly that the PGA of America was aligned with the Tour in
opposing LIV Golf’s competitive entry. Specifically, he said, “We [PGA of America] are in full
support of the PGA Tour and the European Tour regarding the current ecosystem of the professional
game.” Then, two weeks later, Mr. Waugh said that the PGA of America would ban players from
future PGA Championships and the Ryder Cup if they joined LIV Golf. Specifically, Mr. Waugh said,
“If someone wants to play on a Ryder Cup for the U.S., they’re going to need to be a member of the
PGA TOUR—excuse me, a member of the PGA of America, and they get that membership through
being a member of the TOUR. ... It’s a little murkier in our championship, but to play from a U.S,
perspective you also have to be a member of the TOUR and the PGA of America to play in our
championship, and we don’t see that changing.” Mr. Waugh went on to state, “I believe the Europeans
feel the same way. And so I don’t know that we can be more clear than that.” Mr. Waugh’s public
threat inaccurately characterized the PGA of America’s Constitution, as there are many ways to be a

member of the PGA of America beyond being a member on the PGA Tour.

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156. At the September 2021 Ryder Cup, PGA of America representatives privately
threatened golfers and their representatives that they would be banned from future Ryder Cups and the
PGA Championship if they jommed LIV Golf.

157. Mr. Waugh repeated the threat a year later at the 2022 PGA Championship. He said,
“As I] said, we’re a fan of the current ecosystem and world golf ranking system and everything else that
goes into creating the best field in golf. Right now we really—t don’t know what it’ll look like next
year. We don’t think this [LIV Golf] is good for the game and we are supportive of that ecosystem.
We have our own bylaws that we will follow towards those fields.” He was then asked by the media,
“Fm sorry do your bylaws preclude letting those players [players who played in LIV Golf] play?” Mr.
Waugh responded, “Not specifically, but our bylaws do say that you have to be a recognized member
of a recognized Tour in order to be a PGA member somewhere, and therefore eligible to play.”

158. And then, in June 2022, the 2023 PGA of America Ryder Cup Captain Zach Johnson
repeated the same unfounded threat and expanded it to suggest that Plaintiffs will not be eligible for
the 2023 Ryder Cup. When he was asked by the media whether a player who plays in LIV Golf will
be eligible for his 2023 Captain Picks, he responded, “The way that we’re members of the PGA of
America is through the PGA Tour. I'll let you connect the dots from there.”

159. The Open. The R&A, the global golf rules organization and promoter of The Open
Championship, has taken multiple actions to support the PGA Tour’s efforts to exclude LIV Golf. For
example, the R&A has taken away the Asian Tour’s Order of Merit winner’s entry into the Open
Championship in order to deter the Asian Tour from partnering with LIV Golf. Similarly, the CEO of
the R&A (Martin Shimbers) and the Chairman of Augusta National (Fred Ridley) called the CEO of
the Asian Tour (Cho Minn Thant) to threaten consequences relating to the Asian Tour’s position in the
current “ecosystem” if the Asian Tour continued to support LIV Golf and its LIV Golf Invitational
Series. More recently, in July 2022, the R&A demonstrated its alignment with the PGA Tour by
publicly disinviting two-time Open Championship winner Greg Norman from champions events at the
150th Open Championship because he is the CEO of LIV Golf. The R&A also informed Mr. Mickelson
he was not welcome. And, at the Open Championship in July 2022, R&A CEO Martin Slumbers

suggested that players who play in LIV Golf may not be eligible or qualify for future Open

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Championships, and that it would be harder for them to make it in the tournaments.

160. The Masters. Augusta National, the promoter of The Masters, has taken multiple actions
to indicate its alignment with the PGA Tour, thus seeding doubt among top professional golfers whether
they would be banned from future Masters Tournaments. As an initial matter, the links between the
PGA Tour and Augusta National run deep. The actions by Augusta National indicate that the PGA
Tour has used these channels to pressure Augusta National to do its bidding. For example, in February,
2022 Augusta National representatives threatened to disinvite players from The Masters if they joined
LIV Golf. In addition, Augusta National Chairman Fred Ridley personally instructed a number of
participants in the 2022 Masters not to play in the LIV Golf Invitational Series. Plainly, these threats
to top players served no beneficial purpose, as they would only serve to weaken the field in the Masters.

161. In May, 2022 the PGA Tour also encouraged Augusta National representatives to attend
Tour Player Advisory Council meetings to discuss ramifications for players participating in LIV Golf
events, further demonstrating how the Tour has leaned on Augusta National to aid it in dissuading
golfers from joining LIV Golf.

162. And, when LIV Golf CEO Greg Norman asked Mr. Ridley if he would meet with him
to understand LIV Golf’s business model and discuss how LIV Golf could operate in the existing
professional golf world, Mr. Ridley declined the invitation—another example of LIV Golf trying to
work with existing golfing entities and being turned away before even getting an opportunity to show
them what LIV Golf is about.

163. In addition, the Tour and others are utilizing their positions on the Governing Board of
the OWGR to create enough credible doubt about whether LIV Golf will be eligible for OWGR points
and whether players who participate in OWGR will be able to earn points playing in LIV Golf
tournaments.

The Tour Announces Policy to Permanently Ban Players Who Join LEV Golf

164. Between January 2020 and February 2022, the Tour increased the severity of its threats
of punishment to any player who would consider joining LIV Golf, as well as threats to the players’
representatives and entities involved in golf sponsorship and advertisement. These threats, both

individually and in combination, were anticompetitive acts that harmed Plaintiffs and tortiously

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interfered with the Plaintiffs’ business relationships.

165. With multiple press reports in early 2022 describing LTV Golf’s forward momentum
and reporting that LIV Golf was nearing the critical mass needed to launch its tour, the Tour once again
increased its threats to the players. In February 2022, the Tour gathered the agents of players (including
the Player Plaintiffs’ agents) who were assembled for a Tour event in Los Angeles, California and
informed them that the Tour would impose a lifetime ban on any player who signed with LIV Golf.
This threat was a significant deterrent for players to take the risk to join LIV Golf. At that time, LIV
Golf had not held its first tournament, and there was simply too great of a risk of career destruction in
the face of such unlawful and brazen threats. For example, one star player, who had been in favor of
joining the LIV Golf League before the threat, stated that younger players were “s***ting in [their]
pants” in response to this threat, and that he was not sure how LIV Golf could get the players it needed
with the Tour’s lifetime ban threat.

166. On February 22, 2022, Commissioner Monahan addressed a meeting of Tour players at
the Honda Classic and reiterated that any player who joined LIV Golf would receive a lifetime ban
from the Tour. According to an article quoting an anonymous player present at the meeting,
Commissioner Monahan told players that if they were going to play in the league operated by LIV Golf
to “walk out that door now” and “made the ban seem like it was in all capital letters.”

167. The Tour’s threats of punishment and career destruction greatly affected LIV Golfs
ability to sign enough elite professional golfers to fill out its League. Some players (including Plaintiff
DeChambeau) who had previously signed contracts with LIV Golf were forced to publicly profess
loyalty to the Tour. Other players who had previously agreed in principle to all terms with LIV Golf
informed LIV Golf that they now could not sign, and instead publicly professed loyalty to the Tour.
Players who had been enthusiastic about joining LIV Golf informed LIV Golf that they regrettably
could not join in light of these threats. Just as Commissioner Monahan had predicted in his 2020
Memorandum outlining the PGA Tour’s plan to attack a new entrant, a competing tour without player
support would prove unable to pose a competitive threat to the PGA Tour.

168. The Tour’s lifetime ban policy had its desired effect, as LIV Golf League’s 2022 launch

plan died. LIV Golf was injured by having its launch plans derailed. And Player Plaintiffs were injured

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by losing the opportunity for increased playing and income opportunities and sustained competition for
their services.
LIV Golf Invitational Series

169. Forced to scrap its plans for a 2022 launch of the League, LIV Golf regrouped and
developed a substantially scaled-down launch plan that became known as the LIV Golf Invitational
Series. The Invitational Series did not include franchised teams or other planned League features, and
promised two fewer events in 2022. Instead, on March 16, 2022, LIV Golf announced that the
Invitational Series would feature an eight-event series showcasing a new golf format starting in June
2022. The format features both individual and team play, and offers more than $250 million in prize
purses. The first seven LIV Golf Invitational Series events each carry a purse of $25 million, comprised
of $20 million in individual prizes (all players in the field earn a share) and $5 million, split among the
top three teams. Following the first seven LIV Golf Invitational Series events, an Individual Champion
will be crowned and a $30 million bonus prize will be split among the top three individual performers
throughout the series. The eighth LIV Golf Invitational Series event will be a Team Championship
that will provide an additional $50 million in total prize funds. The LIV Golf Invitational 2022
schedule started with the LTV Golf London Invitational on June 9-11, 2022, the LIV Golf Portland
Invitational at the Pumpkin Ridge Golf Club on June 30—July 2, 2022, and the LIV Golf New York

Invitational in Bedminster, New Jersey on July 29-31, 2022. The remaining LIV Golf scheduled events

are:

¢ Sept.2-4: The International —- Boston, Massachusetts

e Sept. 16-18: Rich Harvest Farms — Chicago, Illinois

¢ Oct. 7-9: Stonehill Golf Club — Bangkok, Thailand

* Oct. 14-16: Royal Greens Golf Club — Jeddah, Saudi Arabia

* Oct. 28-30: Trump Doral Golf Course — Miami, Florida

170. During weeks in which there is no LIV Golf Invitational Series tournament, LIV Golf
encourages players to play wherever they choose, including Tour events, other events on other tours,
or events that might be created in the future (and which are currently prevented from developing

because of the Tour’s restrictive rules).

171. While LIV Golf has moved forward with its scaled-down plans for the Invitational

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Series, it has incurred financial losses that were far more severe than it would have incurred if its
original launch plans had not been derailed by the Tour’s anticompetitive conduct. These losses are
partly due to the supracompetitive increases to player-acquisition costs it has incurred in light of the
Tour’s anticompetitive conduct, and partly due to the loss in revenue-gencrating opportunities as a
result of the scaled-down nature of the Invitational Series in comparison to the original plans for the
League.

Efforts to Prevent and Harm LIV Golf’s Invitational Series

172. On March 15, 2022, LIV Golf Commissioner and CEO Greg Norman sent emails
regarding the LIV Golf Invitational Series to approximately 250 top professional golfers (including
Plaintiffs). The Player Plaintiffs were excited that LIV Golf was going to host tournaments despite the
obstacles the Tour put in its path. On March 23, 2022, LIV Golf formally invited the same group of
players to participate in the LIV Golf Invitational Series. Several players (including the Player
Plaintiffs) reached out to LIV Golf to say that they were interested in playing in the Invitationals, but
they were concerned about doing so in light of the Tour’s threats to players. The Player Plaintiffs
remained interested in LIV Golf and continued discussions, as did others.

173. The Player Plaintiffs and many other players (at least 170 golfers) filed entry
applications for LIV Golf Invitational Series’ first event. The Player Plaintiffs and, on information and
belief, some 80 Tour members sought conflicting events and media rights releases from the PGA Tour
under the Conflicting Events and Media Rights Regulations.

174. In furtherance of its monopoly and its monopsony and its illegal agreement with the
European Tour, on May 10, 2022, the Tour denied a// requests from Tour members to participate in
LIV Golf Invitational Series events. The denials were striking, because the Tour has historically
granted releases to players to permit them to participate in events outside the U.S., but in this case the
Tour issued an across-the-board denial for an event taking place in London. [n its letter to the players
denying the release requests, the Tour made clear that the reason it was departing from past practice

was that LIV Golf planned to compete against the PGA Tour in North America:

While releases have been granted in limited circumstances for one off-events
outside North America or for events outside of North America on tours based
exclusively outside of North America, the event for which you have requested

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a release is the first in an eight-event “2022 LIV Golf Invitational Series”
season, and more than half of them will be held in the United States.

175. There is no possible procompetitive justification for the denial, particularly because—
as the Tour acknowledged—it would have granted the release for another event or tour that was not
trying to compete against the Tour. This was simply an effort to defeat competition.

176. Then, unsatisfied with prohibiting all current Tour members from participating in LIV
Golf events, the Tour extended its threat college golfers, explaining that if they played in any LIV Golf
events they would be banned from entry into the PGA Tour University program, which provides top
college golfers entry into the Tour’s developmental tour (Korn Ferry Tour). Again, this action served
no procompetitive purpose, nor could it plausibly be justified as an enforcement of any Tour member
regulations, because the college golfers threatened by the Tour are not Tour members and are not bound
by any Tour rules or regulations. Instead, this was simply aimed at thwarting competition by preventing
LIV Golf from being able to secure top golfers to participate in its tournaments.

177. On May 17, 2022, the European Tour acted in concert with the Tour and sent notices to
its members denying them permission to participate in the LIV Golf Invitational Series event in
London. The European Tour stated that the basis for the denial is that the LIV Golf Invitational Series
event will compete with its European Tour event. Notably, however, the European Tour historically
did not deny golfers’ requests to participate in conflicting events.

178. In response to these threats, LIV Golf was forced to commit to substantial up-front
payments to a number of top golfers to convince the players to take on the risk of punishment from the
Tour, as well as the risk of lost sponsorships and other injuries orchestrated by the Tour. These
substantial payments have greatly increased LIV Golf’s costs of launching its Invitational Series, and,
if the Tour’s conduct is not enjoined, the ongoing cash outlays significantly threaten the long-term
viability of LIV Golf. Notably, however, while the increased payments have harmed LIV Golf, they
also have not fully compensated the Player Plaintiffs for all of the injuries they have suffered as a result
of the Tour’s anticompetitive conduct, including both uncompensated monetary injury and ongoing
irreparable injury in the form of lost professional playing and other opportunities that cannot be
compensated through monetary relief. As such, both the Player Plaintiffs and LIV Golf have been

injured and continue to suffer irreparable injury as a result of the Tour's anticompetitive conduct.
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179. On May 31, 2022, LIV Golf announced the field for its London Invitational. In that

announcement, the field included 16 PGA Tour players, 22 European Tour players, three promising

young amateurs, and a number of other top players from across the world. Players were very interested

in the product. But it was not the quality of field LIV Golf set out to have and was not the field of

players LIV Golf would have had but for the PGA Tour’s unlawful regulations and threats.

180. Tour members who agreed to participate in the LIV Golf London Invitational publicly

expressed the difficulty of doing so in light of the Tour’s conduct.

a.

For example, the agent for PGA Tour member Dustin Johnson released a
statement that: “Dustin has been contemplating this opportunity off-and-on for
the past couple of years. Ultimately, he decided it was in his and his family’s
best interest to pursue it. Dustin has never had any issue with the PGA Tour and
is grateful for all it has given him, but in the end felt this was too compelling to
pass up.”

Plaintiff Matt Jones averred that participating in the LIV Golf Invitational Series
“was a good business opportunity for me and my family. I like the concept, the
idea of the three-day tournaments, [and] the team format aspect of things is great.
L have thought about that [threat of punishment from the PGA Tour], which is
something { had to weigh. | don’t think banning players is a good look for the
PGA Tour, or for golf in general.”

PGA Tour member Graeme McDowell stated, “[t]he perceived consequences
are definitely concerning. It was an exceedingly difficult decision. It is a
difficult decision as a player when there’s so many unknowns. We do not know
what the reaction is going to be. It just boils down to the fact that I am a business
and I have operated all over the world for 20 years. This is a compelling

opportunity.”

181. Other Tour members who agreed to compete in the LIV Golf London Invitational

welcomed the innovations LIV Golf brought to the game. Player Plaintiff Swafford stated that LIV

Golf's “[s]chedule is very enticing to a guy who has two small kids. [ think the format, the team aspect,

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is going to be incredible. Look at Zurich [the Zurich Classic of New Orleans, which is a two-man team
event], putting teams together turned an event that was in a tough part of the schedule into one that gets
some incredible fields. I’m really looking forward to seeing how that works.”

182. After the LIV Golf field was announced, the PGA Tour Player Advisory Council held
an emergency meeting with representatives from Augusta National present. They informed the golfers
in attendance that the PGA Tour and Augusta National had agreed to work together to address LIV
Golf. As described above, the threat of exclusion from the Masters (and the other Majors) is a powerful
weapon in the Tour’s arsenal to deter players from joining LIV Golf,

183. On information and belief, the Tour also ramped up its pressure on sponsors to prevent
them from doing business with players who join LIV Golf, including pressuring a number of sponsors
to sever longstanding relationships with players.

184. The Tour also continued its campaign of direct pressure on players to seek to convince
them to withdraw from the LIV Golf event. The Tour sent letters to all Tour members listed in LIV
Golf’s May 31, 2022 press release, notifying them they were in violation of the PGA Tour Member
Regulations and that the Tour Commissioner would take “appropriate course of action” against the
players unless they withdrew from the LIV Golf Invitational Series event “in a manner reasonably
satisfactory to the [PGA] Tour within forty-eight (48) hours.” The European Tour sent similar notices
to its members who were included in the LIV Golf Invitational Series field.

185. The PGA Tour also enforced its Regulations on players agreeing to participate in LIV
Golf Invitational Series who had not even qualified for the Tour but are members of the developmental
Korn Ferry Tour owned by the PGA Tour (and subject to nearly identical Regulations). For example,
the PGA Tour applied its Regulations to prohibit Korn Ferry Tour members Mr. Uihlein and Turk Pettit
from participating in LIV Golf Invitational Series.

186. The PGA Tour also sent a letter to Andy Ogletree, a Korn Ferry Tour Member,
threatening him with punishment if he played in the LIV Golf event. In response, Mr. Ogletree reached
out to Tour Vice President of Competition Administration Kristen Burgess regarding the Tour’s denial
of his release request. Mr. Ogletree explained that he had not qualified for the conflicting event on the

Korn Ferry Tour taking place the same weekend as the London LIV Golf Invitational Series. Thus, his

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participation in the London LIV Golf Invitational Series event did not keep him from otherwise
participating in a Korn Ferry Tour event (or, for that matter, a PGA Tour events). Mr. Ogletree
informed the Tour that he had “spent thousands and thousands of dollars” in his unsuccessful effort to
play in Korn Ferry Tour and PGA Tour events. He asked the PGA Tour: “Should I just sit at home on
my couch next week and not make any money? It seems like this is your stance.” Mr. Ogletree also
noted the inconsistency of the Tour’s stance since it had given Mr. Ogletree a release to participate in
the Asian Tour International Series event from June 2-5, 2022 sponsored by LIV Golf. In response,
the Tour cited the fact the LIV Golf Invitational Series will host events in the United States—
specifically, that the LIV Golf Invitational Series competes with the Tour—as the basis for his event
release denial.

187. This episode highlights that there is no conceivable procompetitive justification for the
Tour’s punishment of players for participating in LIV Golf events. Mr. Ogletree was not going to play
in any PGA Tour or Korn Ferry Tour event that weekend, because he was not qualified by those tours
to participate in their events. The LIV Golf event thus did not pull Mr. Ogletree away from any PGA
Tour event. Instead, it simply provided an opportunity for a player to pursue his trade and earn
compensation, along with increasing overall output in the market. And yet the PGA Tour denied a
release for Mr. Ogletree and subjected him to discipline for the offense of playing in a tournament
when he otherwise would have been “just sit[ting] at home on [his] couch.”

188. It also demonstrates that the PGA Tour’s opposition to LIV Golf is not based on the
source of capital for LIV Golf events, The Tour granted a release to Mr. Ogletree to play in the Asian
Tour event that was funded by LIV Golf, because the Asian Tour is not competing with the PGA Tour.
But when Mr. Ogletree sought to participate in an event that the PGA Tour deemed a competitive
threat, the Tour denied the release and threatened punishment against him.

189. The Tour then went further to contact individually players who had chosen to play in
the LIV Golf Invitational Series. Among them was Player Plaintiff Gooch. PGA Tour Chief
Tournament & Competitions Officer Andy Pazder texted Mr. Gooch on June 2: “Just want to make
sure you understand the implications of playing without an approved conflicting event release.” Mr.

Gooch responded, “Davis [Love III] called yesterday and said jay [Monahan, PGA Tour

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Commissioner] is going to suspend, is this true?” In response, Mr. Pazder told Mr. Gooch that he
would be banned from the Tour for life if he played in one LIV Golf Invitational Series event: “Our
position has been that a player may choose to be a member of the Tour or to play in the Saudi/LIV
events, but he can’t do both. If the player chooses the latter, he should not expect to be welcomed
back.”

190. On June 3, 2022, the PGA Tour sent an additional letter to all its members who had
agreed to participate in the LIV Golf London Invitational, informing them: “pursuant to Article VI,
Section C, you are being placed on probation until further notice. Specifically, as reflected in the
Notice of Disciplinary Inquiry to you dated June 1, 2022, the rule infraction triggering your probation
is violation of Article V, Section A.2 of the PGA Tour Player Handbook & Tournament Regulations
(“Regulations”). Accordingly, if you violate any other rule of the PGA Tour while on probation
including, but not limited to, violating Article V, Section B.1, which prohibits your participation in a
live or recorded golf program, such as the LEV Golf Invitational London, for which a media release has
been denied, the Commissioner may immediately suspend your playing privileges.” Article VII,
Section C of the PGA Tour Regulations relates to “conduct unbecoming a professional.” Thus, the
Tour told its members that the act of playing in a professional golf tournament constituted “conduct
unbecoming a professional golfer.”

191. Simply put, the Tour’s position that merely playing professional golf for another
promoter constitutes “conduct unbecoming a professional” golfer is breathtaking. And it reveals the
threat to competition that underlies the PGA Tour’s Regulations giving the PGA Tour Commissioner
absolute discretion to interpret the Regulations and punish its Members.

192, On June 4, 2022, former Tour member Kevin Na resigned his PGA Tour membership
due to the PGA Tour’s refusal to permit him to participate in the LIV Golf Invitational Series. Mr. Na
expressed his desire as an independent contractor to “exercisefe] my right as a free agent” to have “the
freedom to play wherever I want,” noting that he “cannot remain a PGA Tour member” and exercise
his independent contractor rights due to the Tour’s Regulations and threats. He expressed his
“sad{ness]” and his desire that PGA Tour Regulations change to enable him to play on the PGA Tour
again.

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193,  Intotal, 10 Tour members who agreed to participate in the LIV Golf London Invitational
resigned from the PGA Tour in response to these threats to avoid Tour punishment.

194. When the Tour learned that members were considering resignation to avoid the
punishments it had threatened, it informed them that “should a member resign in an effort to avoid
disciplinary action for future violations of the Regulations, the member would still be subject to
disciplinary actions for violations prior to the date of Resignation. In addition, a player should not
expect that he will be able to rejoin membership or play in any events without membership at any
particular time, as such matters would be governed by the Regulations and event requirements in effect
at the time, as they may be amended from time to time.” Most PGA Tour tournaments are managed
by other nonprofit organizations and offer sponsorship exemptions to PGA Tour and non-PGA Tour
golfers. Thus, in order for the PGA Tour’s written threat to play out it requires agreement from other
economic actors (the sponsors and tournament hosts).

195. Minutes after the golfers teed off at the LIV Golf London Invitational on June 9, 2022,
the Tour distributed letters to its current and former members immediately suspending them and
promising “the same fate [would] hold” for any Tour member playing in future LIV Golf events.

196. Also on June 9, 2022, Commissioner Monahan sent a letter to all PGA Tour Members
and released the letter to the public identifying the golfers the PGA Tour was punishing. Contrary to
its historical practices, the Tour sought to expose and malign these golfers for pursuing their profession.
In particular, the PGA Tour Commissioner wrote:

a. Tour members, including the Player Plaintiffs and former members “are
suspended or otherwise no longer eligible to participate in PGA Tour tournament
play, including the Presidents Cup;”

b. The suspension applies to all tours sanctioned by the PGA Tour (Korn Ferry,
Champions, Canada, Latinoamerica);

C. The golfers participating in the LIV Golf London Invitational Series “did not
receive the necessary conflicting events and media rights releases—or did not
apply for releases at all—-and their participation . . . is in violation” of the

Regulations;

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d. The Tour Commissioner made clear that any players “who participate in future
[LIV Golf Invitational Series} events in violation of our Regulations” will suffer
the “same fate” of suspension;

e. Non-PGA Tour members who participated in LIV Golf Invitational Series “will
not be permitted to play in PGA Tour tournaments as a non-member via a
sponsor exemption or any other eligibility category,”

f. The Commissioner tried to embarrass the Player Plaintiffs by claiming that they
and others made “their own financial-based” choice and they cannot demand the
same “PGA Tour membership benefits” as other golfers;

g. The Commissioner further acknowledged that “there are true consequences for
every shot” taken on the PGA Tour where a golfer could earn no compensation
while paying for his travel to the event, whereas LIV Golf compensates its
participants; and

h, The Commissioner embraced the notion that the PGA Tour is the “preeminent
organization in the world of professional golf.”

197. Also on June 9, 2022, the PGA Tour Vice President of Competition Administration,
Kristen Burgess, sent letters to all former PGA Tour Members who participated in the LTV Golf London
Invitational Series but had resigned from the Tour, informing them they “remain subject to disciplinary
action for violations prior to the date of resignation” and they “should not expect that [they] will be
able to rejoin membership or play in any events without membership at any particular time.”

198. The Tour expanded its punishments by threatening to revoke the agency credentials for
agencies that represent golfers who join LTV Golf—thereby threatening to injure the agents’ business
for merely representing golfers who chose to join LIV Golf.

199. The Tour also enlisted Tiger Woods to do its bidding and publicly criticize golfers—
particularly younger golfers-—-for joining LIV Golf by suggesting they would never play in The
Masters, The Open, or other Majors and would not earn OWGR points: “Some of these players may

not ever get a chance to play in major championships. That is a possibility. We don’t know that for

sure yet. It’s up to all the major championship bodies to make that determination. But that is a

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possibility, that some players will never, ever get a chance to play in a major championship, never get
a chance to experience this right here, walk down the fairways at Augusta National. .., especially if
the LEV organization doesn’t get world-ranking points and the major championship change their criteria
for entering the events.” Mr. Woods’ comments echoed earlier evidence indicating that the Tour was
continuing to pressure the Majors to join the Tour’s unlawful group boycott to exclude LIV Golf and

punish any players who played in any LIV events.
PGA Tour Disciplinary Process

200. On June 9, 2022, PGA Tour Senior Vice President of Tournament Administration Andy
Levinson sent letters to all PGA Tour Members who participated in the LIV Golf London Invitational
Series event, including the Player Plaintiffs. In that Letter, Mr. Levinson informed golfers that (1) the
PGA Tour considered them in violation of the Media Rights Regulation (V.B.1.b), (2) the PGA Tour
considered them in violation of a PGA Tour Regulation against Public Attacks (VLE.), (3) they were
suspended immediately from playing in PGA Tour events “until further notice,” and (4) they had 14
days to submit written statements and/or evidence that the PGA Tour Commissioner should consider
“before determining an appropriate course of action separate from your current suspension.”

201. The PGA Tour’s Regulations detail its Disciplinary Procedures and Appeals, which
provide an unconscionable and unfair process by which the players have no legitimate chance of getting
fair treatment as it relates to punishments having anything to do with LIV Golf. Exhibit 1. The Tour’s
Regulations provide that the Commissioner has discretion to hear the appeal in the first instance. The
Commissioner can also transfer the appeal to a panel of three Tour policy board members. The
procedures do not give the player a hearing as a matter of right. After the procedures conclude, the
Regulations provide that a player has released any and all claims against “the PGA TOUR Policy
Board, the Commissioner or the Appeals Committee, PGA TOUR, Inc., the Professional Golfers’
Association of America, and each director, officer, member, employee, agent or representative of any
of the foregoing.” Thus, the Tour’s Regulations are set up as follows: (1) the Tour sets the Regulations
which bind any player member, including changing those Regulations from time to time without input
or consent from the player members, (2) the Regulations give the Commissioner the sole authority to

interpret the Regulations in his discretion, (3) the Regulations demand that the biased Commissioner

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serve as judge, (4) the Regulations allow that same biased Commissioner to hear any appeals, (5} the
Regulations provide no independent review process, as the Tour Board is put in the position of
reviewing a Tour commercial policy that it approved and executed over the last few years, and (6) at
the end of it all, the Regulations purportedly provide that the player has no right to challenge the
punishment having released all involved. That release is unenforceable and the Regulations’
Disciplinary Procedures are procedurally and substantively unconscionable.

202. Several golfers submitted letters to the Tour challenging the Tour’s indefinite
suspension and objecting to any further course of action punishing the golfers.

203. On June 29, 2022, and various other dates, the PGA Tour suspended the Player Plaintiffs
until March 31, 2023, issued threats to extend the suspensions based on further violations of the
Regulations, including (in the Tour’s view) continuing to play in LIV Golf events or even to talk
favorably about LIV Golf. Commissioner Monahan considered the golfers in violation of the
Conflicting Events Regulation and Media Rights Regulation. Additionally, Commissioner Monahan
considered the golfers in violation of the PGA Tour’s Regulation Section VLE (“Public Comments,

Public Attacks”) provision which provides that:

The favorable public reputation of PGA TOUR, its players and its tournaments are
valuable assets and create tangible benefits for all PGA TOUR members.
Accordingly, it is an obligation of membership to refrain from making comments
that unreasonably attack or disparage others, including, but not limited to
tournaments, sponsors, fellow members/players and/ or PGA TOUR. Speech that
could be reasonably viewed as hateful, abusive, obscene and/ or divisive is
expressly prohibited. Responsible expressions of legitimate disagreement with
PGA TOUR policies are not prohibited. However, public comments that a member
knows, or should reasonably know, will harm the reputation or financial best
interest of PGA TOUR, a fellow member/player, a tournament sponsor or a charity
are expressly covered by this section. Any violation of this section shall be
considered conduct unbecoming a professional.

Commissioner Monahan deemed the golfers’ reasonable statements of opinion and compliments of
LIV Golf in violation of this provision merely because favorable comments regarding a competitor to
the PGA Tour supposedly could cause the Tour financial harm.

204. The Tour’s punishments put the players in an untenable position: They were banned
for roughly nine months, which prevents them from playing in PGA Tour events (and its subsidiary

tours) and they have been told that if they play in any LIV Golf events while the suspensions are in
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effect, the Tour will deem that an additional violation and impose event greater punishments. In effect,
the Tour’s punishments amount to a lifetime ban, because the only chance for a player to be clear of
the PGA Tour’s suspensions is to refrain from playing in any elite professional events—and thus
essentially drop out of his profession.

205. On July 6, 2022, PGA Tour Board Member and President of the PGA Player Advisory
Council Rory Mellroy said that golfers who join LIV Golf are “basically leaving all [their] peers behind
to go make more money, which is fine. But just go over there. Don’t try and come back and play over
here again.” Several years ago, Mr. Mcllroy left the European Tour to play predominantly on the PGA
Tour, and was still permitted by the PGA Tour to remain a European Tour member through his
participation in the minimum number of events required by each tour.

206. On July 13, 2022, the Player Plaintiffs appealed their nine-month suspension (and career
threatening ban from the PGA Tour). The grounds for the players’ appeals were:

4. Provisions of Sections V.A.2, V.A.3, and V.B.1.b are plainly unlawful restraints
of trade that violate Section 2 of the Sherman Act, 15 U.S.C. § 2, and various
state laws, and therefore (1) no punishment for purportedly violating those
unlawful provisions may issue and (2) any purported agreement by any person
to adhere to those unlawful provisions is void and unenforceable;

b. Commissioner Monahan and the PGA Tour (the “Tour’”) violate Section 2 of the
Sherman Act by applying Sections VILE. and VILC to unlawfully punish golfers
to thwart LIV Golfs competitive entry, and therefore no punishment for
purportedly violating those provisions may issuc;

C. Provisions of Sections V.A.2, V.A.3, and V.B.1.b enable Commissioner
Monahan to unlawfully control what independent contractor-golfers do when
they are not playing on the PGA Tour (the “Tour”), and thus no punishment for
purportedly violating those provisions may issue;

d. The Tour has unlawfully agreed with other entities in the purported golf
“ecosystem,” including the European Tour, to establish a group boycott to

prevent LIV Golf from succeeding and has targeted its Regulations to

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207.

impermissibly punish golfers to carry out its coordinated dealings with others in
violation of Section 1 of the Sherman Act, 15 U.S.C. § 1;

Commissioner Monahan has violated the Tout’s purported nonprofit purpose
and violated his fiduciary duties to the Tour and its members by punishing
golfers in this way;

There was patent injustice and a lack of fair process because Commissioner
Monahan cannot be impartial in his determination whether to sanction golfers
because he has engaged in a two-year vendetta against prospective and new
competitor professional golf promoter(s) and golfers are being punished for
participating in a competitive promoter’s events;

There was injustice and a lack of fair process because the Regulations’
Disciplinary Process is procedurally and substantively unconscionable; and

In the alternative, the sanction imposed by Commissioner Monahan is grossly
disproportionate to the seriousness of the alleged breaches of the Regulations
that the Tour contends the players committed.

In their appeal letters, Player Plaintiffs indicated their belief that their

suspensions would be abated pending appeal of their suspensions.

While some of the Player Plaintiffs’ appeals of the Commissioner’s disciplinary action
were pending, on July 23, 2022, Mr. Levinson sent them a letter informing that: (1) the PGA Tour
Commissionet believed they violated the Conflicting Events and Media Rights Regulations (Article V,
Sections A.2 and B.1) by participating in the June 30 — July 2, 2022 LIV Golf Invitational Portland
event; (2) the PGA Tour Commissioner imposed a Major Penalty of suspension from participation in
any PGA Tour-affiliated tournaments, including PGA Tour, PGA Tour Champions, Korn Ferry Tour,
PGA Tour Latinoamérica, and PGA Tour Canada, and a suspension of their privileges at Tournament
Players Clubs, for a period ending no earlier than March 31, 2024 (an additional year suspension), at
which time they may seek in writing to have their suspension lifted; (3) the PGA Tour Commissioner
may impose further disciplinary action for any additional violation of the Regulations; and (4) they

may appeal the sanctions by written notice to the PGA Tour Commissioner within 14 days of the letter.

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In other words, the PGA Tour Commissioner unilaterally imposed further sanctions—a full additional
year of suspension for playing in a second LIV Golf tournament—while the appeal of the first Notice
of Disciplinary Action was still pending.

208. On July 25, 2022, the Tour informed the Player Advisory Council that golfers who were
suspended for playing in LIV Golf would not be permitted to play in the FedEx Cup, even though some
of their appeals of the suspensions were pending and should have been abated under the Tour’s
Regulations.

209. On July 27, 2022, Commissioner Monahan referred some of the Player Plaintiffs’
appeals to the Appeals Committee and requested that any materials in support of appeal be submitted
by August 10, 2022. In response, Plaintiff Gooch requested confirmation that the Tour would abate
their suspensions pending appeal to the Appeals Committee. In response, Commissioner Monahan
indicated he would not abate the Player Plaintiffs’ suspensions pending appeal.

210. On July 29, 2022, Mr. Levinson informed some Player Plaintiffs that the Tour would
no longer send them Notice of Disciplinary Inquiry ietters for “ongoing violations.” The Tour thus
chose to abandon its disciplinary process.

211. And, then on August 2, 2022, the Tour informed Mr. Gooch that the Tour would not
abate suspensions pending appeals in violation of the Tour’s regulations.

212. The Tour historically abated players’ suspensions pending their appeal of their
suspensions, consistent with Section VILE.2 of the Regulations.

213. The Player Plaintiffs’ suspensions were a critical means employed by the Tour to
achieve its anticompetitive end. Punishing the players is essential to the scheme to eliminate
competition in the market. Absent participants in elite professional golf events, no nascent league can
enter the market. By suspending the Player Plaintiffs and threatening to suspend other players, the

Tour endeavored to eliminate competition.

Specific Player Plaintiffs’ PGA Tour Disciplinary Proceedings and Harm

214. Phil Mickelson: The Tour’s anticompetitive scheme is apparent from the disciplinary
action levied against Plaintiff Mickelson. On March 22, 2022, the Commissioner suspended Plaintiff

Mickelson (with the opportunity to apply for reinstatement in May of 2022) for, among other alleged

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reasons, “attempting to recruit players to join [LIV Golf].” Following an appeal, the appeals committee
(a three-person committee comprised of members of the Tour Policy Board) affirmed the
Commissioner’s two-month suspension. On June 20, 2022, Mr. Mickelson applied for reinstatement
from the two-month suspension. The Tour denied his request, stating that Plaintiff Mickelson violated
Tour regulations by participating in the LTV Golf London Invitational. In addition to denying his
request for reinstatement, the Tour extended Plaintiff Mickelson’s suspension, forbidding him from
seeking reinstatement to play professional golf with the Tour until March 31, 2023. While Plaintiff
Mickelson was suspended from tournament play, the Tour continued to levy suspensions. On July 23,
2022, the Tour imposed additional sanctions on him for participating in the LIV Golf Invitational in
Portland. Specifically, the Tour extended Plaintiff Mickelson’s suspension once again, deferring even
the mere opportunity to apply for reinstatement until after March 31, 2024.

215. Mr. Mickelson’s unlawful two-year suspension from the PGA Tour has caused him
irreparable professional harm, as well as financial, and commercial harm. The Tour’s unlawful
suspensions are denying Mr. Mickelson the right he has earned to play in events on the Tour, to earn
compensation playing on the Tour, and to have the opportunities that come with such play. The Tour’s
suspension has denied Mr. Mickelson the right to the platform and the public exposure provided by
playing on the Tour. The Tour’s suspension has denied Mr. Mickelson the opportunity to hone and
maintain his golf game by playing professional golf in the tournaments that he would choose to play.
The Tour’s suspension has denied Mr. Mickelson access to play professional golf before his fans via
live attendance and video broadcast of Tour events. The Tour’s unlawful conduct cost Plaintiff
Mickelson endorsement deals and sponsorships. Notably, the Tour is the only golf tour shown
regularly on broadcast television in the United States, and it earns vastly more in sponsorship,
advertising, and broadcast revenue than any other golf tour. The Tour’s unlawful conduct eliminated
Plaintiff Mickelson’s opportunity to earn up to $10 million annually in the Player Impact Program, a
program that measures player impact by, among other things, calculating the player’s Nielsen score
(how often a player is featured during PGA Tour tournament broadcasts). The Tour's suspension has
denied Mr. Mickelson the opportunity to earn FedEx Cup rankings and OWGR rankings. The Tour’s

suspensions have denied Mr. Mickelson the opportunity to earn deferred compensation pursuant to the

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PGA Tour Player Retirement Plan—which is his right as a member of the Tour and which he earns for
each tournament cut he makes. The Tour’s unlawful suspensions have damaged Mr. Mickelson’s
goodwill and caused him substantial reputational harm. The Tour’s unlawful Conflicting Events and
Media Rights Regulations have denied Mr. Mickelson competition for his services for years, have
depressed his earnings, and have decreased output of professional golf earning opportunities. The
Tour’s unlawful Conflicting Events and Media Rights Regulations Tour’s unlawful control of Mr.
Mickelson and his use of his media rights are causing him irreparable, financial and commercial harm
that have denied him income and playing opportunities in the past and as long as the Regulations that
give the Tour such purported control remain in place, Mr. Mickelson will be financially and irreparably
harmed. As a lifetime member of the Tour, Mr. Mickelson is particularly harmed by the Tour
wrongfully taking away what he has rightfully earned—opportunity to play in Tour events for the
remainder of his golfing career.

216. The Tour’s unlawful conduct has also denied Mr. Mickelson the opportunity to play in
PGL tournaments and to earn compensation he foreseeably would have received competing in PGL
tournaments.

217. The Tour’s unlawful conduct has harmed Mr. Mickelson by denying him access to fans,
viewers and playing opportunities in Tour events.

218. Talor Gooch. On June 9, 2022, the Tour unlawfully suspended Mr. Gooch on an
indefinite basis from playing on the Tour. On June 30, 2022, the Tour unlawfully suspended Mr. Gooch
from playing on the Tour (or any affiliated tours) through at least March 31, 2023. On July 23, 2022,
the Tour unlawfully extended Mr. Gooch’s suspension through at least March 31, 2024. The PGA
Tour has threatened to impose further disciplinary sanction on Mr. Gooch if he continues to play in
LIV Golf events when he is not playing on the Tour.

219. Mr. Gooch’s unlawful two-year suspension from the PGA Tour has caused him
irreparable professional harm, as well as financial, and commercial harm. The Tour’s unlawful
suspensions are denying Mr. Gooch the right he has earned to play in events on the Tour, to earn
compensation playing on the Tour, and to have the opportunities that come with such play. The Tour’s

suspension has denied Mr. Gooch the strong chance to qualify for the 2023 Major Championships by

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placing in the Top 30 of the 2022 FedEx Cup Rankings. The Tour’s suspension has denied Mr. Gooch
the right to the platform and the public exposure provided by playing on the Tour. The Tour’s
suspension has denied Mr. Gooch the opportunity to hone and maintain his golf game by playing
professional golf in the tournaments that he would choose to play. The Tour’s suspension has denied
Mr. Gooch access to play professional golf before his fans via live attendance and video broadcast of
Tour events. The Tour’s unlawful conduct cost Plaintiff Gooch endorsement deals and sponsorships.
Notably, the Tour is the only golf tour shown regularly on broadcast television in the United States,
and it earns vastly more in sponsorship, advertising, and broadcast revenue than any other golf tour.
The Tour’s unlawful conduct eliminated Plaintiff Gooch’s opportunity to earn up to $10 million
annually in the Player Impact Program, a program that measures player impact by, among other things,
calculating the player’s Nielsen score (how often a player is featured during PGA Tour tournament
broadcasts). The Tour’s suspension has denied Mr. Gooch the opportunity to earn FedEx Cup rankings
and OWGR rankings. The Tour’s suspensions have denied Mr. Gooch the opportunity to earn deferred
compensation pursuant to the PGA Tour Player Retirement Plan—which is his right as a member of
the Tour and which he earns for each tournament cut he makes, The Tour’s unlawful suspensions have
damaged Mr. Gooch’s goodwill and caused him substantial reputational harm. The Tour’s unlawful
Conflicting Events and Media Rights Regulations have denied Mr. Gooch competition for his services
for years, have depressed his earnings, and have decreased output of professional golf earning
opportunities, ‘The Tour’s unlawful Conflicting Events and Media Rights Regulations Tour’s unlawful
control of Mr. Gooch and his use of his media rights are causing him irreparable, financial and
commercial harm that have denied him income and playing opportunities in the past and as long as the
Regulations that give the Tour such purported control remain in place, Mr. Gooch will be financially
and irreparably harmed.

220, The Tour’s unlawful conduct has also denied Mr. Gooch the opportunity to play in PGL
tournaments and to earn compensation he foreseeably would have received competing in PGL
tournaments.

221. The Tour’s unlawful conduct has harmed Mr. Gooch by denying him access to fans,

viewers and playing opportunities in Tour events.

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222, Hudson Swafford. On June 9, 2022, the Tour unlawfully suspended Mr. Swafford on
an indefinite basis from playing on the Tour. On June 29, 2022, the Tour unlawfully suspended Mr.
Swafford from playing on the Tour (or any affiliated tours) through at least March 31, 2023. On July
23, 2022, the Tour unlawfully extended Mr. Swafford’s suspension through at least March 31, 2024.
The PGA Tour has threatened to impose further disciplinary sanction on Mr. Swafford if he continues
to play in LIV Golf events when he is not playing on the Tour.

223. Mr. Swafford’s unlawful two-year suspension from the PGA Tour has caused him
irreparable professional harm, as well as financial, and commercial harm. The Tour’s unlawful
suspensions are denying Mr. Swafford the right he has earned to play in events on the Tour, to earn
compensation playing on the Tour, and to have the opportunities that come with such play. The Tour’s
suspension has denied Mr. Swafford the chance to qualify for the 2023 Major Championships by
placing in the Top 30 of the 2022 FedEx Cup Rankings. The Tour’s suspension has denied Mr.
Swafford the strong chance to qualify for the 2023 premier [nvitationals on the Tour by placing in the
Top 70 of the 2022 FedEx Cup Rankings. The Tour’s suspension has denied Mr. Swafford the right
to the platform and the public exposure provided by playing on the Tour. The Tour’s suspension has
denied Mr. Swafford the opportunity to hone and maintain his golf game by playing professional golf
in the tournaments that he would choose to play. The Tour’s suspension has denied Mr. Swafford
access to play professional golf before his fans via live attendance and video broadcast of Tour events.
The Tour’s unlawful conduct cost Plaintiff Swafford endorsement deals and sponsorships. Notably,
the Tour is the only golf tour shown regularly on broadcast television in the United States, and it earns
vastly more in sponsorship, advertising, and broadcast revenue than any other golf tour. The Tour’s
unlawful conduct eliminated Plaintiff Swafford’s opportunity to earn up to $10 million annually in the
Player Impact Program, a program that measures player impact by, among other things, calculating the
player’s Nielsen score (how often a player is featured during PGA Tour tournament broadcasts). The
Tour’s suspension has denied Mr. Swafford the opportunity to earn FedEx Cup rankings and OWGR
rankings. The Tour’s suspensions have denied Mr. Swafford the opportunity to carn deferred
compensation pursuant to the PGA Tour Player Retirement Plan—which is his right as a member of

the Tour and which he earns for each tournament cut he makes. The Tour’s unlawful suspensions have

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damaged Mr. Swafford’s goodwill and caused him substantial reputational harm. The Tour’s unlawful
Conflicting Events and Media Rights Regulations have denied Mr. Swafford competition for his
services for years, have depressed his earnings, and have decreased output of professional golf earning
opportunities. The Tour’s unlawful Conflicting Events and Media Rights Regulations Tour’s unlawful
control of Mr. Swafford and his use of his media rights are causing him irreparable, financial and
commercial harm that have denied him income and playing opportunities in the past and as long as the
Regulations that give the Tour such purported control remain in place, Mr. Swafford will be financially
and irreparably harmed.

224. The Tour’s unlawful conduct has also denied Mr. Swafford the opportunity to play in
PGL tournaments and to earn compensation he foreseeably would have received competing in PGL
tournaments.

225. The Tour’s unlawful conduct has harmed Mr. Swafford by denying him access to fans,
viewers and playing opportunities in Tour events.

226. Matt Jones. On June 9, 2022, the Tour unlawfully suspended Mr. Jones on an indefinite
basis from playing on the Tour. On June 30, 2022, the Tour unlawfully suspended Mr. Jones from
playing on the Tour (or any affiliated tours) through at least March 31, 2023. On July 23, 2022, the
Tour unlawfully extended Mr. Jones’s suspension through at least March 31, 2024. The PGA Tour has
threatened to impose further disciplinary sanction on Mr. Jones if he continues to play in LIV Golf
events when he is not playing on the Tour.

227. Mr. Jones’s unlawful two-year suspension from the PGA Tour has caused him
irreparable professional harm, as well as financial, and commercial harm. The Tour’s unlawful
suspensions are denying Mr. Jones the right he has earned to play in events on the Tour, to earn
compensation playing on the Tour, and to have the opportunities that come with such play. The Tour’s
suspension has denied Mr. Jones the chance to qualify for the 2023 Major Championships by placing
in the Top 30 of the 2022 FedEx Cup Rankings. The Tour’s suspension has denied Mr. Jones the strong
chance to qualify for the 2023 premier Invitationals on the Tour by placing in the Top 70 of the 2022
FedEx Cup Rankings. The Tour’s suspension has denied Mr. Jones the right to the platform and the

public exposure provided by playing on the Tour. The Tour’s suspension has denied Mr. Jones the

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opportunity to hone and maintain his golf game by playing professional golf in the tournaments that he
would choose to play. The Tour’s suspension has denied Mr. Jones access to play professional golf
before his fans via live attendance and video broadcast of Tour events. The Tour’s unlawful conduct
cost Plaintiff Jones endorsement deals and sponsorships. Notably, the Tour is the only golf tour shown
regularly on broadcast television in the United States, and it earns vastly more in sponsorship,
advertising, and broadcast revenue than any other golf tour. The Tour’s unJawful conduct eliminated
Plaintiff Jones’s opportunity to earn up to $10 million annually in the Player Impact Program, a
program that measures player impact by, among other things, calculating the player’s Nielsen score
(how often a player is featured during PGA Tour tournament broadcasts). The Tour’s suspension has
denied Mr. Jones the opportunity to earn FedEx Cup rankings and OWGR rankings. The Tour’s
suspensions have denied Mr. Jones the opportunity to earn deferred compensation pursuant to the PGA
Tour Player Retirement Plan—which is his right as a member of the Tour and which he earns for each
tournament cut he makes. The Tour’s unlawful suspensions have damaged Mr. Jones’s goodwill and
caused him substantial reputational harm. The Tour’s unlawful Conflicting Events and Media Rights
Regulations have denied Mr. Jones competition for his services for years, have depressed his earnings,
and have decreased output of professional golf earning opportunities. The Tour’s unlawful Conflicting
Events and Media Rights Regulations Tour’s unlawful control of Mr. Jones and his use of his media
rights are causing him irreparable, financial and commercial harm that have denied him income and
playing opportunities in the past and as long as the Regulations that give the Tour such purported
control remain in place, Mr. Jones will be financially and irreparably harmed.

228. The Tour’s unlawful conduct has also denied Mr. Jones the opportunity to play in PGL
tournaments and to earn compensation he foreseeably would have received competing in PGL
tournaments.

229, The Tour’s unlawful conduct has harmed Mr. Jones by denying him access to fans,
viewers and playing opportunities in Tour events.

230. Bryson DeChambeau. On June 30, 2022, the Tour unlawfully suspended Mr.
DeChambeau on an indefinite basis from playing on the Tour. On July 8, 2022, the Tour unlawfully

suspended Mr. DeChambeau from playing on the Tour (or any affiliated tours) through at least March

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31, 2023. The PGA Tour has threatened to impose further disciplimary sanction on Mr. DeChambeau
if he continues to play in LTV Golf events when he is not playing on the Tour. On July 29, 2022, the
Tour sent notice to Mr. DeChambeau that it was sanctioning him for talking to other Tour members
about the positive experience he had had with LIV Golf.

231. Mr. DeChambeau’s unlawful suspension from the PGA Tour has caused him irreparable
professional harm, as well as financial, and commercial harm, The Tour’s unlawful suspensions are
denying Mr. DeChambeau the right he has earned to play in events on the Tour, to earn compensation
playing on the Tour, and to have the opportunities that come with such play. The Tour’s suspension
has denied Mr. DeChambeau the right to the platform and the public exposure provided by playing on
the Tour. The Tour’s suspension has denied Mr. DeChambeau the opportunity to hone and maintain
his golf game by playing professional golf in the tournaments that he would choose to play. The Tour’s
suspension has denied Mr. DeChambeau access to play professional golf before his fans via live
attendance and video broadcast of Tour events. The Tour’s unlawful conduct cost Plaintiff
DeChambeau endorsement deals and sponsorships. Notably, the Tour is the only golf tour shown
regularly on broadcast television in the United States, and it earns vastly more in sponsorship,
advertising, and broadcast revenue than any other golf tour. The Tour’s unlawful conduct eliminated
Plaintiff DeChambeau’s opportunity to earn up to $10 million annually in the Player Impact Program,
a program that measures player impact by, among other things, calculating the player’s Nielsen score
(how often a player is featured during PGA Tour tournament broadcasts). The Tour’s suspension has
denied Mr. DeChambeau the opportunity to earn FedEx Cup rankings and OWGR rankings. The
Tour’s suspensions have denied Mr. DeChambeau the opportunity to earn deferred compensation
pursuant to the PGA Tour Player Retirement Plan—which is his right as a member of the Tour and
which he earns for each tournament cut he makes. The Tour’s unlawful suspensions have damaged
Mr. DeChambeau’s goodwill and caused him substantial reputational harm. The Tour’s unlawful
Conflicting Events and Media Rights Regulations have denied Mr. DeChambeau competition for his
services for years, have depressed his earnings, and have decreased output of professional golf earning
opportunities. The Tour’s unlawful Conflicting Events and Media Rights Regulations Tour’s unlawful

control of Mr. DeChambeau and his use of his media rights are causing him irreparable, financial and

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commercial harm that have denied him income and playing opportunities in the past and as long as the
Regulations that give the Tour such purported control remain in place, Mr. DeChambeau will be
financially and irreparably harmed.

232. The Tour’s unlawful conduct has also denied Mr. DeChambeau the opportunity to play
in PGL tournaments and to earn compensation he foreseeably would have received competing in PGL
tournaments.

233. The Tour’s unlawful conduct has harmed Mr. DeChambeau by denying him access to
fans, viewers and playing opportunities in Tour events.

934. Ian Poulter. On June 9, 2022, the Tour unlawfully suspended Mr. Poulter on an
indefinite basis from playing on the Tour. On June 30, 2022, the Tour unlawfully suspended Mr. Jones
from playing on the Tour (or any affiliated tours) through at least March 31, 2023. On July 23, 2022,
the Tour unlawfully extended Mr. Poulter’s suspension through at least March 31, 2024. The PGA
Tour has threatened to impose further disciplinary sanction on Mr. Poulter if he continues to play in
LIV Golf events when he is not playing on the Tour.

235. Me. Poulter’s unlawful two-year suspension from the PGA Tour has caused him
irreparable professional harm, as well as financial, and commercial harm. The Tour’s unlawful
suspensions are denying Mr. Poulter the right he has earned to play in events on the Tour, to earn
compensation playing on the Tour, and to have the opportunities that come with such play. The Tour’s
suspension has denied Mr. Poulter the opportunity to participate in events that would have permitted
him the chance to qualify for the Tour in 2023. The Tour’s suspension has denied Mr. Poulter the right
to ihe platform and the public exposure provided by playing on the Tour. The Tour’s suspension has
denied Mr. Poulter the opportunity to hone and maintain his golf game by playing professional golf in
the tournaments that he would choose to play. The Tour’s suspension has denied Mr. Poulter access
to play professional golf before his fans via live attendance and video broadcast of Tour events. The
Tour’s unlawful conduct cost Plaintiff Poulter endorsement deals and sponsorships. Notably, the Tour
is the only golf tour shown regularly on broadcast television in the United States, and it earns vastly
more in sponsorship, advertising, and broadcast revenue than any other golf tour. The Tour’s unlawful

conduct eliminated Plaintiff Poulter’s opportunity to earn up to $10 million annually in the Player

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Impact Program, a program that measures player impact by, among other things, calculating the
player’s Nielsen score (how often a player is featured during PGA Tour tournament broadcasts). The
Tour’s suspension has denied Mr. Poulter the opportunity to earn FedEx Cup rankings and OWGR
rankings. The Tour’s suspensions have denied Mr. Poulter the opportunity to earn deferred
compensation pursuant to the PGA Tour Player Retirement Plan—which is his right as a member of
the Tour and which he earns for each tournament cut he makes, The Tour’s unlawful suspensions have
damaged Mr. Poulter’s goodwill and caused him substantial reputational harm. The Tour’s unlawful
Conflicting Events and Media Rights Regulations have denied Mr. Poulter competition for his services
for years, have depressed his earnings, and have decreased output of professional golf earning
opportunities. The Tour’s unlawful Conflicting Events and Media Rights Regulations Tour’s unlawful
control of Mr. Poulter and his use of his media rights are causing him irreparable, financial and
commercial harm that have denied him income and playing opportunities in the past and as long as the
Regulations that give the Tour such purported control remain in place, Mr. Poulter will be financially
and irreparably harmed.

236. The Tour’s unlawful conduct has also denied Mr. Poulter the opportunity to play in PGL
tournaments and to earn compensation he foreseeably would have received competing in PGL
tournaments.

237. The Tour’s unlawful conduct has harmed Mr. Poulter by denying him access to fans,
viewers and playing opportunities in Tour events.

238. Peter Uihlein. On June 9, 2022, the Tour unlawfully suspended Mr. Uihlein on an
indefinite basis from playing on the Tour, the Korn Ferry Tour and any affiliated tours. On June 30,
2022, the Tour unlawfully suspended Mr. Uihlein from playing on the Tour, the Korn Ferry Tour, (or
any affiliated tours) through at least March 31, 2023. On July 23, 2022, the Tour unlawfully extended
Mr. Uihlein’s suspension through at least March 31, 2024. The PGA Tour has threatened to impose
further disciplinary sanction on Mr. Uihlein if he continues to play in LIV Golf events when he is not
playing on the Tour or the Korn Ferry Tour.

239. Mr. Uihlcin’s unlawful two-year suspension from the PGA Tour and its affiliated tours,

including but not limited to the Korn Ferry Tour, has caused him irreparable professional harm, as well

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as financial, and commercial harm. The Tour’s unlawful suspensions are denying Mr. Uihlein the right
he has earned to play in events on the Korn Ferry Tour, to earn compensation playing on the Korn
Ferry Tour, and to have the opportunities that come with such play. The Tour’s suspension has denied
Mr. Uihlein the opportunity to hone and maintain his golf game by playing professional golf in the
tournaments that he would choose to play. The Tour’s unlawful suspensions are denying Mr. Uihlein
to the right he has earned to participate in the Korn Ferry Tour Championship Series finals (three
events) to have a chance to earn a PGA Tour card for the 2022-2023 season. If Mr. Uihlein is prohibited
from playing that series then he will have no other way to qualify for the PGA Tour next season. The
Tour’s suspension has denied Mr. Uihlein the right to the platform and the public exposure provided
by playing on the Korn Ferry Tour (and possibly the Tour). The Tour’s suspension has denied Mr.
Uihlein access to play professional! golf before his fans via live attendance and video broadcast of Korn
Ferry Tour events (and possibly the Tour events), The Tour’s suspension has denied Mr. Uihlein the
opportunity to earn Korn Ferry season rankings (and possibly FedEx Cup rankings next season).and
OWGR rankings. The Tour’s unlawful suspensions have damaged Mr. Uihlein’s goodwill and caused
him substantial reputational harm. The Tour’s unlawful Conflicting Events and Media Rights
Regulations, which apply to Korn Ferry Tour members just as they apply to Tour member, have denied
Mr. Uihlein competition for his services for years, have depressed his earnings, and have decreased
output of professional golf earning opportunities. The Tour’s unlawful Conflicting Events and Media
Rights Regulations Tour’s unlawful control of Mr. Uihlein and his use of his media rights are causing
him irreparable, financial and commercial harm that have denied him income and playing opportunities
in the past and as long as the Regulations that give the Tour such purported control remain in place,
Mr. Uihlein will be financially and irreparably harmed.

240. The Tour’s unlawful conduct has also denied Mr. Uihlein the opportunity to play in
PGL tournaments and to earn compensation he foreseeably would have received competing in PGL
tournaments.

241. The Tour’s unlawful conduct has harmed Mr. Uihlein by denying him access to fans,

viewers and playing opportunities in Tour events.

Tour Threatens Small Businesses and Vendors To Boycott LIV Golf

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242. As part of its efforts to foreclose competition from LIV Golf and to foreclose
competition for Plaintiffs’ services, the Tour has also threatened companies and individuals in the golf
and sports production industry that they will be blacklisted from working with the Tour if they work
with LIV Golf. As a result of these unlawful threats, LIV Golf has suffered (and will continue to suffer)
financial injuries because its offerings in the marketplace have been impaired and because it has been
denied the opportunity to work with the third parties of its choice on terms that could be reached in a
fair and open marketplace. Furthermore, this conduct threatens ongoing and irreparable harm to LIV
Golf, as the headwinds created by the Tour’s anticompetitive conduct threaten LIV Golf’s competitive
viability.

243. In January 2022, LIV Golf was negotiating with a tent vendor, Arena Americas, about
providing tents for LIV Golf events. Arena Americas indicated that it was interested in working with
LIV Golf, and LIV Golf engaged Arena Americas for its LIV Golf Invitational Series. However, Arena
Americas subsequently informed LIV Golf that it could not work with LIV Golf because the Tour had
told Arena Americas that it would cease doing business with Arena Americas if it worked with LIV
Golf.

244. LIV Golf had contracted with a technology company to provide live scoring during LIV
Golf events for fans watching and following along on the Internet. On March 23, 2022, LIV Golf
received an email from that technology company that it needed to rescind the contract with LIV Golf
due to a business issue and needed to discuss the issue with its attorney. The company later represented
to LIV Golf that representatives from the PGA Tour had threatened that the Tour would cease doing
business with it if it provided LIV Golf with support. The company also told LIV Golf that the PGA
Tour has a “blacklist” for any vendor that works with LIV Golf. A Tour representative called the
company and threatened to blacklist the company if it worked with LIV Golf.

245. LIV Golf was in negotiation with Top Tracer to license its shot-tracing technology for
use during LIV Golf broadcasts. The Chief Executive Officer of Top Tracer was engaged with LIV
Golf on multiple calls, expressed major interest in providing LIV Golf with a license to Top Tracer
technology and developing a broader relationship to deploy and develop innovative products.

Suddenly, however, Top Tracer ceased communication with LIV Golf. After a period of radio silence,

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Top Tracer informed LIV Golf that it would not be putting itself up for the potential business with LIV
Golf.

246. LIV. Golf was in negotiation with Levelwear athletic apparel for LIV Golf volunteer
apparel for LIV Golf Invitational Series event staffing. On March 25, 2022, Levelwear informed LIV
that it would not sell LIV Golf any apparel because it did not want to jeopardize its relationship with
the Tour.

247. LIV Golfreached out to numerous producer candidates, many of whom are independent
contractors, who have communicated to LIV Golf that NBC and Golf Channel personnel have informed
all producers that they will not be hired or renewed for any work with NBC or Golf Channel moving
forward if they work with LIV Golf.

248. Senior programming executives at CBS revealed to LIV Golf that they cannot touch
LIV Golf even for consideration due to its relationship with the PGA Tour.

249, LIV Golftried to retain the Endeavor Company, which includes IMG, IMG Arena, IMG
Media and WME, and despite interest in working with LIV Golf, they have told LIV Golf they cannot
work with it because Tour Commissioner Monahan has impressed upon Ari Emmanuel (Endeavor
CEO) and Mark Shapiro (Endeavor President) that Endeavor cannot work with LIV Golf.

250. Other vendors, like Intersport (event management company) and Aggreko
(Power/HV AC) engaged with LIV Golf but backed out without explanation, likely indicating that they
were subjected to pressure from the PGA Tour similar to that expressed by other third-party vendors.

251. LIV Golf negotiated with Provision Events, an event management company. On
February 15, 2020 Provision Events told LIV Golf, “we feel like we can provide exactly what you need
and our ambition would be to become your activation partner.” Provision Events and LIV Golf
corresponded regarding scope and arranged for a meeting to occur in March 2022. On March 10, 2022,
Provision Events emailed LIV Golf and informed LIV Golf without explanation that it could no longer
work with LIV Golf.

252. To supply drug testing procedures for the competing athletes, LIV Golf contacted Drug
Free Sport. A Drug Free Sport representative informed LIV Golf that it would have to take the prospect

of doing business with LIV Golf to his boss because of Drug Free Sport’s involvement with the Tour,

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but stated that “we do business with other organizations, not sure why this would be any different.”
After checking with the “boss,” the Drug Free Sport representative responded to LIV Golf, “I’ve spoken
to our CEO and given current headwinds in our space, we won’t be able to engage at this time.”

253, LIV Golf tried to negotiate with a golf shot technology company, Hawk Eye. Chris
Wary of Hawk Eye emailed LIV Golf that “[u]pon careful consideration and following internal
discussions, regrettably, at this point in time, we are not in a position to proceed any further with the
potential delivery of these technologies due to conflict of interest with our existing relationships.” The
Tour is a Hawk Eye client.

254. LIV Golf tried to schedule events at a premier golf course, Sentosa Golf Club. Bob
Tan, Chairman of Sentosa Golf Club, informed LIV Golf that Dominic Wall of the R&A called him
and informed him that Sentosa Golf Club would be excluded and shunned by the rest of the world of
golf if it worked with LIV Golf.

255. LIV Golf tried to engage Ticketmaster for ticketing at its events. Ticketmaster was
prepared to work with LIV Golf until Ticketmaster pulled out of helping LIV Golf with ticket sales in
response to pressure from the PGA Tour.

256. LIV Golf tried to engage Pro Secrets, a yardage book company. Michael Etherington
of Pro Secrets informed LIV Golf that the PGA Tour had asked Pro Secrets to not work with LIV Golf.

257. LIV Golftried to engage a company known as Cueto to provide software for organizing
event volunteers. Cueto was prepared to work with LIV Golf until Cueto informed LEV Golf that it
cannot work with LIV Golf “because of the threat it received from the PGA Tour.”

258. LIV Golf tried to order custom hats through American Needle hat company, and
American needle informed LIV Golf that it does not want to do business with LIV Golf because of its
relationship with the PGA Tour and Augusta National.

259. LIV Golf tried to enter into a business relationship with Dick’s Sporting Goods. In
response, Dick’s Sporting Goods informed LIV Golf that “[g]iven our relationship with the PGA Tour
and our Tournament [PGA Tour Champions tournament], [] [Dick’s Sporting Goods representatives]
agree it’s best to pass right now.”

260. The PGA Tour threatened numerous golf courses with adverse consequences if they

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hosted LIV Golf events. LIV Golf secured commitments from pristine high level courses, but the PGA
Tour and the R&A retaliated against the owners of the venues with which LIV Golf contracted. The
R&A punished one golf course owner by adopting a policy that it would not host The Open at his
course in the future because he is giving LIV Golf “a platform,” and as the R&A is “firmly on the side
of the traditional Tours [PGA Tour and European Tour].” The Tour informed the same golf course
owner that it would never work with the Tour again because it had worked with LIV Golf.

261. In July 2022, LIV Golf's branding team, Czarnowski, terminated its relationship with
LIV Golf due to pressure from the PGA Tour.

262. The Tour threatened sponsors that they would lose opportunities to partner with the
Tour if they worked with LIV Golf.

Relevant Markets and the PGA Tour’s Monopoly Position

263. The PGA Tour is a monopolist and/or a monopsonist in two relevant product markets:
(1) the market for the services of professional golfers for elite golf events, and (2) the market for the
promotion of elite professional golf events.

264. The relevant geographic market for each product market is national; in the alternative,
the market for each product market is global in scope.

The Market for Services of Professional Golfers for Elite Golf Events

265. The first relevant product market is the services of professional golfers for elite golf
events. A hypothetical monopsonist in this product market would have the power to suppress
compensation for golfers substantially below competitive levels for a sustained period of time, because
professional golfers who sell their services for elite golf events have no reasonable substitute to which
they could plausibly turn in the event of a suppression of compensation below competitive levels. For
example, non-elite golf events do not offer the level of purse sizes, Major qualifying opportunities,
public platforms, sponsorship opportunities, OWGR ranking opportunities, or the other attributes of
elite events that would make them viable options for professional golfers in the event that a hypothetical
monopsonist controlled the market for the purchase of services of elite golf events. This is
demonstrated in the evidence surrounding the PGA Tour, which has been able to impose sub-

competitive compensation for elite golf events without losing a meaningful number of golfers to

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another type of sport or event.

266. The relevant geographic market for the product market is national; in the alternative,
the market for each product is global in scope. A hypothetical monopsonist in the purchase of services
of professional golfers for elite events in the United States would have the power to suppress
compensation for golfers substantially below competitive levels for a sustained period of time, because
professional golfers would be unlikely to leave the country to pursue their profession in sufficient
numbers to make sub-competitive compensation unprofitable for a hypothetical monopsonist in the
United States. This is also demonstrated in the evidence surrounding the PGA Tour, which has been
able to impose sub-competitive compensation for its elite golf events in the United States without losing
a meaningful number of golfers to golf tours in other countries. In the alternative, the relevant
geographic market is global. Under either formulation, the Tour has unquestioned monopsony power.

267. Until LIV Golf's nascent entry, the Tour was the only viable buyer of professional golfer
services in the relevant market for the purchase of services of professional golfers for elite golf events
because there is no reasonable substitute for playing on the Tour. The European Tour’s participation
in the market is limited to events it co-sanctions with the Tour and thus, while it could be a purchaser
of services of professional golfers for elite events in the United States, it has entered into an agreement
with the Tour to not even try to compete with it. And, in the alternative global market, the European
Tour is not a viable alternative to the Tour because it cannot compete with the Tour on purse size,
Major qualifying opportunities, OWGR rankings, public platforms, sponsorship opportunities and
other benefits, and, regardless, it has entered into an agreement not to compete with the Tour.

268. Until LIV Golf's nascent entry, the Tour offered earnings opportunities for professional
golfers that are many times greater than any other tour in the world through far greater prize pools and
opportunities to secure sponsorships. The Tour offers far greater opportunities for recognition and
exposure, on-course competition, and opportunity to accrue OWGR points than any other tour in the
world. Until LIV Golf's nascent entry, virtually every golfer who qualifies for membership on the
PGA Tour joined it. Until LTV Golf's nascent entry, all of the top 50 golfers in the world were members
of the PGA Tour.

269. The Tour’s monopsony control of the purchase of services of professional golfers for

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elite golf events allows it to compensate players at substantially lower levels than professional golfers
would earn in a competitive market, without risk of losing players to other promoters.

270. The Tour has used its monopsony power to impose anticompetitive regulations, notably
the Media Rights and Conflicting Events Regulations, which it forces on all of its Members and which
have the intent and effect of excluding competition.

271. Until LIV Golf’s nascent entry, the Tour controlled the overwhelming share of the
relevant market, as nearly all of the elite professional golfers in the United States (and the world) were
members of the Tour. Even after LIV Golf’s entry—which the Tour’s Commissioner has characterized
as “irrational”—the Tour’s share of the relevant market is dominant, as measured by the Tour’s share
of purchases in the services market for elite professional golf events. Indeed, all of the top golfers in
the world, other than those whom the Tour suspended, are Jocked into the PGA Tour. The Tour’s
monopsony power is also reflected in the bonus pool, increased purses, new marquee high-purse events
that the Tour established in response to the threat of entry by LIV Golf. The bonus pool and increased
purses are direct evidence of the Tour’s monopsony power, as the Tour significantly raised its prices
in response to LIV Golf’s competitive entry. This evidence also shows that compensation for
professional golfers for elite events would be significantly greater in a competitive labor market.

272. The Tour excludes competition for independent contractor players to sell their services
to others and manage their own name, image, and likeness because the Tour uses its market power to
prohibit them from doing so, The Tour’s Media Rights and Conflicting Events Regulations prevent
competitors from acquiring the services of Tour members. And even when a rival is able to get Tour
members to play in its events, the Media Rights Regulation excludes competition because it prevents
the competing event from securing broadcast partners for its events. That the Tour is able to require
Player Plaintiffs and the Tour’s other members to agree to these rules without guaranteed compensation
for doing so is powerful evidence of the Tour’s monopsony power.

273. The Majors are not substitutes for the PGA Tour in the market for services of elite
professional golfers. The Tour schedules its tournaments around the Majors and most qualifying

opportunities for the Majors are derived from the players’ play in the Tour.
The Market for the Promotion of Elite Professional Golf
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274. The second relevant product market is the market for the promotion of elite professional
golf events. A hypothetical monopolist in this product market would have the power to raise prices
substantially above competitive levels for a sustained period of time, because advertisers, sponsors,
broadcasters, and fans would not be able to turn to reasonable substitutes in sufficient volumes to make
it unprofitable for the hypothetical monopolist to charge prices above competitive levels. This is
because the promotion of elite professional golf is uniquely attractive to fans of professional golf and
it is uniquely valuable for sponsors, advertisers, broadcast partners, venues, and others who seek to
market to fans of elite professional golf.

275. The Tour represents to prospective advertisers that it offers the “most valuable audience
in sports.” According to its Tour’s marketing materials, its audience of golf fans is (a) “affluent,” in
that it is “55% more likely to have household net worth of $1M+”; (b) “educated,” in that it is “43%
more likely to have a master’s degree”; and (c) comprised of “influencers,” in that it is “63% more
likely to be top management or C-level.” The Tour is differentiated from other sports or entertainment
products by the access it offers to such a valuable audience. Because elite golf events offer a unique
opportunity to reach this valuable audience, TV advertisers and event sponsors would be expected to
continue purchasing elite golf events even with a small but significant nontransitory monopoly
premium in the cost of doing so.

276. Furthermore, because the high degree of elite-level competition draws fans to watch
elite golf events, the sponsors and TV broadcasters that pay for those events will not be able to reach
those fans through events that do not provide similar elite-level competition. Thus, a hypothetical
monopolist supplier of elite events (of the sort provided by the Tour) would not be expected to see a
material diversion of sponsor or TV network money to other types of golf events im response to a
monopoly premium for elite golf events.

277, Similarly, a substantial proportion of golf fans have a particular affinity for the sport,
which is often tied to their participation in the sport. As players of the sport themselves, golf fans have
a particular connection with golf broadcasts, which cannot readily be replicated by broadcasts of other
sports or entertainment events. For the same reason, golf enthusiasts are a particular target of many

advertisers on elite golf events, who seek to sell particular products and services (such as golf apparel

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and equipment} to golf enthusiasts. Accordingly, a golf broadcaster, its golf advertisers, and the event
sponsors cannot simply substitute coverage of another sport and expect the same golf fans to tune in.
Thus, replacement of a golf telecast with a baseball game, automobile race, or other sporting event
would likely retain some golf fans, but a substantial portion of golf fans-——particularly the golf
enthusiasts who will be the most loyal viewers and the primary targets for advertisers seeking to
advertise to golf enthusiasts—would be lost by substituting to another type of programming.

278. From a geographic perspective, the events organized by the PGA Tour occur mostly in
the United States, and the fans who attend those events in person are mostly in the United States. These
events and their live network broadcasts are scheduled to provide convenient time slots for fans in the
United States, and therefore are focused on generating viewership in the United States. Furthermore,
elite golf events taking place in the United States capture the overwhelming share of viewership in the
United States, indicating that elite golf events taking place elsewhere in the world are not a substitute
for events in the United States for fans, broadcasters, and advertisers. The Tour itself has recognized
the national dimension of competition, as it has informed players that they would ordinarily be granted
releases for playing in conflicting events taking place outside the United States, but because LIV Golf
has plans to organize a tour with events taking place in the United States it has denied releases to the
players. This indicates that the Tour itself has far greater concern with competing events in the United
States than for events taking place in other countries, which underscores that the United States
represents a separate geographic market. In the alternative, however, the only other plausible relevant
geographic market would be global. In either potential geographic market, the Tour maintains
monopoly power.

279. For all of these reasons, a hypothetical monopolist in the supply of elite golf events in
the United States would be able to profitably raise prices above competitive levels, indicating that the
promotion of elite golf events in the United States is a relevant market.

Barriers To Entry To The Relevant Markets

280. The Tour’s monopsony power in the market for the services of professional golfers for

elite golf events and its monopoly power in the market for the promotion of elite professional golf

events are protected by high barriers to entry. To enter these markets, a competing elite professional

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golf promoter needs to raise at least hundreds of millions of dollars in capital, recruit a sufficient
number of elite professional golfers to comprise a credible competing tour, arrange venues and
tournaments, arrange for television coverage of tournaments, recruit sponsors and advertisers, and
overcome the Tour’s antitrust violations. It also needs to offer OWGR ranking points.

281. As the facts giving rise to this litigation attest, the Tour’s Media Rights and Conflicting
Events Regulations restrict a competitor’s ability to contract for the services of professional golfers for
elite golf events. Despite offering far greater prize money, and guaranteed compensation for
participating players, LIV Golf was only able to attract a minority of elite golf professionals and had
to pay excessively higher guaranteed payments to recruit a number of marquee players than would be
required in a competitive market. And LIV Golf has been able to capture only a tiny share in the market
for the promotion of elite golf events, as the viewership for LIV Golf events has been dwarfed by that
of the PGA Tour’s events, despite the more fan-friendly format and superior fan experience LIV Golf
offers.

282. The Tour’s threats to the Player Plaintiffs, its members, agencies, smal! businesses, and
others, and the threats of those acting in concert with it, erect an additional and substantial barrier to
entry. Any entity looking to enter the markets relevant to this litigation now knows what it will face.
As Commissioner Monahan put it, the Tour will impose costs on any potential entrant such that there
will be “no possibility of a return” on the enormous investment it would take to attempt to enter the
market.

283. The last prospective entrant before LIV Golf to garner any meaningful support from
players was the World Golf Tour in the mid-1990s. The Tour’s Media Rights and Conflicting Events
Regulations precluded its entry in short order. After the World Golf Tour folded, there was no
meaningful threat of competitive entry for roughly a quarter-century. If the Tour’s naked exercise of
its market power renders LIV Golf unable to sustain its efforts to enter the market, it would be
unreasonable to expect any attempt at competitive entry for the foreseeable future.

284. LIV Golf was able and prepared to enter the markets before the anticompetitive conduct
of the Tour diminished its entry to what Commissioner Monahan dismissed as “exhibition matches”

that were acquired with a cost structure that offered “no possibility of a return.” LIV Golf is as serious

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a nascent entrant as the PGA Tour has ever encountered. And despite all of LIV Golf's attributes and
efforts, the Tour’s ongoing anticompetitive conduct threatens LIV Golf's competitive viability. If LIV
Golf fails, there will be no alternatives for the participants in elite professional golf events, fans, and
sponsors of the game. They will be left with whatever the Tour chooses to offer.

285. Absent the Tour’s anticompetitive conduct, LIV Golf would be an established and
healthy competitor to the Tour in the markets for the services of professional golfers for elite golf
events and the promotion of elite professional golf events. The Tour recognizes that LIV Golf “would
be competitive to the PGA Tour.” It denied LIV Golf access to the Player Plaintiffs’ and its other
members’ services because it viewed LIV Golf as a competitor. But because of the Tour’s
anticompetitive conduct, LIV Golf is faced with a risk that it will not be able to remain competitively
viable. As such, LIV Golf risks irreparable harm to its business and there is a severe risk of irreparable
harm to competition if the Tour’s conduct is not enjoined.

286. The Player Plaintiffs, other professional golfers and Tour members are participants in
the restrained markets because they sell their services to the PGA Tour and are thus subject to its
monopsony power. In addition, the Player Plaintiffs, other professional golfers, and Tour members are
the target of the Tour’s anticompetitive scheme to destroy LIV Golf and monopolize the market.

Anticompetitive Effects of the Tour’s Conduct, Antitrust Injury, and Irreparable Harm

287. The Tour’s conduct, including (1) unreasonably restrictive regulations, (2) threats of
and now imposition of career-threatening bans, (3) suspensions of the Player Plaintiffs and other
members who played at LIV Golf events, (4) the promise it will visit the “same fate” on any member
who follows their example, (5) the Tour’s threats and punishments to non-members who participate in
LEV events and a wide range of other businesses who do business with LIV Golf, and (6) its
exclusionary group boycott with other golfing bodies in the “ecosystem,” all serve no purpose other
than to thwart competitive entry and preserve the Tour’s entrenched monopoly power. Faced with
punishments of this nature, which could cause incalculable damage to players’ careers, the Player
Plaintiffs have been denied their right as independent contractors to sell their services to buyers other
than the PGA Tour. And they have been directly and irreparably harmed by being prevented from

participating in events in which they have already qualified, including the FedEx Cup Playoffs. While

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some Player Plaintiffs have received higher payments from LIV Golf as a result of the risks they took
by playing in LIV Golf events, they have not been compensated in full for the financial injuries they
have already suffered and will continue to suffer. Nor have the Player Plaintiffs been compensated for
the substantial irreparable injuries they have suffered and will continue to suffer if the Tour’s attacks
on them are allowed to continue unabated. Many other players are effectively prevented from playing
in LIV Golf events due to fear of punishment from the PGA Tour.

288. LIV Golf has also suffered and will continue to suffer severe financial injuries as well
as irreparable harms to its business from the Tour’s anticompetitive conduct. The fields LIV Golf has
been able to attract are weaker than would have been the case in the absence of the punishments from
the PGA Tour, because many golfers are simply unwilling to take on the risks of playing in even a
single LIV Golf event. This threatens irreparable harm to all of the Plaintiffs because it threatens to
thwart LIV Golf’s nascent entry and permanently entrench the PGA Tour’s monopsony and monopoly
power.

289. The punishments from the PGA Tour and others have forced LIV Golf to concentrate
funds towards increasing upfront payments, and they have caused LIV Golf to scale down its entry
plans and offer fewer tournaments in 2022. This has caused LIV Golf to suffer severe financial injuries
as a result of the Tour’s anticompetitive conduct.

290. Furthermore, while LIV Golf has the financial resources to make initial cash outlays to
launch its product, the ongoing cash outlays significantly impact long-term viability of LIV Golf.
Specifically, if the Tour’s anticompetitive conduct continues unabated, it will threaten the competitive
viability of LIV Golf.

291. The risk that LIV Golf could be driven out of the marketplace only serves to make it
more difficult for players (including the Player Plaintiffs) to overcome the threat of punishments from
the PGA Tour. It has been suggested that the actions of the PGA Tour and others have simply presented
Plaintiffs with a “choice”—stay within the existing “ecosystem” or choose to switch to the LIV Golf
series. But this is a false choice for several reasons.

292. As Commissioner Monahan admitted in his 2020 Memorandum, the Tour’s Media

Rights and Conflicting Events Regulations are intended to restrict its member players from offering

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their services to others. The Tour’s amendments of its Regulations and the procedures for members
being released from them underscore the obvious: the Tour uses these provisions to create a roadblock
to competition. The Conflicting Events and Media Rights Regulation serve no legitimate business
purpose.

293. The Tour’s unlawful conduct has depressed professional golfer wages, denied the Player
Plaintiffs labor mobility, blunted the effective entry of the potential entrants into the markets that could
challenge the Tour’s monopoly, decreased the output of elite professional golf events and tours,
decreased opportunities for broadcast of elite professional golf, decreased opportunities for advertising
and sponsoring surrounding professional golf, decreased output of elite professional golf entertainment
for fans, and diluted LIV Golf’s opportunity to compete in the elite professional golf marketplace. The
Tour’s unlawful conduct has likewise caused severe financial injuries to LTV Golf in the form of higher
costs and lost revenue, while also threatening to impose irreparable injuries to LIV Golf.

294, The Tour’s punishments have deprived the Player Plaintiffs’ opportunities to continue
playing on the Tour, earning deserved compensation, earning opportunities into Majors, sponsorship
relationships and revenue, and future opportunities to play and earn on the Tour. The Tour’s
punishments have also caused irreparable harm to the Player Plaintiffs’ goodwill, reputation, and brand.
The Tour denied Player Plaintiff Gooch, Swafford and Jones entry into the FedEx Cup Playoffs, which
they earned through their performance, which has caused and will continue to cause severe injuries to
these Plaintiffs.

295. LIV Golf sought to secure commitments from players by March 2022 to establish its
League for the summer 2022. The Tour’s anticompetitive conduct caused top professional golfers not
to sign up. The Tour’s conduct thus caused severe financial injury to LIV Golf, and it denied the Player
Plaintiffs and other Tour members compensation they would earned from the LIV Golf League. Its
anticompetitive conduct diminished competition, reduced marketwide output, and put LIV Golf League
on the shelf for 2022.

296. Moreover, the Tour’s threats of possible punishment for violating its Regulations and
its actual punishments have caused even further foreclosure and have caused LIV Golf to employ a

cost structure that significantly impacts its long-term viability.

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297. The Tour’s Regulations, unilateral and coordinated threats of lifetime bans, and
imposition of carecr-threatening punishment have scared off the large majority of elite professional
golfers and other participants in elite professional golf events and have caused LIV Golf to employ a
cost structure that significantly impacts its long-term viability.

298. The Tour’s conduct has substantially diminished and impaired the entry of the
promoters that could meaningfully threaten the PGA Tour’s monopoly, which has stood unchallenged
for decades. Its conduct has denied LIV Golf the opportunity to pursue its innovative business model
in 2022. Its conduct decreased elite professional golf tournaments in 2022 and 2023 as LIV Golf was
required to change its model and allocate further capital to try to overcome the Tour’s Regulations and
threats.

299, The Tour’s conduct has harmed the Player Plaintiffs as they have been suspended from
what the Tour calls the “preeminent” golf association in the world for exercising their right as
independent contractors to pursue their livelihood, sell their services to buyers other than the incumbent
monopolist, and expand their sponsorship opportunities.

300. The Tour’s conduct has also harmed the Player Plaintiffs as they have lost sponsorship
opportunities and other business opportunities as a result of the Tour's pressure on sponsors and other
entities with which the Plaintiffs do business.

301, The Tour’s conduct has harmed consumers, giving them less choice, less output, and
less innovation. Fans are unable to watch Player Plaintiffs in Tour events. Fans are unable to watch
LIV Golf on television or other streaming services. Fans suffer from reduced output of elite
professional golf events and suffer from getting fewer opportunities to watch Player Plaintiffs, Dustin
Johnson, Brooks Koepka and many others whom the Tour has excommunicated from its events.

302. Ifthe Tour’s unlawful conduct is not enjoined, the harm to Plaintiffs will be permanent
and irreparable. While LIV Golf has partially entered the markets at great expense, it has done so on
terms that the Tour recognizes are “irrational.” If the Tour’s unlawful conduct is not enjoined, LIV
Golf faces a risk that it will not be competitive in the long run. For competition for the Player Plaintiffs’
services, the Tour’s anticompetitive Regulations and other conduct frustrating the labor mobility of its

members and tying up their media rights must be enjoined.

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303. Ifthe Tour can force LIV Golf out of the relevant markets altogether and/or foreclose
LIV Golf from offering a set of products and services that provides a meaningful competitive constraint
on the Tour, the Tour’s monopoly and monopsony power will be cemented for many years to come,
and immune to even attempted entry. Injunctive relief is necessary to restore competition for Tour
members’ services and to innovate the game that the Tour, only in theory, promises to support. All of

the equities and the public interest support such relief. Otherwise, the harm to competition will be

irreversible and permanent.

The PGA Tour’s Alleged Procompetitive Defenses Are Pretextual

304. To assert a procompetitive justification for its conduct under the antitrust laws, the Tour
must, at a minimum, offer a nonpretextual claim that its conduct is a form of competition on the merits.
As set forth in detail above, the Tour cannot make such a showing, because its conduct is aimed at
foreclosing the only meaningful competitive threat it has faced in a quarter century, Rather than
competing on the merits, the Tour’s conduct is aimed at kneecapping LIV Golf to foreclose nascent
competition.

305. The Tour’s purported justifications for its conduct are pretextual. For example, the Tour
asserts that it is merely enforcing its membership rules that have some benign purposes. This argument
is betrayed as pretextual in multiple respects. First, as detailed in the 2020 Monahan Memorandum,
the Tour expressly expanded its membership rules for the purpose of defeating competition from a new
entrant such as LIV Golf. Second, the Tour only enforces its rules to deny releases to players when
they are playing in competing events, demonstrating that these rules are aimed at defeating competition.
Third, the Tour has threatened and imposed punishments on a variety of golfers who are not even Tour
members (and therefore are not subject to the Tour’s rules at all), including European Tour members,
college golfers, and Asian Tour members. Instead of enforcing its rules on its members, the Tour
threatens and imposes punishments on any golfer anywhere in the world who participates in LTV Golf
events. There is nothing procompetitive about the Tour’s actions—they are aimed at thwarting the
only competition it has faced in decades.

306. Similarly, the Tour’s conduct reveals as pretextual its claim that it is acting to prevent

some sort of “free-riding” on investments the Tour supposedly makes in players. As noted, the Tour’s

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attacks are not limited to those players in whom it has supposedly made some sort of investment, but
instead extend to all golfers anywhere, including college players and members of other tours who have
never been members of the PGA Tour. At the other end of the spectrum, the Tour’s “free-riding” claim
is absurd when applied to golfers such as Plaintiff Mickelson, who has devoted 30 years of his Hall of
Fame career to playing on the Tour, providing massive benefits to the Tour throughout his career. And
any punishments meted out by the Tour to players like Mr. Mickelson (and others) are disproportionate
to the unspecified investments the Tour claims to make in the early stages of golfers’ careers.

307. The Tour’s words and conduct also betray as mere pretext its assertion that it is attacking
LIV Golf and any players who participate in its events because the Tour does not want to be associated
with any player who participates in a league that is majority funded by the Public Investment Fund of
Saudi Arabia. Commissioner Monahan’s 2020 Memorandum outlining the Tour’s attacks on a new
entrant says nothing about Saudi Arabia. Instead, it is focused on the competitive threat that the new
entrant—which Commissioner Monahan labeled “Private Equity Golf’—presented to the Tour. The
Tour’s pretextual arguments about Saudi funding are further betrayed by its willingness to do business
with dozens of sponsors who do billions of dollars of business each year in Saudi Arabia. Furthermore,
the Tour’s pretext is exposed by its willingness to have the PGA Tour Fan Shop operated by Fanatics,
which has received substantial funding from the Public Investment Fund of Saudi Arabia—the same
fund that the Tour supposedly finds so objectionable when it sponsors LIV Golf.

308. The Tour’s own actions also reveal that the Tour’s various objections to LIV Golf's
innovative format are pretextual. While the Tour has suggested that there is something about LIV
Golf’s no-cut, high purse tournaments and its team-golf format that justify its opposition to the new
entrant, the Tour itself has disclosed plans to copy LIV Golf's format.

309, Furthermore, the Tour and its spokespersons have asserted that they object to LIV Golf
because LIV Golf is supposedly operating outside the “ecosystem” and is not cooperating with other
existing tours or sanctioning bodies, The facts, however, demonstrate the pretext in any such argument.
For example, the sponsors of LIV Golf sought to work with the European Tour, but in the meeting in
Malta in July 2021, the European Tour revealed that although it recognized the “appeal and fit” of the

new tour, it feared the “mighty power” of the PGA Tour and therefore had to reject the proposed

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partnership. LIV Golf has likewise sought to partner with others in the golf “ecosystem” and grow the
game at multiple levels, including through proposed partnerships with entities ranging from the Asian
Tour, to the LPGA, to the Ladies European Tour. At every turn, the PGA Tour has either directly
foreclosed LIV Golf’s efforts or exerted extreme pressure on other golfing bodies to exclude LIV Golf.
For example, the PGA Tour and the European Tour threatened severe consequences on the Asian Tour
and have punished golfers on the Asian ‘Tour in their effort to prevent the Asian Tour from partnering
with LIV Golf. The Tour prevented the LPGA and the Ladies European Tour from partnering with
LIV Golf, thus harming countless women professional golfers by denying them additional playing
opportunities and much-needed funding for their tours—all for the purpose of foreclosing LIV Golf
from the “ecosystem.” And, as detailed above, the Tour has leaned on the bodies that sponsor the
Majors and the OWGR to lock arms with the Tour in excluding LIV Golf. Thus, having used every
tool at its disposal to prevent LIV Golf from working with other bodies in the golf “ecosystem,” and
punishing those who make the choice to partner with LIV Golf, it is pure pretext for the Tour to suggest
that it is somehow justified in opposing LIV Golf because LTV Golf has been left to operate largely

outside the “ecosystem.”

CLAIMS FOR RELIEF

COUNT I: Unlawful Monopsonization of the market for ELITE GOLF EVENT SERVICES
in Violation of Sherman Act § 2 (15 U.S.C. § 2)

310. Plaintiffs incorporate by reference the allegations of all preceding paragraphs as though
fully set forth in this Count L.

311. At all relevant times, the Tour has had monopsony power over the market for the
services of professional golfers for elite golf events in the United States (or, alternatively, in the world).

312. The Tour has willfully maintained and abused its monopsony power through
anticompetitive conduct, including, among other things, by: (1) threatening to expel and impose a
lifetime ban on all players who contract with LIV Golf—including both members and non-members of
the Tour; (2) imposing unreasonable and anticompetitive restrictions on players’ ability to sell their
independent contractor services, including the Media Rights Regulation and Conflicting Events

Regulation in the Regulations, which have the effect of foreclosing competition; (3) threatening to

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enforce the terms of the Regulations beyond their meaning to deny players the freedom to play in
competing tours; (4) enforcing the terms of the Regulations to deny Plaintiffs’ competitive
opportunities; (5) threatening to harm other agencies, businesses or individuals who would otherwise
work with Plaintiffs and/or LTV Golf; and (6) suspending and punishing the Player Plaintiffs for playing
in LEV Golf and supporting it, all in order to punish and harm Plaintiffs, to prevent competition for the
players’ services, and to prevent LIV Golf from launching a competitive elite professional golf tour.
313. The anticompetitive actions of the PGA Tour do not further any procompetitive goals
and are not reasonably necessary to achieve any legitimate procompetitive benefits.
314. The PGA Tour’s exclusionary conduct has unreasonably restrained competition in the
market for services of professional golfers for elite golf events, including by:
e Preventing vigorous competition for services of professional golfers for elite golf
events;
¢ Suspending the Player Plaintiffs for playing professional golf;
e Preventing LIV Golf from contracting with agencies, vendors, sponsors, advertisers
and players needed to offer an elite professional golf entertainment product;
* Impacting competition in contracting for the services of elite professional golfers;
e Depressing compensation for the services of professional golfers for elite golf events
below competitive levels;
e Decreasing the output of opportunities for professional golfers for elite golf events;
e Denying the Player Plaintiffs the right to have free agency for their independent
contractor services:
e Interfering with the Player Plaintiffs’ and others’ contractual negotiations with LIV
Golf;
e Interfering with LIV Golf’s contractual negotiations with agencies, sponsors,
venues, vendors, broadcasters, and partners to work with LIV Golf; and
e Preventing LIV Golf from promoting elite professional golf to fans.
315. As aresult of the PGA Tour’s anticompetitive conduct, Plaintiffs have been and will

continue to be harmed in their business or property; competition in the relevant market will be harmed;

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the PGA Tour will unlawfully maintain its monopsony position; and players, consumers, and other
stakeholders will be harmed. Each of the injuries suffered by Plaintiffs is of the type the antitrust laws
were intended to prevent, and each flows from Tour’s unlawful conduct. Such conduct is inherently
and manifestly anticompetitive and has an injurious effect on competition.

316. Plaintiffs have been and will continue to be irreparably harmed by the PGA Tour’s
unlawful conduct such that Plaintiffs need injunctive relief in order to stop immediately the PGA Tour’s
threats and imposition of onerous punishments on professional athletes to thwart LIV Golf’s entry and
maintain the PGA Tour’s monopsony and an order enjoining enforcement of the PGA Tour’s
anticompetitive Regulations.

317. The PGA Tour’s anticompetitive acts violate Section 2 of the Sherman Act. Plaintiffs
seek injunctive relief, monetary damages, treble damages, costs of this suit, reasonable attorney's fees,
and interest pursuant to 15 U.S.C. §§ 15(a), 26 and any other relief this Court deems just and proper

under Count I.

COUNT II: Unlawful Monopolization of the market for the PROMOTION OF ELITE
PROFESSIONAL GOLF EVENTS in Violation of Sherman Act § 2 (15 U.S.C. § 2)

318. Plaintiffs incorporate by reference the allegations of all preceding paragraphs as though
fully set forth in this Count IL.

319. At all relevant times, the PGA Tour has had monopoly power over the market for the
promotion of elite professional golf events in the United States (or, alternatively, in the world). The
only viable competitor to the PGA Tour’s dominant market position in this market is LIV Golf.

320. The PGA Tour has willfully maintained and abused its monopoly power through
anticompetitive conduct, including by: (1) threatening to expel and impose a lifetime ban on all players
who contract with LIV Golf-—including both members and non-members of the Tour; (2) imposing
unreasonable and anticompetitive restrictions on players’ ability to sell their independent contractor
services, including the Media Rights Regulation and Conflicting Events Regulation in the Regulations,
which have the effect of foreclosing competition; (3) threatening to enforce the terms of the Regulations
beyond their meaning to deny players the freedom to play in competing tours; (4) enforcing the terms

of the Regulations to deny Plaintiffs’ competitive opportunities; (5) threatening to harm other agencies,

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businesses or individuals who would otherwise work with Plaintiffs and/or LIV Golf; and (6)
suspending and punishing the Player Plaintiffs for playing in LTV Golf and supporting it, all in order
to punish and harm Plaintiffs, to prevent competition for the players’ services, and to prevent LIV Golf
from launching a competitive elite professional golf tour.
321. The anticompetitive actions of the PGA Tour do not further any procompetitive goals
and are not reasonably necessary to achieve any procompetitive benefits.
322. The PGA Tour’s exclusionary conduct has unreasonably constrained competition in the
market for the promotion of elite professional golf events, including by:
e Preventing vigorous competition for the promotion of elite professional golf
entertainment;
e Preventing LIV Golf from contracting with players regarding their own media rights
needed to promote elite professional golf tournaments;
e Preventing Player Plaintiffs from contracting with LIV Golf and others regarding
their own media rights;
e Decreasing the output of elite professional golf tournaments;
e Suspending Player Plaintiffs and other golfers for playing professional goif;
e Preventing LIV Golf from contracting with agencies, vendors, sponsors, advertisers
and players need to offer elite professional golf entertainment product;
e Impacting competition in contracting for the play of elite professional golfers;
* Depressing compensation for the services of professional golfers in elite events
below competitive levels;
e Interfering with LIV Golf’s contractual negotiations with players to join LIV Golf;
° Interfering with LIV Golf’s contractual negotiations with agencies, sponsors,
venues, vendors, broadcasters and partners to work with LIV Golf; and
e Preventing LIV Golf from promoting elite professional golf to fans.
323. Asaresult of the PGA Tour's anticompetitive conduct, LIV Golf and Player Plaintiffs
have been and will continue to be harmed in their business or property; competition in the relevant

market will be harmed: the PGA Tour will unlawfully maintain its monopoly position; and players,

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consumers, and other stakeholders will be harmed. Each of the injuries suffered by Plaintiffs is of the
type the antitrust laws were intended to prevent, and each flows from Tour’s unlawful conduct. Such
conduct is inherently and manifestly anticompetitive and has an injurious effect on competition.

324, Plaintiffs have been and will continue to be irreparably harmed by the PGA Tour’s
unlawful conduct such that they need injunctive relief stopping immediately the PGA Tour’s threats
and imposition of onerous punishments on professional athletes designed to thwart LIV Golf's entry
and maintain the PGA Tour’s monopoly and enjoining enforcement of the PGA Tour’s anticompetitive
player Regulations.

325. The PGA Tour’s anticompetitive acts violate Section 2 of the Sherman Act, Plaintiffs
seek injunctive relief, monetary damages, treble damages, costs of this suit, reasonable attorney’s fees,
and interest pursuant to 15 U.S.C. §§ 15(a}, 26 and any other relief this Court deems just and proper

under Count II,

COUNT Ll: Unlawful Attempted Monopolization in Violation of Sherman Act § 2
(15 U.S.C. § 2)

326. Plaintiffs incorporate by reference the allegations of all preceding paragraphs as though
fully set forth in this Count III.

327. In the event that the PGA Tour’s position in the relevant markets does not amount to
monopoly and/or monopsony power, either by virtue of LIV Golf's nascent entry or otherwise,
Plaintiffs plead in the alternative that the Tour’s conduct constitutes unlawful attempted
monopolization and monopsonization in violation of Section 2 of the Sherman Act.

328. The Tour has unlawfully attempted to monopolize and monopsonize the relevant
markets.

329. At all relevant times, the Tour has had monopoly and/or monopsony power or, at a
minimum, a dangerous probability of success in acquiring (or re-acquiring) monopoly and/or
monopsony power, over the relevant markets in the United States (or, alternatively, in the world).

330. The PGA Tour has engaged in anticompetitive conduct to try to monopolize the relevant
markets, including by: (1) threatening to expel and impose a lifetime ban on all players who contract

with LIV Golf—including both members and non-members of the Tour; (2) imposing unreasonable

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and anticompetitive restrictions on players’ ability to sell their independent contractor services,
including the Media Rights Regulation and Conflicting Events Regulation in the Regulations, which
have the effect of foreclosing competition; (3) threatening to enforce the terms of the Regulations
beyond their meaning to deny players the freedom to play in competing tours; (4) enforcing the terms
of the Regulations to deny Plaintiffs’ competitive opportunities; (5) threatening to harm other agencies,
businesses or individuals who would otherwise work with Plaintiffs and/or LIV Goif; and (6)
suspending and punishing the Player Plaintiffs for playing in LIV Golf and supporting it, all in order
to punish and harm Plaintiffs, to prevent competition for the players’ services, and to prevent LIV Golf
from launching a competitive elite professional golf tour.

331. As set forth in detail above, the Tour’s conduct carries a dangerous probability of
destroying the competitive viability of LIV Golf. The Tour’s anticompetitive conduct forced LIV Golf
to change its commercial strategy for 2022. LIV Golf was forced to announce a substantially scaled-
down version of its League concept by offering 8 invitationals in 2022 (the LIV Golf Invitational
Series). The Tour then attacked LIV Golf’s Invitational Series events. Furthermore, because of the
Tour’s anticompetitive conduct, LIV Golf has been unable to broadcast its events in the United States—
an encumbrance that threatens its long-term viability.

332. Furthermore, the Tour’s conduct has denied and will continue to deny LIV Golf access
to many top players. The Tour’s Regulations and unilateral and conspiratorial threats of punishment
have scared off the large majority of elite players as well as the pipeline of future clite players. And
for those players whom LIV Golf has been able to sign, it has had to offer supracompetitive
compensation well above the levels that would prevail in a market not polluted by the Tour’s
anticompetitive conduct. This has forced LIV Golf into an unsustainable business model. Ifthe Tour’s
anticompetitive conduct is not enjoined, LIV Golf will be unable to sustain a competitively viable tour.

333. And, the Tour’s attempted monopolization and unlawful exclusionary conduct presents
a dangerous probability that the Tour will succeed, to the extent it has not already, in its attempt to

monopolize the relevant markets, as shown by its willful and intentional efforts and success in:

e Preventing vigorous competition;
¢ Preventing the PGL from entering the markets;

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° Suspending Player Plaintiffs;

e Preventing Plaintiff LIV Golf from contracting with agencies, vendors, sponsors,
advertisers and players needed io offer an elite professional golf entertainment
product;

* Impacting competition in contracting for the services of elite professional golfers,

e Depressing compensation for the services of elite professional golfers below
competitive levels;

° Decreasing the output of elite professional golfer services opportunities,

° Denying Player Plaintiffs the right to have free agency for their independent
contractor services;

e {Interfering with Plaintiffs’ and others’ contractual negotiations;

« Preventing Plaintiff LIV Golf from promoting elite professional golf to fans;

e Encouraging other golfing entities to pressure golfers against joining LIV Golf,
including by threatening to disallow LIV Goif players from playing in various
tournaments; and

° Orchestrating a group boycott of LIV Golf with the European Tour in furtherance
of their agreement to boycott LIV Golf and golfers who would play for a
competitive tour.

334, Absent injunctive relief halting the Tour’s anticompetitive conduct, LIV Golf will be

unable to sustain a competitively viable business, and it will be unable to meaningfully constrain the

Tour’s monopoly power.

335, The Tour’s conduct has substantially diminished and impaired the entry of the only
entrant that could meaningfully threaten the PGA Tour’s monopoly and monopsony power in the
relevant markets, which has stood unchallenged for decades. And if it not enjoined, the Tour’s conduct

will forever destroy the competitive viability of the only potential challenger to the Tour’s monopoly

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and monopsony power.

336. The Tour has acted with the specific intent to monopolize and monopsonize the relevant
markets. The Tour’s actions are irrational but for its anticompetitive effect, including by degrading its
own offerings. The Tour’s specific intent to monopolize and monopsonize the relevant markets is
shown through its statements and actions, including: (1) the PGA Tour Commissioner’s statements in
the January 2020 Monahan Memorandum, (2) the Tour’s public and private statements since 2020
related to the Tour’s desire to “protect this business model” and prevent a new entrant from contracting
with Tour members through threats and enforcement of unlawful Regulation provisions, (3) statements
of Tour officials and Members related to the Tour’s desire to destroy LIV Golf, (4) the Tour’s May 10,
2022 denial of Tour members’ requests to participate in the LIV Golf London Invitational, (5) the
Tour’s coordinated efforts to get others to support its boycott of LIV Golf and those who associate with
LIV Golf, (6) the Tour pressuring small businesses not to work with LIV Golf or be blacklisted by the
Tour, (7) the Tour’s application of its Regulations to impose irreparable punishment on Player Plaintiffs
and others for playing professional golf.

337. As a result of the PGA Tour’s anticompetitive conduct, LIV Golf and the Player
Plaintiffs have been and will continue to be harmed in their business or property; competition in the
relevant markets will be harmed; the PGA Tour will unlawfully monopolize and monopsonize the
relevant markets; and players, consumers, and other stakeholders will be harmed.

338. Plaintiffs have been and will continue to be irreparably harmed by the PGA Tour’s
unlawful conduct such that they need injunctive relief stopping immediately the PGA Tour’s threats
and imposition of onerous punishments on professional athletes designed to thwart LIV Golf's entry
and maintain the PGA Tour’s monopoly and enjoining enforcement of the PGA Tour’s anticompetitive
player Regulations. Each of the injuries suffered by Plaintiffs is of the type the antitrust laws were
intended to prevent, and each flows from Tour’s unlawful conduct. Such conduct is inherently and
manifestly anticompetitive and has an injurious effect on competition.

339. Accordingly, to the extent the Tour argues that LIV Golf’s nascent entry means the Tour
is not presently a monopolist, the Tour’s anticompetitive conduct carriers a dangerous probability of

restoring and maintaining the Tour’s monopoly and monopsony power in the relevant markets, in

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violation of Section 2 of the Sherman Act.
340. Plaintiffs seek injunctive relief, monetary damages, treble damages, costs of this suit,
reasonable attorney’s fees, and interest pursuant to 15 U.S.C. §§ 15(a), 26 and any other relief this

Court deems just and proper under Count IE.

CountIV: Unlawful Restraint of Trade in Violation of Sherman Act § 1 (15 U.S.C. § 1)
[Group Boycott]

341. Plaintiffs incorporate by reference the allegations of all preceding paragraphs as though
fully set forth in this Count IV.

342. The PGA Tour has unlawfully reached an agreement, with the purpose to climinate
competition, with the European Tour, a potential horizontal competitor, (and possibly others) to not
compete for players’ services and to prevent the entry and competitive viability of LIV Golf into the
relevant markets. Specifically, the PGA Tour and the European Tour have agreed to engage in a group
boycott of LIV Golf, other potential competitors, golfers (like Player Plaintiffs) who agree to play in
LIV Golf's events, and any other person or entity who seeks to partner with LIV Golf, to harm
competition for the services of professional golfers for elite golf events and for the promotion of elite
golf events.

343. The actions of the Tour and the European Tour make clear that they had a conscious
commitment to a common scheme: to prevent the entry of new competitors into the market. The
unlawful agreement is evidenced by the actions and statements of the Tour and the European Tour, as
set forth in this Complaint, including:

e The Tour admitted the existence of an unlawful agreement with the European Tour.
In his January 2020 Memorandum describing the PGA Tour’s plan to foreclose new
entry, Commissioner Monahan explained that this alliance with the European Tour
was aimed at removing the European Tour as a potential horizontal competitor
through its potential to partner with a new entrant: “We have continued discussions
with the European Tour about the potential to work more closely together, thereby
removing the European Tour as a potential partner of” a new entrant;

e As Mr. Pelley detailed, in November 2020 the European Tour and the PGA Tour

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ceased competing with each other for players’ services, and instead formed an illegal
alliance to eliminate new competition for players’ services;

* Following the agreement, in November 2020, the European Tour announced it
would not partner with PGL;

* Pursuant to its illegal alliance, the European Tour agreed not to partner with LIV
Golf despite recognizing the “fit and appeal” of partnering with LIV Golf because
the European Tour had contracted with the Tour and could not upset the “US PGA
mighty power;”

* The Tour and the European Tour then took steps in furtherance of their scheme,
including threatening all players with lifetime bans if they competed in the PGL and,
later, LIV Golf tournaments; and

e In addition, the Tour and European Tour agreed to suspend players who competed
in LEV Golf tournaments.

344. The Tour used its Regulations to implement the unlawful agreement and achieve the
anticompetitive purpose of the agreement, harming Plaintiffs and competition.

345, After the agreement was reached, the Tour enforced its uniawful Regulations and
proceeded to suspend the Player Plaintiffs for violating the Regulations. Further evidencing the
agreement that was in fact reached, the Tour enforced the Regulations in a way that they had not been
enforced previously. Historically, the Tour permitted members to associate with multiple tours
simultaneously and routinely granted releases for golfers to compete in non-Tour affiliated
tournaments. In contrast, the Tour denied all releases for LIV Golf events and imposed effective career-
ending suspensions on Plaintiffs. The Tour made clear its enforcement of these Regulations is intended
to destroy the entry of LIV Golf, harming the Plaintiffs and competition as a whole in the process.
Likewise, as detailed in this Complaint, the European Tour has departed from its longstanding practices
regarding conflicting events to align with the Tour in furtherance of their agreement to act jointly to
exclude LIV Golf and punish the Player Plaintiffs and other golfers who play in LIV Golf events.

346. Professional golfers (including the Player Plaintiffs) are essential to the Tour’s scheme

to eliminate competition in the market. As Commissioner Monahan admitted: “The impact that [the

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new league] could have on the PGA TOUR is dependent on the level of support it may receive from
these players. Without this support, [the new league’s] ability to attract media and corporate partners
will be significantly marginalized and its impact on the TOUR diminished.”

347. The Player Plaintiffs are the pawns (and targets) used to effectuate the group boycott
and eliminate competition in the markets; the Player Plaintiffs’ suspensions are a necessary means to
accomplish the Tour’s anticompetitive scheme.

348. Per se violation: The agreements constitute unreasonable restraints of trade that are
per se illegal under Section | of the Sherman Act, 15 U.S.C. § 1. The agreement constitutes a group
boycott orchestrated by a monopolist and joined by a potential competitor that is expressly aimed at
foreclosing the entry of the only viable alternative to the Tour into the relevant market. No elaborate
analysis is required to demonstrate the anticompetitive character of this group boycott.

349, Rule of Reason violation: The agreements are also unreasonabie restraints of trade
that are unlawful under Section | of the Sherman Act, 15 U.S.C. § 1, under the rule of reason analytical
framework. The principal tendency of the agreement is to restrain competition, reinforce the market
power of the PGA Tour, defeat the nascent entry of LIV Golf, and eliminate competition in the relevant
markets. This harmed the Player Plaintiffs and other professional golfers by eliminating competition
in the market for their services and also restricted competition in the market generally. It has also
harmed LIV Golf and competition in the relevant markets by hindering LIV Golf’s entry and
threatening to destroy its competitive viability. The agreement between the Tour and the European
Tour to lock arms in a joint effort to foreclose competitive entry lacks any legitimate procompetitive
justifications.

350. Asa result of the PGA Tour's anticompetitive conduct, Plaintiffs have been and will
continue to be harmed in their business or property; competition in the relevant markets will be harmed;
the PGA Tour will unlawfully maintain its monopoly position; and Plaintiffs, consumers, and other
stakeholders will be harmed. Each of the injuries suffered by Plaintiffs is of the type the antitrust laws
were intended to prevent, and each flows from Tour’s unlawful conduct. Such conduct is inherently
and manifestly anticompetitive and has an injurious effect on competition.

351. Plaintiffs have been and will continue to be irreparably harmed by the PGA Tour’s

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unlawful conduct such that Plaintiffs need injunctive relief in order to stop the PGA Tour’s unlawful
conduct.

352. The PGA Tour’s anticompetitive acts violate Section 1 of the Sherman Act.

353. Plaintiffs seek injunctive relief, monetary damages, treble damages, costs of this suit,
reasonable attorney’s fees, and interest pursuant to 15 U.S.C. §§ 15{a) and 26, and any other relief this

Court deems just and proper under Count IV.

Count V: Unlawful Agreement to Restrain Trade in Violation of the Cartwright Act
(Cal. Bus. & Prof. Code §§ 16720(a), 16726) [Group Boycott]

354. Plaintiffs incorporate by reference the allegations of all preceding paragraphs as though
fully set forth in this Count V.

355. The PGA Tour has unlawfully agreed with the European Tour {and potentially others)
“l¢]o create or carry out restrictions in trade or commerce.” Cal. Bus. & Prof. Code §§ 16720(a), 16726.
Moreover, the Tour’s violation of Section | of the Sherman Act necessarily constitutes a violation of
the Cartwright Act.

356. The Tour operates six annual tournaments in the state of California, owns golf courses
in California, committed multiple acts in furtherance of its unlawful group boycott in California, co-
hosted a tournament with the European Tour in California from which it banned any golfers who
participated in a LIV Golf event, harmed California resident golfers (including Plaintiff Mickelson),
and harmed competition for professional golfers’ services for elite events in California. Moreover, the
law and public policy of other affected states is materially similar to the law of California.

357. The Tour has unlawfully agreed with the European Tour to not compete for players’
services and to act jointly to prevent the entry of LIV Golf into the relevant markets. Specifically, the
PGA Tour and the European Tour agreed to boycott LIV Golf, players who work with LIV Golf, and
any other person or entity that seeks to partner with LIV Golf. The Tour entered an agreement with
the European Tour so as to---as Commissioner Monahan vowed—“remov/e] the European Tour as a
potential partner” of a new entrant like LIV Golf.

358. The PGA Tour and the European Tour have taken acts in furtherance of their unlawful

boycott. For instance, the European Tour has agreed to suspend and punish golfers for playing in LIV

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Golf, to no longer compete with the PGA Tour for players’ services, and to not partner with LIV Golf
or other potential entrants. The two tours have unlawfully agreed to deny (and taken steps to deny)
golfers who play in LIV Golf events the opportunity to play in the tours’ co-sanctioned events
(including the event they co-sanctioned in California), and to unfairly punish independent contractors
for playing with a competitor promoter.

359. The Tour’s agreement with the European Tour has the illegal purpose to eliminate a
competitor and future potential entrants. In particular, the Tour seeks to deny LIV Golf access to the
services of professional golfers for elite golf events along with the other partners and inputs necessary
to compete for the services of professional golfers for elite golf events. The two tours have also
unlawfully agreed to not compete for players’ services in order to suppress wages and decrease output
of opportunities.

360. The tours’ agreement constitutes an unreasonable restraint of trade that is per se illegal
under California Business and Professions Code §§ 16720(a), 16726. The agreement constitutes a
group boycott orchestrated by a monopolist that is expressly aimed at foreclosing the entry of the only
viable alternative to the Tour into the relevant markets. No elaborate analysis is required to demonstrate
the anticompetitive character of this group boycott.

361. The agreement also constitutes an unreasonable restraint of trade that is unlawful under
California Business and Professions Code §§ 16720(a), 16726, under a rule-of-reason analysis. The
principal tendency of the agreements is to restrain competition, reinforce the market power of the PGA
Tour, and seriously hamper (or outright defeat) the competitive effectiveness and prospective entry of
LIV Golf—by harming professional golfers like the Player Plaintiffs and thus eliminating competition
for their services—the only viable alternative in the relevant market, and thereby harm competition in
the relevant markets. This harmed the Player Plaintiffs and other professional golfers by eliminating
competition in the market for their services and also restricted competition in the markets generally. It
has also harmed LIV Golf and competition in the market for the promotion of elite events by hindering
LIV Golf's entry and threatening to destroy its competitive viability. The agreement lacks any
legitimate procompetitive justifications, because, among other things, the group boycott deprives

Plaintiff Mickelson and other Player Plaintiffs of means to practice their profession that are so essential

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AMENDED COMPLAINT — DEMAND FOR JURY TRIAL
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that they are necessary to compete effectively in the sport of professional golf.

362. Asa result of the PGA Tour’s anticompetitive conduct, Plaintiffs have been and will
continue to be harmed in their business or property; competition in the relevant markets will be harmed;
the PGA Tour will unlawfully maintain its monopoly position and unlawful boycott; and Plaintiffs,
LIV Golf, consumers, and other stakeholders will be harmed. Each of the injuries suffered by Plaintiffs
is of the type the antitrust laws were intended to prevent, and each flows from Tour’s unlawful conduct.
Such conduct is inherently and manifestly anticompetitive and has an injurious effect on competition.

363. As aresult of the PGA Tour’s anticompetitive conduct, Plaintiffs have been and will
continue to be irreparably harmed such that they need injunctive relief in order to stop immediately the
PGA Tour’s unlawful conduct.

364. The PGA Tour’s anticompetitive acts violate the Cartwright Act. Cal. Bus. & Prof.
Code §§ 16720(a), 16726.

365. Plaintiffs seek injunctive relief, monetary damages, treble damages, costs of this suit,
reasonable attorney’s fees, and interest pursuant to Cal. Bus. & Prof. Code § 16750{a), and any other
relief this Court deems just and proper under Count V.

Count VI: — Breach of Contract (Player Plaintiffs)

366. Player Plaintiffs incorporate by reference the allegations of all preceding paragraphs as
though fully set forth in this Count VI.

367. On various dates, Player Plaintiffs and the Tour entered into a contract when the
Plaintiffs submitted their respective membership applications and membership renewal applications
and agreed to be bound by the Tour’s Regulations. The Regulations (other than those described in this
Complaint that violate the antitrust laws and therefore are unenforceable) are a legally binding
agreement by and between Player Plaintiffs, respectively and individually, and the Tour. Player
Plaintiffs maintain that provisions within the Regulations are not enforceable, but the provision the
Tour has breached is not one of those provisions.

368. Player Plaintiffs performed all enforceable provisions in the Tour’s Regulations and
have complied with all obligations under the Tour’s Disciplinary Process detailed in the Tour’s
Regulations.

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AMENDED COMPLAINT —- DEMAND FOR JURY TRIAL
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369. The Tour breached Section VIIE.2 of the Regulations because it failed to abate
Plaintiffs’ suspensions pending their appeals of the Tour’s Disciplinary Actions. Section VH.E.2
provides that “[a]n appeal shall operate to stay the effective date of any penalty, except suspension
from a tournament then in progress or scheduled for the calendar week in which the alleged violation
occurred, until after the final decision on the appeal.” Exhibit 1. The Tour was thus required to honor
some Player Plaintiffs’ requests to participate in Tour events, including the FedEx Cup Playoff events,
occurring while Player Plaintiffs’ appeals to the Tour’s Appeals Committees remained pending.

370. The Tour’s breach caused Player Plaintiffs to incur substantial damages in the form of
irreparable harm (in the form of loss of FedEx Cup ranking points, loss of OWGR ranking points, loss
of career opportunities, loss of goodwill, and reputational harm), loss of income-earning opportunities,

loss of retirement-plan payments, consequential damages, expenses, and costs.
Count VII: Tortious Interference with LIV Golf’s Contractual Relationships (LIV Golf)

371. LIV Golf incorporates by reference the allegations of all preceding paragraphs as though
fully set forth in this Count VII.

372. LIV Golf has entered into contractual relationships with professional golfers and other
third parties, such as vendors, sponsors, and broadcasters.

373. The PGA Tour knew that LIV Golf had entered into contractual relationships with
professional golfers and other third parties.

374. The PGA Tour’s unlawful actions detailed herein were intended to prevent professional
golfers and other third parties from performing their contracts with LIV Golf.

375. The professional golfers and other third parties have been unable to perform under their
contracts with LIV Golf as a result of the PGA Tour’s actions described herein.

376. There was no legal justification for the PGA Tour’s anticompetitive conduct.

377. As a result of the PGA Tour’s anticompetitive and wrongful conduct, LIV Golf has
suffered significant and irreparable harm to its business.

378. LIV Golf has been and will continue to be irreparably harmed by the PGA Tour’s
unlawful conduct such that LIV Golf needs expedited injunctive relief stopping immediately the PGA

Tour’s unlawful conduct.

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379. LIV Golf seeks injunctive relief, economic damages, including compensatory damages,
special damages, and consequential damages, costs of this suit, and interest and any other relief this
Court deems just and proper under Count VII. LIV Golf also seeks punitive damages against the PGA

Tour for its tortious interference with LIV Golf’s business relationships.

Count VIII: Tortious Interference with LEV Golf’s Prospective Business Relationships
(LFV Golf)

380. LIV Golf incorporates by reference the allegations of all preceding paragraphs as though
fully set forth in this Count VIII.

381. LIV Golf has been on the verge of entering business relationships with professional
golfers and other third parties, such as vendors, sponsors, and broadcasters.

382. The PGA Tour knew that LIV Golf was contacting players and other third parties about
entering into a business relationship.

383. The PGA Tour’s actions detailed herein were independently tortious as detailed herein
and were intended to prevent professional golfers and other third parties from entering into a business
relationship with LIV Golf.

384. Several professional golfers and other third parties have not entered into such business
relationships with LIV Golf to-date as a result of the PGA’s Tours anticompetitive actions and
restrictions.

385. There was no legal justification for the PGA Tour’s anticompetitive conduct.

386. Asa result of the PGA Tour’s anticompetitive and wrongful conduct, LIV Golf has
suffered significant and irreparable harm to its business,

387. LIV Golf has been and will continue to be irreparably harmed by the PGA Tour’s
unlawful conduct such that LIV Golf needs expedited injunctive relief stopping immediately the PGA
Tour’s unlawful conduct.

388, LIV Golf seeks injunctive relief, economic damages, including compensatory damages,
special damages, and consequential damages, costs of this suit, and interest and any other relief this
Court deems just and proper under Count VIII. LIV Golf also seeks punitive damages against the PGA

Tour for its tortious interference with LIV Golf’s prospective business relationships.

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JURY DEMAND

389, Plaintiffs demand a trial by jury of all issues so triable.

RELIEF REQUESTED

WHEREFORE, Plaintiffs hereby request that the Honorable Court award the following

preliminary injunctive relief against the PGA TOUR:

a.

Stay and enjoin the PGA Tour’s suspension and sanctions imposed on the Player
Plaintiffs;

Prevent the PGA Tour from banning or threatening to ban from the PGA Tour
(and its affiliated Tour) players who talk to, contract with, play in, or associate
with LIV Golf;

Prevent the PGA Tour from expelling players from the PGA Tour (and its
affiliated Tours) or PGA Tour tournaments who talk to, contract with, play in,
or associate with LIV Golf;

Prevent the PGA Tour from threatening or imposing any other punishments or
otherwise harming or threatening to harm anyone who talks to, contracts with,
or associates with LIV Golf:

Prevent the PGA Tour from conspiring or unlawfully agreeing with the
European Tour to ban or threaten to ban players from participating in European
Tour events or participating in the Ryder Cup for talking to, contracting with,
playing in, or associating with LIV Golf;

Prevent the PGA Tour from pressuring or coordinating with the R&A, Masters,
and/or PGA of America (or others), to punish, exclude or threaten to exclude
players otherwise eligible under current eligibility rules from participating in
golf events (including the Majors);

Prevent the PGA Tour from amending its rules to prevent players otherwise
eligible from playing in PGA Tour events or co-sponsored events, such as the

FedEx Cup, the WGC tournaments, the Tournament of Champions, the Players,

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the Memorial, the Arnold Palmer Invitational, the Genesis Invitational, AT&T
Pebble Beach Open, and the Presidents Cup;

Prevent the PGA Tour from enforcing its unlawful restrictions on independent-
contractor golfers, including the Media Rights Regulation and the Conflicting
Events Regulation;

Prevent the PGA Tour from amending its rules to prevent players otherwise
eligible from playing in PGA Tour events or co-sponsored events;

Prevent the PGA Tour from applying rules beyond their meaning to punish
players who associate with LIV Golf, or otherwise to thwart competition; and
Prevent the PGA Tour from taking any other actions intended to undermine

competition on the merits from LIV Golf.

WHEREFORE, Plaintiffs hereby request that the Honorable Court award the following

permanent injunctive relief against the PGA TOUR:

a.

Stay and enjoin the PGA Tour’s suspension and sanctions imposed on the Player
Plaintiffs;

Enjoin the PGA Tour from banning or threatening to ban from the PGA Tour
(and its affiliated Tour) players who talk to, contract with, play in, or associate
with LIV Golf;

Enjoin the PGA Tour from expelling players from the PGA Tour (and its
affiliated Tour) or PGA Tour tournaments who talk to, contract with, play in, or
associate with LIV Golf;

Enjoin the PGA Tour from threatening or imposing any other punishments or
otherwise harming or threatening to harm anyone who talks to, contracts with,
or associates with LIV Golf;

Enjoin the PGA Tour from conspiring or unlawfully agreeing with the European
Tour to ban or threaten to ban players from participating in European Tour
events or participating in the Ryder Cup for talking to, contracting with, playing

in, or associating with LIV Golf;

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Enjoin the PGA Tour from agreeing, contracting or threatening the R&A,
Masters, and/or PGA of America (or others), to punish, exclude or threaten to
exclude players otherwise eligible under current eligibility rules from
participating in golf events (including the Majors);

Enjoin the PGA Tour from amending its rules to prevent players otherwise
eligible from playing in PGA Tour events or co-sponsored events, such as the
FedEx Cup, the WGC tournaments, the Tournament of Champions, the Players,
the Memorial, the Arnold Palmer Invitational, the Genesis Invitational, AT&T
Pebble Beach Open, and the Presidents Cup;

Enjoin the PGA Tour from enforcing its unlawful restrictions on independent-
contractor golfers, including the Media Rights Regulation and the Conflicting
Events Regulation;

Enjoin the PGA Tour from amending its rules to prevent players otherwise
eligible from playing in PGA Tour events or co-sponsored events;

Enjoin the PGA Tour from applying rules beyond their meaning to punish
players who associate with LIV Golf, or otherwise to thwart competition; and
Enjoin the PGA Tour from taking any other actions intended to undermine

competition on the merits from LIV Golf.

WHEREFORE, Plaintiffs request that this Honorable Court:

a.

Adjudge and decree that the PGA Tour is unlawfully maintaining its monopoly
over the market for the services of professional golfers for elite golf events in
violation of Section 2 of the Sherman Act;

Adjudge and decree that the PGA Tout is unlawfully maintaining its monopoly
over the market for the promotion of elite golf events in violation of Section 2
of the Sherman Act;

In the alternative, adjudge and decree that the PGA Tour is attempting to

monopolize the market for the services of professional golfers for elite golf

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events and the market for the promotion of elite golf events in violation of
Section 2 of the Sherman Act;

Adjudge and decree that the PGA Tour unreasonably restrained trade in
violation of Section 1 of the Sherman Act when it entered agreement with the
European Tour to boycott LIV Golf and potential competitors and those who
associate with LIV Golf to try to foreclose competition from LIV Golf in the
relevant markets;

Adjudge and decree that the PGA Tour breached its Regulations when it refused
to abate Player Plaintiffs’ suspensions pending their respective appeals;
Adjudge and decree that the PGA Tour unlawfully and tortiously interfered with
LIV Golf's contractual and prospective business relationships;

Award Plaintiffs monetary damages, treble damages, and economic damages:
Award LIV Golf punitive damages for the PGA Tour’s bad faith and egregious
interference with LIV Golf’s contractual and prospective business relationships;
Award Plaintiffs their costs in this action, including attorneys’ fees; and

Award Plaintiffs any further relief as may be just and proper.

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DATED: August 26, 2022

Respectfully submitted,

By: /s/ Rachel S. Brass

RACHEL S. BRASS, SBN 219301
rbrass@gibsondunn.com

GIBSON, DUNN & CRUTCHER LLP

5545 Mission Street, Suite 3000

San Francisco, California 94105-0921

Telephone: 415.393.8200

Facsimile: 415.393.8306

ROBERT C. WALTERS, pro hac vice
rwalters@gibsondunn.com

SCOTT K. HVIDT, pro hae vice
shvidt@gibsondunn.com

GIBSON, DUNN & CRUTCHER LLP

2001 Ross Avenue, Suite 2100

Dallas, Texas 75201-2911

Telephone: 214.698.3100

JOSHUA LIPTON, pro hae vice
jlipton@gibsondunn.com

KRISTEN C, LIMARZI, pro hac vice
klimarzi@gibsondunn.com

GIBSON, DUNN & CRUTCHER LLP

1050 Connecticut Avenue, N.W.

Washington, DC 20036-5306

Telephone: 202.955.8500

JOHN B. QUINN, SBN 90378
johnquinn@dquinnemanuel.com

DOMINIC SURPRENANT, SBN 165861
dominicsurprenant@quinnemmanuel.com

KEVIN TERUYA, SBN 235916
kevinteruya@quinnemanuel.com

QUINN EMANUEL URQUHART & SULLIVAN LLP

865 South Figueroa Street, 10th Floor
Los Angeles, California 90017
Telephone: 213.443.3000

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DATED: August 26, 2022

ROBERT P. FELDMAN, SBN 69602
bobfeldman@quinnemanuel.com

QUINN EMANUEL URQUHART & SULLIVAN LLP

$55 Twin Dolphin Dr., 5th Floor

Redwood Shores, California 94065

Telephone: 650.801.5000

Facsimile: 650.801.5100

Attorneys for Plaintiffs Talor Gooch, Hudson Swafford,
Matt Jones, Bryson DeChambeau, lan Poulter, Peter
Uihlein, and LIV Golf Inc.

BAKER McKENZIE LLP

By: /8/ William V. Roppolo

William V. Roppolo

WILLIAM V, ROPPOLO, pro hae vice
william.roppolo@bakermckenzie.com

JODI A. AVILA, pro hae vice
jodi.avila@bakermckenzie.com

BAKER McKENZIE LLP

L111 Brickell Avenue, Suite 1700

Miami, Florida 33131 USA

Telephone: 305.789.8900

JEFFREY MARTINO, SBN 222805
jefirey.martino@bakermckenzie.com

BAKER McKENZIE LLP

452 Fifth Avenue

New York, NY 10018

Telephone: 212.626.4100

Attorneys for Phil Mickelson

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ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1

Pursuant to Civil Local Rule 5-1(h)(3) of the Northern District of California, I attest that
concurrence in the filing of the document has been obtained from each of the other signatories to this

document.

DATED: August 26, 2022 GIBSON, DUNN & CRUTCHER LLP

By: /s/ Rachel 8. Brass
Rachel 8. Brass

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AMENDED COMPLAINT — DEMAND FOR JURY TRIAL
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EXHIBIT 2
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In today’s political environment, moving the needie requires changing the narrative. Clout
Public Affairs is a full-service public strategy and consulting firm that brings together expertise
in communications, policy and politics to execute winning strategies for our clients. We offer an

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What We Do

Clout Public Affairs is a full-service shop that provides integrated, creative and tailored strategic
solutions to some of the nation’s largest corporations, associations and industries. Our entire
team has a proven record of helping secure victories through some of the most public and
challenging policy and political battles over the past decade.

We help achieve these outcomes in a variety of ways — ranging from strategic and crisis
communications assistance, advancement of competitive research, or building and executing
grassroots campaigns to influence policymakers and regulators. We look to frame a public policy
debate, a proposed merger or even the subject of a legislative or regulatory hearing in terms that
are favorable to our clients.

Clout will proudly serve as your teammate, trusted advisor and partner with a singular focus on
your success.

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Edward D. Greim
916.256.4144 phone
916.817.0864 fax

raves arrett.com

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November 21,

Via Flectronic Mail

Kevin Teruya

Quinn Emanuel Urquhart

& Sullivan, LLP
1300 U St. NW,

Re:

Dear Mr. Teruy®

On behalf of Clout
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November 7, 2022 (the

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Plaintiffs in Mickelson, et al.
Case No. 5.72-cv-04486-BLF (N.D. Cal.)

LLC (’Clout”), WE write to object to the
e-mailed service effective Monday,

p. 43(a)(2)(8)-

the Subpoena’s seven distinct document requests

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y, MO 64105 ph 316.256.518)

“DVA") (“Until [the requesting party] at least makes the

effort and fails for some reason not attributable to its OWN fault, this Court cannot possibly

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November 21, 2022
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determine whether any subpoena to [the non-party], no matter how limited, is still
unduly burdensome because the information sought ‘can be obtained from some other
source that ig more convenient, less burdensome, or less expensive.’ Fed .R.Civ.P.
26(by(2)(C)).9- Indeed, those materials have likely already been requested from, and
perhaps are already being provided by, the PGA Tour.

Further, the Subpoena calls for materials that cannot possibly be relevant to any
party's claim or defense, and even if some materials lie on the outer margins of relevance,
the burden of producing them is not proportional to the needs of the case. See Rule
26(b)(L); Watts, 482 F.3d at 509 (explaining that all Rule 26(b)(1) and (2) factors must be
considered with respect to Rule 45 subpoenas).

Finally, the Subpoena is objectionable because it reaches well beyond the allegedly
anticompetitive conduct apparently at issue in the case. Based on our review, it seems to
be an effort to use US. courts to obtain political intelligence against American opponents
of one of the Saudi regime's American-based enterprises. This includes materials relating
to any work Clout may have done to advance the political speech of non-parties to the
case who are mentioned nowhere in the pleadings, including groups of families whose
loved ones were victims of the worst terrorist attack on American soil, and who came
together to engage in political advocacy and to petition their own government to hold
foreign states and other actors accountable. Compelied disclosure of those efforts is not
an appropriate use of legal process in an antitrust case. Indeed, those materials would be
protected by the First Amendment Privilege, which generally protects from discovery
snformation about groups: “political activities and... those persons with whom they have
been affiliated.” International Action Center v. United States, 207 ERD. 1,3 (D.D.C. 2002).

These objections are more fully detailed below. Without waiving them, Clout does
agree to produce any public communications it has made on behalf of the PGA Tour,
which are otherwise responsive to Requests 2 through 5, and which are described in
Paragraph 14 of the Amended Complaint. Because of the burden of searching for and
producing these materials, we would respectfully ask that you grant an extension to
December 14, 2922, for this production.

y1o0 Main Street, Suite 3700 Kansas City, MO 44105 ph 816.256.3184 www.gravesgarrell com
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Responses to Specific Requests

REQUEST FOR PRODUCTION NO. 1:

All Communications with the PGA Tour related to Saudi Arabia, LIV Golf, the September
11, 2001 terrorist attacks, Phil Mickelson, 9/11 Families United, 9/11 Justice, or this
lawsuit.

Clout’s Response:

All of Clout’s communications with the PCA Tour should already be in the
possession of the PGA Tour, a party to this case. Absent some showing that the PGA Tour
is unwilling or unable to produce those documents, the burden of party discovery cannot
be shifted to Clout, a non-party. See DVA, 257 E.R.D. at 19; Education Finance Council v.
Oberg, 2010 WL 3719921 *3 (U.S. Dist. Ct. D.C., March 8, 2010) (“Oberg’s request imposes
an undue burden on EFC because it appears that many, if not all, of EFC’s
communications with the defendants are available from the defendants to the underlying
litigation themselves,” and there was No “+,dication that the defendants cannot or will
not provide all of these communications with EFC”); Diamond Services Mgmt. Co., LLC v.
Knobbe, 339 F.R.D. 334, 339-340 (D.D.C. 2021) (Directing party issuing subpoena to pursue
“at Jeast three more convenient sources” instead of the subpoenaed party, and observing
that “[w]here potentially important legal rights are implicated by a subpoena and
alternative sources are ‘more convenient [or] less burdensome,’ those alternatives should
be explored first.) (citing In re Subpoena to Goldberg, 693 F.Supp.2d 81, 88 (D.D.C. 2010).

Even if it were not for the issue of burden, “all communications” between Clout
and the PGA Tour regarding these topics are not necessarily relevant in the underlying
antitrust proceeding. To the extent the PGA’s public communications are alleged to have
advanced other anticompetitive behavior (see Doc. 83, Plaintiffs’ Amended Complaint,
q11, subparagraphs a through g, which exclusively allege “ehreats” directed to various
golfers, vendors, and organizations outside of the PGA Tour), those communications
themselves are what is relevant, not the Tour’s internal communications with Clout.

REQUEST FOR PRODUCTION NO. 2:

All Documents, Communications, bills, and invoices related to consulting services
provided to the PGA Tour, whether formal or informal, paid or unpaid, related to Saudi
Arabia, LIV Golf, the September 11, 2001 terrorist attacks, Phil Mickelson, 9/11 Families
United, 9/11 Justice, or this lawsuit.

1100 Main Street, Suite 9700 Kansas City. MOQ 64105 ph 916.256.3181 www, gravesgarelt.com
November 21, 2022
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Clout’s Response:

To begin, Clout incorporates its response to Request 1, as this second request is, in
part, a subset of Request 1. Request 2, though, is proader than Request 1 in two respects.

First, it seeks “All Documents.. related to consulting services provided to the PGA
Tour” on various topics. This encompasses even Clout’s internal communications which
were reduced to “Tyocument” form, regardless of whether Clout ever shared them with
the PGA Tour or with any third party and regardless of if they resulted in advice given
to the PGA Tour, oF work undertaken on behalf of the PGA Tour. That part of the request
is objectionable for two reasons. First, a public relations firm’s internal, deliberative,
unshared work product and discussion cannot possibly be relevant to Plaintiffs’ antitrust
claims. As noted above, Paragraph 11 of the Amended Complaint exclusively alleges that
the PGA Tour directed “threats” directed to various golfers, vendors, and organizations
outside of the PGA Tour. What is relevant here are those threats themselves—not a non
party’s jaformation, opinions, OF miscellaneous communications that were never shared
with the PGA Tour. Accordingly, this part of Request 2 seeks information that is
irrelevant. The volume of internal materials is also substantial —what appears to be afew
thousand documents —and the cost of production is, therefore, also substantial.

Second, Request 2 seeks “Communications...related to consulting services
provided to the PGA Tour” on that same set of topics. To the extent any of these
Communications were made on behalf of the PGA Tour and are described in Paragraph
11 of the Amended Complaint, Clout will produce them.

REQUEST FOR PRODUCTION NO. 3:

All Documents and Communications related to any public affairs campaign you have
conducted related to LIV Golf, any golfer who has participated in a LIV Golt tournament,
or this lawsuit.

Clout’s Response:

This Request logically calls for five categories of documents, and this Response
will be organized with respect to each category:

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Case 1:22-mc-00126-
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Graves Garrett uc

Category 1: Clout’s communications with the PGA Tour. Clout incorporates its
response to Request 1.

Category 2: Clout’s internal documents and communications, shared with no
outside person oT individual. Clout incorporates its response to Request 2, and, in part,
its response to Categories 3 and 5.

Category 3: Clout’s communications with any Clout client other than the PGA
Tour that hired Clout to engage in “any public affairs campaign you have conducted
related to LIV Goll, [or] any golfer who has participated in a LIV Golf tournament.”
Clout has several objections to this category. First, this calls for Clout’s communications
with any client that has engaged in ils own First Amendment-protected political speech,
and that has petitioned its own government, relating to LIV Golf due to LIV Golf's ties to
the Kingdom of Saudi Arabia and past terrorist attacks on American soil. Those are not
at all relevant to Plaintiffs’ antitrust claims. Clout will not disclose its clients here, but the
Subpoena explicitly recognizes the existence of groups that have engaged in protected
speech and petitioned the government relating to the 9/11 terrorist attacks. Definitions 11
and 12 identify two such groups, “9/11 Families United” and “9/11 Justice,” and defines
each group as an “organization comprised of the coalition of families demanding
legislative action and disclosure of information regarding the 9/11 attacks.”

Any advocacy that Clout fosters on behalf of such groups of aggrieved American
citizens is protected speech and petitioning activity that lies at the core of the First
Amendment. International Action Center 0. United States, 207 F.R.D. 1, 3 (D.D.C. 2002}.
Private communications and association between parties in preparation for political
speech, or in preparation for and in furtherance of the exercise of the right to petition
their government, is protected from compelled disclosure absent some specific need that
“goes to the heart of the matter.” Id. (citing Black Panther Party 0. Synith, 661 F.2d 1243,
1268 (D.C. Cir. 1981)). Here, the Amended Complaint makes no reference at all to groups
of 9/11 families or other citizens as somehow harming the Plaintiffs; instead, it references
only “threats” by the PGA Tour and other golf-related bodies that the Tour allegedly
influenced. LIV Goll and its fellow Plaintiffs claim no injury from outside groups who
have a long history of criticizing Saudi influence in American politics and who criticize,

ee

‘No entity outside of the PGA Tour has hired Clout to engage ina public affairs campaign
relating to “this lawsuit.” Further, no other golf-related entity has hired Clout to engage
ina public affairs campaign relating to LIV or its golfers.

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Clout’s Response

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REQUEST FOR PRODUCTION NO. 6:
All Documents related to any competitive research you have conducted related to LIV
Golf, any golfer who has participated in a LIV Golf tournament, or this lawsuit.

Clout’s Response:

This Request appears to be a subset of Request 3. Regardless of precisely what
Plaintiff means by “competitive research,” the same objections and responses apply, and
Clout therefore incorporates its response to Request 3.

REQUEST FOR PRODUCTION NO. 7:

All Communications with 9/11 Families United, 9/11 Justice, or anyone associated with
either (e.g., agents, members, officers, directors, employees, or associates) related to Saudi
Arabia, the PGA Tour, LIV Golf, the September 11, 2001 terrorist attacks, Phil Mickelson,
protests, or this lawsuit.

Clout’s Response:

This Request is objectionable for several reasons. First, it is utterly irrelevant to this
proceeding. The 9/11 families’ groups are never mentioned or even alluded to in the
Plaintiffs’ sprawling Amended Complaint. That is because the Plaintiffs’ injuries come
from alleged “threats” the PGA Tour is alleged to have made to various golf-related
individuals and entities. See Amended Complaint, Paragraph 11. Clout’s
communications with the 9/11 groups—if any—could logically support neither a claim
nor a defense in the underlying case. Second, for the reasons Clout laid out above
(Request for Production 3, Category 3), any such communications —if they exist—would
be subject to the First Amendment Privilege. Plaintiffs and their backers cannot use their
litigation with the PGA Tour as an excuse to chill political speech and advocacy by
families who were brought together by the worst terrorist attack ever to occur on
American soil.

Conclusion

Clout believes it has thousands of documents that are potentially responsive to the
Subpoena; reviewing and producing these materials will be a substantial and expensive

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undertaking. Few, if any, of these materials are relevant to the Amended Complaint or
the Defendant's response, but if they are, it is only because the PGA Tour was itself a part
of the communication. Of course, those are the very materials that Plaintiffs can access
(and likely are accessing) directly from the Tour. Given this state of affairs, the Subpoena
is likely unenforceable.

However, in order to avoid the additional expense of litigation, Clout is willing to
agree to produce any of its own communications with third parties on behalf of the PGA
Tour that Plaintitfs allege constitute the various “threats” summarized in Paragraph 11
of the Amended Complaint as the gravamen of the Plaintiffs’ case. Because of the volume
of materials that must be searched, we respectfully request an extension of time to
December 14, 2022, to make this production.

Finally, we recognize that it is possible we have misconstrued the Subpoena, or
that you have inadvertently made broader requests than you intended. We are willing to
meet and confer with you in the coming days to clear up any misunderstandings and to
discuss our respective positions.

Sincerely,
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Edward D. Greim

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EXHIBIT 33
Case 1:22-mc-00126-CJN-MAU Document 1-2 Filed 12/13/22 Page 176 of 232
12/5/22, 9:03 AM Justice Department is Investigating PGA Tour Over Potential Antitrust Violations in LIV Golf Battle - WSJ

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Justice Department Is Investigating PGA Tour
Over Potential Antitrust Violations in LIV
Golf Battle

The probe shows that the DOJ is watching the PGA Tour’s fight to retain players in
the face of new competition from the Saudi-backed LIV Golf circuit

The FedEx Cup Trophy on display during the 2027 Tour Championship golf tournament.
PHOTO: ERIK S LESSER/SHUTTERSTOCK

By Louise Radnofsky and Andrew Beaton ®©
Updated July 11,2022 4:28 pm ET
The Department of Justice is investigating whether the PGA Tour engaged in anticompetitive

behavior as it battles the upstart, Saudi-backed LIV Golf circuit, the PGA Tour confirmed to
The Wall Street Journal.

Players’ agents have received inquiries from the DOJ’s antitrust division involving both the
PGA Tour’s bylaws governing players’ participation in other golf events, and the PGA Tour’s
actions in recent months relating to LIV Golf, according to a person familiar with those

inquiries.

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Case 1:22-mc-00126-CJN-MAU Document 1-2 Filed 12/13/22 Page 177 of 232
12/5/22, 9:03 AM Justice Department Is Investigating PGA Tour Over Potential Antitrust Violations in LIV Golf Battle - WSJ

The questions send a clear signal that the Justice Department is watching the fight that has
divided professional golf, which both sides expect to end up in U.S. courts at some point. Such
an investigation would ordinarily include the subject being instructed to freeze all relevant
communications, both internal and with third parties.

A spokesman for the PGA Tour said it was aware of the investigation—and was confident it
would prevail. The Department of Justice declined to comment.

Since the debut of LIV Golf, which is financed by Saudi Arabia’s sovereign-wealth fund, the
PGA Tour has suspended players who have chosen to participate—a punishment that LIV has
assailed as anticompetitive. Some of those players have opted to resign from the PGA Tour.

The emergence of LIV Golf and the extraordinary money behind it has plunged the sport into
tumult and financial upheaval. LIV offers $25 million in prize money at its tournaments—far
more than is currently offered on the PGA Tour—in addition to the seemingly massive sums
the top pros are receiving for simply signing on.

The PGA Tour has responded by upping its purses at select tournaments and creating
alternate routes, including new proposed international events, in order to further line
players’ pockets. But even the Tour’s boss concedes it can’t match the Saudis’ coffers.

“Tf this is an arms race and if the only weapons here are dollar bills, the PGA Tour can’t
compete,” PGA Tour commissioner Jay Monahan said in June. “The PGA Tour, an American
institution, can’t compete with a foreign monarchy that is spending billions of dollars in [an]
attempt to buy the game of golf.”

That money could also become part of an antitrust case, said people familiar with LIV Golf’s
thinking, if LIV Golf were to argue that they had been forced by the PGA Tour’s rules to spend
more in order to do business.

This isn’t the first federal probe into the PGA Tour’s practices. In 1994, the Federal Trade
Commission was pursuing two PGA rules—one barring golfers from playing in anon-PGA
event without the commissioner’s permission, and the other relating to their appearance on
televised golf programs. By 1995, the FTC had backed off.

“This was not unexpected,” the PGA Tour spokesman said of the new probe. “We went
through this in 1994 and we are confident in a similar outcome.”

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The PGA Tour's bylaws suggest that players are still not allowed to participate in other televised golf events without
the approval of the commissioner.

PHOTO: FRED KFOURY IIl/ZUMA PRESS

The scrutiny over the Tour’s policies has typically focused on the areas that were examined
back in the mid-1990s—both of which relate to the current battle with LIV. The PGA Tour’s
bylaws suggest that players are still not allowed to participate in other televised golf events
without the approval of the commissioner.

There is also the set of rules that requires players to request a release to play in tournaments
that conflict with PGA Tour events. Players are eligible for up to three such releases a season,
and no such releases are granted for events in North America. When players requested those
releases to play in the first LIV event outside of London last month, they were denied—leading
to the suspensions of those who participated nonetheless.

Critics have called those practices anticompetitive. And LIV Golf CEO and commissioner Greg
Norman has boasted of bringing “free agency” to golf. A LIV spokeswoman didn’t have an

immediate comment.

As LIV Golf has tried to woo players, it also raised the possibility of a scenario such as this
one. Earlier this year, LIV had sent a letter to players and agents accusing the PGA Tour of
monopolistic behavior, writing that if the PGA Tour followed through on banning players who
joined LIV that it would “likely cause the federal government to investigate and punish the
PGA Tour’s unlawful practices.”

“There is simply no recognized justification for banning independent contractor professional
golfers for simply contracting to play professional golf,” the letter said.

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Case 1:22-mc-00126-CJN-MAU Document 1-2 Filed 12/13/22 Page 179 of 232
12/5/22, 9:03 AM Justice Department Is Investigating PGA Tour Over Potential Antitrust Violations in LIV Golf Battle - WSJ

The DOJ’s investigation presages what may become a prolonged and multi-pronged legal
battle inside professional golf. The LIV Golf circuit, or the players who left the PGA Tour, could
bring an antitrust suit in the U.S. The Justice Department could weigh in with a statement of

interest in such a case, or keep pursuing its own action.

PGA Tour commissioner Jay Monahan looks on during the Scottish Open.
PHOTO: KEVIN C. COX/GETTY IMAGES

One of the notable developments in that space unfolded just last week when a handful of LIV
golfers challenged their suspensions from an event—and won a stay. The DP World Tour, also
known as the European tour, had suspended LIV players from participating in the Genesis
Scottish Open, which it co-sanctions with the PGA Tour.

But days before the event, a judge hearing the golfers’ complaint through a dispute resolution
service said those bans should be temporarily enjoined.

LIV Golf—and the money behind it—has generated considerable controversy and tumult
inside the sport this year. The circuit has offered record prize money, in addition to lucrative
appearance fees, in order to attract top pros.

Superstar Phil Mickelson faced considerable backlash earlier this year after the publication of
comments in which he said he would be willing to do business with the Saudis despite the
country’s record on human rights, because of his dissatisfaction with how the PGA Tour

operates.

Mickelson spent months away from golf following the firestorm. When he re-emerged, it was
at LIV’s debut event outside London.

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He is one of a growing list of big names who have signed on with LIV, including Dustin
Johnson, Bryson DeChambeau, Brooks Koepka and Patrick Reed. Many of these players have
faced consequences from not just the PGA Tour, which suspended them, but also their own
sponsors who have in some instances stopped working with them.

Their involvement with the Saudis has also drawn the criticism of activists, including the
families of 9/11 victims.

—Mark Maremont contributed to this article.

Write to Louise Radnofsky at louise.radnofsky@wsj.com and Andrew Beaton at
andrew.beaton@wsj.com

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Dustin Johnson and Phil Mickelson during a LIV Golf event.
PHOTO: STEVEN PASTON/ZUMA PRESS

Appeared in the July 12, 2022, print edition as 'PGA Tour Faces DOJ Inquiry Into Fight With Saudi Rival’.

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EXHIBIT 34
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12/5/22, 9:05 AM Augusta National Golf Club Under Investigation in DOJ Antitrust Probe - WSJ

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By Louise Radnofsky and Andrew Beaton
Oct. 26, 2022 10:00 am ET
The Justice Department’s antitrust investigation into professional golf includes the

powerhouse bodies Augusta National Golf Club and the United States Golf Association, in
addition to the PGA Tour, according to people familiar with the matter.

The PGA Tour is battling the upstart, Saudi-backed LIV Golf’s bid to establish a rival golf tour
that has already lured away a number of star players. The DOJ antitrust division’s scrutiny of
the PGA Tour was first reported by The Wall Street Journal in July. Players’ agents have
received inquiries about the Tour’s bylaws as they pertain to players’ participation in non-
PGA Tour events, and the Tour’s actions relating to LIV Golf.

The DOJ investigation, however, is wider than was previously known, extending to some of
the other most important bodies in golf. People familiar with the matter said those groups
include Augusta National, which oversees the iconic Masters tournament each spring. The
famously secretive club has produced documents for the Justice Department probe, these
people said.

A spokeswoman for Augusta National declined to comment. Craig Waldman, a lawyer at
Jones Day representing Augusta National in the matter, had no comment.

The USGA, which governs the sport in the U.S. and oversees the U.S. Open, is also a subject of
the investigation, a USGA spokeswoman confirmed. The USGA intends to fully comply with
any and all requests, the spokeswoman said.

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The PGA of America, which is distinct from the PGA Tour and runs the PGA Championship, is
another body whose actions are being examined as part of the probe, people familiar with the
matter said. The PGA of America also declined to comment.

A Justice Department spokeswoman declined to comment.

Scottie Scheffler tees off during the final round of the 2022 Masters,
PHOTO: JONATHAN ERNST/REUTERS

The Justice Department’s interest is only one of the legal battles surrounding the warring golf
circuits, as other fights have also drawn in the most significant institutions in the sport’s

establishment.

LIV Golf is pursuing an antitrust lawsuit against the PGA Tour in the U.S. District Court for
the Northern District of California, in a case initially brought by LIV players, but now largely
being handled now by the circuit itself.

LIV is arguing that the Tour has acted illegally in suspending LIV players from its events, in an
attempt to squash a rival. The PGA Tour has countersued, alleging that LIV harmed the Tour
by interfering in its deals with golfers.

The Tour has said it is confident it will prevail over LIV, and in the DOJ matter. There has also
been public skepticism about the merits of the antitrust probe. Members of Congress have
raised objections to the DOJ pursuing the golf inquiry at all, accusing the federal agency of
helping the Saudis.

Augusta National has featured prominently in LIV’s complaint against the Tour, as LIV
accuses the Tour of leaning on the famed club to pressure players against joining LIV. The LIV

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suit also says that Augusta National has taken steps to align with the PGA Tour.

Fred Ridley is the chairman of Augusta National Golf Club.
PHOTO: BRIAN SNYDER/REUTERS

Augusta National representatives, the complaint says, threatened to disinvite players from
the Masters if they jomed LIV. The club’s chairman Fred Ridley personally instructed a
number of participants in last year’s Masters to not sign on with LIV, it added. Ridley didn’t
respond to an email seeking comment.

The PGA Tour, in court documents, has denied pressuring Augusta National to do its bidding.
It has also broadly disputed the veracity of many of LIV’s claims.

In an early filing, seeking to block LIV players’ application for a temporary restraining order
that would have allowed them to play in the FedEx Cup Playoffs, lawyers for the PGA Tour
wrote: “The Tour does not have the space to correct all of [plaintiffs’] half-truths and
falsehoods in this brief, and instead has created a separate chart identifying an exemplary set
of them.”

LIV’s legal filing also portrayed Ridley as playing a central role in the situation. It says he,
along with the chairman of the R&A, threatened consequences to the CEO of the Asian Tour,
which has a partnership with LIV, if it continued to support LIV. The R&A, another
international golf governing body, oversees the British Open.

It also says Ridley declined an invitation from Greg Norman, the former golf star who’s the
commissioner of LIV Golf, when he attempted to set up a meeting to explain how “LIV Golf
could operate in the existing professional golf world.”

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Greg Norman, right, is the LIV Golf commissioner.
PHOTO: STEVE DYKES/GETTY IMAGES

LIV is waging an additional campaign to persuade the Official World Golf Ranking to award
points for its events, a fight that could trigger further litigation on this specific issue in
Europe, or a push to get the majors to accept alternative rankings.

Other than the brief period every year when it opens its doors to television cameras and
throngs of fans, Augusta National is one of the most tight-lipped bodies around. The club
rarely comments on its business or on public issues and is closely guarded about even the
smallest details of its operation.

Its membership, however, contains some of the most prominent public figures in the country.
Members of the club, which was exclusively male until 2012, include business titans and
prominent sports power players such as NFL commissioner Roger Goodell and MLB
commissioner Rob Manfred. When the club first admitted women a decade ago, former
Secretary of State Condoleezza Rice gained admission.

Write to Louise Radnofsky at louise.radnofsky@wsj.com and Andrew Beaton at
andrew.beaton@wsj.com

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EXHIBIT 35
(FILED UNDER SEAL)
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EXHIBIT 36
Case 1:22-mc-00126-CJN-MAU Document 1-2 Filed 12/13/22 Page 188 of 232
12/11/22, 4:56 PM PGA TOUR INC - Full Filing- Nonprofit Explorer - ProPublica

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Nonprofit Explorer

Research Tax-Exempt Organizations

PGA TOUR INC

PONTE VEDRA, FL 32082-2826 | TAX-EXEMPT SINCE FEB. 1977

Full text of “Full Filing” for fiscal year ending Dec. 2019

Tax returns fited by nonprofit organizations are public records. The Internal Revenue Service releases them in two formats: page images and
raw data in XML. The raw data is more useful, especially to researchers, because it can be extracted and analyzed more easily. The pages
below are a reconstruction of a tax document using raw data from the IRS.

Source: Data and stylesheets from the Internal Revenue Service. E-file viewer adapted from IRS e-File Viewer by Ben Getson.

« Back to main page for PGA TOUR INC

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PGA TOUR INC - Full Fiting- Nonprofit Explorer - ProPublica

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Return of Organization Exempt From Income Tax

Under section 501(c), 527, or 4947(a}(1) of the Internal Revenue Code (except private foundations)
% Do not enter social security numbers on this form as it may be made public.

rom I OO

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Department of the Treasury
Intemal Revenue Service

}* Go to www.irs.gov/Form990 for instructions and the latest information.

OMB No, 1545-0047

201

A For the 2019 calendar year, or tax year beginning 01-01-2019

,and ending 12-31-2019

C Name of organization

B Check if applicable: PGA TOUR INC

O Address change

O Name change % JEANNE LIGHTCAP

D Employer identification number

XX-XXXXXXX

C3 Initiat return

Doing business as
O Final return/ terminated:

Number and street (or B.C. box if mail is not delivered to street address)

O amended return
100 PGA TOUR BOULEVARD

O Application pending

Roam/suite

E Telephone number

(904) 285-3709

City or town, state or province, country, and ZIP or foreign postal code
PONTE VEDRA BEACH, FL 32082

G Gross receipts $ 2,220,358,992

7
F Name and address of principal officer:
Joseph W Monahan
160 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082

I Tax-exempt status:

O) s0ace3¢3) S0i(c) (6) @linsert no.) (2 4947¢a)¢1) or

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J Website: PGATOUR.COM

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If "No," attach a list. (see instructions)
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K Form of organization: 4 Corporation O Trust OD Association 0 Other

L Year of formation: 1974

M State of legal dorticile:

MD
Baril Summary
1 Briefly describe the organization’s mission or most significant activities:
TO PROMOTE THE SPORT OF PROFESSIONAL GOLF AND THE COMMON INTERESTS AND THE COMMON INTERESTS OF TOURING GOLF
x PROFESSIONALS.
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& 2. Check this box 0
a 3 Number of voting members of the governing body (Part Vi, line ia). . eo. 3 9
2 4 Number of independent voting members of the governing body (Part VI, fine 1b) san 4 5
= 5 Tota? number of individuals employed in calendar year 2019 (Part V, line 2a) yo oan 5 959
s 6 Tota! number of volunteers (estimate if necessary) .- - » «© « woo. 6 17,432
a Ja Tota! unrelated business revenue from Part VIH, column (C), line i2 . . 7a 17,704,991
b Net unrelated business taxable income from Form 990-T, line 39. eo 7b 3,535,196
Prior Year Current Year
8 Contributions and grants (Part VIN, line Lh) .  . 1 8 G aq
= 9 Program service revenue (Part Vil, line 2g}. 2 1 ee 1,076,557 ,060 1,167,400,356
% £10 Investment income (Part Vill, column (A), dines 3, 4, and 7d ) 122,488,571 137,044,843
fo 11 Other revenue (Pari VIE, column (A), lines 5, 6d, 8c, 9c, 10c, and ite) 216,906,243 229,576,682
12 Total revenue—add lines 8 through 11 (must equal Part VIil, column (A}, line 12) 1,415,351,874 1,534,021,881
13 Grants and similar amounts paid (Part EX, column (A), lines i-3) . . 42,745,978 50,051,841
£4 Benefits paid to or for members (Part IX, column (A), line 4}. 0. 2 4 0 6
x 45 Salaries, other compensation, employee benefits (Part IX, column (A}, lines 5-10) 141,294,696 146,491,395
# 16a Professional fundraising fees (Part IX, column (A), fine tle) .«  . . 0 0
oS b Total fundraising expenses (Part EX, column (0D), line 25) MO
a 17 Other expenses (Part IX, column (A), lines 1la~lid, Lif-24e) .. 1,161,504,407 1,264,706,071
18 Total expenses. Add lines 13-17 (must equal Part IX, column (A), line 25) 1,345,545,081 1,461,249,307
19 Revenue less expenses. Subtract line 18 from line 12...  . 4 70,406,793) 72,772,574
g Beginning of Current Year End of Year
is 20 Total assets (PartX, line 16) . 0. we ewe 2,934,026,162 3,384,025,893
se 21 Total liabilities (Part X, line 26) 2. 2 1 6 2 ea 1,780,766,622 2,149,896,019
Si | 22 Net assets or fund balances. Subtract line 2i from line20 . . .» « « 1,153,259,540 1,234,129,874

Signature Block

Under penalties of perjury,
knowledge and bellef, it is true, correct, and complete. Dectaration of preparer (other than officer) is based on all

anv knowledne.

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i declare that ? have examined this return, including accompanying schedules and statements, and to the best of my
informaticn of which preparer has

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2020-11-14
- Signatura of officer Date
Sign
Here KENNETH SHARKEY EVP/CFO
Type or print namé and titte
Print/Type preparer's name Preparer’s signature Date O PTIN
Check if | pqg059252
oad. self-employed
. Firm's name IF GRANT THORNTON LLP Firm's EIN i

erdRtPARRIbis
These, Qeily Firm's address 200 5 ORANGE AVE SUITE 2050 Phone no, (407) 481-5100
Topics ORLANDO, FL 32801
Series . . . .

May the IRS discuss this return with the preparer shown above? (see instructions) .  « «© «© «© © «© © Fo 4 Oves CNo

“6? Paperwork Reduction Act Notice, see the separate instructions. Cat. No. 112827 Form 990 (2019)

Get Involved
Impact

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Corrections
Form 990 (2019) Page 2

bie

About Us
BoareLand Adielteck if Schedule O contains a response or note to any line inthis Partil. o. eo. 8 ee

Hh Statement of Program Service Accomplishments

ori Briefly gescribe the organization’s mission:
iGers an a
THE PRINCIPAL MISSION OF PGA TOUR, INC, IS TO PROMOTE THE SPORT OF PROFESSIONAL GOLF THROUGH SANCTIONING AND ADMINISTERING

DivetallY TOURNAMENTS AND PROMOTING THE COMMON INTERESTS OF TOURING GOLF PROFESSIONALS. THIS IS ACCOMPLISHED BY PROVIDING
JoFGGR aM AARNINGS OPPORTUNITIES FOR MEMBERS OF THE PGA TOUR, PGA TOUR CHAMPIONS, KORN FERRY TOUR, PGA TOUR

LATINGAMERICA, MACKENZIE TOUR-PGA TOUR CANADA, AND PGA TOUR SERIES-CHINA; PROTECTING THE INTEGRITY OF THE GAME; AND HELPING
Rermitay THE REACH OF THE GAME IN THE U.S. AND AROUND THE WORLD.

MediaCenter

Advertising Policy

Code of Hthiahe organization undertake any significant program services during the year which were not listed on
Privacy Polieprior Form 990 or 99G-EZ? 6 ew Oves no

If "Yes," describe these new services on Schedule O.
3 Did the organization cease conducting, or make significant changes in how it conducts, any program

Subscribeby Email kkk ee Oves #No
Subscriberby BSS describe these changes on Schedule O.

Twilger Describe the organization’s program service accomplishments for each af its three largest program services, as measured by expenses.
FacebooSection 501(c)(3} and 501{c}(4} organizations are required to report the amount of grants and allocations to others, the total expenses,
iOS and Ang revenue, if any, for each program service reparted.

Podggst

(Code: } (Expenses $ including grants of $ } (Revenue $ }

THE PRINCIPAL MISSION OF PGA TOUR, INC. IS THE PROMOTION OF THE SPORT OF PROFESSIONAL GOLF AND THE COMMON INTERESTS OF THE TOURING
PROFESSIONAL GOLFER AS WELL AS GROWTH OF THE GAME. THIS IS PRIMARILY ACCOMPLISHED THROUGH MANAGING AND CG-SPONSORING PROFESSIONAL
Leak to USOLF TOURNAMENTS, SECURING CORPORATE SPONSORSHIP OF TOURNAMENTS AND OTHER PROGRAMS, AND SECURING TELEVISION EXPOSURE FOR ITS
PROFESSIONAL GOLF TOURNAMENTS. BY MANAGING AND CO-SPONSORING SIX DIFFERENT PROFESSIONAL GOLF TOURNAMENT DIVISIONS (PGA TOUR, PGA TOUR
Steal OurcStaviMens, KORN FERRY TOUR, PGA TOUR LATINGAMERICA, MACKENZIE TOUR-PGA TOUR CANADA, AND PGA YOUR SERIES-CHINA - COLLECTIVELY THE PGA
OUR), PGA TOUR, INC. PROVIDES OPPORTUNITIES FOR THE TOURING PROFESSIONAL GOLFER TO COMPETE AND EARN PRIZE MONEY AND BENEFITS WHILE
Contact OWING THE GAME BY EXPOSING IT FO THE GENERAL PUBLIC THROUGH THEIR ATTENDANCE AND TELEVISION VIEWING. IN 2019, THE SIX TOURS
Donate COLLECTIVELY HELD 142 TOURNAMENTS, TOTAL PRIZE MONEY AND BENEFITS EARNED THROUGH COMPETITION BY PROFESSIONAL GOLFERS ACROSS THE SIX
TOURS IN 2019 EXCEEDED $775 MILLION, THESE TOURNAMENTS WERE PLAYED IN AT LEAST 34 U.S, STATES AND 19 DIFFERENT COUNTRIES IN 2019, ALLOWING
PEOPLE THROUGHOUT THE WORLD THE OPPORTUNITY TO EXPERIENCE FIRST-HAND THE SPORT OF PROFESSIONAL GOLF PGA TOUR, INC. SECURES TELEVISION
COVERAGE FOR 1TS TOURNAMENTS THROUGH AGREEMENTS WITH NATIONAL AND INTERNATIONAL BROADCASTERS AND CABLE CHANNELS. IN 2019, PGA TOUR,
INC. TELEVISION COVERAGE REACHED 226 COUNTRIES AND TERRITORIES ANO IN 23 LANGUAGES, PGA TOUR, INC. AND DISCOVERY FORMED AN ALLIANCE AND
UNVEILED GOLFTV IN 2049 TG PROVIDE 2,000 HOURS OF LIVE GOLF COVERAGE TO MUETIPLE COUNTRIES TO FURTHER PROMOTE THE SPORT OF GOLF
WORLDWIDE, PGA TOUR, INC, AND THE LADIES PROFESSIONAL GOLF ASSOCIATION MAINTAIN A STRATEGIC ALLIANCE DESIGNED FO FURTHER PROMOTE THE
GROWTH OF PROFESSIONAL GOLF, INCLUDING AREAS SUCH AS SCHEDULE COORDINATION, JOINT MARKETING, TELEVISION REPRESENTATION, DIGITIAL MEDIA,
_.. AND THE POSSIBILITY GF FUTURE DEVELGPMENT OF JOINT EVENTS, IN ADDITION TO TELEVISION COVERAGE, THE PGA TOUR IS EMBRACING DIGITAL MEDIA
ACROSS MULTIPLE PLATFORMS, INCLUDING A SUBSIDIARY'S WEBSITE, PGATOUR.COM, THE PGA TOUR CONTINUES TO GROW ITS PRESENCE ON SOCIAL MEDIA
fl PROPUBEICACH AS FACEBOOK, INSTAGRAM, AND TWITTER THROUGH A SUBSIDIARY TO BRING THE PLAYERS CLOSER TO THE GENERAL PUBLIC, VOLUNTEERS,
AND SPONSORS. IN 2019, TWITTER BROADCASTED MORE THAN 140 HOURS OF FREE, EXCLUSIVE, LIVE TOURNAMENT COVERAGE ACROSS MULTIPLE EVENTS TO
BROADEN THE APPEAL OF GOLF TO YOUNGER VIEWERS, THE MISSION OF GROWING THE GAME OF GOLF IS ENHANCED THROUGH TELEVISION, CORPORATE
SPONSORSHIPS AND THE PROMOTIONAL ACTIVITIES ASSOCIATED WITH PROMOTING THE SPORT OF PROFESSIONAL GOLF, PGA TOUR, INC, AND INTEL HAVE AN
EXCLUSIVE RELATIONSHIP TO PRODUCE AND GLOBALLY DISTRIBUTE LIVE VIRTUAL REALITY AND LIVE 360 VIDEO AT VARIOUS PGA TOUR EVENTS. THE QUALIFIED
SPONSORSHIP PAYMENTS RECEIVED BY PGA TOUR, INC., AS DEFINED IN INTERNAL REVENUE CODE SECTION 513{I), PROMOTE THE SPORT THROUGH FUNDS
UTILIZED IN PART TO INCREASE PURSE AMOUNTS AND EARNINGS OPPORTUNITIES FOR PROFESSIONAL GOLFERS ON THE PGA FOUR, PGA TOUR CHAMPIONS,
KORN FERRY TOUR, PGA TOUR LATINOAMERICA, MACKENZIE TOUR-PGA TOUR CANADA, AND PGA TOUR SERIES-CHINA IN PART TO ACHIEVE PGA TOUR, INC'S
GOAL OF GIVING BACK, AS SET FORTH IN PART III, LINE 4B.

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4b (Code: } {Expenses ¢$ including grants of $ ) (Revenue $ }

IN ADDITION TO PROMOTING AND BUILDING THE SPORT OF PROFESSIONAL GOLF, PGA TOUR, INC. [5S COMMITTED TO GENERATING SUBSTANTIAL CHARITABLE
CONTRIBUTIONS IN THE COMMUNITIES WHERE ITS TOURNAMENTS ARE PLAYED, EVEN THOUGH PGA TOUR, INC. IS NOT A CHARITABLE IRC SECTION 501(C)(3)
ORGANIZATION. A MAJORITY OF THE TOURNAMENTS ARE OPERATED BY CHARITASLE ORGANIZATIONS THAT GIVE 100% OF THE NET PROCEEDS FROM THE
TOURNAMENT TO LOCAL CHARITIES. AREAS OF SUPPORT INCLUDE, BUT ARE NOT LIMITED TO: HEALTHCARE, EDUCATION, YOUTH DEVELOPMENT, DISASTER
RELIEF, FOOD BANKS, MILITARY AND ENVIRONMENT. IN 2019, PGA TOUR, INC. AND ITS TOURNAMENTS GENERATED MORE THAN $200 MILLION OF CHARITABLE
DONATIONS IN THE COMMUNITIES WHERE THE EVENTS WERE PLAYED, BENEFITTING MORE THAN 3,000 CHARITIES. INCLUDED IN THIS AMOUNT IS $50 MILLION
OF DIRECT CONTRIBUTIONS MACE BY PGA TOUR, INC, THIS BRINGS PGA TOUR, INC.'s TOTAL CHARITABLE DONATIONS TG MORE THAN $3 BILLION SINCE THE
FIRST $10,000 CONTRIBUTION WAS MADE IN 1938, ALSO, A SUBSTANTIAL AMOUNT OF ADDITIONAL CHARITY DOLLARS ARE RAISED EACH YEAR BY PGA TOUR,
INC, MEMBERS THROUGH THEIR INDIVIDUAL FOUNDATIONS AND FUNDRAISERS.

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PGA TOUR, INC. INCLUDES, AS PART OF ITS MISSION STATEMENT, THE DEDICATION TO PROTECT THE INTEGRITY OF THE GAME OF PROFESSIONAL GOLF. THE
TOURING PROFESSIONAL GOLFER HAS AN UNWAVERING ADHERENCE TO GOLF'S INHERENT VALUES, SUCH AS HONESTY, INTEGRITY, AND SPORTSMANSHIP. GOLF
1S A SPORT IN WHICH PLAYERS CALL PENALTIES ON THEMSELVES, WHETHER AN INFRACTION IS VISIBLE TO OTHERS OR NOT, IT IS A SPORT IN WHICH
COMPETITORS SHAKE HANDS AND CONGRATULATE ONE ANOTHER AT THE CONCLUSION OF EACH AND EVERY ROUND, TOURNAMENT OR MATCH, WITHOUT FAIL. IT
TS ALSO 4 SPORT THAT FAITHFULLY TEACHES EACH GENERATION OF PARTICIPANTS FROM THE EARLIEST AGE THAT ITS RULES ARE UNCOMPROMISABLE. THESE
ARE VALUES THAT PGA TOUR, INC.'S TOURING PROFESSIONAL GOLFERS LIVE BY AND DEMONSTRATE EVERY ROUND OF EVERY TOURNAMENT,

4d Other program services (Describe in Schedule ©.)
(Expenses ¢ including grants of $ } (Revenue $ }
de Total program service expenses

Form 990 (2019)

Page 3
Ferm 990 (2019) Page 3
tiv Checklist of Required Schedules
Yes No
1 Is the organization described in section 50i{¢}(3) or 4947(a)(2) (other than a private foundation}? Jf “Yes,” complete No
ScheduleA «6 6 0 8 8 ew we et soe ke 1
Is the organization required to complete Schedule B, Schedule of Contributors (see instructions)? 6 ks 2 No
3 Did the organization engage in direct or indirect political campaign activities on behalf of or in oppasition to candidates No
for public office?if "Yes,” complete Schedule C, Part! *e) soe ek 3
4 Section 501(c)(3) organizations. Did the organization engage in lobbying activities, or have a section 503(h)
election in effect during the tax year? If “Yes,” complete Schedule C, Partlh .  . . . 4
5 Is the organization a section 501(c)(4)}, 501(c)(5}, or 501(c)(6) organization that receives membership dues,
assessments, or similar amounts as defined in Revenue Procedure 98-19? If “Yes," complete Schedute C, Part if} a). 5 Yes
6 Did the organization maintain any donor advised funds or any similar funds or accounts for which donors have the right
to provide advice on the distribution or investment of amounts in such funds or accounts?/f "Yes," complete
Schedule D,PattSD. 6 No
7? Did the organization receive or hold a conservation easement, including easements to preserve open space,
the environment, historic land areas, or historic structures?Jf "Yes," complete Schedive D, Part ti 7 No
8 Did the organization maintain collections of works of art, historical treasures, or other similar assets? If "Yes," 8 No
complete Schedule D, Part 1H MH. kk kk ee
9 Did the organization report an amount in Part X, line 21 for escrow ar custodia! account liability; serve as a custodian
for arnounts not listed in Part X; or provide credit counseling, debt rnanagement, credit repair, or debt negotiation N
services? If “Yes,” complete Schedule D, Part iV eee ewe 9 °
10 Did the organization, directly or through a related organization, hold assets in temporarily restricted endowments, 10 No
permanent endowments, of quasi endowments? If "Yes," complete Schedule D, Part V soem
11 If the organization's answer to any of the following questions is "Yes," then complete Schedule D, Parts VI, VII, VIII, Ix,
or X as applicable.
a Did the organization a an amount for land, buildings, and equipment in Par X, line 16? If "Yes," complete
Schedule D, Part VI. Co ee ee eke ee ee dia} Yes
b Did the organization report an amount for investments—other securities in Part X, line 12 that is 5% or more of its total y
assets reported in Pari X, line 16? if “Yes,” complete Schedule D, Part Vil toe 11b es
c Did the organization report an amount for investments—pragram related in Part X, line £3 that is 5% or more of its
total assets reported in Part X, line 16? If "Yes," complete Schedule D, Part Vili 6. lic No
d_ Did the organization report an amount for other assets in Part X, line 15 that is 5% or more of its total 3 assets reported
in Part X, line 16? IF "Yes," complete Schedule D, Pat XT. wk a iid No
@ Did the organization report an amount for other liabilities in Part X, line 25? If "Yes," compiete Schedule D, Part x itel Yes
f Did the organization’s separate or consolidated financiat statements for the tax year include a footnote that addresses
the organization's liability for uncertain tax positions under FIN 48 (ASC 740)? If "Yes," compfete Schedule D, Part X 1ifj Yes
i2a Did the organization obtain separate, independent audited financial statements for the tax year? If "Yes," complete
Schedule D, Parts XI and XIT ee eee - oe ea 12a No
b Was the organization included in consolidated, independent audited financial ¢ statements for the tax year? 12h] Yes
If "Yes," and if the organization answered “No" to line 12a, then completing Schedule D, Parts XI and XII is optional )
43 = Is the organization a school described in section 170(b)(1}(A}{ii)? If "Yes," complete Schedule E 13 No
t4a Did the organization maintain an office; employees, or agents outside of the United States? . 14a] Yes
b Did the organization have aggregate revenues or expenses of more than $10,000 from grantmaking, fundraising,
business, investment, and program service activities outside the United States, or aggregate foreign investments valued tap] y
at $100,000 or more? If "Yes," complete Schedule F, PartsfandivV. «6 4s es
45 Did the organization report on Part IX, column {A}, line 3, more than $5,000 of grants or other assistance to or for any Yes
foreign organization? If “Yes,” complete Schedule F, Parts andiV . . q 15
16 Did the organization repert on Part IX, column {A}, line 3, more than $5,000 of aggregate grants or other assistance to No
or for foreign individuals? if “Yes,” complete Schedule F, Parts IfandiV . 1 + 16
17 Did the organization repert a total of more than $15,000 of expenses for professional fundraising services on Part IX, 17 No
cofumn (A), lines 6 and 11e? if "Yes," complete Schedute G, Part (see instructions) - oe

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18 = Lid the organization report more than $15,040 total oT rungraising € event gross income and contributions on Par VHI,
lines ic and 8a? If “Yes,” complete Schedule G, Partif.  . Boe 18 No
19 Did the organization report more than $15,000 of gross income from gaming activities on Part VIIl, ine 9a? Jf “Yes,”
complete Schedule G, Parti. 6 6 nk coe ee ee 19 No
20a Did the organization operate one or more hospital facilities? If “Yes,” complete Schedule H « . ss 20a No
b If "Yas" te Hine 20a, did the organization attach a copy of its audited financial statements to this return? 20b
24 © Did the organization report more than $5,000 of grants or other assistance to any damestic organization or domestic 24 Yes

government on Part EX, column (A), line 1? If “Yes,* complete Schedule I, Parts land il .

Form 990 (2019)

Page 4
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Checklist of Required Schedules (continued)
Yes No
22 Did the organization report more than $5,000 of grants or other assistance to or for domestic individuals on Part IX, 22
cofumn (A), line 2? If “Yes,” complete Schedule I, PartsIandlil .  . No
23 Did the organization answer “Yes” to Part Vil, Section A, line 3, 4, or 5 about compensation of the organization’s current
and former officers, directors, trustees, key employees, and highest compensated employees? If “Yes,” complete 23 Yes
Schedule 7 ou ee
24a Did the organization have a tax-exempt bond issue with an outstanding principal amount of more than $100,000 as of
the last day of the year, that was issued after December 3 31, 20027 If “Yes,” answer fines 24b through 24d and
complete Schedule K. If "No," go toline 25a... . wee ee 24a No
b Did the organization invest any proceeds of tax-exempt bonds beyond a temporary period exception? . . 24b
ec Did the organization maintain an escrow account other than a refunding escrow at any time during the year
to defease any tax-exempt bonds? 2. 2 2 1 8 # ee soa 24c
d Did the organization act as an "on behalf of" issuer for bonds outstanding at any time during the year? «1 24d
25a Section 501(c}(3), 501(c){4), and 501(c)(29) organizations. Did the organization engage in an excess benefit
transaction with a disqualified person during the year? If “Yes,” complete Schedule 1, Paril .  . . 25a
b Is the organization aware that it engaged in an excess benefit transaction with a disqualified person in a prior year, and
that the transaction has not been reported on any of the organization's s prior Forms $90 or 990-EZ? if "Yes," complete 25b
Schedule L, Parth . 2 8 8 Boe
26 (Dic the organization report any amount on Part X, line 5 or 22 for receivables from or payables to any current or former
officer, director, trustee, key employee, creator or founder, substantiai contributor, or 35% controlled entity or family 26 No
member of any of these persons? If "Yes,"complete Schedule 1, Part i
27 = Did the organization provide a grant or other assistance to any current or former officer, director, trustee, key
employee, creator or founder, substantial contributor, or employee thereof, a grant selection committee member, or to a] 39 No
35% controlled entity {including an employee thereof} or family member of any of these persons? Jf "Yes," complete
Schedule L,Pan WE
28 Was the organization a party to a business transaction with one of the following parties (see Schedule L, Part IV
instructions for applicable filing thresholds, conditions, and exceptions):
a Accurrent or former officer, director, trustee, key employee, creator or founder, or substantia! contributer? If "Yes," .
complete Schedule L, PartiV 6 we 282 No
b A family member of any individual described in line 28a? If "Yes," complete Schedule L, PartV . 1 6 8 4 i) agp |
‘es
¢ A35% controlled entity of one or more individuals and/or organizations described in lines 288 or 28b? If “Yes,” N
complete Schedule L, PartIV ww oe ee 28c °
29 Did the organization receive more than $25,000 in non-cash contributions? If “Yes,” complete ScheduleM . . 29 No
30 Did the organization receive contributions of art, historical treasures, or other similar assets, or qualified canservation
contributions? Jf "Yes," complete Schedule M 2. en ke a oe eee 30 No
31. Did the organization liquidate, terminate, or dissolve and cease operations? if "Yes," complete Schedule N, Part! 31 N
0
32. Did the organization sell, exchange, dispose of, or transfer more than 25% of its net assets? If "Yes," complete
Schedule N, Part. nee 32 No
33 Did the organization own 100% of an entity disregarded as separate from the organization under Regulationssections Yes
301.7701-2 and 301.7701-3? If "Yes," complete Schedule R, Parti. 1 2 2  « ae 33
34 Was the organization related to any tax-exempt or taxable entity? if "Yes," complete Schedule R, Part li, Il, or IV, and
oe] 34 Yes
Pat, fined ge
35a Did the organization have 4 controlled entity within the meaning of section 512(5){13)? 35a} Yes
b If Yes’ to line 35a, did the organization receive any payment from or engage in any transaction with a controlled entity 35h{| Yes
within the meaning of section 512(b}(13)? If "Yes," complete Schedule R, Part V, fine 2
36 Section 501(c}({3) organizations. Did the organization make any transfers to an exempt non-charitable related
organization? If "Yes," complete Schedule R, PartV, ling 2 2 6 5 8 ee 36
37 Did the organization conduct more than 5% of its activities through an entity that is not a related organization and that No
ig treated as a partnership for federal income tax purposes?if "Yes," complete Schedule R, Part VI 37
38 Did the organization complete Schedule O and provide explanations in Schedule O for Part VI, ines 116 and 19? Note.
AH Farm Of filers are raniirad ta camnlata Geheadida 1 a9 Yes

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AOU E 20 GO GRU SPI OR eo . . lt
Poet Statements Regarding Other IRS Filings and Tax Compliance
Check if Schedule O contains a response or note to any line inthis PatV . . .  . sor.
Yes
la Enter the number reported in Box 3 of Form 1096, Enter -0- if not applicable .  . la 3,317
b Enter the number of Forms W-2G included in line la, Enter -O- if not applicable. 1b 1
¢ Did the organization comply with backup withholding rules for reportable payments t to vendors and reportable gaming
(gambling) winnings to prize winners? «  « «5 2 - - oe oe > oo. ic Yes
Form 990 (2019)
Page 5
Form 990 (2019) Page 5
Part V Statements Regarding Other IRS Filings and Tax Compliance (continued)
2a Enter the number of employees reported on Farm W-3, Transmittal of Wage and
TaxStatements, filed for the calendar year ending with or within the year covered by
thisreturmn 2 ew 2a 959
b If at east one is reported on line 2a, did the organization fite all required federal employment tax returns? 2b Yes
Note. If the sum of lines ia and 2a is greater than 250, you may be required to e-file (see instructions)
3a Did the organization have unrelated business gross income of $1,000 or more during the year? . « 3a Yas
b If “Yes,” has it filed a Form 990-T for this year?if “Wo” to line 3b, provide an explanation in Schedule O . 1 3b Yes
4a At any time during the calendar year, did the organization have an interest in, or a signature or other authority over, a Aa Yes
financial account in a foreign country (such as a bank account, securities account, or other financial account)? . .
b Ff "ves," enter the name of the foreign country: MAS, CA, KS, MY , UK
See instructions for filing requirements for FinCEN Form 114, Report of Foreign Bank and Financial Accounts (FBAR).
5a Was the organization a party to a prohibited tax shelter transaction at any time during the tax year? . 5a No
b Did any taxable party notify the organization that it was or is a party to a prohibited tax shelter transaction? 5b No
c If "Yes," to line 5a or 5b, did the organization file Form 8886-T? 2. 2 8 8 8 et 5c
Ga Does the organization have annual gross receipts that are normally greater than $160,000, and did the organization 6a Yas
solicit any contributions that were not tax deductible as charitable contributions? .  .
b If "Yes," did the organization include with every solicitation an express statement that such contributions or gifts were
nottax deductible? 2 6 we ee Gb Yes
7 Organizations that may receive deductible contributions under section 170{c).
a Did the organization receive a payment ir in excess of $75 made partly as a contribution and partly for goads and services| 7a
provided tothe payor? . 1 «  « Bw oe
b If "Yes," did the organization notify the donor of the value of the goods or services provided? . . . + 7b
Did the organization sell, exchange, or otherwise dispose of tangible personal property for which it wasrequired to file
Form 8282? « 2. 8 8 a 8 8 3 8 ee ee soe ele 7c
d If "Yes," indicate the number of Forms 8282 filed during the year». se | 7a |
e Did the organization receive any funds, directly or indirectly, to pay premiums ona personal benefit contract?
7e
f Did the organization, during the year, pay premiums, directly or indirectly, on a personal benefit contract? .. 7f
g Ifthe organization received a contribution of qualified intellectuai property, did the organization file Form 8899 as
required? 5 eee 79g
h Ifthe organization received a contribution of cars, boats, airplanes, or other vehicles, did the organization file a Form
1O9B-CP wk 7h
8 Sponsoring organizations maintaining donor advised funds. Did a donor advised fund maintained by the
sponsoring organization have excess business holdings at any time during the year?» . es . 8
9 Sponsoring organizations maintaining donor advised funds.
Did the sponsoring organization make any taxable distributions under section 4966? 4 5 2 ee ee 9a
Did the sponsoring organization make a distribution to a donor, donor advisor, or related person? 9b
10 Section 501{(c)(7) organizations. Enter:
Initiation fees and capital contributions inctuded on Part VWI, line i2 . 0.) , ida
b Gross receipts, included on Form 990, Part VII, line 12, for public use of club facilities 10b
11 Section 501(c}{12)} organizations. Enter:
a Gross income from members or shareholders 2 1 «4 © © 8 4 8 2 ila
b Gross income from other sources (Do not net amounts due or paid to other sources
against amounts due or received from them) 2.008 2 ew we 11b
12a Section 4947{a)}(1) non-exempt charitable trusts. Is the organization filing Form 990 in lieu of Form 1041? lla
b If "Yes," enter the amount of tax-exempt interest received or accrued during the year. 12b
13 Section 501(c)(29) qualified nonprofit health insurance issuers.
a is the oroanization ficensed to issue qualified health clans in more than one state? . aan

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Note. See the instructions for additional information “the ‘organization must report on on Schedule O. , . 9a

Enter the amount of reserves the organization is required to maintain by the states in

which the organization is licensed te issue qualified health plans . . « » 13b

Enter the amount of reserves on hand 2 ow wet E3c

Did the organization receive any payments for indoor tanning services during the tax year? . 14a No
If "Yes," has it filed a Form 720 to report these payments?if "Vo," provide an explanation in Schedule O . 14b

Is the organization subject to the section 4960 tax on payment(s) of more than $1,000,000 in remuneration or excess

parachute payment(s) during the year?. —. oe ee eee ee 15 | Yes

If "Yas," see instructions and file Form 4720, Schedule N.

Is the organization an educational institution subject to the section 4968 excise tax on net investment income? . 16 No

If “Yas,” complete Form 4720, Schedule ©.

Form 9909 (2019)

Page &

Form 990 (2019)

Page 6

8a, 8b, or 10b below, describe the circumstances, processes, or changes in Schedule O. See instructions.

Governance, Management, and Disclosure For each "Yes" response to lines 2 through 7b below, and fora "No" response to lines

Check if Schedule O contains a response or note to any line inthis Part VE... 0. oe se ,
Section A, Governing Body and Management
Yes No
ta Enter the number of voting members of the governing body at the end of the tax year la 9
If there are materia} differences in voting rights among members of the governing
body, or if the governing body delegated broad authority to an executive committee or
similar committee, explain in Scheduie ©.
b Enter the number of voting members included in line 1a, above, who are independent
ib 5
2 ld any officer, director, trustee, or key employee have a Family relationship or a business relationship with any other
officer, director, trustee, or key employee? .. oe et 2 Yes
3 Did the organization delegate control over management duties customarily performed by or under the direct supervision 3 N
of officers, directors or trustees, or key employees to a management company or other person? .« o
4 Did the organization make any significant changes to its governing documents since the prior Form 990 was filed? « 4 No
Did the organization become aware during the year of a significant diversion of the organization’s assets? 5 No
6 Did the organization have members or stockholders? «© 6 ee ee 6 Yes
Ja Did the organization have members, stockholders, or other persons who had the power to elect or appoint one or more
members of the governing body? 4 we Ja Yes
b Are any governance decisions of the organization reserved to (or subject to approval by) members, stockholders, or 7b No
persons other than the governing body?» . ss wt . ee - one - oa
8 Did the organization contemporaneously document the meetings held or written actions undertaken during the year by
the following:
a Thegoverning body? . 0 6 6 8 ewe 8a Yes
b Each committee with authority to act on behalf of the governing body? 2. 8 8 8 8 oe 8 ee Sb Yas
9 Is there any officer, directar, trustee, or key employee listed in Part VIL Section A, who cannot be reached at the
organization's mailing address? Jf "Yes," provide the names and addresses In ScheduleO « «s+ 9 No
Section B. Policies (This Section B requests information about policies not required by the Internal Revenue Code.)
Yes No
10a Did the organization have local chapters, branches, or affiliates? «2 6 2 6 ee ee 10a No
b If "Yes," did the organization have written pclicies and procedures governing the activities of such chapters, affiliates,
and branches to ensure their operations are consistent with the organization's exempt purposes? 20b
iia Has the organization provided a complete copy of this Form 990 to all members of its governing body t before filing the
form? «oe a «© © © «# ee » os « | ila] Yes
b Describe in Schedule © the process, if any, used by the organization to review this Form 990. .
i2a Did the organization have a written conflict of interest policy? If "No," goto lingI3 «+ + + = 12a| Yes
b Were officers, directors, or trustees, and key employees required to disclose annually interests that could giverise to
conflicts? 2. 1 2 «© 8 © 2 8 4 oa et . . 12bE Yes
c Did the organization regularly and consistently monitor and enforce compliance with the © policy? If "Yes, “describe in
Schedule O how this was dene « «+ «+ woe ea . - oe 12c] Yes
13 Did the organization have a written whistleblower policy? . 6 6 8 8 8 ow es 13 Yes
44 Did the organization have a written document retention and destruction policy? . 41 » «2 4 14 Yes
415 Did the process for determining compensation of the following persons | include a review and approval by independent
persons, comparability data, and contemporaneous substantiation of the defigeration and decision?
a The organization’s CEO, Executive Director, or top management official «6 6 + 6 4 4 8 8 15a| Yes
b Other officers or key employees of the organization © 2 8 ee 2 ee et 15b/ Yes
If "Yes" to line i5a or 15b, describe the process in Schedule O (see instructions).
16a Did the organization invest in, contribute assets to, or participate ina a joint yenture or similar arrangement with a
. 16a No

u

. . ‘ . 4 . . © . . . . ‘

taxable entity during the year? *

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in joint venture arrangements under applicable federal tax law, and take Steps to safeguard the organization’s exempt
status with respect to such arrangements? . «6 2 «8 2 2 » oo 16b

Section C. Disclosure
17. List the states with which a copy of this Form 990 is required to be filed

AL, AZ,CA,CT,FL,GA,HI,IL,LA,MD,MA,MN, NI, NY
, OH, TN, TX, VA
18 Section 6104 requires an organization to make its Form 1023 (or 1024-A if applicable), 990, and 990-T (501(c){3)s
onty )availabie for public inspection. Indicate how you made these available. Check ali that apply.

C} own website ©) another's website Upon request Oo Other (explain in Schedule 0}
19 Describe in Schedule O whether (and if so, how) the organization made its governing decuments, conflict of interest
policy, and financial statements avaiiable to the public during the tax year.

20 State the name, address, and telephone number of the person who possesses the organizatian’s books and records:
JEANNE LIGHTCAP 100 PGA TOUR BOULEVARD PONTE VEDRA BEACH, FL 32082 (904) 285-3700

Form 990 (2019)

Page 7
Form 990 (2019) Page 7
Part Vi Compensation of Officers, Directors,Trustees, Key Employees, Highest Compensated Employees,
and Independent Contractors
Check if Schedule O contains a response or note to any line in this Pan Vil... > oe

Section A. Officers, Directors, Trustees, Key Employees, and Highest Compensated Employees

1a Complete this table for ali persons required to be listed. Report compensation for the calendar year ending with or within the organization’s tax

year.
# List ali of the organization's current officers, directors, trustees (whether individuals or organizations), regardless of amount

of cormpensation. Enter -0- in columns (D}, (E}, and (F) if no cornpensation was paid.

# List all of the organization’s current key employees, if any. See instructions for definition of "key employee."

# List the organization’s five current highest compensated employees (other than an officer, director, trustee or key employee)
who received reportable compensation (Box 5 of Form W-2 and/or Box 7 of Form 1099-MISC) of more than $100,000 from the
organization and any related organizations.

# List all of the organization’s former officers, key employees, or highest compensated empicyees who received more than $100,000
of reportable compensation from the organization and any related organizations.

@ List all of the organization’s former directors or trustees that received, in the capacity as a former director or trustee of the
organization, more than $10,000 of reportable compensation from the organization and any related organizations.
See instructions for the order in which to fist the persons above,

O Check this box if neither the organization nor any related organization compensated any current officer, director, or trustee.

{A) {B) (€) {(D} (E) (F)

Name and title Average Position (do not check more Reportable Reportable Estimated
hours per than one bax, unless compensation compensation amount of other
week (Hist person is both an officer from the from related compensation
any hours and a director/trustee) organization (W- | organizations from the
for related = 2/1099-MISC) (W-2/1099- organization and

o
organizations g a > g > = a a MISC) related
below dotted |] 3 [8 |, Bes organizations
ine) ge 5 (7 |2 l28]/8
S22) |§|Fg
2751 le] 3
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(1} Monahan Joseph W 40.9
c yen semeneanarauanrepyececeesousansnanzsaaussnereoessmesscnectansenmga | eeeenenesee xX 5,378,295 3,466,390 36,122
Commissioner 20.0
(2} Price Ronaid & 40.0
pveweewercndavananreeyeeeeneescuaunanssanzisnspesmsemeseranscenaenere? 0 UUTCUEUémereecsce xX 1,600,089 3,954,643) £30,256
Chief Operating Officer 20.0
{3} Wade Thomas E 40.0
cuee ee udaeeecuansayseseeedsQeauraesaurcousemensmemremsaveneceernemyayp UU Taeenenne x 1,505,733 1,659,683 944,027
Chief Commercial Officer 20.0
(4) Anderson Richard D 40.0
weuananueeeesnsesccesanseneesseumsnensrneneeuaraneriaatieeseesaranavap | UUAbepemeeeenenee x 1,264,650 1,035,222 40,555
Chief Media Officer 20.0
(5) Streelman Kevin 1.0
punsecacaanarcanuemeaceeeeceavensanenaneagsecesscsateccsvannranuransrap  Toremermureccascs x 2,033,174 a 198,358
Player Director 1.¢
{6} Spieth Jordan 1.0
punececeeeca:vaecenesneetenanateeatenstanyqecsecedascmcscunecsnmranppep ue eeneeenen x 1,850,775 0 286,543
Player Director 1.0
(7) Brown Leonard 40.9)
due cccuuaeensaeeseneenencuyeeedoea suns ccnnseeeuenevenweessensanananera,  UUETTTETTSTTeSe ss x 953,069 1,123,811 41,009
EVP Licenses & Chief Legal Ofc 20,0)
(3) Keller Allison W 40.0
wan duneqsecaseensonstounannesenmeusanatianieonseossucenenmcesananamenep  TUPUTTtSrenestens x 1,249,543 721,957 27,191

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Chief Administrative Officer 20.0
(9) Pazder James A 40.0)
ee geae dane dees eee eenea eases eenaeeeneeeasnneas saapenmapesecansenamean| UTE" cavenvenss x 1,279,811 658,316 27,586
Chief Tourn & Competition Ofc 20.0
(10) Sharkey Kenneth J 40.0
weet eene see eaneeeeesaeneceeneseeaeeasseemerennee decree | CUTE eres x 860,970 880,970) 46,800
EVP & Chief Financial Officer 20.9)
(11) Votaw Ty M 40.9)
we eeeeneneeeneee cea venue reese ceenecauacuaascueaeanuieasieasaeasanaeanep TTT x 1,079,350 539,692 64,532
EVP INTERNATIONAL 20.0
{12) Hoffman Charles -L 1.0
cdedee ees enaueeseauasauenepenneneae creeesemenemeanes x x 4,484,503 Q 177,568
Player Diracter / Treasurer 1.0
(13} Monday Jeff 40.0
Fveevreneeenstontemeuemezscnemscnerenessensneaesns sueenatenaresenensue eereemeauerneres xX $58,203 0 382,434
President Mackenzie Tour 20,0
(14) Oliver Brian M 40.0
AUCUROPOU DRE LPasueaeEneeserenanan Phaamemeenseagnnonse aeaeeeeemeeeenes aemasuneemanamare x 1,101,216 6 32,000
EVP Corporate Partnership 70.0
(45) Lightcap Jeanne F 40.0
suueeacanavauauneecansueusaseunsoussennueessseauseaeeeaaneasensaneaeee,  TUTEESESSTETSEET® x 759,784 253,261 25,955
EVP Finance 20.0
(16) Pascal Thierry 40.0
Travecuuneameayys x 198,091 792,362) 24,911
20.0
40.0
se ceennepes rane anseenspecgesnenenensnensecnasaeesas debe beeada teas sa naaanacuaacanas x 767,442 6 53,867
SVP INTERNATIONAL TOURS
20.0)
Form 990 (2019)
Page 8
Form 990 (2019) Page 8
Part Vi Section A. Officers, Directors, Trustees, Key Employees, and Highest Compensated Employees (continued)
{A} (B} (Cc) (D)} (E} (F)

Name and tite Average Position (do net check more Reportabie Reportable Estimated
hours per than one box, unless person compensation compensation amount of other
week (list is both an officer and a from the from related compensation
any hours director/trustee} organization (W- | organizations from the
for related o5 7 8 = l>D=lq 2/1G99-MISC) (W-2/1099- organization and

organizations |= 5 1S [hm laa }e MISC) related
below dotted |@a | & Gio fe 3 organizations
line} Be |e | i5 24 2
= o
oe 3 eo Do
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2] e| 2
@ | 2 >)
2 | a @
w iB
ch
(18) Finchem Timothy W 40.0
sueseseunseeeuemmras ween een nem eea gen neces ewe cece ee ceseanaraua ears Xx 815,919 o 0
Former Commissioner 0.0
(19) Wagner M Johnsen 41.0
ae eae eee cena ema en ae ee OdS CPR E ME EET EU Anya gs eee seems cena e ees eeemee pwd de taceemereene neater eek x 522,181 o 137,568
Player Director / Secretary 1.0
(203 Balewin Alexandra C 40.0
weeeneee Decne eran ngieye eee eee oaeeecesens canna x $11,579 o 29,500
President Korn Ferry Tour 20.0
{21} Arcuri Joseph 40.0
eucsememesseee Cuban ee naraea nea seee scenes duseneaetesaeaaascnmrendene cuaenerenscvensnsdueses x 517,456 G 5,125
Former Chief Marketing Officer 0.0
{22) Brady Jack M 40.0
coeeeeeeee aus epee sananeaunecenscene shes bene GOR Se HOR OC EMA SEO EE EDO ea Tan wemeamenacemaneesdeeaes x 473,998 0 27,120
President Champions Tour 20.0
{23) Zink Charles 40.0
FMR Chairman, Presidents Cup 0.0
(24) Herlihy Edward D 16
neg ceecenes cess beds ceeaemOnenoneapenemense weve su evauecoeccanareduan parraeaenpessesaed ewe X xX 0 0 0
Chairman / President 1.6
(25) Ganzi Victor F 1.0
we deed esau cenaranaraumcneeserseas ad eue crea arpaauennauensseaaseeeee ase eadseseenaseunrangeeen es 9 0 0
Independent Director ao
(26) Stephenson Randall L 1.0
susensstoeureeseuenee Se nenEaenenyeenenneee ees deeebeneesenercnaaaunnedeae coeesevenevisnzesd eww ok 0 0 0
Independent Director
(27) Meeker Mary
wae ceea cada renanananensseee Sceancuesapeereueveenzseusurencccuausens wees ceeneneee 0 0 0
Independent Director

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(28) Whaley Suzy 1.0
quot ua aueneceesnestceteenaeedocesceeseneatannetonseresgenstensaceeeedaes weneeereceerteatederse x 0 0 0
PGA of America Director 1.0
1b Sub-Total. 2.00. 0. ke . *
¢ Total from continuation sheets to Part Vil, Section A . . . »
dTotal (add lines ibandic) . . . ks tt 27,358,492 15,086,307 2,738,928
2 Total number of individuals (including but not limited to those listed above) who received more than $100,000
of reportable compensation fram the organization * 336
Yes No
3 Did the organization list any former officer, director or trustee, key employee, or highest compensated employee on
fine 1a? If ’Yes," complete Schedule J] for such individual .» 2 . «5 «© «© «© 7 8 ew we 3 Yes
4 For any individual fisted on line 1a, is the sum of reportable compensation and other compensation fromthe
organization and related organizations greater than $150,000? If "Yes," complete Schedule } for such
individual 2 ee ee ~ oe et ee et Tg] yes
5 Did any person listed on line 1a receive or accrue compensation from any unrelated organization or individual for
services rendered to the organization?/f "Yes," complete Schedule J for such person eo 5 No
Section B. Independent Contractors
1 Complete this table for your five highest compensated independent contractors that received more than $100,000 of compensation
from the organization. Report compensation for the calendar year ending with or within the organization's tax year
(A) (B) (c)
Name and business address Description of services Compensation
CLARK CONSTRUCTION GROUP LLC, CONSTRUCTION SERVICE 33,596,390
2502 N ROCKY POINT DR 200
TAMPA BAY, FL 33607
RORY MCILROY ENTERPRISES INC, PLAYER EARNINGS 25,589,893
100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
AZTECSHAFFER LLC, CONSTRUCTION SERVICE 15,264,623
601 W STREET
HOUSTON, TX 77007
JUSTIN THOMAS LLC, PLAYER EARNINGS 9,480,892
100 PGA TOUR BOULEVARD
PONTE VEDRA SEACH, FL 32082
PLAYER EARNINGS 9,283,953

BROOKS KOEPKA GOLF LLC,
100 PGA TOUR BLVD
PONTE VEDRA BEACH, FL 32082

2 Total number of independent contractors {including but net limited to those listed above) who received more than $100,000 of

compensation from the organization 506

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Page 9

LAH Statement of Revenue

Check if Schedule Gcontains a response or note to any line in this Par VAL. - 4 soa .
{A} (B) (C) (D)
Total revenue Related or Unrelated Revenue
exempt business excluded from
function revenue tax under sections
revenue 512-514
erated campaigns . . ta
gg
=
0c
& © nbershipdues . . 1b
ws [ sb_
ro
# 3 draisingevents . . 1c
Om
g = ——_
& tn 3ted organizations 1d
6 i
Eos
= = ———
2 Ys ernment grants (contributions) | 1e
mo
=
= =
ww a ither contributions, gifts, grants,
anu similar amounts not included if
above rrr
Neneash contributions included in
lines 1a - if: ig

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h Total. Addiines la-if .  . « 0
Business Code
551,196,494 543,157,093 8,039,398
Qa MEDIA RIGHTS 515100
2
5 > TOURNAMENTS MANAGED 511300 208,599,431) 207,869,241 730,190
& . - 189,725,118 189,725,118
2 TOURNAMENTS CO-SPONSORED 711300
3
iL 184,633,407 184,633,407
AM SPON (633, 633,
& $ PROGRAM SPONSORSHIP 741300
&
o » PRODUCTION REVENUE 13,977,994: 6,988 O57 6,983,997
= 515100
°
a 19,267,915) 18,183,967 1,083,948
f All other program service revenue,
9 Total. Addiines 2a-2f. 2. 1. 1 . 1,167,400,356
3 Investment income (including dividends, interest, and other |
similar amounts)... 1 8 » 102,782,755 804,755 401,978,000
4 Income from investment of tax-exempt bond proceeds | 8
Royalties... 2 ee ew r| 224,061,902 224,061,902
(i) Real (ii) Personal
6a Gross rents 6a 297,510;
b Less: rental .
expenses 6b 242,097
c Rental income
or (loss) 6c 55,413 0
d Net rental income or {loss}. . . 1 > 55,443 57,703 -2,290
{}) Securities (ii} Other
Ja Gross amount
from sales of 7a 718,657,215 a
assets other
than inventory
b Less: cost or
other basis and 7b 682,430,100 1,965,027
sales expenses
c Gain or (loss) Fe 36,227,115 -1,965,027
d Net gainor{loss) . 1. . 2 a 8 e 34,262,088 34,262,088
“4 Gross income from fundraising events
2 {not including $ of
5 contributions reported on line 1c),
> SeePartlV,linei8 . . 1 8a 0
2
 bptess: direct expenses . . 8b oO
om
£ c Net income or (loss) from fundraising events . - 0
o
-~ Gross income from gaming activities.
See Part IV, line 19 . 9a 0
bless: directexpenses . . « 9b G
c Net income or (loss) from gaming activities > 0
40aGross sales of inventory, less
returns and allowances .  - 10a 2,619,308
bLess: costof goods sold . . 10b 1,699,887
c Net income or (loss) from sales of inventory . 919,421) 919,424
Miscallaneous Revenue Business Code
LlamiscELLANEOUS OTHER REVENUE 711300 3,923,004 41,548,297 2,374,707
b MEMBERSHIP DUES - NON 711300 616,942 616,942
CONTRIBUTION
c
dAllotherravenue . . «+
@Total. Add lines tla~lid . . « »
4,539,946

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12 Total revenue. See instructions . 2. 0. ee > |
| 1,534,021,881 4,153,642,483 17,704,994 362,674,407

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Statement of Functional Expenses
Section 501(c)(3} and SO01(c)(4) organizations must complete ail columns. Ail other organizations must complete column (A).

Check if Schedule O contains a response or note to any fine in this PatIX . 0. 2 8 ee
Do not include amounts reported on lines 6b, (A) (By (c) (D2)
7b, &b, 9b, and 10b of Part Vill. Total expenses Program service Management and Fundraising
expenses general expenses expenses
1 Grants and other assistance to domestic organizations and 47,448,570
domestic governments. See Partly, lina 21 1. 2s
2 Grants and other assistance to domestic individuals. See a
PantlV, line 220.0 2 oe ee
3 Grants and other assistance to foreign organizations, foreign 2,603,271 0
governments, and foreign individuals, See Part lV, lines 15
andi6., 2. 2 8 wwe
4 Benefits paidto or formembers » « «© «© «© «© « 6
5 Compensation of current officers, directors,trustees, and key 27,500,496
employees . 2 1 8 « 8 «oe ee
6 Compensation not included above, to disqualified persons (as 1,505,161
defined under section 4958{f)(1)} and persons described in
section 4958(cX3}(B} 2. « 2 « eo.
7 Other salaries and wages 2. ee ws 94,266,037
8 Pension plan accruals and contributions (include section 1,204,463
401{k) and 403{b) employer contributions) . . . «+
9 Other employee benefits . 6. «© «© «© © « 15,394,191
10 Payrolltaxes 2. 6 6 8 8 8 ee wt 6,621,053
11 Fees for services (non-employees):
aManagement . »« «© «© « + 0
blegal . oo. 1 ew ew we te 1,185,056
eAccounting © 2 8 68 8 ow ew ee 708,908
dlobbying 2. 6 6 8 we 1,552,668
e Professionai fundraising services, See Part IV, line 17 0
f Investment management fees »  « «© 5 4 8 1,346,503
g Other (If line i1g amount exceeds 10% of line 25, column 569,932,842
{A} amount, list line 11g expenses on Schedule 0)
12 Advertising and promotion . .« «© « 32,708,453
13 Officeexpenses . 4 2 5 8 # 8 6,043,043
14 Informationtechnology . 2. « « «1 « 5,460,991
15 Royalties .. 339,298
46 Occupancy «8 1 8 8 eee 5,531,166
47 Travel 2 ee eee 21,803,354
18 Payments of travel or entertainment expenses for any 0
federal, state, or local public officiais
19 Conferences, conventions, and meetings 1. =» 3. « 1,192,736
20 Interest . 8 8 8 8 8 # ee 5,405,200
21 Payments to affiligtes .  . . 2 © 2 0
22 Depreciation, depletion, and amortization . . 16,730,092
23 Insurance . . « 2,142,729

24 Other expenses. Itemize expenses not covered above (List
miscellaneous expenses in line 24e. If line 24e amount
exceeds 10% of line 25, column (A) amount, list line 24e
expenses on Schedule 0.)

a TV/PRODUCTION/BROADCAST 217,805,702
t ALLOCATION TO SPONSORS 108,978,604
c¢ PLAYER RETIREMENT EARNINGS 73,068,231
d TOURNAMENT OPERATIONS 62,371,073
e All other expenses 130,405,422
35 Total functinnal avnanceae Ade linac 1 thraunh Fda 1.461.749, 307 G

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a RE Sg en, mee Me OTT

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26 Joint costs. Complete this ine only if the organization
reported in cotumn (B) joint costs from a combined
educational campaign and fundraising solicitation,

Check here } ) it folowing SOP 98-2 (ASC 958-720).

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By
Part

Balance Sheet

Check if Schedule O contains a response or note to any line in this PartIxX .

1A) {B)
Beginning of year End of year
1 Cash-non-interest-bearing . . . 1 3,884,310) 1 8,553,942
2 Savings and temporary cash investments .  . . «© 8 8 # 140,402,877] 2 139,647,643
3 Pledges and grants receivable, net . 1. 1. 2 + a) 3 a
4 <Accountsreceivable, net 2. 2 «4 8 8 © © © «© © 4 40,605,314] 4 58,268,149
5 Loans and other payables te any current or former officer, director, trustee, key
employee, creator or founder, substantial contributer, or 35% controlled entity ol gs 0
or family member of any of these persons .  . s
6 Loans and other receivables from other disqualified persons (as defined under
section 4958(f}{1)}, and persons described in section 4958(c){3}(B) « ol 6 0
w Notes and loans receivable, net 6 1 se ew ks 430,595,378) 7 $05,676,112
peal
g Inventories forsale oruse «1. «1 1 a 8 208,211] 8 243,606
a Prepaid expenses and deferred charges « + + 25,568,773) 9 26,378,478
1fa Land, buildings, and equipment: cast or other
basis. Complete Part VI of Schedule D 10a 254,997,322
b Less: accumulated depreciation 10b 90,362,964 97,400,569 | 10c 464,628,358
11s Investments—publicly traded securities . 1,479,533,606| £1 1,738,865,683
12.) Investments—other securities. See Pari IV, Ime FL 2 wks 694,330,384) 12 705,123,082
13° Investments--program-related. See Part lV, line li. 0) £3 0
14 «Intangible assets 2. 2 » 8 © © © © fo 4 1,992,345] 24 1,977,133
15 Other assets. See Part lV, line tl . 2 - 1 2 8 19,504,455) 15 33,663,697
16 Total assets. Add lines 1 through 15 (must equal line 33) 2,934,026,162| 16 3,384,025,893
17 = Accounts payable and accrued expenses . + 369,532,016) 17 179,217,907
18 Grants payable . . Oo; 18 0
19 Deferredrevenue . 2. «4 5 «© © 2 «@ 6 209,341,782] 19 220,947,286
20 Tax-exempt bond liabilities . . .« . « 0} 20 0
wn) 21 Escrow or custodial account liability. Complete Par IV of Schedule D 0] 21 Q
a
=| 22 Loans and other payables to any current or former officer, director, trustee, key
= employee, creator or founder, substantial contributor, or 35% controlled entity
3 or family member of any of these persons . 2 . 5 soe o| 22 a
—li23 0 Secured mortgages and notes payable to unrelated third parties 119,424,315] 23 122,431,656
24 Unsecured notes and loans payable to unrelated third parties O| 24 a
25 Other liabilities (including federal income tax, payables to related third parties, 1,292,468,509| 25 1,627,299,170
and other liabilities not included on tines 17 - 24).
Complete Part X of Schedule D
26 Total liabilities. Add lines 17 through 25 1,780,766,622| 26 2,149,896,019
wi
oD Organizations that follow FASB ASC 958, check here F 0 and
2 complete lines 27, 28, 32, and 33,
127 Net assets without donorrestrictions . . 2. «© «© 2 27
3 28 Netassets with donor restrictions «© » «© «© © «© «a 4 28
z Organizations that do not follow FASB ASC 958, check here ® &4 and
a complete lines 29 through 33.
S 29 Capital stock or trust principal, or currentfunds . .« -. «© »+ Oo) 29 0
Z 30 © Paid-in or capital surplus, or land, building or equiprnent fund . 33,750) 30 33,750
8 31 Retained earnings, endowment, accumulated income, or other funds 4,183,225,790) 31 1,234,096, 324
< 32 Totalnetassetsorfund balances . 1. «2 6 8 © © 2 « e 1,183,289,540) 32 1,234,129,874
@
2/33 Total liabilities and net assets/fund balanceS 1 5 ee et 2,934,026,162] 33 3,384,025,893

Form 990 (2019)

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Form 990 {2019} Page 12
3 Reconcilliation of Net Assets

Check if Schedule O contains a response or note to any linein this Par Xl... + oe ee
1 = Total revenue (must equal Part Vill, column (A), line 12) 6 et 1 1,534,021,884
2 Total expenses (must equal Partix, column (A), ne 25). 8 we 2 1,461,249,307
3 Revenue less expenses, Subtract fine 2fromline1l . . 2. . 4 2 2 8 3 72,772,574
4 Net assets or fund balances at beginning of year (must equal Part X, line 32, column (A}) 4 1,153,259,540
S Wet unrealized gains (losses} on investments . 2. 2 2 «# © «4 4 5 20,217,350
6 Donated services and use of facilities . 2. 6. 2 8 8 ee ke 6
7 Investmentexpenses 2 6 ee ee ek 7?
8 Prior period adjustments . 2 we eee 8
9 Other changes in net assets or fund balances {explain in Schedule 0) . 9 -12,119,590
10 Net assets or fund balances at end of year. Combine lines 3 through 9 (must equal Part 4, line 32, column (B}) | 10 1,234,129,874
Part Xi Financial Statements and Reporting
Check if Schedule © contains a response or note to any line inthis PartXH . 0. 0. we ee ee 0
Yes No
1 Accounting method used to prepare the Form 990; O Cash Accrual O) other
If the organization changed its method of accounting from a prior year or checked "Other," explain in
Schedule 0,
2a Were the organization’s financial statements compiled or reviewed by an independent accountant? 2a No
if Yes, check a box below to indicate whether the financial statements for the year were campiled or reviewed on a
separate basis, consolidated basis, or both:
oO Separate basis © consolidated basis ©) Both consolidated and separate basis
b Were the organization’s financial statements audited by an independent accountant? 2b Yes
if ‘Yes,’ check a box befow to indicate whether the financial statements for the year were audited on a separate basis,
consolidated basis, or both:
O Separate basis Consolidated basis C) Both consolidated and separate basis
c If "Yes," to line 2a or 2b, does the organization have a committee that assumes responsibility for oversight
of the audit, review, or compilation of its financial statements and selection of an independent accountant? 2c Yes
If the organization changed either its oversight process or selection process during the tax year, explain in Schedule ©.
3a Asa result of a federal award, was the organization required to undergo an audit or audits as set forth inthe Single
Audit Act and OMB Circular A-133? 3a No
b If "Yes," did the organization undergo the required audit or audits? If the organization did not undergo the required
audit or audits, explain why in Schedule O and describe any steps taken to undergo such audits. 3b

Form 990 (2019)

Form 990 (2019)
Additional Data Return to Form

Software ID:
Software Version:

Form 990, Special Condition Description:

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efile Public Visual Render | ObjectId: 202023219349309777 - Submission: 2020-11-16 i TIN: XX-XXXXXXX]
SCHEDULE C Political Campaign and Lobbying Activities OME No. 1480087

(Form 990 or $90-E2) For Organizations Exempt From Income Tax Under section 501{c) and section 527 20 4
3 fey B

Department of the Treasury

internal Revenue Service Complete if the organization is described below. PAttach to Form 990 or Form 990-EZ. t

Go to www.irs.gov/Form990 for instructions and the [atest information.

If the organization answered "Yes" on Form 990, Part lV, Line 3, or Form 990-EZ, Part V, line 46 (Political Campaign Activities), then
# Section 504(c}(3) organizations: Complete Parts I-A and B. Do not complete Part I-C.
# Section 501(c) (other than section $01 (c}(3)) organizations: Complete Parts |-A and C below. Do not complete Part I-B.
@ Section 527 organizations: Camplete Part i-A only.

if the organization answered "Yes" on Form 990, Part lV, Line 4, or Form $90-EZ, Part Vi, line 47 (Lobbying Activities), then _

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® Section 501(c)(3) organizations that have filed Form 5768 (election under section 501(h)): Complete Part Il-A. Do not complete Part H-B.

@ Section 501(c)(3) organizations that have NOT filed Form 6768 {election under section 501(h}): Complete Part II-B. Do not complete Part I-A.
If the organization answered "Yes" on Form 990, Part iV, Line & (Proxy Tax} (see separate instructions) or Form 990-E2, Part V, line 35c
(Proxy Tax) (see separate instructions}, then

# Section 501(c}(4), (5), or (6) organizations: Complete Part Ill.

Name of the organization

PGA TOUR INC

Employer identification number

XX-XXXXXXX
Complete if the organization is exempt under section 501(c)or is a section 527 organization.

1 Provide a description of the organization’s direct and indirect potitical campaign activities in Part IV (see instructions for definition of
“political campaign activities")

2 Political campaign activity expenditures (See INSETUCLIONS) ..cciccesesteceetseeseeeceeeeeeecnerernen eaten tne eeesswaeeane nats - $
3 Volunteer hours for political campaign activities (see inStrUCtiONS) ..sccee eer Peer eeeeeeness
Complete if the organization is exempt under section 501{c)(3).
1 Enter the amaunt of any excise tax incurred by the organization under Section 4955 vcssssessereessesseeeseen ees $
2 Enter the amount of any excise tax incurred by organization managers under section 4955 - $
3 If the organization incurred a section 4955 tax, did it file Form 4720 for this year?. cece eee erannreeereeerees oO Yes OO wo
Aa WAS B COFECION MAU? viececececsacccne nce eee terete renee E LIAO RI EM REM EE SURE EA RECEE EE EEU PELE PSEC eC Ceg etter eee t eee ENO EU TORE DAREEEE LIES 0 Yes Oo No
b If "Yes," describe in Part IV,
© Complete if the organization is exempt under section 501(c),except section 501(c)(3}.

1 Enter the amount directly expended by the filing organization for section 527 exempt functionactivities..... - $

Enter the amount of the filing arganization's funds contributed to other organizations for section 527 exempt

FUNCKION ACLIVILIGS . ccc ccec cece tee te ee ne ee ee eee AREA EERO EERE UENCE EEE ACL EP LEE a eee renee AEDES DDE D UREA ERENT EEE REE EE -

Total exempt function expenditures, Add lines 1 and 2. Enter here and on Form 1120-POL, line 17b....0...0. » $

Did the fing organization file Form 1120-POL for this year? sis. ccceccee cess ereen tere eee eee eeeeee eee aee eeeee een ranE ane O ves C Ne

5 Enter the names, addresses and ernployer identification number (EIN) of all section 527 political organizations to which the filing
organization made payments. For eachorganization listed, enter the amount paid from the filing organization's funds. Alsoenter the amount of
political contributions received that were promptly and directtydelivered to a separate political organization, such as a separate segregated
fund or apolitical action committee (PAC}. If additional space is needed, provide information in Part IV.

(a) Name (b) Address (c} EIN (d) Amount paid from (ea) Amount cof
filing organization's political contributions
funds. If none, enter | received and promptly

-0-, and directly delivered
to a separate political
organization. If none,

enter -0-.

1

2

3

4

5

6

For Paperwork Reduction Act Notice, see the instructions for Form 990 or 990-EZ. Cat. No. 500845

Schedule C (Form 990 or 990-EZ) 2019

Page 2

Schedule C (Farm $90 or 990-E2Z) 2019

Page 2

section 501(h)}).

Complete if the organization isexempt under section 501(c)(3) and filed Form 5768 (election under

A Check GG if the filing organization belongs to an affiliated group (and list in Part IV each affiliated group member's name, address, EIN,

expenses, and share of excess labbying expenditures).
B Check © ifthe filing organization checked box A and "limited controt" provisions apply.

. (a) Filing (b) Affiliated group
Limits on Lobbying Expenditures organization's totals
totals

(The term “expenditures” means amounts paid or incurred.)

da Total lobbying expenditures to influence public opinion (grass roots lobbying) .....-.. sss
b Total lobbying expenditures to influence a legislative body (direct lobbyING) cscs
¢ Total lobbying expenditures (add lines 1 and 20) .icciesceserte tee eeeeer ie ereereenereeeseense seen ieeee
dad Other exempt purpose expenditures c.ccccssecseceerereeeee cee cee n ree rne ena a een eee t see eea naan eee ee ete
e Total exempt purpose expenditures (add lines ic ard 1d) cisescrececserseteeeeeee teers teesnan ee ereneaas
f Lobbying nontaxable amount, Enter the amount from the following table in both
cofumns,

{If the amount on fine 1e, column {a) or (b) ts: |Fhe lobbying nontaxable amount is:

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Not over $506,000 20% of the amount on line le,

Over $500,000 but not over $41,000,000 $100,000 plus £5% of the excess over $500,000.

Over $1,000,000 but not over $1,500,000
Over $1,560,000 but not aver $17,000,000

$175,000 plus 10% of the excess over $1,000,000,

$225,000 plus 5% of the excess over $2,500,900.

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lover $17,000,000 $21,000,000.
g Grassroots nontaxable amount (enter 25% OF LING Tf} ce ee cere re reer
h Subtract line 1g from line 1a. If zero or less, enter -O-. .
i Subtract line 1f from line ic, If zero ar bess, @rter -On. ccciseneeersaeeeeeii eee ee teen ree eet eee
j. If there is an amount other than zero on either line ih or jine 1i, did the organization file Form 4720 reporting oO g

SECON AGL tAX FOR EHIS YOArP. cscssscsecsecscscecsesesvissueesssessesescssseenennee tani eeeT Ene SE nEEE LEE HH DIEE EERE LOLI vg eegaeeeseseees Yes No

4-Year Averaging Period Under Section 501(h}
(Some organizations that made a section 501(h) election do not have to complete all of the five
columns below. See the separate instructions for lines 2a through 2f.)
Lobbying Expenditures During 4-Year Averaging Period
Calendar year (or fiscal year ) 2046 b} 2017 2018 a *
beginning in) {a (b) (c) (d} 2019 (e) Total
2a Lobbying nontaxable amount

b Lobbying ceiling amount

(250% of line 2a, column(e})
ec Total lobbying expenditures
d Grassroots nontaxable amount
e Grassroots ceiling amount

(150% of line 2d, cotumn (e})
f Grassroots lobbying expenditures

Schedule C (Form 990 or 990-EZ)} 2019

Page 3

Schedule C (Form 990 or 990-EZ) 2019

Page 3

» Complete if the organization is exempt under section 501(c)(3) and has NOT filed

Form 5768 (election under section 501(h)).

for each "Yes" response on lines ia through Ii below, provide in Part IV a detailed description of the lobbying
activity,

(a)

(b)

Yes | No

Amount

s->o *~@ a oom gs

hos

2a

During the year, did the filing organization attempt to influence foreign, national, state or local legislation,
including any attempt to influence public opinion on a legislative matter or referendum, through the use of:

MGMT OLS? ciccccccccc ccc cee eect REDE Les CRRA R EE EEE EERE DE ESE CS CE CES HCE OAR LER EIA DSS EE TREES TEEPE SEE EE TAREE EER EESY

Paid staff or management (include compensation in expenses reported on lines 1c through Li)? a.

Media advertisements? vices ie UO EO DED a

Mailings to mambers, legislators, Or the PUBLIC? vcsieceeeeeeeeer tet ec AU CEE Een ee een re

Publications, or published or broadcast statements? ...

Grants to other organizations for lobbying PUrPOS@S? ......- cee uereereeeeereereseeereeesannrenteeene tne:

Direct contact with legislators, their staffs, government officials, or a legislative body? oo... cesses

Rallies, demonstrations, seminars, conventions, speeches, lectures, or any Similar M@ANS? wiseceeceeereeee es

Other activities? oo... recesses ee ROO eee

Total, Add lines 10 through Li ..ecicccise eect tere ene ee eee rer ene eee ETRE LEE ES EEE EERE
Did the activities in line 1 cause the organization to be not described in section 501(c)(3)? ....

If "Yes," enter the amount of any tax incurred under S@CHION 4912 iui teetetseee ener eee reeies
if "Yes," enter the amount of any tax incurred by organization managers under section 4912 wo... cesses
If the filing organization incurred a section 4912 tax, did it file Form 4720 for this year? ..cccieeeeees

501{c)(6).

Complete if the organization is exempt undersection 501(c)(4), section 501(c)(5), or section

Were substantially all (90% or more) dues received nandeductible Dy Members? wiiieeeeeeeeeesete ees
Did the organization make only in-house lobbying expenditures of $2,000 OF 1858? veces cette teerterttieeees
Did the organization agree to carry over lobbying and political expenditures from the prior YORE? vecceeceaserrnseeseere

Yes | No

1

No

2

No

3

No

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Compiete if theorganization is exempt under section 501(c)(4), section 501(c)(5), or section 501(c}

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(6)and if either (a) BOTH Part EII-A, lines 1 and 2, are answered "No" OR (b) Part ITI-A, line 3,

isanswered “Yes.”

t Dues, assessments and similar armourts From MeIMbers «..cccsccscesecsseserreneceereeeeeee eee eee eee eeteneren tere nasee sass 1 616,942
2 Section 162(e) nondeductible fobbying and political expenditures {do not include amounts of political
expenses for which the section 527(f) tax was paid).
@ CUPTORE YOar co ceccccsecesvevstrenseceeecneeee eset ee en LeU OnE SOIC COUP DAS LLL ICEL DEN y aoe teaesenesesaeeaesceenenanr ene neceneneetaas 2a 1,552,668
b Carryover fromm fast Year occ cee cccscereeneeneeneenrsneenepeenee nena enctneee reese sds SFO NEERENEEESEESEL ERODE ONO E DEEL 2b
TOG] ccc cccccecececccceuepeepe ares euueaeneauner ene sft eee teesaeeteae eet EEACUU POURED MSED SOCIAL SORISELSOEL DOI Seta cede ese sem EE ee Rene EE aEE HOE 2c 1,552,668
3 Aggregate amount reported in section 6033{e)(1)(A) notices of nondeductible section 162{@) dues . 3
4 If notices were sent and the amount on line 2c exceeds the amount on line 3, what portion of the excess does
the organization agree to carryover to the reasonable estimate of nondeductible tobbying and political
OXPSNCHLUTE NOXE YEA? occ ccccessseeeetsee eens eee e eee DeLee eee Rene ERLE EEE LREAS EC EOR EDT EE COCR EEG CREE SOD EALDORELSSbae ee case ranesa nes 4
5 ‘Taxable arnount of lobbying and political expenditures (S@@iMStrUCEIONS) ...ceccseceseeenettet esses eese neers eeee 5 616,942

Supplemental Information

Provide the descriptions required for Part I-A, line 1; Part {-B, line 4; Part I-C, line 5; Part H-A (affiliated group list); Part I-A, lines 1 and 2 (see

instructions), and Part §-B, line 1. Also, complete this part for any additional information.

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Schedule C (Form 990 or 990E2) 2019

Additional Data

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SCHEDULE D

ObjectId: 202023219349309777 - Submission: 2020-11-16

OMB No, 1545-0047

TIN: XX-XXXXXXX |

Supplemental Financial Statements

(Form $90)
& Complete if the organization answered "Yes," on Form 990,
Part IV, line 6, 7, 8, 9, 10, lla, 11b, 11¢, 11d, 11e, 14f, 12a, or 12b.
Department of the Treasury i Attach to Form 990. i

Internal Revenue Service

Go to www.irs.gov/Form990 for instructions and the latest information.

Name of the organization
PGA TOUR INC

Employer identification number

$2-0999206

Organizations Maintaining Donor Advised Funds or Other Similar Funds or Accounts.
Complete if the organization answered "Yes" on Form 990, Part TV, line 6.

(@) Donor advised funds {b) Funds and other accounts
1. Total number at end of year.
2 Aggregate value of contributions to (during year}
3 Aggregate value of grants from (during year)
4 Aggregate value at end of year.
5 Did the organization inform ail donors and donor advisors in writing that the assets hefd in donor advised funds are the
organization’s property, subject to the organization’s exclusive legal contrel?. Doe ee 0 Yes Oo No
6 Did the organization inform all grantees, donors, and donor advisors in writing that grant funds can be used onfy for
charitable purposes and not for the benefit of the donor or donor advisor, or for any other purpose conferring impermissible
private benefit?. © 6 6 cc oO oO
Yes No

Conservation Easements,
Complete if the organization answered "Yes" on Form 990, Part IV, line 7,

i Purpose(s) of conservation easements held by the organization (check all that apply).
©) preservation of land for public use (é.g., recreation or education} © preservation of an historically important land area
C) protection of natural habitat {1 preservation of a certified historic structure
0 Preservation of open space
2 Complete fines 2a through 2¢ if the organization held a qualified conservation contribution in the form of a conservation
easement on the last day of the tax year. Held at the End of the Year
a Total number of conservation easements © 2 6 we 2a
b Total acreage restricted by conservation easements. 2 0 0 ek 2b
c Number of conservation easements on a certified historic structure included in (a)... . . 2c
d Number of conservation easements included in (c) acquired after 7/25/06, and not on a historic 2d
structure listed in the National Register .
3 Number of conservation easements modified, transferred, released, extinguished, or terminated by the organization during the

a

tax year i

Ahoenhar Af chatec whara nennarh cubiact tA cancarvatinn ascamant ie Incatard me

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4 JAMIE) Ur DAGLSS WISE PIV iy FUUCRE OY EVERY GUUEE GGOCHISITE IS MLaLTU A

5 Does the organization have a written policy regarding the periodic monitoring, inspection, handling of violations,

5
and enforcement of the conservation easements it holds?, . 1. . ' O ves ( no
6 Staff and volunteer hours devoted to monitoring, inspecting, handling of violations, and enforcing conservation easements during the year
7 Amount of expenses incurred in monitoring, inspecting, handling of viclations, and enforcing conservation easements during the year
es
s Coes each conservation easement reported on Ene 2d) a above satisfy tH the requirements of section 170(h}(4)(B)Ci)
and section 170(h}(4)(B)i?. 2 ee . . C) ves O no

9 In Part XIII, describe how the organization reports conservation easements in its revenue and expense statement, and
balance sheet, and include, if applicable, the text of the footnote to the organization's financial statements that describes
the organization’s accounting for conservation easements,

Organizations Maintaining Collections of Art, Historical Treasures, or Other Similar Assets.

Complete if the organization answered "Yes" on Form 990, Part IV, line 8.

ia if the organization elected, as permitted under FASB ASC 958, not ta report in its revenue statement and balance sheet works of art,
historical treasures, or other similar assets held for public exhibition, education, or research in furtherance of public service, provide, in
Part XIII, the text of the footnote to its financial statements that describes these items.

b if the organization elected, as permitted under FASB ASC 958, to report in its revenue statement and balance sheet works of art,

historical treasures, or other similar assets held for public exhibition, education, or research in furtherance of public service, provide the
following amounts relating to these items:

(i) Revenue included on Form 990, Part VII], lime te. 6. ee SE

(ii)Assets included in Form 990, Part K 6 ee ee SE

2 If the organization received or held works of art, historical treasures, or other similar assets for financial gain, provide the
following amounts required to be reported under FASB ASC 958 relating to these items:

a Revenue included on Form 990, Part VILL, fined. 2. ee ee ES
b Assets included in Form 990, PartX. 6 0 ee ee ee mS
For Paperwork Reduction Act Notice, see the Instructions for Form 990. Cat. No, 52283D Schedule D (Form 990} 2019
Page 2
Schedule D (Form 990) 2019 Page 2

Organizations Maintaining Callections of Art, Historical Treasures, or Other Similar Assets (continued)

3 Using the organization’s acquisition, accession, and other records, check any of the following that are a significant use of its collection
itams (check all that apply):

4 ©) public exhibition q (Loan or exchange programs
® © other

O Scholarly research

© O Preservation for future generations

4 Provide a description of the organization’s collections and explain how they further the organization's exempt purpose in
Part XII.

5 During the year, did the organization solicit or receive donations of art, histcrical treasures or other similar
assets to be sold to raise funds rather than to be maintained as part of the organization’s collection?. - . O ves O No

Escrow and Custodia? Arrangements.
Complete if the organization answered “Yes” on Form 990, Part IV, line 9, or reported an amount on Form 990, Part X,

line 21.
fa Is the organization an agent, trustee, custodian or other intermediary for contributions or other assets not
included on Form 990, Part X?P.o oe  e OC ves C No
b If "Yes," explain the arrangement in Part XIII and complete the following table: Amount
© Beginning balance . ic
d Additions during the year . id
© Distributions during the year . 1e
f Ending balance . if

2a ‘Did the organization include an amount on Form 990, Part X, line 21, for escrow or custodialaccount liability? .. . OQ ves OQ No
b If "Yes," explain the arrangement in Part XIU. Check here :f the explanation has been provided in Part XIN... . 0

Endowment Funds.
Compiete if the organization answered "Yes” on Form 990, Part IV, line 10.
{a} Currant year (b) Prior year {c) Two years back }(d} Three years back] (e} Four years back

Ja Beginning of year balance

Contributions

Net Investment earnings, gains, and losses

Grants or scholarships

om n

Other expenditures for facilities
and programs .

h

Administrative expenses

g End of year balance

2 Provide the estimated percentage of the current year end balance (line 1a. column (a}) held as:
https://projecis.propublica.crg/nonprofits/organizations/520999206/2020232 1 934930977 7/full 18/45
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a Board designated or quasi-endowment » “eee

Permanent endowment

c Term endowment

The percentages on lines 2a, 2b, and 2¢ should equal 100%.

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3a Are there endowment funds not in the possession of the organization that are held and administered for the
organization by: Yes | No
(i) Unrelated organizations 3a({i)}
(ii) Related organizations . 3a(ii)

b sIf "Yes" on 3a(ii}, are the related organizations fisted as “required on ; Schedule R? . 3b
4 Describe in Part XIII the intended uses of the organization's endowment funds.
Pern Vio Land, Buildings, and Equipment.
Complete if the organization answered "Yes" on Form 990, Part IV, line i1a. See Form 990, Part x, line 10.

(a) Cost or other basis

Description of property
(investment)

(b} Cost or other basis (other)

(£) Accumulated depreciation

(d) Book value

la Land 6,352,555 6,352,555
b Buildings 13,755,740 6,767,901 6,987,839
c Leasehold improvements 2,715,074 1,600,160 1,114,914
d Equipment 115,594,294 71,108,665 45,485,629
e Other 415,573,659 10,886,238 104,687,421

Total. Add lines 1a Trough 3 ie. (Column (d) must equal Form 990, Part X, column (B), line 10(c).) . . - 164,628,358

Schedule D (Form 990) 2019

Schedule D {Form 990) 2019

Page 3

Page 3

} if Investments Other Securities.

Complete if the organization answered "Yes" on Form 990, Part IV, line 11b.See Form 990, Part X, line 12.

(a) Description of security or category (b) Bock value (c} Method of valuation:
(including came of security) Cost or end-of-year market value
{1) Financia derivatives .
(2} Closely-heid equity interests
(3) Other
(A) PGA TOUR HOLDINGS, INC. & SUBS 585,819,877 Cc
(B) INVESTMENT PARTNERSHIPS 38,920,996 F
(C) ANNUITIES 80,382,209 F
(D)
{E}
(F)
(G)
(H)
(2)
Total. (Column (b) must equal Form 990, Part X, col. (B} tine 12.) e 705,123,082

Investments Program Related.

Complete if the organization answered ‘Yes' on Form 990, Part IV, line Lic. See Form 990, Part X, line 13.

{a) Description of investment

(b) Book value

(c} Method of valuation:
Cost or and-of-year market
value

(2)

(3)

(4)

(5)

(6)

(7)

(8)

(9)

(10)

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Reeds Pteru re (Oty PR RP SU tai ER Ay GUT ey TG date rt j

Other Assets.
Complete if the organization answered ‘Yes' on Form 990, Part IV, line 11d. See Form 990, Part X, line 15,
{a} Description (b} Book value

(2)
(3)

(4)
(5)

(6)

(7)

(8)

(9)

(10)

Total. (Column (b) must equal Form 990, Part X, col.(B} line 15.) eee ea es h
Other Liabilities.

Complete if the organization answered ‘Yes' gn Form 990, Part iV, line lie or 11fSee Form 990, Part X, line 25,
1. (a) Description of liability {b) Book value

(4) Federal income taxes 0
(5)

(6)
{7}

(8)
(8)

Total. (Cofumn (b) must equal Form 990, Part X, col.(B) line 25. } 1,627,299,170

2. Liability for uncertain tax positions. In Part XIIL, provide the text of the footnote to the organization's financial statements that reports the

organization's liability for uncertain tax positions under FIN 48 (ASC 740). Check here if the text of the footnote has been provided in Part XIIZ
Schedule D (Form 990) 2019

Page 4

Schedule 0 (Form 999) 2019 Page 4

Reconciliation of Revenue per Audited Financial Statements With Revenue per Return.
Complete if the organization answered ‘Yes’ on Form 990, Part IV, line 12a.
1 Total revenue, gains, and other support per audited financial statements . .« . «© «© + « 1

Amounts included on line + but not on Form 990, Part VIII, line 12:

25

a Net unrealized gains Gosses) on investmentS . 1. . « 2a
b Donated services and use of facilities 2. 2. «© «© © © 5 «© 8 2b
c Recoveries of prior year grantS 2 ww 2c
d@ Other (Describe in Part XHE.) 2 we ee we 2d
@ Addlines 2Zathrough 2d 2.0606 8 eee et 2e
3 Subtract line Ze fromfineh 2. ee 3
Amounts inctuded on Form 990, Part VIII, line 12, but not on line L:
a__ Investment expenses not included on Form 999, Part VIIL, ine 7b. 4a
Other (Describe in Part XTIT.} «6 ee ee 4b
e Addtines4aand4B . 06 8 eee dc
5 Total revenue. Add fines 3 and 4c. (This must equal Form 990, PartI,line 12.) 2. «6 + or 5

Reconciliation of Expenses per Audited Financial Statements With Expenses per Return,
Complete if the organization answered "Yes' on Form 990, Part Iv, line 12a.

Total expenses and losses per audited financial statements - «© 6 6 8 8 ee es 1
2 Amounts included on line 1 but not on Form 990, Part IX, Hine 25:
a Donated services and use of facilities © 6 6 8 8 8 e 8 # 2a
b Prior yearadjustments «2 6 6 6 2 ee ee 2b
c Otherlosses 2608 ee ee ee et ac
d= Other (Describe in Part XII.) 6 eee 2d
@ Addtines2athrough 2d 20. we ee ze
3 Subtract line Ze fromline 2.8 we 3

Amounts included on Form 996, Part IX, line 25, Sut not on line 1:

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PGA TOUR INC - Full Filing- Nonprofit Explorer - ProPublica

Investment expenses not included on Form 990, Part VII, line 7b . 4a

Other (Describe in Part XIU.) 0. 06 ee 4b

Addlines4aand4b . 06 08 ee 4c
5

Total expenses. Add lines 3 and 4c. (This must equal Form 990, Partl, line 18.) 2. 2 oe ee
z 3 Supplemental Information

Provide the descriptions required for Part IL, lines 3, 5, and 9; Part II, lines 1a and 4; Part lV, lines ib and 2b; Part V, Hine 4; Part X, line 2; Part XI,
lines 2d and 4b; and Part XII, lines 2d and 4b. Also complete this part ta provide any additional information.

Exolanation

THE TOUR AND ITS SUBSIDIARIES FOLLOW AUTHORITATIVE GUIDANCE WHICH PRESCRIBES A
MINIMUM PROBABILITY RECOGNITION THRESHOLD AND MEASUREMENT PROCESS OF TAX
BENEFIT(S) ARISING FROM AN UNCERTAIN TAX POSITION ONLY IF IT MEETS A MORE LIKELY THAN
NOT SUSTAINABILITY UNDER EXAMINATION THRESHOLD, INCLUDING APPEALS AND LITIGATION.
THE CURRENT YEAR'S EXAMINATION RESULTED IN NO RECOGNITION OF ANY BENEFIT OR
LIABILITY ASSOCIATED WITH AN UNCERTAIN TAX POSITION.

Schedule D {Form 990) 2019

Additional Data

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SCHEDULE F
(Form 990}

Department of the Treasury
intemal Ravenuo Service

Objectid: 202023219349309777 - Submission: 2020-11-16 |

TIN: XX-XXXXXXX]

Statement of Activities Outside the United States

» Complete #f the organization answered "Yes" to Farms $96, Part iv, line i4b, 15, or 16,
» Attach ta Form 990,
» Go to ww. irs.gov/Formggo for instructions and the fatest information.

Name of the organization
PGA TOUR INC

XX-XXXXXXX

OME Mo. 1545-0047

2019

Open toe Public
Eris peckin:

Employer identification number

Form 990, Part IV, line 14%,

General Information on Activities Outside the United States, Complete if the organization answered “Yes" on

1 For grantmakers, Does the organization maintain records to substantiate the amount of its grants and
other assistance, the grantegs' eligibility for the grants or assistance, and the selection criteria used

to award the grants or assistance?

ves O No

2. Fer grantmakers. Describe in Part V the organization’s procedures for monitoring the use of its grants and other assistance

outside the United States,

3 Activites per Region. (The following Part I, tine 3 table can be duplicated if additional space is needed.)

(a) Region (>) Number of fe) Number of {d)} Activities conducted in |(e) If activity tisted in (d) is a (f) Total expenditures
offices inthe employees, agents) region (by type} (such as, program service, describe for and investments
region and independent fundraising, program specific type of in the region
contractors in the jservices, investments, grants service(s) in the region
to recipients located In the
region}

Central America and the 0 9 Program Services PFELEVISIGN RIGHTS 0
Caribbean
East Asia and the Pacific 0 Program Services FELEVISION RIGHTS 8
Europe (including Iceland and qa 0 Program Services FELEVISION RIGHTS G
Greenland}
Middle East and North Africa a 0 (Program Services TELEVISION RIGHTS G
North America 6 GQ [Program Services TELEVISION RIGHTS G
Sub-Saharan Africa G O Program Services TELEVISION RIGHTS 0
East Asia and the Pacific 3 1 |Program Services TOURNAMENT MANAGED 3,605,168
North America 1 6 [Program Services TOURNAMENT MANAGED 574,158
Europe (Including Iceland and 1 6 [Program Services CONSULTING 1,389,472
Greenland)
Europe (Including Iceland and c 0 [Envestments 10,000,000
Greenland)
East Asia and the Pacific Q 6 Grantmaking 1,298,197
Europe (including icatand and 0 C Grantmaking 15,000
Greeniand)
Narth America 0 0 jGrantmaking 1,231,741
South America 0 0 Grantmaking 58,333

3a Sub-total. =... e 5 23 18,172,069

b Total from continuation sheets to
PartI. .  -
¢ Totals (add fines 3a and 35) go 23] 18,172,069

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Schedule. F (Form 990) 2019 Page 2
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Schedule I . . . OMB No, 1545-0047
{Form 990) Grants and Other Assistance to Organizations, 2 0 4
Governments and Individuals in the United States 9
Completa if the organization answered "Yes," on Form 990, Part IV, lime 21 or 22, Open to Public
Department of the & Attach to Form 990, fnapaccion
Treasury } Go to www.irs.gov/Form4o for the jatest information.
Internal Revenue Service
Name of the erganization Employer idantification murnber
PGA TOUR INC
$2-0999206
fark General Information on Grants and Assistance

1 Does the organization maintain records to substantiate the ammount of the grants or assistance, the grantees’ eligibility for the grants or assistance, and

the selection criteria used to award the grants or assistance?. 6 0 ee eee ves C ne

2 Describe in Part I¥ the organization's procedures for monitoring the use of grant funds in the United States,

Grants and Other Assistance to Domestic Organizations and Domestic Governments. Complete |f the organization answered "Yes" on Form 990, Part LY, line 21, for any reciplent
that received more than $5,000. Part I] can be duplicated if additional space is needed.

Part

{a} Name and address of (b) EIN (c) IRC section (d} Amount of cash Ce} Amount of non- | Cf) Method of valuation {q) Description of Ch) Purpose of grant
organization Cf applicable) grant cash (book, FMV, appralsal, noncash assistance or assistance
or government assistance other)
(1) 100 BLACK MEN OF $8-1974429 502(C)(3) 10,000 General Support

AMERICA INC
141 AUBURN AVE NE
ATLANTA, GA 30303

(2) 3M OPEN FUND XX-XXXXXXX SO1(C3(3) 175,000 General Support
11074 RADISSON RD NE
BLAINE, MN 55449

(3) ABACO RESCUE FUND XX-XXXXXXX S01{C}(3} 10,000 General Support
NON-PROFIT CORPORATION
2 SAN DIEGO RO

PONTE VEDRA, FL 32082

(4) ADVOCATES USA INC XX-XXXXXXX 501(C}{3} 25,000 General Support
4859 SLAUSON AVENUE
LOS ANGELES, CA 90056

(5) AIR CAPITAL CHARITIES XX-XXXXXXX 501(C}(3) 10,000 General Support

9727 E SHANNON WOODS CIR
STE 100
WICHITA, KS_ 67226

(6) AKRON-CANTON REGIONAL XX-XXXXXXX 501(C}(3) 100,000 General Support
FOODBANK

350 OPPORTUNITY PKWY
AKRON, OH 44307

(7) ALICE B LANDRUM MIDDLE XX-XXXXXXX 5OL(C}{3} 7,200 General Support
SCHOOL PTO INC
230 LANDRUM LN
PONTE VEDRA, FL_ 32082

{8) ALLIANCE OF FAMILIES XX-XXXXXXX SOLfC}{(3) 15,000 General Support
FIGHTING PANCREATIC
CANCER

11768 CALLA LILLY CT
PALM @CH GDNS, FL 33418

{9} ALZHEIMERS DISEASE AND XX-XXXXXXX 561(C}{3) 16,320 General Support
RELATED DISORDERS
ASSOCIATE

225 MN MICHIGAN AVE STE
1700

CHICAGO, IL_ 60601

{10} AMERICAN ASSOCIATES XX-XXXXXXX 5O1(C}{3) 25,000 General Support
OF THE SATIONAL THEATRE
INC

247 WEST 30TH ST

NEW YORK, NY 10003

(11) AMERICAN AUSTRALIAN XX-XXXXXXX 501(C)(3) 491,000 General Support
ASSOCIATION INC

50 BROADWAY STE 2003
NEW YORK, NY 10004
(12) AMERICAN CANCER XX-XXXXXXX 501(€}(3) 66,000 General Support
SOCIETY INC

250 WILUAMS ST STE 400
ATLANTA, GA 30303

(13) AMERICAN HEART XX-XXXXXXX §O01(C(3) 10,000 General Support
ASSOCIATION INC
7272 GREENVILLE AVE
DALLAS, TX 7523!

(14) AMERICAN JUNTOR GOLF $8-1433014 §01(C}(3) 100,000 General Suppart
ASSOCIATION

1980 SPORTS CLUB DR
BRASELTON, GA 30517

(15) AMERICAN NATIONAL RED XX-XXXXXXX 501(C}(3} 25,500 General Support
CROSS

431 18TH ST NW
WASHINGTON, DC 20006

(16) AMERICAS PROMISE-THE 54-1848 743 5O1(E)(3} 7,500 General Support
ALLIANCE FOR YOUTH
1110 VERMONT AVE NW STE

WASHINGTON, DC 20005

(17) ANGELES VIVIENTES INC 65-08464i2 504(0)(3} 8,850 General Support
URB COSTA DE ORG
COSTA DE ORO C-3
DORADO, PR 00646

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(18) ANGELWOOD INC
5600 SPRING PARK RD STE

O
JACKSONVILLE, FL_32216

§9-3212078

5O1{C}(3)

15,775

General Support

(19) ARIZONA COMMUNITY
FOUNDATION

2201 E CAMELBACK RD NO
4056

PHOENIX, AZ_ 85016

XX-XXXXXXX

501{C) (3)

14,205

General Support

(20) ARNIES ARMY
CHARITABLE EVENTS
FOUNDATION INC
9000 BAY HILL BLVD
ORLANDO, FL_ 32819

XX-XXXXXXX

5O1L(C)E3)

150,000

General Support

{21} ARNOLD & WINNIE
PALMER FOUNDATION INC
9000 BAY HILL BLVD
GRLANDO, FL 32819

XX-XXXXXXX

501(C)(3)

225,000

General Support

(22} ASTROS GOLF
FOUNDATION

501 CRAWFORD ST STE 500
HOUSTON, TX_77002

XX-XXXXXXX

501{C)(3)

175,000

General Support

(23) AUGUSTINE LITERACY
PROJECT-CHARLOTFE

115 W 7TH ST
CHARLOTTE, NC 28202

XX-XXXXXXX

501(C){3)

12,000

General Support

(24) AUSTIN PARKS
FOUNDATION

1023 SPRINGDALE RD SUITE
4B
AUSTIN, 1X 78724

74- 2648803

501(C)G3)

118,750

General Support

(25) BAPTIST HEALTH SYSTEM
FOUNDATION INC

1660 PRUDENTIAL OR STE 203
JACKSONVILLE, FL 32207

XX-XXXXXXX

501(C)(3)

476,590

391

FMM

MISC

General Support

(26) BARBARA BUSH
FOUNDATION FOR FAMILY
LITERACY INC

516 N ADAMS ST
TALLAHASSEE, FL 32301

XX-XXXXXXX

504(C)(3)

10,090

General Support

(27) BARTRAM BEARS
ATHLETIC BOOSTER CLUB
7399 LONGLEAF PINE PKWY
ST JOHNS, FL_ 32259

XX-XXXXXXX

501(C){3)

20,910

General Support

{28} BASCA INC
352 STOWE AVE
GRANGE PARK, FL 342073

XX-XXXXXXX

50t(C}{3)

7,500

General Support

(29} BATON ROUGE AREA KIDS|
FORE GOLF FOUNDATION

427 HIDDEN LAKE CT

BATON ROUGE, LA_ 70810

82- 1941767

SO1(C}{3)

10,000

General Support

(30} BEACHES EMERGENCY
ASSISTANCE MINISTRY INC
850 6TH AVE S STE 400
JAX BCH, FL 32259

XX-XXXXXXX

502(C}{3)

6,000

General Support

(34) BEACHES FINE ARTS
SERIES INC

416 12TH AVE N

JAX BCH, FL 32250

XX-XXXXXXX

5O1{C}H3)

10,090

General Support

(32) BEATIFUDES CAMPUS.
FOUNDATION

1610 W GLENDALE AVE
PIGENIX, AZ 85021

XX-XXXXXXX

S0H{(CHS)

7,500

General Support

(33) BEGIN AGAIN
FOUNDATION

PO BOX 6029

VIRGINIA BCH, VA_ 23456

XX-XXXXXXX

501(CH3)

70,000

MISC

General Support

(34) BELOVED COMMUNITY
CHARTER SCHOOL INC
508 GRAND ST

JERSEY CITY, N3_ 07302

XX-XXXXXXX

504(C}{3)

12,000

General Support

(35) BIG BROTHERS BIG
SISTERS OF NORTHEAST
FLORIDA INC

40 EAST ADAMS ST 200
JACKSONVILLE, FL 32202

XX-XXXXXXX

501(CH3)

17,000

General Support

(36) BLESSINGS IN A
BACKPACK INC

PO BOX 7725
LOULSVILLE, KY 40257

XX-XXXXXXX

501(C}{3)

56,333

Generat Support

(37) BOARD OF TRUSTEES FOR
THE FLORIDA SCHOOL FOR
THE G

207 SAN MARCO AVE

ST AUGUSTINE, FL_ 32084

§9-3206619

501(C}{3}

7,800

General Support

(38) BOBBY JONES GOLF
COURSE FOUNDATION INC
2560 BROOKDALE DR NW
ATLANTA, GA 30305

B1-0778972

501(C}(3}

19,000

General Support

(39) BOROUGH OF KINNELON
RECREATION DEPARTMENT

1 ALPINE OR

KINNELON, NJ 07405

XX-XXXXXXX

1s

12,256

General Support

{40} BOY SCOUTS OF AMERICA)
1325 W WALNUT HILL Eft
IRVING, TX 75038

XX-XXXXXXX

501(C)(3}

43,200

General Support

(41) BOYS & GIRLS CLUBS OF
AMERICA

1275 PEACHTREE STREET NW
ATLANTA,GA_ 30309

XX-XXXXXXX

501(C}(3}

10,000

General Support

(42) BOYS & GIRLS CLUBS OF
METROPOLITAN PHOENIX INC
4309 E BELLEVIEW ST
PHOENIX, AZ 85008

XX-XXXXXXX

501(C)(3}

20,600

General Support

(43) BOYS AND GIRLS CLUBS
OF AUSTIN AND TRAVIS
COUNTY I

6648 ED BLUESTEIN BLVD

XX-XXXXXXX

3O01(C)(3}

148,750

General Support

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AUSTIN, TX 78723

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(44) BOYS AND GIRLS CLUBS XX-XXXXXXX $01(C)(3) 38,910 General Support
OF NORTHEAST FLORIDA INC
555 W 25TH ST
JACKSONVILLE, FL_32206

(45) BOYS CLUB GF NEW YORK XX-XXXXXXX 501(C}{3)} 25,000 General Support

287 E LOTR ST
NEW YORK, NY 19009

(46) BRIGHTER DAYS XX-XXXXXXX 501(C}(3} 32,000) FMV MISC General Support
FOUNDATION
PO BOX 2903
N CANTON, OH 44720

(47) BROOME COUNTY XX-XXXXXXX 501(C}(3) 105,000 General Support
COMMUNITY CHARITIES INC
PO BOX S571

ENDICOTT, NY 13763

(48) BRYSON GECHAMBEAU XX-XXXXXXX 5O01(C}(3) 65,000 General Support
FOUNDATION

276 STH AVE RM 711
NEW YORK, NY 20001

(49) CAF AND CNL CHARITY XX-XXXXXXX 5014(C)(3) 10,000 General Support
GOLF TOURNAMENT

136 SAWMILL LAKES BLYD
PONTE VEDRA, FL 32082

(90) CANCER SUPPORT XX-XXXXXXX SOL(CH(3} 11,880 General Support
COMMUNITY-ARIZONA
360 £ PALM LN
PHOENIX, AZ $5004

(51) CARIBBEAN 12 STGP INC XX-XXXXXXX 501(C)(3) 15,000 General Support
1569 CALLE ALDA
SAN JUAN, PR 00926

(52) CARIBE GIRL SCOUTS XX-XXXXXXX 5014(C)(3) 8,850 General Support
COUNCIL INC

500 CALLE ELISA COLBERG
SAN JUAN, PR 009907

(33) CASA DE NINOS MANUEL XX-XXXXXXX 501(C)(3} 6,000 General Suppert
FERNANDEZ JUNCOS INC

SANTURCE

SAN JUAN, PR 00912

(54) CASA LA PROVIDENCIA 66-02 76597 S01(C)(3} 6,000 General Support
INC

PO BOX 902061

SAN JUAN, PR 00902
(55) CATHEDRAL ARTS XX-XXXXXXX 504(C)(3) 7,500 Genarai Support
PROJECT INC

207 N LAURA ST STE 300
JACKSONVILLE, FL_32202

(56) CENTURY CLUB 64-0843 787 §oi(C)(3} 175,000 General Support
CHARITIES INC

285 MARKETRIDGE DR
RIDGELAND, MS 39157
(57) CENTURY CLUB CF SAN XX-XXXXXXX 504(C}3) 175,000 General Support
DIEGO

9404 GENESEE AVE STE 310
LA JOLLA, CA 92037

(59) CF FOUNDATION INC XX-XXXXXXX 5ORC)3) 3,064,000 General Support
3445 PEACHTREE RD NE STE

475
AFLANTA, GA 30326

{59) CHAMPIONS FOR XX-XXXXXXX 502{(C}(3) 186,000 General Support
EDUCATION INC

3700 GLENEAGLES RD
CHARLOTTE, NC 28210

{60) CHARLEY HOFFMAN XX-XXXXXXX S02(C}(3) 14,000 General Support
FOUNDATION

3914 MURPHY CANYON RO STE
AL7O

SAN DIEGO, CA 92123

(61} CHARLOTTE FAMILY XX-XXXXXXX 501{C)(3} 16,000 General Suppart
HOUSING ING

300 HAWTHGRNE LANE 3RD
FLOOR

CHARLOTTE, NO 28204

(62) CHARRO FOUNDATION XX-XXXXXXX 501(C)(3} 50,106 General Support
10533 E LAKEVIEW DR
SCOTTSDALE, AZ 85258

(63) CHILD CANCER FUND INC XX-XXXXXXX 501(C){3) $,560 General Support
4720 SALISBURY RD
JACKSONVILLE, FL_ 32256
(64) CHILDRENS GOLF XX-XXXXXXX 5OL(C}{3} 10,000 General Support
FOUNDATION INC

7301 N HAVERHILL RD
RIVIERA BEACH, FL_ 33407

(65) CHILDRENS HEALTHCARE XX-XXXXXXX SOL(C) (3) 180,090 General Support

CHAREFY INC
C/O IMG 3300 PGA BLVD NO

800

PALM BEACH GARDENS, FL
33410

(66) CHILDRENS HOME XX-XXXXXXX 50103) 40,000 General Support
SOCIETY OF FLORIDA

482 5 KELLER RD 3RD FLOOR
ORLANDO, FL 32510

(67) CHILDRENS MIRACLE XX-XXXXXXX 501(C0(3) 11,290 General Support
NETWORK

205 W700 5

SALT LAKE CTY, UT 84101
(68) CHRISTIAN HEALTH CARE XX-XXXXXXX 501(C}3) 15,219 General Support
CENTER

301 SICOMAC AVENUE BLDG 1
WYCKOFF, NJ 07481

(69) CIFY HARVEST INC 13-31.70676 501(C}3) 10,000 General Support
6 EAST 32ND STREET STH FL
NEW YORK, NY 10016

(70) CETY YEAR INC XX-XXXXXXX 501(C}{3} 50,000 General Support
287 COLUMBUS AVENUE
BOSTON, MA 02116

(71}) COACHART ORG XX-XXXXXXX $01(CT}(3} 10,000 General Support
312 ARIZONA AVE

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SANTA MONICA, CA 90401
(72) COASTAL CENTER FOR XX-XXXXXXX SOL(C}3) 5,023 General Support
DEVELOPMENTAL SERVICES
INC

PO BOX 13607
SAVANNAH, GA 31416

(73) COLLEGE GOLF XX-XXXXXXX S01(C)(3} 17,778 General Support

FELLOWSHIP
5098 FOOTHILL BLVD 3 UNITE

138
ROSEVILLE, CA 95747

(74) COMMUNITIES IN XX-XXXXXXX SOL{C}(3) 20,000 General Support
SCHOOLS OF JACKSONVILLE
6261 DUPONT STATION CTE
JACKSONVILLE, FL 32217
(75) COMMUNITY HOSPICE OF XX-XXXXXXX SOL(C}(3} 131,620 General Support
NORTHEAST FLORIDA
FOUNDATION

4266 SUNBEAM ROAD
JACKSONVILLE, FL 32257

(76) COPPERHEAD CHARITIES §9-2319162 S0L{C)(3) 186,000 General Support
INC

36750 US HIGHWAY 19 N
PALM HARBOR, FL 346284

(77) CROHNS & COLITIS XX-XXXXXXX 501(C}{3) 10,506 General Support
FOUNDATION INC

733 3RD AVE STE 510
NEW YORK, NY 10017

(78) CVS HEALTH CHARITY XX-XXXXXXX 501(C){3} 250,000 General Support
CLASSIC INC

1 CVS BR
WOONSOCKET, RI 02895

(79) DAILYS FOUNDATION INC |  XX-XXXXXXX S01(CH3} 10,000 General Support
7014 AC SKINNER PKWY STE

290

JACKSONVILLE, FL_32256

(80) DAVIS LOVE IIT XX-XXXXXXX §01(C}{3} 375,000 25,000) fMy¥ MISC General Support
FOUNDATION

100 RETREAT RO

ST SIMONS IS,GA 34522
(81} DEPAUL SCHGOL OF XX-XXXXXXX 501(C)(3} 5,660 General Support
NORTH EAST FLORIDA INC
3044 SAN PABLO RD S
JACKSONVILLE, Fi, 32224

(82) DESERT CLASSIC XX-XXXXXXX 501 (C}(3} 875,000 General Support
CHARITIES

78080 CALLE AMIGO
LA QUINTA, CA 92253

(83) DESERT RECREATION XX-XXXXXXX S0L(C)(3} 30,000 General Support
FOUNDATION

45305 OASIS ST
INDIO, CA 92201

(84) DETROIT GOLF XX-XXXXXXX S0L(C}(3} 19,000 General Support
FOUNDATION

PO BOX 21728
DETROIT, MI_ 48221
(85) DJ FOUNDATION INC XX-XXXXXXX SOLCILS) 30,000 General Support
1097 TPC BLVD

MURRELLS INLT, SC_ 29576

(86) DOWNTOWN ECUMENICAL] — XX-XXXXXXX 501(C)(3) 10,000 Ganeral Support
SERVICES COUNCIL INC
215 N OCEAN ST
JACKSONVILLE, FL_ 32202
(87) DREAMS COME TRUE OF §9-2967803 501(C)(3) 62,850 General Support
JACKSONVILLE ING

6803 SOUTHPOINT PKWY
JACKSONVILLE, FL_ 32316

(88) ELEVATE PHOENIX 90-0451 740 SUA) {3} 10,006 General Support
3750 W INDIAN SCHOOL RD
PHOENIX, AZ 85019

(39) ELS FOR AUTISM XX-XXXXXXX 501(C)(3) 15,000 35,000] FMV MISC General Support
FOUNDATION

418370 LIMESTONE CREEK RO
JUPITER, FL 33455

(90} EVANS SCHOLARS XX-XXXXXXX 501(C}{3) 177,500 General Support
FOUNDATION

1 BRIAR RB
GOLF,IL 60029
(91) EXECUTIVE COUNCIL XX-XXXXXXX S50i(CH3) 166,500 General Support
CHARITIES

4114 E INDIAN SCHOOL RD
PHOENIX, AZ 85018

(92) EXTRA BASES INC XX-XXXXXXX 5OL(CH3) 8,850 General Support
PO BOX 4996
AGUADILLA, PR 00605
(93) EXTRA SPECIAL PEOPLE XX-XXXXXXX 501(C}(3) 50,060 General Support

PO BOX G15
WATKINSVILLE, GA 30677
(94) FELLOWSHIP OF XX-XXXXXXX 501(C}(3) 21,270 General Support
CHRISTIAN ATHLETES
8701 LEEDS RD

KANSAS CITY, MO 64129
(95) FIRST COAST WOMENS XX-XXXXXXX 501(C)(3} 35,000 Generaj Support
SERVICES

11215 SAN JOSE BLVD
JACKSONVILLE, FL 32223
(96) FIRST TEE NEW YORK INC B1-1724122 504(C)(3} 62,813 Generat Support
3545 JEROME AVE
BRONX, NY 10467

(97) FIRST TES GF ATLANTA XX-XXXXXXX 501(C)(3) 216,000 General Support

nC

3053 CASCADE CIR SW
ATLANTA, GA 20311
(98) FIRST TEE OF CENTRAL XX-XXXXXXX S01(C)(3} 66,000 General Support
FLORIDA

1326 PALMETTO AVE
WINTER PARK, FL 32789

(99) FIRST TEE OF GREATER XX-XXXXXXX S501fC3} 25,000 General Suppert
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CHARLOTTE oe
2661 BARRINGER DR
CHARLOTTE, NC_ 28208

(100) FIRST TEE OF LOS XX-XXXXXXX SO1¢C) (3) 6,875 General Support
ANGELES

3611 MOTOR AVE STE 110
LOS ANGELES, CA 90034

(101) FIRST TEE OF MIAMI- XX-XXXXXXX S5O1(C}3) 25,000 General Support
BADE FOUNDATION INC
2800 PONCE DE LEON 81LvD
STE 1160

CORAL GABLES, FL 33434

(102) FIRST TEE OF NORFH $9-3577327 5O1(C)(3) 288,106 General Support
FLORDIA INC

475 W TOWN BL STE 115
ST AUGUSTINE, FL 32092

(103) FIRST TEE OF THE QUAD] == -XX-XXXXXXX 50t(C}(3) 10,000 General Support
CITIES

201 W 2ND ST STE 601
DAVENPORT, 14 52801

{104) FIVE STAR VETERANS XX-XXXXXXX 501(CH3) 85,000 30,000] FMV MISC General Support
CENTER ING

40 ACME ST

JACKSONVILLE, FL 32211

(105) FLAGLER NEALTH CARE XX-XXXXXXX 501(CH3} 200,000 General Support

FOUNDATION INC

400 HEALTH PARK BLVD
ST AUGUSTINE, Fi, 32086
{106} FLORIDA PROTON XX-XXXXXXX 5O1(CH(3} 10,000 5,040 | FMV MISC General Support
THERAPY INSTITUTE INC
2015 JEFFERSON ST
JACKSONVILLE, FL_ 32206

(197) FLORIDA STATE XX-XXXXXXX $01(C}(3) 50,000 General Support
COLLEGE AT JACKSONVILLE
FOUNDATION F

501 WEST STATE ST NO 104
JACKSONVILLE, Fl. 32202

(108) FOLDS OF HONOR XX-XXXXXXX 501(C}(3} 11,449 General Support
ARIZONA CHAPTER

7225 W OAKLANO ST STE t
CHANDLER, AZ 85226

(109) FOLOS OF HONOR XX-XXXXXXX $01(C}(3} 66,000 General Support
FOUNDATION

$551 N 125TH EAST AVE STE
100

OWASSO, OK 74055

(110) FOODSHARE INC XX-XXXXXXX 5O1(CR} 23,663 General Support
4156 SOUTHBANK RD
OXNARD, CA 93036

(111) FORE KIDS FOUNDATION] = $8-1940111 5021(C)(3) 175,000 General Support

IC
11005 LAPALCO BLVD
‘AVONDALE, LA 70094

(112) FORT WORTH COLONIAL XX-XXXXXXX 5O4(C)(3) 173,000 Generat Support
CHARITIES INC

3735 COUNTRY CLUB CIR
FORT WORTH, TX 76109

(113) FORT WORTH JUNIOR XX-XXXXXXX S04(C)(3) 10,000 General Support
GOLF FOUNDATION
INCORPORATED

1900 ROCKWCOOD PARK OR N
FORT WORTH, TX 76114

(4114) FOUNDATION FoR §4-2222743 501(C)(3} 10,000 General Support
YOUTH INITIATIVES IN
KENTUCKY INC

4725 WILLMAN WAY
LEXINGTON, KY 40509
{115} FRESH START SURGICAL XX-XXXXXXX S0L(C){3} 25,000 General Support
GIFTS

2011 PALOMAR AIRPORT RD
STE 206

CARLSBAD, CA 92014

{116} FRIENDS OF HAWATI XX-XXXXXXX SOL{C)(3)} 175,000 General Support
CHARITIES INC

1001 BISHOP ST
HONOLULU, HE 96813

(117) FRIENDS OF THE XX-XXXXXXX 501(C3(3) 42,075 General Support
CHILDRENS JUSTICE CENTER
OF MAUL IN

1773 WILT PA LOOP STE A
WAILUKU, HI 96793

(118) FRIENDS OF WASHOE XX-XXXXXXX 50a(C)(3) 6,000 General Support
COUNTY CHILD ADVOCACY
CENTER

3983 5 MCCARRAN BLVD BOX

455

RENO, NV 89502
(119) FUNDACION AGENDA XX-XXXXXXX 501(C}(3) 20,000 General Support
CIUDADANA INC

EL NUEVO DIA BUILDINGIST
FLOOR

GUAYNABG, PR_ 00968
(120) FUNDACION CAP INC XX-XXXXXXX 501(C)(3)} 50,000 Generaj Support

PO BOX 10807
SAN JUAN, PR 00922

(124) FUNK - ZITIELLO 91-32042321 $91(C)(3} 30,000 General Support
FOUNDATION

830-13 ALA NORTH 187 SUITE

13

PONTE VEDRA BEACH, FL

32082

(122) GENERATION W INC XX-XXXXXXX S01(0)(3} 8,500 General Support

2320 3RD STS STE 5
JAX BCH, Fl. 32250
(123) GEORGIA STATE GOLF XX-XXXXXXX SOLCCHEZ} 6,000 General Support
ASSOCIATION INC

121 VILLAGE PKWY BLOG 3
MARIETTA, GA_30067
(124) GIRLS INCORPORATED 59-131 7196 S01{CH3) 7,500 General Support
OF JACKSONVILLE

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100 FESTIVAL PARK AVE
JACKSONVILLE, FL_ 32202
(£25) GLOBALGIVING 3G-0108263 S501(C)(3} 475,000 General Support
FOUNDATION INC

1110 VERMONT AVE NW STE

550
WASHINGTON, DC 20005

(126) GOLDEN ISLES XX-XXXXXXX 501(C)(3} 10,000 General Support
LEADERSHIP FOUNDATION INC
3528 DARIEN HWY STE 232
BRUNSWICK, GA_31525

(127) GOLDEN PANTHER XX-XXXXXXX So1(Cj(3} 10,570 General Support
BOOSTER CLUB INC
10550 RAY RD

PONTE VEDRA, FL 32084
(128) GOLF CHARITIES 46- 2580975 S01(CI(3} 175,000 General Support
FOUNDATION INC

5671 SW ARCTIC DR
BEAVERTON, OR 97005

(129) GOLF FIGHTS CANCER XX-XXXXXXX 504{(C)(3} 25,175 600) FMV MISC General Support
TC

300 ARNOLD PALMER BLVD
NORTON, MA 02766

{130} GOLF FGRE FUN INC XX-XXXXXXX SO1C)(3} 15,000 General Support
PO BOX 236

CLEMMONS, NC_27012

(131) GOQDWILL ENDOWMENT] —-XX-XXXXXXX S01¢C)(3} 25,000 General Support
INC

4527 LENOX AVE
JACKSONVILLE, FL 32205

(132) GREATER AUSTIN FIRST XX-XXXXXXX SOL(CHA} 305,000 General Support
TEE

5501 ED BLUESTEIN BLVD
AUSTIN, TX 78723

(133} GREATER HARTFORD XX-XXXXXXX BOR(C}(3} 305,000 General Support
COMMUNITY FOUNDATION
90 STATE HOUSE SQ
HARTFORD, CT 06103

(134) GREATER JACKSONVILLE XX-XXXXXXX S04(C)(3} 15,000 General Support
AREA USO COUNCIL INC
PO BOX 108
JACKSONVILLE, FL_ 32212

(135) HABITAT FOR HUMANITY XX-XXXXXXX §01(¢)(3} 199,750 General Support
INTERNATIONAL INC
797 MAYPORT RB
ATLANTIC BCH, FL 32233
(136) HACKENSACK MERIDIAN XX-XXXXXXX 504(C}(3} 128,700 General Support
HEALTH INC

‘ 160 ESSEX ST STE 10!
Loot, NJ 07644
(137) HALE MAKUA HEALTH XX-XXXXXXX 504(C)(3)} 62,425 General Support
SERVICES
472 KAULANA SF
KAHULUL, HE 96732

(138) HANDA FOUNDATION XX-XXXXXXX 504(C)(3) 125,000 General Support
INC

4009 CLOUDCREST OR
PLANG, TX 75074

’ (139) HAWAIT STATE JUNIOR XX-XXXXXXX 501(C}(3) 14,000 General Support
GOLF ASSOCIATION INC
4330 KUXUI GROVE ST
LIHUE, HI 96766

(140) HEAL FOUNDATION INC XX-XXXXXXX SO0R(C}{(3} 5,600 General Support
PO BOX 140

PONTE VEORA, FL 32004

(141) HELPING HAND KROME 74- 3144638 SOL{C}(3) 118,750 General Support

FOR CHILDREN
3804 AVENUE B
AUSTIN, TX 78751

{142} HERITAGE CLASSIC XX-XXXXXXX S50R(C}3} 175,000 General Support
FOUNDATION

PO BOX 3244

HILTON HEAD, SC 29928
(143) HOGAR FORIADORES DE XX-XXXXXXX SOL(C}H3) 9,000 Gonéral Support
ESPERANZA INC

PO BOX 4181
BAYAMON, PR 00958
(144) HOUSTON GOLF XX-XXXXXXX 501(CH3) 1,000,000 General Support
ASSOCIATION

7000 CAPITOL ST
HOUSTON, TX 77011

(145) HUBBARD HOUSE INC XX-XXXXXXX 501(C)(3) 5,150 General Support
o PO BOX 4999
: JACKSONVILLE, FL_ 32204

(146) HV3 FOUNDATION §3-1779871 SDLIC)(3) 30,000 General Support

255 W MLK BIVD STE 1306
CHARLOTTE, NC 28202

(147) HYDE LEAOERSHIP XX-XXXXXXX 501(C){3) 25,000 General Support
CHARTER SCHOOL

730 BRYANT AVENUE 4TH
FLOOR

BRONX, NY 10474

{148} 1M SULZBACHER XX-XXXXXXX SOL(C}{3} $,130 General Support
CENTER FOR THE HOMELESS
INC.
611 £ ADAMS ST
JACKSONVILLE, FL 32202
{149} IAEVI-INSTITUTO DE 66-061 7512 8,850 General Support
ADLESTRAMIENTO EMPLEO Y
VIDA T
PASEO 5 300 ALTURAS DE
BAYAMON
BAYAMON, PR_ 00956
(150) INSTITUTE FOR XX-XXXXXXX SOL(CH(3} 25,000 General Support
EDUCATIONAL ACHIEVEMENT
inc

' 381 MADISON AVE
NEW MILFORD, NJ 07646

(151} INTERNATIONAL CENTER XX-XXXXXXX SBACC}(3) 42,500 General Support
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FOR RESPONSIBLE GAMING
960 CUMMINGS CENTER SUITE
321-U

BEVERLY,MA 01915

(152) JAG A CHARITABLE XX-XXXXXXX 501(C)(3} 20,000 General Support
TRUST

6817 SOUTHPOINT PKY
JACKSONVILLE, FL 32216

{153) 1] WALTER CAMERON XX-XXXXXXX 5O4(C)(3} 32,100 General Support
CENTER

95 MAHALANI STREET
WAILUKU, HT 98793

(154) JACK NICKLAUS XX-XXXXXXX 5Ot(C\(3} 27,500 Genera} Support
MUSEUM INC

2355 OLENTANGY RIVER RD
COLUMBUS, OH 43210

(155) JACKSONVILLE ALUMNI XX-XXXXXXX S01{C}(3) 20,000 Genera? Support
CHAPTER OF KAPPA ALPHA PSI

GUL

1751 UNIVERSITY SLYD 5
JACKSONVELLE, FL_ 32216

{156} JACKSONVILLE BEACH 82-d835047 S02(C)(3} 5,900 General Support
GOLF ASSOCIATION INC
13500 SUTTON PARK DR S$ STE
801

JACKSONVILLE, FL_ 32224

(157) JACKSONVILLE 59-35836/¢ 5O4(C)(3) 10,000 General Support
CHILDRENS CHORUS INC
225 E DUVAL ST

JACKSONVILLE, FL 32202

(158) JACKSONVILLE XX-XXXXXXX 5O4{(C)(3} 20,000 General Support
EPISCOPAL HIGH SCHGOL
FOUNDATION INC

4455 ATLANTIC BLVD
JACKSONVILLE, Fi 32207

(159) JACKSONVILLE JAGUARS} — XX-XXXXXXX 501(C)(3) 22,500 General Support
FOUNDATION INC

1 TIAA BANK, FIELD DR
JACKSONVILLE, FL_32202

{160) Fraternal Order of Palice XX-XXXXXXX SOL(C)(35 §,000 General Support
Jacksonville Lodge 5-36
561 & BAY ST STE 204
JACKSONVILLE, FL_32202

{161) JACKSONVILLE XX-XXXXXXX 502(C)(3} 31,500 General Support
SYMPHONY ASSOCIATION
300 WATER ST STE 200

JACKSONVILLE, FL_32202

(162) JACKSONVILLE §9-0624412 $01(C)(3) 39,000 General Support
UNIVERSITY

2800 UNIVERSITY ALVD N
JACKSONVILLE, FL_ 32211

(163) JACKSONVILLE 59-£452787 501(C}(3} 4,130 1,074] FMY¥ MISC General Support
WOLFSON CHILDRENS
HOSPITAL INC

1660 PRUDENTIAL DR STE 203
JACKSONVILLE, FL_ 32207

(164) IDRF INTERNATIONAL XX-XXXXXXX SOL(C)(3) 33,600 General Support
200 VESEY STREET
NEW YORK, NY_ 10281

(165) JERSEY CITY XX-XXXXXXX 501(C}(3) 45,000 General Support
EMPLOYMENT & TRAINING

PROGRAM INC

398 MARTIN LUTHER KING JR

BR
JERSEY CITY, NJ 07305

(166) JOHNNY MILLER JUNIOR, XX-XXXXXXX SO1(C}3} 10,000 Ganeral Support
GOLF FOUNDATION
PO BOX 970488
OREM, UT 84097
(167} JORDAN SPLETH FAMILY XX-XXXXXXX S01{C}(3)} 15,000 48,000} FMY MISC Ganeral Support
FOUNDATION

10719 BRIDGE HOLLOW CT
DALLAS, TX 75229

(168} JUNIOR ACHIEVEMENT XX-XXXXXXX SOL{CHS) 50,420 General Support

A
4049 WOODCOCK DR STE 200
JACKSONVILLE, FL 32207

(169) JUNIOR GOLF XX-XXXXXXX 501(C){3} 60,000 General Support
ASSOCIATION OF ARIZONA
INC

410888 N 19TH AVE
PHOENIX, AZ 85029

(170) JUNIOR LEAGUE OF XX-XXXXXXX 5OL(CH3} 6,180 General Support
JACKSONVILLE INC

2165 PARK ST
JACKSONVILLE, FL 32204
(171) K9S FOR WARRIORS INC XX-XXXXXXX 5OLCCHS) 10,225 General Support
114 CAMP K9 RD .

PONTE VEDRA,FL 32081
(172) KA LIMA G MAUL LTO XX-XXXXXXX 561(C)(3) 27,273 General Support
95 MAHALANI STREET
WAILUKU, HE 96793

(173) KEEP AUSTIN SEAUFIFUL! XX-XXXXXXX 5O1(CH(3) 118,750 General Support

ING
55 NORTH TH-35 SUITE 215
NO 215

AUSTIN, TX 78702

(174) KEVIN & SRITTANY Bi-1444661 501(C9(3) 765,000 Genera! Support
KISNER FOUNDATION

FO BOX 256
GRANITEVILLE, SC 29829

{175) KEVIN NA FOUNDATION AI-4287124 501(C)(3) 15,000 General Support
2560 MONTESSGURI ST STE

208
LAS VEGAS, NV 89117

{176) KIDS ACROSS AMERICA XX-XXXXXXX 504(€)(3) 105,008 General Support
FOUNGATION

2036 TIMBERLAKE RD
BRANSON, MO 65616

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Ranaral Gunner
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(i RIO Ur GUUS ee-evewuas une nee gyuye ache Du ypUEA
DELAWARE VALLEY COUNCIL
7582

PO BOX 21

BAPTISTOWN, NI 09803
{178} KYLE PALMIERI XX-XXXXXXX 502(C}{(3} 13,850 General Support
FOUNDATION

65 MONROE AVE STE C
PITTSFORD, N¥ 14534

{179} L ARCHE JACKSONVILLE XX-XXXXXXX 504(C}{3} 8,000 General Support

INC
700 ARLINGTON RD N
JACKSONVILLE, FL 32214

{180) LAHAINA JUNIOR GOLF XX-XXXXXXX S501(C}{3} 6,275 General Support
ASSCCIATION
PO BOX 10701
LAHAINA, HE 96761

(181) LAHAINALUNA HIGH XX-XXXXXXX S501(C){3} 65,425 General Support
SCHOOL FOUNDATION
PO BOX 11617
LAHAINA, HI 96762

(182) LENS FRIENDS XX-XXXXXXX 501(C 3} 76,000 General Support
FOUNDATION INC

4745 SUTTON PARK CT
JACKSONVILLE, FL 32224

{183} MALIVAT WASHINGTON XX-XXXXXXX S501CC}{3)} 134,640 General Support
KIDS FOUNDATION INC
1096 W 6TH ST
JACKSONVILLE, FL 32209

(184) MANDARIN XX-XXXXXXX 501(C}(3} 5,490 General Support
PRESBYTERIAN CHURCH
11844 MANDARIN RD
JACKSONVILLE, FL 32223

(185) MARCH OF DLMES INC XX-XXXXXXX 301(C)(3} 23,500 General Support
1550 CRYSTAL DR STE 1300
ARLINGTON, VA 22202

(186) MAYO CLINIC XX-XXXXXXX S01(C)(3} 50,000 General Support
4500 SAN PABLO RDS
JACKSONVILLE, FL_ 32224

(187) MBA OPEN DOORS XX-XXXXXXX 501(C)(3) 59,000 General Support
FOUNDATION
1919 M STREET NW 5TH
, FLOOR
WASHINGTON, OC 20036

(188) MCGUIRE RESEARCH XX-XXXXXXX 501(C)(3} 20,000 General Support
INSTITUTE INC

1201 BROAD ROCK 8LVO
RICHMOND, VA_23249

hn (189) MCKENZIE NOELLE XX-XXXXXXX 501(C)(3} 50,000 Generai Support
WILSON FOUNDATION
MARK BAUM
JACKSONVILLE, FL_32250

(190) MINNESOTA MINORITY XX-XXXXXXX 501(C)(3} 10,000 General Support
JUNIOR GOLF ASSOCIATION
INC

331 2ND AVE S$ STE 230
MINNEAPOLIS, MN 55401

(191) MISSISSIPPI JUNIOR XX-XXXXXXX 50i(C)(3)} 10,000 General Support
GOLF FOUNDATION

409 CLUBHOUSE DR
JACKSON, MS 39208

(192) MOMENTOUS INSTITUTE] —_75-1855620 501(€)(3) 30,000 General Support
106 EAST 10TH STREET SUITE
200

DALLAS, TX_75203

(193) MONIQUE BURR §9-3492715 502 (C}(3) 10,000 General Support
FOUNDATION FOR CHILDREN

INC

7807 BAYMEADOWS AD E STE
205

JACKSONVILLE, FL_32256

{194} MONTEREY PENINSULA XX-XXXXXXX 5O1{C}{3} 180,000 General Support
FOUNDATION

1 LOWER RAGSDALE DR
BUILDING 3

MONTEREY, CA 93940

{195} MORGAN STANLEY XX-XXXXXXX 501(C}{3} 50,000 General Support
GLOBAL IMPACT FUNDING
TRUST INC

8910 PURDUE RD STE 500
INDIANAPOLIS, IN 46268
{196} MORTON FOUNDATION XX-XXXXXXX S501(C}{3} 16,300 Generat Support
7309 E LIVINGSTON AVE
REYNOLOSBURG, OH 42068

{197} MUSEUM OF SCIENCE & XX-XXXXXXX SO1(C}{3) 16,000 Generat Support
HISTORY OF JACKSONVILLE
INE

1025 MUSEUM CIR
JACKSONVILLE, Fi. 32207

{198} MV JUNIOR GOLF XX-XXXXXXX 5G1(CH3) 15,000 General Support
FOUNDATION INC

PO BOX 5455

TWIN FALLS, ID 83303

(199) NATIONAL CHRISTIAN §8-1493949 501{C}3)} 26,000 General Support

CHARITABLE FOUNDATION INC
11625 RAINWATER BR STE

ALPHARETTA, GA_ 30009
{200} NATIONAL MULTIPLE XX-XXXXXXX 5O1{C}{3)} 83,700 General Support
SCLEROSIS SOCIETY

733 THIRD AVE 3RD FLOOR
NEW YORK, NY 10017

{201} NATIONWIDE XX-XXXXXXX SO1CE){3) 52,700 General Support
CHILDRENS HOSPITAL
FOUNDATION

700 CHILDRENS DR
COLUMBUS, OH 43205
{202} NATURAL HERITAGE XX-XXXXXXX 50160) (3) 250,000 General Support
TRUST

625 BROADWAY 2ND FLOOR
APRANY M¥ 17907

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(203) NCSO CHARITIES INC XX-XXXXXXX SOL{CH3} 5,000 General Support
77151 CITIZENS CIR
YULEE, FL 32097
(204) NEVADA DISCOVERY XX-XXXXXXX SO1(C}H{3) 15,000 Generai Support
MUSEUM

490 S CENTER ST
RENO, NV 89501

(205) NEW HEIGHTS OF XX-XXXXXXX 5G1{C}{(3} 10,000 General Support
NORTNEAST FLORIDA INC
3311 BEACH BLVD

JACKSONVILLE, Fl. 32207

(206) NEW HOPE EDUCATION XX-XXXXXXX SOL(CH{3) 30,000 General Support
AND ADDICTION SERVICES

INC

8825 PERIMETER PARK BLVD
STE 301

JACKSONVILLE, FL 32216

(207) NEW JERSEY CITY XX-XXXXXXX BOL(CH3} 8,000 General Support
UNIVERSITY FOUNDATION INC

2039 JOHN F KENNEDY BLVD
JERSEY CITY, NI 07305

(208) NEW JERSEY GOLF XX-XXXXXXX SO1(C}{(3) 35,900 Seneral Support
FOUNDATION INCORPORATED
811 RATTLESNAKE BRIDGE RD
BEDMINSTER, NJ 07921

(209) NEW JERSEY YMCA XX-XXXXXXX S5O4{C}(3) 8,000 General Support
STATE ALLIANCE INC
407 GREENWOOD AVE
TRENTON, NI 08609

{210} NEW JERSEY YOUTH XX-XXXXXXX 5O04(C}{(3)} 45,438 General Support
OEVELOPMENT FOUNDATION
1 GOLF DR THE LEARNING
CENTER

KENILWORTH, NJ_ 07033

(211) NICKLAUS CHILDRENS XX-XXXXXXX 501(C}3) 70,000 General Support
HEALTH CARE FOUNDATION
INC

11770 US HIGHWAY 1 STE 308
N PALM BEACH, FL_33408

(212) NIGHT TO SHINE XX-XXXXXXX 501(C}(3) 7,000 General Support
JACKSONVILLE INC
14286 BEACH BLVD STE 2
JACKSONVILLE, FL_ 32250
(213) NORTH FLORIDA JUNEOR| — XX-XXXXXXX 50L(C}{3) 79,770 General Support
GOLF FOUNDATION INC
PO 80x 49163

JAX BCH, FL 32240

(214) NORTH FLORIDA XX-XXXXXXX 504 (C3) 5,540 General Support
SCHOOL OF SPECIAL

EDUCATION

223 MILL CREEK RO
JACKSONVILLE, FL_ 32211

{215} NORTHEAST FLORIDA XX-XXXXXXX 501(C}(3} 25,000 General Support
REGIONAL STEM2 HUB INC
139 PONTE VEDRA BLYD
PONTE VEORA, FL 32082

(21.6) NORTHERN NEVADA XX-XXXXXXX 501(C)(3) 6,000 General Support
CHILDRENS CANCER
FOUNDATION INC

3550 BARRON WAY STE 9A
RENO, NV 89511

{217} NORTHERN NEVADA $8-0444732 S01(C)(3} 10,000 General Support
YOUTH GOLF FOUNDATION
3550 BARRON WAY STE 108
RENO, NV 89511

{218) NORTHERN OHIO GOLF XX-XXXXXXX 501(C)(3} 306,000 General Support
CHARITIES FOUNDATION INC
440 E WARNER RO
AKRON, OH 44319

(219) NORTHERN TEXAS PGA XX-XXXXXXX 501(C)(3} 55,000 General Support
FOUNDATION

15350 PRESTON RD STE 250
DALLAS, TX 75248

(220) OAKLAND AS XX-XXXXXXX 501(C)(3} 10,000 Generai Support
COMMUNITY FUND
7000 COLISEUM
OAKLAND, CA 94621
(221) OAKS CHARLOTTE XX-XXXXXXX 501(C)G} 36,000 Generat Support
338 5 SHARON AMITY RO NO
326

CHARLOTTE, NC 28214
(222) OHEQHEALTH XX-XXXXXXX 501(C)(3} 20,000 General Support
CORPORATION

180 EAST 8ROAD STREET
33RD FL

COLUMBUS,OH 43215
(223) OPERATION HEALING XX-XXXXXXX 501(C}(3} 7,000 General Support
FORCES INC
380 PARK PLACE BOULEVARD .
SUITE 17

CLEARWATER, Fl. 33759
(224) OPERATION NEW HOPE 59-3590 360 SOu(C}3) 10,000 Geanaral Support
1830 N MAIN ST
JACKSONVILLE, FL 32206
(225) OPERATION NEW XX-XXXXXXX $01(C}3) 15,000 General Support
UNIFORM INC

8825 PERIMETER PARK BLYD
STE 503

JACKSONVILLE, FL 32216
(226) OPERATION SHOWER 26-21244512 504(C}(3} 33,500 General Support
7382 PERSHING AVE APT 1E
SAINT LOUIS, MO 63130
{227} ORANGE PARK HIGH XX-XXXXXXX 1L5 7,500 General Support
SCHOOL

2300 KINGSLEY AVE
ORANGE PARK, FL_ 32073

(228) PALM VALLEY ACADEMY §2-4873549 50L(C}{3) 7,490 General Support

PTO
700 BOBCAT LN

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PONTE VEDRA, FL 32081
(229) PARTNERSHIP FOR XX-XXXXXXX SOL (C3) 125,000 General Support

CLEAN COMPETITION
RESEARCH COLLABO
ONE OLYMPIC PLAZA
COLORADO SPRINGS, CO
aog09

{230) PGA TOUR CHARITIES XX-XXXXXXX 501{C)(3) 4,425,295 General Support
INC

100 PGA TOUR BLVD
PONTE VEDRA, FL_ 32082

(2313 PGA TOUR EMPLOYEES XX-XXXXXXX SO1{C}H{3) 9,000 General Support
EMERGENCY RELIEF FUND INC
100 PGA TOUR BLVD

PONTE VEDRA, FL 32082

(232) PGA TOUR FIRST TEE §3-4196070 502(C){(3)} 20,000 General Support
FOUNDATION INC

425 SOUTH LEGACY TRAIL
ST AUGUSTINE, FL_32092

(233) PHOENIX CHILDRENS XX-XXXXXXX SOL(C)(3) 60,000 General Support
HOSPITAL

1919 E THOMAS RD
PHOENIX, AZ 85016
(234) PIEDMONT TRIAD XX-XXXXXXX S04(C}(3)} 180,000 General Support
CHARITABLE FOUNDATION

416 GALLIMORE DAIRY RD STE

M
GREENSSORO,NC 27409

(235) PINE CASTLE INC XX-XXXXXXX S501{C}{3) 25,000 General Support
4911 SPRING PARK ROD
JACKSONVILLE, FL 32207

(236) PLAYERS PHILANTHROPY XX-XXXXXXX SOUE}3) 50,000 16,000] FMV MISC General Support

FUND
1122 KENILWORTH OR STE

302
TOWSON, MD 21204

(237) PONTE VEDRA BEACH XX-XXXXXXX 5OR(C){3)} 27,670 General Support
ROTARY FOUNDATION INC

PO BOX 70

PONTE VEDRA, FL 32004

(238) PONTE VEDRA PUBLEC XX-XXXXXXX SOL{(C)(3) 40,000 General Support

EDUCATION FOUNDATION INC
100 PGA TOUR BLVD
PONTE VEDRA, FL 32082

{239} PONTE VEDRA-PALM XX-XXXXXXX S04{(C)(3) 43,380 General Support
VALLEY PARENT TEACHER
STUDENT ORG

630 ALAN

PONTE VEDRA, FL 32082

{240) PRO KIDS GOLF XX-XXXXXXX 5OU{C)3) 15,000 General Support
ACADEMY INC
4085 52ND ST
SAN DIEGO, CA 92105

{241} PROFESSIONAL XX-XXXXXXX S501{C)}(3) 50,000 General Support
CADDIES ASSISTANCE
FOUNDATION INC

100 PGA TOUR BLVD
PONTE VEDRA, FL 32082

(242) PROVIDENCE SCHOOLS XX-XXXXXXX S5OL{C}3) 6,840 General Support
OF JACKSONVILLE INC
2701 HODGES BLVD
JACKSONVILLE, Fi, 32224
(243) PUERTO RECO GOLF XX-XXXXXXX 10,000 General Support
ASSOCIATION

262 CALLE MATADERO
PUERTO NUEVO, PR 00920

(244) PUERTO RICO YOUTH AT] — XX-XXXXXXX SOLICH(Z) 3,850 General Support
RISK ING

112 CALLE ARZUAGA STE 1201
SAN JUAN, PR 00925

{245} PV SHARKS BOOSTER XX-XXXXXXX SO01{(C)(3} 45,115 General Support
CLUB INC

PO BOX 35198

PONTE VEDRA, FL 32004

(246) QUAD CITIES GOLF XX-XXXXXXX SOL (C3) 705,000 Ganeral Support
CLASSIC CHARITABLE
FOUNDATION

45623 COALTOWN RD
BAST MOLINE, IL 61244

(247) QUALITY EDUCATION XX-XXXXXXX 501(C}{3} 25,000 General Support
FOR KIDS INC
7? SYLVAN WAY
PARSIPPANY, NJ 07054

(248) REGIONAL FOOD BANK XX-XXXXXXX 504{C}(3} 107,500 General Support
OF NORTHEAST FLORIDA INC
2116 EGEWD AV N UNIT DE
JACKSONVILLE, FL 32254
(249} RENO-TAHGE OPEN XX-XXXXXXX 501(C}{3) 178,000 General Support
FOUNDATION

ONE EAST FIRST STREET 16TH
FLOOR

RENO, NY 89501

(750) RETHREADED INC 453036999 501 (C3) 10,000 General Support
$20 BARNETT ST
JACKSONVILLE, FL. 32209
(254) RICHMOND ANIMAL XX-XXXXXXX 5O01(C){3) 7,000 General Support
LEAGUE INC

11401 INTERNATIONAL DR
N CHESTERFLO, VA 23236
(252) RICHMOND FIRST TEE 54°1986298 S01 (C)(3) 7,000 General Support
9211 FOREST HILL AVE STE

1
RICHMOND, VA_ 23233

(253) RICHMOND FISHER XX-XXXXXXX S0L(C) (3) 90,032 General Support
ROUSE FOUNDATION

300 ARBORETUM PL STE 660
N CHESTERFLD, VA _ 23235
(254) RICKIE FOWLER XX-XXXXXXX SOL(C)(3) 15,000 General Support
FOUNDATION

170 WEST MAIN STREET

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PURCELLVILLE, VA 20132
(255} ROAD RUNNERS CLUS XX-XXXXXXX SD1{C}{3)} 25,000 General Support
OF AMERICA

PO BOX 24667
JACKSONVILLE, FL 3224

(256) RONALD MCDONALD XX-XXXXXXX 5O1{C){3} 53,740 General Support
HOUSE CHARITIES OF
JACKSONVILLE IN

824 CHILDRENS WAY
JACKSONVILLE, FL_ 32207

{257) ROTARY CLUB OF KONA XX-XXXXXXX 504{(C}(3) 62,500 General Support
COMMUNITY FOUNDATION

PO BOX 3750

KAILUA KONA, HI 96745

{258) SAINT ANDREWS 31-14998658 SO1(C}3} 7,188 General Support

LIGHTHOUSE INC
1797 BEACH BLVD
JAX BCH, FL_ 32250

(259) SALESMANSHIP CLUB XX-XXXXXXX 502(C}(3} 175,000 General Support
CHARITABLE GOLF OF DALLAS
INC

106 © TENTH ST 200

DALLAS, TX 75203

(260) SAN ANTONIO GOLF XX-XXXXXXX 504(C}(3} 10,000 General Support
ASSOCIATION INC

$15 — MULBERRY AVE
SAM ANTONIO, TX 78212

(261) SAN DIEGO COUNTY XX-XXXXXXX 501(C)(3) 10,000 General Support
JUNIOR GOLF ASSOCIATION
INC

3914 MURPHY CANYON RD STE
A170

SAN DIEGO, CA 92123

(262) SAN JORGE CHILDRENS XX-XXXXXXX SOMC)3} 8,850 General Support
FOUNDATION INC

PO BOX 6719

SAN WAN, PR OO914

(263) SAN JOSE CATHGLIC XX-XXXXXXX 501(C)(3) $160 General Support
SCHOOL

4460 KINCARDINE DR
JACKSONVILLE, FL 32257

(264) SCHWAB CHARITABLE XX-XXXXXXX 501(C}(3) 15,000 Generai Support
FUNG OBA CHAMP FAMILY
GIVING FUN

211 MALN STREET

SAN FRANCISCO, CA 94105

(265) SECOND BAPTIST XX-XXXXXXX 504(C)(3} 8,000 General Support
CHURCH OF RICHMOND:
9614 RIVER RD
RICHMOND, VA 23229

(266) SHANDS JACKSONVILLE XX-XXXXXXX 501(C}(3) 6,200 Generat Support
MEDICAL CENTER INC

655 W 8TH ST

JACKSONVILLE, FL_ 32209

(267) SHARK SHOOTOUT XX-XXXXXXX $04(C)(3} 475,000 General Support

CHARITIES INC

2041 VISTA PKWY FL 2
WEST PALM BCH, FL 33413
(268) SHERWOOD COUNTRY XX-XXXXXXX 501(C3(3} 25,000 Generat Support
CLUB CHARITABLE
FOUNDATLON INC

320 W STAFFORD RD
THOUSAND OAKS, CA 91361

(269) SHRINERS HOSPITALS XX-XXXXXXX 501(C)(3} 256,000 General Support
FOR CHILDREN

2900 N ROCKY POINT DR
TAMPA, FL 33607

(270) SIGMA PL PHI XX-XXXXXXX 501(C}{(3) 20,000 General Support
FRATERNITY SCHOLARSHIP &
DEVELOPMENT

12267 HAWKSTOWE LN
JACKSONVILLE, FL 32225

(271) SOCIEDAD DE XX-XXXXXXX 501(C}(3} 8,850 General Support
EDUCACION ¥
REHASILITACION SER DE PR
500 CALLE BAEZ UR® PEREZ
MORIS

SAN JUAN, PR 00917

(272) SOUTHERN TEXAS XX-XXXXXXX 501(C}{3) 15,000 General Support
PROFESSIONAL GOLFERS
ASSOCIATION FO

22305 GOSLING RD
SPRING, TX 77389
(273) SPECIAL OLYMPICS INC 52-088951¢ 504(C}{3) 25,000 General Support
1433 49TH STREET NW
WASHINGTON, DC 20036
(274) SPECIAL OLYMPICS XX-XXXXXXX 501(€}(3) 15,000 General Support
NORTHERN CALIFORNIA INC
3480 BUSKIRK AVE STE 340
PLEASANT HILL, CA 94523

(275) SPORTS MUSEUM OF NE XX-XXXXXXX 502(€}{3} 5,500 General Support
Inc

ONE HUNDRED LEGENDS WAY

NO 200
BOSTON, MA 02114

(276) ST AUGUSTINE SOCIETY] — XX-XXXXXXX 501(C}(3) 6,500 General Support
PO BOX 1775

ST AUGUSTINE, Fi 32085

(277) ST AUGUSTINE YOUTH XX-XXXXXXX 501(C}(3} 10,000 General Support

SERVICES INC

201 SIMONE WAY

ST AUGUSTINE, FL_ 32036
(278) ST JOHNS COUNTY XX-XXXXXXX 501(€3(3} 56,000 General Support
EDUCATION FOUNDATION INC
40 ORANGE ST

ST AUGUSTINE, Fi,_ 32084
(279) ST JUDE CHILDRENS XX-XXXXXXX 501(C3(3} 50,500 General Support
RESEARCH HOSPITAL INC
262 DANNY THOMAS Pl.

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MEMPHIS, FN 38105

(280) ST LOUIS CHILDRENS XX-XXXXXXX S01(C}(3) 40,900 General Support
HOSPITAL FOUNDATION

1001 HIGHLANDS PLAZA OR W
STE 160

SAINT LOUIS, MO_ 63110
(281) ST VINCENTS XX-XXXXXXX SO1(C}(3) 125,000 1,074] FMY MISC General Support
FOUNDATION INC .

4205 BELFORT RD STE 4020
JACKSONVILLE, FL_32216

(282) ST JOHNS COUNTY XX-XXXXXXX ais 152,720 General Support
SCHOOL DISTRICT

40 ORANGE ST

ST AUGUSTINE, FL 32084

(283) STEWART FAMILY XX-XXXXXXX S501(C)}(3) 100,000 General Suppart
FOUNDATION INC

1900 SUMMIT TOWER 8LVD
STE 260

ORLANDO, FL 32810

(284) TEACH FOR AMERICA XX-XXXXXXX BOMIC)3) 61,490 8,369] FM¥ MISC General Support
INC

25 BROADWAY 12TH FLOOR
NEW YORK, NY 10004

(285) TERRY PARKER HIGH XX-XXXXXXX 4i5 8,010 General Support
SCHOOL

7301 PARKER HIGH SCHOOL
JACKSGNVILLE, FL 32211

(286) TESORI FAMILY XX-XXXXXXX SO1(C)(3) 32,310 1,581] FMV MISC General Support

FOUNDATION INC
101 MARKETSIDE AVE STE 404

345
PONTE VEDRA, FL 32081

(287) THE ALBERTSONS XX-XXXXXXX S501(C}3} 775,000 General Support
COMPANIES FOUNDATION
5858 STONERIDGE MALL RD
PLEASANTON, CA 94588

(288) THE CONNECTICUT GOLF XX-XXXXXXX S04(C){3) 10,000 General Support
FOUNDATION ING
55 GOLF CLUB RD
CROMWELE, CT 06416
(289} THE DCNNA XX-XXXXXXX S50L(CH3} 22,650 General Support

FOUNDATION INC
11762 MARCO BEACH DR STE

6
JACKSONVILLE, FL 32224

(250) THE FIRST TEE GF XX-XXXXXXX S50MCH3) 10,060 General Support
PHOENIX

3837 E WIER AVE STE 7
PHOENIX, AZ 85040

(291) THE FLORIDA THEATRE XX-XXXXXXX 502(C)(3) 25,100 Genera! Support
PERFORMING ARTS

228 E FORSYTH STREET
JACKSONVILLE, FL_ 32202

(292) THE GIVING KITCHEN XX-XXXXXXX S04(C}(3} 16,000 General Support
INITIATIVE INC

513 EDGEWOOD AVE SE STE
100

ATLANTA, GA 30312

(293) THE HISTORIC ST $9-3169967 SDRC) 8,000 General Support
JOHNS COUNTY POLICE
ATHLETIC LEAGU

PO BOX 2240

ST AUGUSTINE, FL_32085
(294) THE JIM AND TABITHA XX-XXXXXXX SOL{CK3) 17,260 100,000] FMY MISC General Support
FURYK FOUNDATION INC

PO BOX 2867

PONTE VEDRA, FL_32004

(295) THE LPGA FOUNDATION XX-XXXXXXX 501(C)3) 25,000 General Support
100 INTERNATIONAL GOLF DR
DAYTONA BEACH, FL 32124

(296) THE NEMOURS XX-XXXXXXX 50L(C}3} 253,800 General Support
FOUNDATION

10140 CENTURION PRWY N
JACKSONVILLE, Fi 32256

(297) THE PAUL AND PHYLLIS XX-XXXXXXX 501(CK3) 300,000 General Support
FIREMAN CHARITABLE
FOUNDATION

800 SOUTH ST STE 616
WALTHAM, MA 02453
(298) THE QUELL FOUNDATION! XX-XXXXXXX BSOL(C}{3} 56,000 General Support
28 HIGHWOOD LN

EAST FALMOUTH, MA 02536

(299) THE RED SOX XX-XXXXXXX S501(C}(3} 56,000 General Support
FOUNDATION INC

4 JERSEY ST
BOSTON, MA 02215

(300) THE SANCTUARY OF THE} © XX-XXXXXXX 501 (C3) 27,000 General Support
NORTHEAST FLORIDA INC
120 E 8TH ST

JACKSONVILLE, FL_32206

(301) THE SAVANNAH XX-XXXXXXX 501(C)(3) 15,173 General Support
COMMUNITY FOUNDATION INC
2225 NORWOOD AVENUE
SUITE B

SAVANNAH, GA 31406

(302) THE SNEDEKER XX-XXXXXXX 5OLECH(3)
FOUNDATION

PO BCX 158187
NASHVILLE, TM 37215

(303) THE TOM COUGHLIN JAY XX-XXXXXXX SO1L(C)(3) 107,600 General Support
FUND FOUNDATION INC
PO BOX 50798
JACKSONVILLE, FL 32240
(364) THE UNIVERSITY OF 23-7167 701 SOL{C)(3} 168,600 General Support
NORTH FLORIDA FOUNDATION
INC

1 UNF DRIVE HICKS RALL NO
JACKSONVILLE, FL. 32224
(365) THE US CHARITABLE XX-XXXXXXX SOL(C)(3) 200,000 General Support

Pred Toner

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15,000 General Support

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Ir must
TWO INTERNATIONAL PLACE
BOSTON, MA_02110

{306} THE YOUNG MENS XX-XXXXXXX S504(C)(3) 37,400 General Support
CHRISTIAN ASSOCIATION OF
FLORIDAS F

40 E ADAMS SF STE 210
JACKSONVILLE, FL 32202

(307) THE YOUNG MEWS XX-XXXXXXX 5O1(C)(3)} $,850 General Support
CHRISTIAN ASSOCIATION OF
SAN JUAN

800 BLY SAGRADO CORAZON
ESQ LOS AN

SAN JUAN,PR 00909

(308) THE YOUNG MENS $6-0591307 5O1(C)(3} 30,000 General Support
CHRISTIAN ASSOCIATION OF
THE TRIANG

801 CORPORATE CENTER DR
STE 200

RALEIGH, NC_ 27607

(309) THUNDERBIRDS XX-XXXXXXX $01(C)(3) 180,000 General Support
CHARITIES

7226 N i6TH ST STE 100
PHOENIX, AZ 85020

(310) TIGER WOODS CHARITY O6-1554474 §01(C)(3) 1,689,000 General Support
EVENT CORP

121 INNOVATION DR STE 150
IRVINE, CA 92617

{311} TIGER WOODS XX-XXXXXXX 501(C)(3} 25,000 General Support
FOUNDATION INC
121 INNOVATION DOR STE 150
IRVINE, CA 92617

(312) TONY FINAU XX-XXXXXXX 501(C)(3) 20,000 16,000] FMV MISC General Support
FOUNDATION
PO BOX 103
LEHI, UT 84043

(313) TRANSLATIONAL XX-XXXXXXX SO1(C)(3} 60,000 General Support
GENOMICS RESEARCH
INSTITUTE

445 8 5TH ST STE 600
PHOENIX, AZ 85004

(324) TRIUMPH OVER KID XX-XXXXXXX SOA(C)(3} 30,000 General Support
CANCER FOUNDATION
723 COLEMAN AVE

CORP CHRISTI, TX 78401
(345) UNITED SERVICE XX-XXXXXXX 501(C)(3} 2,210 400,000; FMV MISC General Support
ORGANIZATIONS INC
2411 WILSON BLVD
ARLINGTON, VA _ 22201

(316) UNIVERSITY OF FLORIDA XX-XXXXXXX 501(C3(3} 8,000 General Support
FOUNDATION INC

PG BOX 14425
GAINESVILLE, FL 32604

(347) US ADAPTIVE GOLF XX-XXXXXXX S04(Ch(3} 10,000 General Support
ASSOCIATION

504 BURR RIDGE CLUB OR
BURR RIDGE, IL 60527

(348) VALERO ENERGY XX-XXXXXXX 504(C){(3} 180,000 General Support
FOUNDATION

PO BOX 696000

San ANTONIO, TX 78269

(329) VETERANS OF FOREIGN XX-XXXXXXX 145 BO, 771 General Support
WARS OF THE UNITED STATES
DEPT

98 OAK ST

JERSEY CITY, NJ 07304

(320) VIRGINIA XX-XXXXXXX $01(C)(3)} 19,000 Ganeral Support
COMMONWEALTH UNIVERSITY
SCHOOL OF BUSINES

PO BOX 844000

RICHMOND, VA 23284

(321) VIRGINIA VETERANS XX-XXXXXXX $04(C)(3} 90,031 General Support
SERVICES FOUNDATION

101 N 14TH STREET 47 FLOOR
RICHMOND, VA 23219

(322) VISION IS PRICELESS XX-XXXXXXX S01(C)(3) 7,500 General Support
COUNCIL INC

4615 PHILIPS HWY
JACKSONVILLE, FL_ 32207

(323) VOLUNTEERS IN XX-XXXXXXX 5O1(C)(3} 10,000 General Support
MEDICINE JACKSONVILLE INC
42 E DUVAL STF
JACKSONVILLE, FL 32202
(324) WALK-OFF CHARITIES XX-XXXXXXX SO1(CI(3} 25,000 General Support
OF JAX INC

12620-3 BEACH BLVD STE 325
JACKSONVILLE, FL 32246

(325) WARREN WASHINGTON XX-XXXXXXX SO1CC)(3} 10,000 General Support
COUNTY HOMELESS YOUTH
COALITION

PO BOX 3252

GLENS FALLS, NY 12801
(326) WEST VIRGINIA GOLF $5-0592904 $01(C)(3} 10,000 General Support
ASSOCIATION

2115 CHARLESTON TOWN CFR
CHARLESTON, WY 25389
(327) WESTERN GOLF XX-XXXXXXX SOLCC)(4) 15,920 General Support
ASSOCIATION

2501 PATRIOT BLVD
GLENVIEW, IL 60026
(328) WISH FOR OUR HEROES XX-XXXXXXX 502(C)(3) 10,000 General Support
INC

164 5 PARK BLVD
GREENWOOD, IN 46143
{329} WICT INC $9-0711482 501(C 3) 16,360 General Support
100 FESTIVAL PARK AVE
JACKSONVILLE, FL 32202

(330) WOLFE ASSOCIATES INC]. XX-XXXXXXX 501(C)(3) 15,500 General Support

34S THIRD ST STE 600
COLUMBUS, OW 43215

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(331) XANDER SCHAUFFELE XX-XXXXXXX $01(C3(3) 50,000 General Support
FOUNDATION

11625 WILLS CREEK RD
SAN DIEGO, CA 92131

(332) YOUNG BLACK XX-XXXXXXX 501(C}(3) 13,000 General Support
LEADERSHIP ALLIANCE
10130 MALLARD CREEK RD
STE 300

CHARLOTTE, NC 28262

(333) YOUNG LIFE XX-XXXXXXX 501(C}(3} 8,000 General Support
430 N CASCADE AVE
COLORADO SPGS, CO 80903

(334) YOUTH PROGRAMS INC XX-XXXXXXX 501(C)}{3)} 2,324,017 General Support
3325 CLUB AT SOUTHWIND
MEMPHIS, TN 38125

(335) WORLO GOLF §9-2998925 501(C)(3} 8,215,346 4,430,262 | FMY PSA General Support
FOUNDATION INC

1 WORLD GOLF PL

ST AUGUSTINE, FL_32092

(336) VARIOUS ACCRUALS 428,203 2,278) FMV MISC General Support
VARIOUS
LOCATIONS, FL_ 00000

2 Enter total number of section 501(¢}(3} and government organizations listed inthe line Ltable. 2 6 ee » 332

3 Entar total number of other organizations listed inthe line i table. 2 0. ee eet 1 4

For Paperwork Reduction Act Notice, sae the Instructions for Form 990. Cat. No. 50055P Schedule I (Form 990) 2019

Page 2

Schedule I (Form 990) 2019 Page 2

Part {fi Grants and Other Assistance to Domestic Individuals, Complete if the organization answered "Yes" on Form 990, Part IV, line 22,
Part UI can be duplicated if additional space is needed,

(a) Type of grant er assistance {b) Number of (c} Amount of {d) Amount of (@) Method of valuation (book, (f} Description of noncash assistance
rectplents cash grant nontash assistance FMY, appraisal, other)

fart iy Supplemental Information. Provide the information required in Part [, line 2; Part 11, column (b}; and any other additional information.

Earp he 1k

Schedule I, Part Lin 2 PGA FOUR, INC. ENSURES THAT ORGANIZATIONS RECEIVING GRANTS ARE EXEMPT ORGANIZATIONS OR AN ORGANIZATION WHOSE PURPOSE IS IN LINE WITH PGA
TOUR'S EXEMPT PURPOSE PRIOR TC DISTRIBUTING ANY GRANTS. GRANTS ARE NOT MONITORED AFTER ISSUANCE BECAUSE OF INITIAL DUE DILIGENCE.

Schedule [ (Form $90) 2019

Additional Data

Software ID:
Software Version:

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efile Public Visual Render } Objectid: 202023219349309777 - Submission: 2020-11-16 E TIN: XX-XXXXXXX]
Schedule J Compensation Information OMB No. 1545-0047
(Form 990)

for certain Officers, Directars, Trustees, Key Employees, and Highest
Compensated Employees
+ Complete if tha organization answered "Yes" on Form 9940, Part IV, line 23.
Attach to Form 990,
Bepatment ol the Traasury ® Go to ww. irs.gov/Form 990 for instructions and the fatast information.
Intemal Revenue Service
Name of the organization Employer identification number
PGA TOUR INC

XX-XXXXXXX

Questions Regarding Compensation

la Check the appropiate box(es) if the organization provided any of the following to or for a person fisted on Form
990, Part VII, Section A, line La. Complete Part I] to provide any relevant information regarding these items.
Housing allowance or residence for persona! use
Payments for business use of personal residence
Health or social club dues or inithation fees
Personal services (2.g., maid, chauffeur, chef)

First-class or charter travel

Travel for companions

Tax idemnification and gross-up payments
Diseretionary spending account

bD If any of the boxes on Line ta are checked, did the organization follow a written policy regarding payment or
reimbursement or provision of all of the expenses described above? If "No," complete Part II] to explain ib | ves

Zz Did the organization require substantiation prior te reimbursing or allowing expenses incurred by afl 2 Yes
directors, trustees, officars, including the CEG/Executive Director, regarding the iterns checked on Line la’,

3 Indicate which, if any, of the following the filing organization used to establish the compensation of the
organization's CEO/Executive Director, Check all that apply. Do not check any boxes for methods
used by a related organization to establish compensation of the CHO/Executlve Director, but @xplain in Part HL

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oO Written employment contract
Compensation survey or study
Approval by the board or compensation committee

Compensation committee
Independent compensation consultant
Form 990 of other organizations

4 During the year, did any person listed on Form 990, Part VII, Section A, line 1a, with respect to the filing organization or a
related organization:

a Receive a severance payment or change-of- control payment?. .. . soe Boe 4a | Yes
b Participate in, er receive payment from, @ supplemental nonquatified retirement alan?, Be db | Yes
c Participate in, or receive payment from, an equity-based compensation arrangement?. .  .. soe 4c No

If "Yes" to any of lines 4a-c, list the persons and provide the applicable amounts for each item in Part Wl.

Only 502(c){3), 501(c}(4), and 501{c)(29} organizations must complata lines 5-9.

5 For persons listed on Form 990, Part VII, Section A, line 1a, did the organization pay or accrue any
compensation cantingent on the revenues of:

The organization?, 66 ee Sa

b Any related organization?, . , .  . a 5b

Tf "Yes," on line 5a or Sb, describe in Part ne

6 For persons listed on Form 996, Part VII, Section A, line 1a, did the organization pay or accrue any
compensation contingent on the net earnings of:

a YTheerganization?, 2006 uw ek ba

b Any related organization?, . . soe oo to hoa poe roe 6b
If “ves," on line 6a or 6b, describe in Part IIT.

? For persons listed on Form 9990, Part VII, Section A, lina La, did the organization Provide any nonfixed
payments not described in tines 5 and 6? If "Yes," describe in Part I... ee 3

8 Were any amounts reported on Form 999, Part VI, pai¢ or accured pursuant to a contract that was
subject to the initial contract exception described in Regulations section 53,4958-4{a)(3)? If "Yas," describe
fa Park a a hos 8

3 If "Yes" on fine 8, did the organization also fallow the rebuttable presumption ‘Procedure @ described in Reauiations section
S3.4958-6(c}?, a . . 9

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Schedule J (Form 990) 2019

Page 2

Schedule 3 (Form 990) 2019

PGA TOUR INC - Full Filing- Nonprofit Explorer - ProPublica

Page 2

Officers, Directors, Trustees, Key Employees, and Highast Compensated Employees. Use dupificate copies if additional space is neeced.

For each individual whose compensation must be reported on Schedule J, report compensation from the organization on row (i} and from related organizations, described in tha

instructions, on row Gi}, Do not list any individuais that are not listed on Form 990, Part VII.

Note, Fhe sum of columns (B)(i}-[Hi) for each fisted individual must equal the total amount of Form 990, Part VIL. Section A, tine la, applicable column (D) and (E} amounts for that individual.
(A} Name and Title (3) Breakdown of W-2 and/or 1099-MISC compensation (C) Retirement and (D} Nontaxable {E) Total of cofurins (F} Compensation in
{i) Base {ii) Bonus & Incentive (iii) Other other deferred benefits (8)(i)-(D} column (B} reported
compensation compensation reportable compensation as deferred on prior
compensation Form 990
1Spleth Jordan i 0 1,850,775 o 286,543 o 2,137,318 Q
Player Director me Ce ee] Ree ene eee | ee] nae eee ene | eee ee eee eee
iy - - = - . =. ~
9 a o 0 o 0 Qa
2Streelman Kevin i 0 2,043,174 o 198,358 o 2,231,532 5
Player Director cee Coe eee | ee eee eee] eee | ee eee | ee ee ee ee eee
iy - - - - - "7 -
o Qa o a 0 a 0
Hoffman Chacles L @ o 1,484,503 Oo 1,662,071
Player Director / Treasurer see eee ee men nee ene eee eee ee ee ee] pe ee ee ee | eee ee
dy > - - - - -- “
6 g 0 9 Q 0
aiwagner M Johnson ti} o 522,181 o 137,568 0 659,749 Qo
Player Dleactor / Secretary nen ee eee LL ee ee eee wee | ee eee eee eee | eee eee weed ee | eee
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9 9 0 Q ° o g
SMonahan Joseph W w 1,262,092 4,052,028 4,175 6,442 20,650 $5,405,387 619,522
Commissioner ee see ee eee ee wenn sen ee ee ee | eee ee ee ee eee] ee ee ee fF ee ew | Re ee
iy - - - - - ~~ -
420,697 1,282,383 1,763,310 2447 6,883 3,475,420 204,881
Price Ronald £ ti} 390,129 1,170,099 39,861 49,655 15,423 1,665,167 343,314
Chief Operating Officer seen ee eee eee wee ee ee eee | ee | we ef nee eee - wee eee ee ee
(i - - . - - + -
390,129 1,170,099 2,394,415 49,055 15,423 4,019,721 343,314
JWade Thomas E w 515,062 935,438 51,233 a 11,550 1,817,253 Q
Chief Commerciat Officer wee Cee | ee ee ee ne ee | ee | pee ee ee fee ee ee eee wee
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129,766 233,859 1,296,058 929,589 2,592,160 a
SAnderson Richard D Ww 398,809 845,403 20,438 10,395 1,297,084 152,742
Chief Media Officer me nn] Cae eee eee ee - - -| - - awe eee ene
{it} > ™ - “ 7 “
99,702 325,907 $09,613 2,599 5,512 1,043,333 152,742
9Brawn Leonard ti) 323,193 589,994 39,882 11,873 22,985 987,927 182,765
EVP Licenses & Chief Legal Ofc meee Le eee | Pe ee eee ee | eee | nn] eee ne een nee | eee ee eee eee
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57,034 132,786 934,991 2,095 4,056 LA29,962 60,922
1DKeller Allison W ti) 398,473 938,953 12,417 0 21,753 4,271,296 208,185
Chlef Administrative Officer EP ef Cee ee | ee eee Bo fl nee eee | eee ee ee nee] ee eee ee | Hee Hee eeeee
CEI} : . - ™ * 7 -
99,543 209,738 412,676 ° 5.438 727,395 52,046
AiPazder James A {i) 357,436 873,348 19,027 0 24,327 1,304,638 256,709
Chief Tourn & Competition Ofc we eee ee | Lee | ee eee eee mene mews eee eee | eee eee ee] ee wwe | Re eee eee eee
aiy - “ - . , ~- -
43,048 97,038 $18,230 o 2,759 661,075 28,524
12zSharkey Keanath ) «) 294,056 589,303 7,611 24,083 Uz 904,370 °
Eve & Chief Financial Officer = Fw eae le wee enn ef eee ee | ee eee eee eee wee eee
(ii) 7 - * - - -- -
284,056 569,303 7,611 21,088 904,370 6
a3votaw Ty M &) 364,792 687,895 26,663 33,162 1,130,976 231,656
EVP INTERNATIONAL nee cree eee Lee | eee ee eee eee af wee eee | fee eee eee -
(ii) - - - . . -- -
94,198 268,498 179,998 8,250 4,616 552,598 154,436
t4Brady Jack M @ 245,218 232,184 2,596 0 27,120 507,118 o
President Champions Tour EB we ee eee eee CL le we | ee eee ne | ee ee | eee eee eee ween | eee ee eee ee
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£5Baldwin Alexandra C @ 268,544 234,170 8,965 24,972 4,528 541,079 o
President Korn Ferry Four eee eee eee wee ee ee ee) ee ee eee we ee eee wane eee eee -
(i) * - - “ - wu -

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A6Cliver Brian M ; 370,287 0,692 20,237 14 0,526
EVP Corporate Partnership LIT eee] ee PhO ee ee eae | awe ne ml eee cee eed wee 13326 --- | ---- 182,676 wane
tii - - . - - “+ -
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A7Lighteap Jeanne F Ww 273,685 469,168 16,931 o 19,467 779,251 127,243
EVP Finance eee eee LL ee | ee ee ee eee | ee ee ee ee ee | ee oe | oe
ti - - - ~ - wu “
94,228 156,389 5,644 Q 6,489 259,750 42,414
1BPascal Thierry (i 54,773 31,984 101,334 4,147 836 203,074 0
SVP international Media eee eee ee Ce | en | Ree ee ee ee een | ee ee | oe
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259,092 127,934 405,336 16,586 3,342 812,290 6
a9Monday Jeff ti} 221,974 152,371 583,059 358,204 24,230 1,340,637 o
President Mackenzie Tour ene el i | ee eee ee eee | ee ewe | eee eee ee ed ee Po
Cit} * “ - ~ - -
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FMR Chairman, Presidents Cup fe eee | ee ee ee ee | ee ee ee ee ee ee ee ee | ef Be eee eee fee ee eee
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Schedule 3 (Form 990) 2019

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Schedula J (Form 990} 2015

Supplemental Information

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information, explanation, or descriptions required for Part 1, lines la, 1b, 3. 4a, 4b, 4c, Sa, 5b, 6a, 6b, 7, and &, and for Part EL Also complete this part for any additional information.

iayHarcation

SCHEDULE ] PART I LINE 14

In limited cases, listed TOUR employees may utilize charter or first-class travel for business based upon security concerns, privacy concerns, timing concerns, and
length of trip, In limited situations, chartered travel referenced above is available for campanions, In conjunction with events that provide non-cash benefits, tax
gross up payments are provided to make person whole, All listed employees were provided access to health or secial facilities and any personal use is reported as

sections.

taxable income to the employee. Above listed fringe benefits have heen included in taxable income of recipient in accordance with applicable internal revenue code

SCHEDULE ] PART I LINE 4B

ORGANIZATION AND NOT PGA TOUR, INC, During employment, actuarial changes are reported by participant as other wages in part 2 column bili of Schedule J,
When distributions are made, the reportable amount is the excess of the total payment received less actuarial amounts previously reported. The payments made
out of the plan totalad $7,352,926 in 2019, The plan participants were Richard D, Anderson, Joseph W. Monahan, Ronald &. Price, Ty M. Yotaw, Thomas E. Wade,
Ailison W. Keller, James A. Pazder, and Leonard Brown.

Certain executives participate in a supplemental nonqualified retirement plan. THE SUPPLEMENTAL NONQUALIFIED RETIREMENT PLAN IS A PLAN OF THE RELATED

SCHEDULE ] PART I LINE 44

THE PGA TOUR, INC. OR A RELATED ORGANIZATION MADE SEVERANCE PAYMENTS IN CALENDAR YEAR 2019 FO THE FOLLOWING INDIVIDUALS: JEFFREY R.
MONDAY 570,000

Schedule J (Form 990) 2019

Additional Data

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Schedule |. Transactions with Interested Persons —— ee

(Form 990 or 990-EZ) Complete if the organization answered "Yes" on Form 990, Part IV, lines 25a, 25b, 26,

Dapartment of the Treasury
Internal Revenue Service

27, 28a, 28b, or 28c, or Form 990-EZ, Part V, line 38a or 40b.
» Attach to Form 990 or Form 990-EZ.
Go to www.irs.gov/Form990 for instructions and the latest information.

Name of the organization
PGA TOUR INC

XX-XXXXXXX

Excess Benefit Transactions (section 501(c}(3), section 501(c}(4), and section 501(c){29) organizations only}.
Complete if the organization answered "Yes" on Form 990, Part IV, line 25a or 25b, or Form 990-EZ, Part V, line 40b.

1

(a} Name of disqualified person (b) Relationship between disqualified person and (c) Description of {d) Corrected?

organization transaction Yes No

2 Enter the amount of
4958...

3 Enter the amount of tax, if any, on line 2, above, reimbursed by the organization woe ee ee lO SS

tax incurred by the organization managers or disqualified persons during the year under section
woe eee le Om

rannrkar ari

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Loans to and/or From Interested Persons.
Complete if the organization answered "Yes" on Form 990-EZ, Part V, line 38a, or Form 990, Part IV, line 26; or if the organization

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(a) Name of | (b) Relationship [{c) Purpose] {d) Loan to or from the [(e) Origina}| (f} Balance {g) In (h} Ci} Written
interested personfwith organization| of loan organization? principal due default? | Approved by agreement?
amount board or
committee?
To From Yes |No| Yes | No | Yes No
Co ys i
Grants or Assistance Benefiting Interested Persons,
Complete if the organization answered "Yes" on Form 990, Part IV, line 27.

(b) Relationship between (d} Type of assistance
interested person and the

organization

(a) Name of interested person (c) Amount of assistance

(e) Purpose of assistance

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Schedute L (Form 990 or 990-EZ} 2019

Page 2

Schedule L (Form 990 or $90-EZ} 2019

Page 2

Business Transactions Involving Interested Persons.
Complete if the organization answered "Yes" on Form 990, Part IV, line 28a, 28b, or 28c.

(a) Name of interested person (b} Relationship (c) Amount of {d) Description of transaction (2) Sharing
between interested transaction of
person and the organization's
organization revenues?
Yes No
(1) STEPHENIE FINCHEM FAMILY MEMBER OF 68,852 [EMPLOYMENT No
TIMOTHY W. FINCHEM
FORMER OFFICER
(2) WHITNEY CALFEE FAMILY MEMBER OF 37,292 JEMPLOYMENT No
WORTH W. CALFEE
FORMER KEY EMPLOYEE
(3) ERIC BALDWIN FAMILY MEMBER OF 220,067 [EMPLOYMENT No
ALEXANDRA BALDWIN
KEY EMPLOYEE
(4) WILLIAM WHALEY FAMILY MEMBER OF 333,496 [EMPLOYMENT No
SUZY WHALEY
DIRECTOR

‘yo Supplemental Information

Provide additional information for responses ta questions on Schedule L (see instructions).

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Schedule L (Form 990 or $90-E2Z) 2019

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SCHEDULE O Supplemental Information to Form 990 or 990-EZ

(Form 990 or 990-EZ) Complete to provide information for responses to specific questions on
Farm 960 nr 990-F7 or ta nravide anv additional information.

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Cepartment of the Treasury
Internal Revenue Service

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ee ee Attach to Form 990 or 990-EZ.
® Go to www.irs,gov/Formg90 for the latest information.

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Name of the organization Employer identification nurmber
PGA TOUR INC
XX-XXXXXXX

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Explanation

FORM 990, | EDWARD D. HERLIHY, M. JOHNSON WAGNER, CHARLES L. HOFFMAN, JAY Wi MONAHAN, RONALD E. PRICE, SUZY

PART VI, WHALEY - BUSINESS RELATIONSHIP

LINE 2

FORM 990, {EDWARD D. HERLIHY, M. JOHNSON WAGNER, CHARLES L. HOFFMAN, JAY W. MONAHAN, RONALD E. PRICE, SUZY

PART Vi, WHALEY, LEONARD D. BROWN JR., KENNETH J. SHARKEY, ALLISON W. KELLER - BUSINESS RELATIONSHIP

LINE 2

FORM 990, | JAY W. MONAHAN, RONALD E. PRICE, LEONARD DB, BROWN JR., KENNETEK J. SHARKEY, ALLISON W. KELLER - BUSINESS

PART VI, RELATIONSHIP

LINE 2

FORM 990, | EDWARD D. HERLIHY, JAY WV. MONAHAN, RONALD E. PRICE, THOMAS E. WADE, LEONARD D. BROWN JR., RICHARD D.

PART VI, ANDERSON, ANDREW J. PAZDER, KENNETH J. SHARKEY, ALLISON W. KELLER, JAMES C. TRIOLA BUSINESS

LINE 2 RELATIONSHIP

FORM 990, |RONALDE, PRICE, THOMAS E. WADE - BUSINESS RELATIONSHIP

PART VI, :

LINE 2

FORM 880, |PGATOUR, INC. IS ANOT-FOR-PROFIT CORPORATION ORGANIZATION FORMED UNDER IRC SECTION 504(C)}(6) WHICH

PART VI, HAS ONE CLASS OF MEMBERS - PROFESSIONAL GOLFERS. THE MEMBERS HAVE THE RIGHT TO ELECT PLAYER

LINE 6 DIRECTORS WHO SIT ON THE BOARD OF DIRECTORS OF THE ORGANIZATION. CURRENTLY, FOUR MEMBERS SIT ON
THE BOARD OF DIRECTORS AS ELECTED BY FHE MAJORITY OF THE ORGANIZATION’S MEMBERS. ONLY FHE ELECTED
MEMBER DIRECTORS HAVE THE RIGHT TO VOTE IN DECISIONS OF THE GOVERNING BODY.

FORM 990, | THE MEMBERS DESGRIBED IN QUESTION 6 OF FORM 990, PART VI HAVE THE RIGHT TO ELECT PLAYER DIRECTORS

PART VI, WHO SIT ON THE BOARD OF DIRECTORS OF THE ORGANIZATION, CURRENTLY, FOUR MEMBERS SIT ON THE BOARD

LINE 7A OF DIRECTORS AS ELECTED BY THE MAJORITY OF THE ORGANIZATION MEMBERS. ONLY THE ELECTED MEMBER
DIRECTORS HAVE THE RIGHT TO VOTE IN DECISIONS OF THE GOVERNING BODY. THE EARNINGS OF THE PLAYER
DIRECTORS FROM PARTICIPATION IN VARIOUS GOLF TOURNAMENTS HAVE BEEN REPORTED AS COMPENSATION ON
PART VIAAND SCHEDULE JAS DIRECTOR COMPENSATION AS DIRECTED IN THE IRS FORM 990 INTRUCTIONS.

FORM 990, | PGATOUR, INC.'S FORM 990 WAS REVIEWED BY AN OUTSIDE SERVICE PROVIDER AND PGA TOUR, INC'S CHIEF

PART VI, FINANCIAL OFFICER. ADDITIONALLY, AN ELECTRONIC COPY OF FORM 990 WAS PROVIDED TO ALL BOARD MEMBERS

LINE 171A PRIOR TO THE FILING OF THE FORM WITH THE INTERNAL REVENUE SERVICE.

FORM 990, | PGA TOUR, INC, MAINTAINS A CONELICT OF INTEREST POLICY FOR EMPLOYEES AND A SEPERATE CONFLICT OF

PART VI, INTEREST POLICY FOR THE MEMBERS OF THE BOARD OF DIRECTORS. EACH EMPLOYEE AND MEMBER OF THE

LINE 12.4, B, | BOARD IS ANNUALLY REQUIRED TO PROVIDE THE COMPANY A STATEMENT CONFIRMING THEY RECEIVED A COPY OF

Cc THE POLICY, READ THE POLICY, AND AGREED TO COMPLY WITH THE POLICY. EACH EMPLOYEE AND DIRECTOR ARE
REQUIRED ANNUALLY TO DISCLOSE ANY RELATIONSHIP, TRANSACTION, OR POSITION THEY HOLD THAT COULD GIVE
RISE TO A CONFLICT AND TO NOTIFY THE ORGANIZATION IF SUCH A RELATIONSHIP EXISTS AT ANY TIME DURING THE
YEAR.

FORM 990, | THE COMPENSATION COMMITTEE ("THE COMMITTEE") OF THE PGA TOUR, INC. (THE FOUR") IS COMPRISED OF

PART VE, UNCOMPENSATED INDEPENDENT MEMBERS OF THE PGA TOUR POLICY BOARD, THE COMMITTEE IS RESPONSIBLE

LINE 154 FOR REVIEWING AND APPROVING FHE COMPENSATION PROGRAM FOR THE CEO, SENIOR MANAGEMENT, AND KEY

AND 45B EMPLOYEES OF THE TOUR AND ITS SUBSIDIARIES. THE MEMBERS OF THE COMMITTEE ARE UNRELATED TO AND NOT
SUBJECT TO CONTROL BY MEMBERS OF SENIOR MANAGEMENT OF THE TOUR. THE COMMITTEE ESTABLISHES
SALARY LEVELS, REVIEWS PERFORMANCE OF SENIOR MANAGEMENT, APPROVES INCENTIVE PAYMENTS, AND
ESTABLISHES MANAGEMENT BENEFITS AND PREREQUISITES. THE COMMITTEE BELIEVES THE ATTRACTION,
RETENTION, MOTIVATION, AND REWARD OF EXECUTIVE AND KEY EMPLOYEES IS VITAL TO THE FUTURE OF THE TOUR
AND CREATION OF MAXIMUM MEMBER VALUE. AS PART OF CARRYING OUT ITS RESPONSIBILITIES, THE COMMITTEE
UTILIZES THE SERVICES OF A NATIONAL COMPENSATION CONSULTING FIRM ANNUALLY TO OBTAIN COMPENSATION
LEVELS PAID BY SIMILARLY SITUATED ORGANIZATIONS, BOTH TAXABLE AND TAX-EXEMPT, FOR FUNCTIONALLY
COMPARABLE POSITIONS. PERFORMANCE EVALUATIONS ARE UTILIZED IN THE DETERMINATION OF THE
COMPENSATION LEVELS OF INDIVIDUAL MEMBERS OF SENIOR MANAGEMENT.

FORM 990, | THE ORGANIZATION MAKES ITS FORM 990 AVAILABLE TO THE PUBLIC UPON REQUEST. ITS GOVERNING DOCUMENTS

PART VI, AND FINANCIAL STATEMENTS ARE NOT MADE AVAILABLE TO THE GENERAL PUBLIC.

LINE 19

FORM $90, | THE AMOUNT OF FEDERAL INCOME TAX ON UNRELATED BUSINESS INCOME INCLUDED ON LINE 24e IS $851,725.

PART IX,

LINE 24E

FORM 990, [| RECONCILIATION OF NET ASSETS - OTHER CHANGES IN FUND BALANCE INCREASE (DECREASE) FUNDS RESERVED

PART XI, FOR DESIGNATED PURPOSES (5,362,357) PENSION AND POST RETIREMENT RELATED CHANGES (10,172,790)

LINE 9 INTERCOMPANY ADJUSTMENT 3,415,557 TOTAL OTHER CHANGES IN FUND BALANCE (12,119,590)

FORM 986 DESCRIPTION: PLAYER PRIZE AND OTHER BENEFIT TOTAL FEES:XXX-XX-XXXKX

PART IX

LINE 14G

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FORM 98 VDESURIP HONSFLAYER KE TKEMENT PUIAL FERS b8uyyy6S
PART IX
LINE 11G

FORM 990 DESCRIPTION: CONTRACTOR FEES TOTAL FEES:24111559
PART IX
LINE 116

FORM 990 DESCRIPTION:OTHER FEES - TOURNAMENT SVC TOTAL FEES:6089563
PART IX
LINE 11G

FORM 880 DESCRIPTION: TOURNAMENT STAFF TOTAL FEES:2438801
PART IX
LINE 14G

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. . . OM No. 1545-0047
SCHEDULE R Related Organizations and Unrelated Partnerships
(Form 990) & Complete if the organization answered "Yes" on Farm 990, Part IV, line 33, 34, 35b, 36, or 37. 20% 9
& Attach to Form 999, . | .
Departmant ef the Treasury ® Go to www.irs.gov/Form990 for instructions and the latest information. * tie:

Siternal Revenue Servite

Name of the organization Employer identification number
PGA TOUR INC

XX-XXXXXXX

Identification of Disregarded Entities. Complete if the organization answered "Yes" on Form 990, Part IV, fine 33.

(ah (5) {¢) (d} (a) (fy
Name, address, and E1N (if applicable} of disregarded entity Primary activity Legal domicile {state Total income End-of-year assets Bireck conkraling
or foreign country} entity

2

(2) FEDERATION EVENT MANAGEMENT LLC EVENT MGMT Fl 9 PGA TOUR ING
100 PGA TOUR BOULEVARD
PONTE VERA BEACH, FL 32082
5S-0856404

(2) EVENT MANAGEMENT INTERNATIONAL LLC EVENT MGMT Fl, 707,024 265,394 [PGA TOUR INC
100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
XX-XXXXXXX

(3) TPC LIGENSE COMPANY ELC LICENSING FL 4,942,710 8,703,402 [PGA TOUR ING
100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
204042405

(4] PGA TOUR INTERNATIONAL LLC AQMIN SUPPORT FL 1,648,057 4,199,292 [PGA TOUR INC
100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
Ve-1 162142

{5) THE PRESIDENTS CUP LEC INACTIVE FE °
100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
XX-XXXXXXX

(8) PGA TOUR LATINOAMERICA LLC EVENT MGMT FL 2,349
100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
AS-4567499

(7) EVENT MGMT INTL SO KOREA LTO CO EVENT MGMT KS 1,253 1,105,178 [PGA TOUR INC
Ci THE CENTER 12 SOWOL-RO 2-GIL

JUNGGU SEOUL

KS XX-XXXXXXX
(3) INTERNATIONAL GOLF EVENT MANAGEMENT PTY EVENT MGMT AS 19,162,224 13,546,109 {PGA TOUR INC
PWC 1? ONE INTERNATIONAL TOWERS W
BARANGAROO, NSW 2000

as XX-XXXXXXX
(8} PGA TOUR International Malaysia Sdn Bhd EVENT MGMT My 3,840 1,329,453 [PGa TOUR INC
SUITE 13401 LEVEL 13A WISMA GOLD

KUALA LUMPUR 50200

Mt XX-XXXXXXX

Identification of Related Tax-Exempt Organizations. Complete if the organization answered “Yes” on Form $90, Part IV, line 34 because it had one or more
related tax-exempt organizations during the tax year.

o

PGA TOUR INC

ce

PGA TOUR INC

fa} ib) (ey (4) (e) if) (a)
Name, address, and EIN of related organization Priptary activity Legal damicile (state Exempt Cada section Public charity status Direct controlling Section 5L2{b)
or foreign country) CIF section 501()(3)) entity {13} controlled
entity?
Yas No
{1)PGA TOUR CHARITABLE & EDUCATIONAL FUND CHARITY Me SOL(c}¢3) LN 12 TYP I PGA TOUR INC Yes
100 PGA TOUR BOULEVARD

PONTE VEDRA GEACH, PL 32082
$2-1070271

(2)PGA TOUR CHARITIES INC CHARITY FL S01{c}(3) EN 7 PGA TOUR INC Yes.
100 PGA TOUR BOULEVARD

PONTE VEDRA BEACH, FL 32682
S9-27746423

(3)PGA TOUR EMPLOYEES EMERGENCY RELIEF FUND CHARITY FL BO1(c}{3) EN? PGA TOUR INC Yes.
100 PGA TOUR BOULEVARD

PONTE VEORA BEACH, FL 32082
20-3580 494

(4)PRO CADDIES ASSISTANCE FOUNDATION INC CHARITY FL SOL{(c)(3) LN? PGA TOUR INC Yes
1G0 PGA TOUR BOULEVARD

PONTE VEDRA BEACH, FL 32082
59-326646S

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Cat, No, 50435

Schedule R (Form 990} 2019

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Schedule R {Form 990) 2019 Page 2
Part LX Identification of Related Organizations Taxabie as a Partnership. Complete if the organization answered “Yes" on Form 990, Part Ty, line 34, because it had
ane or more related organizations treated as a partnership during the tax year.
fa) {b) ic} td} fe) (f) {9) {h) (i) G) tk)
Name, address, and EIN of Primary activity | Legak Direct Predominant Share of Share of |Disproprtionate] Code V-UBI |General orf Percentage
retated organization domicite} canteolling ineome(related, jtotal incomejand-of-year| aHocatians? amountin |} managing ownarship
{state entity unrelated, assets box 20 of partner?
or excluded from tax Schedule K-1
foreign under sections (Porre 4065)
country) 542-514)
Yas No ¥es | No
(2} TPC OF BOSTON AT GREATWOODS iLC GOLF GPERATIC DE {TPC OF MASS. Q 0 No 6 62.450 %
100 PGA TOUR BOULEVARD
PONTE VEORA BEACH, Fl, 32082
XX-XXXXXXX
(2) TPE OF ILLINOIS LLC GOLF GPERATIG DE TPC OF o Q No a 80.500 %
TLEINOIS
100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
XX-XXXXXXX
(3} ACADEMY ASSETS LLC PROMOTION OF FL OITPC GOLF a a No a 50,009 Ya
SCHOOL
1960 STONEGATE OR
BIRMINGHAM, AL 35242
§3-1277599
(4} SUGARLOAF PARKING LOT ELC RENTAL GA [TPC AT o 8 No o 50.000 %
SUGARLOA
100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
XX-XXXXXXX
(5) EZLINKS GOLF ROLOINGS LLE GOLF RESERVAT DE |PGa TOUR GCP a a No a O%
401 5 LA SALLE STREET
CHICAGO, IL 60605
XX-XXXXXXX
Identification of Related Organizations Taxable as a Corporation or Trust. Complete if the organization answered “Yes” on Form 990, Part f¥, tine 34
because it had one or more related organizations treated as a corporation or trust during the tex year.
fa) (b} (ey id} {@) (hy {g) th) {I}
Name, address, and EIN of Primary activity Legal Dirace conwolling | Type of entity |Share of total Income} Share of end-of-year Parcentage Section 512{b}
related erganization domicile entity qc corp, $ assets ownership (13) contralled
(state or foreign corp, entity?
country} or trast} Yas No
€1)PGA TOUR HOLDINGS INC AND SUBSIDIARIES HOLDING COMPA FL PGA TOUR INC IC CORP -58,598,101 361,194,448 100.000 % | Yes
100 PGA FOUR SOULEVARD
PONTE VEDRA BEACH, FL 32082
$9-3159885
(2)PGA TOUR GOLF COURSE PROPERTIES INC ISOLF OPERATIO FL PGA TOUR HOLBIN [Cc CORP 100,000 % yes
100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, Fi 32082
$9-2009346
{3)PGA TOUR PUBLIC GOLF INC ISOLF OPERATIO FL PGA TOUR GOLFC |c CORP 100,000 % | Yes
100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FE 32082
§9-2951523
(4yTPC GOLF SCKOOLS INC GOLF OPERATIO FL PGA TOUR GOLF |C CORP 100.000 45 Yes
100 8GA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
XX-XXXXXXX
(5)PGA TOUR INVESTMENTS FINANCE INC FINANCING FL PGA TOUR GOLF C |C CORP 100.000 4 | Yes
100 ®GA FOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
XX-XXXXXXX
{8)PGA TOUR MEDIA CENTER INC MEDIA OPERATI FL PGA TOUR GOLF C jc CORP 100,000 % | Yes
100 PGA TOUR BOULEVARD
FONTE VEDRA BEACH, FL 32082
XX-XXXXXXX
(7)PARK INVESTMENTS INC EMACTIVE FL PGA TOUR GOLF C $C CORP O% yes
400 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
59-J05307 1
(8)PGA TOUR CONSTRUCTION SERVICES INC CONSTRUCTION FL PGA TOUR GOLF C fC CORP 100,000 Yo Yes.
109 PGA TOUR BOULEVARD
PONTE VEBRA BEACH, FL 32082
XX-XXXXXXX
(9)PGA TOUR DESIGN SERVICES INC DESIGN SERVIC FL PGA TOUR CONSTR it CORP 100.000 4 7 Yas
100 PGA TOUR BOULEVARD
PONTE VEGRA BEACH, FL 32082
XX-XXXXXXX
(LO}TOURNAMENT PLAYERS CLUB AT SAWGRASS INC GOLF OPERATIC FL PGA TOUR INVEST JC CORP 100.000 % 4 Yes
100 PGA TOUR BOULEVARD
PONTE VEORA BEACH, FL 32082
XX-XXXXXXX
(AL)JTOURNAMENT PLAYERS CLUB AT EAGLE TRACE 1 GOLF OPERATIC. FL PGA TOUR GOLF C |C CORP 100.000 % | Yes
100 PGA TOUR BOULEVARD
PONTE VEORA BEACH, FL 32082
XX-XXXXXXX
(12) TOURNAMENT PLAYERS CLUB OF CONNECTICUT I GOLF OPERATIC: eT PGA TOUR INVEST [C CORP 100.000 % | Yes
41/45
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12/11/22, 4.56 PM PGA TOUR INC - Full Filing- Nonprofit Explorer - ProPubtica

100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
O5-1104329

(13) TOURNAMENT PLAYERS CLUB AT PRESTANCIA IN GOLF OPERATIC FL. PGA TOUR GOLF C |C CORP £00,000 9 Yes

100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
§9-2457513

(14) TOURNAMENT PLAYERS CLUB AT AVENEL INC GOLF OPERATIO MD PGA TOUR INVEST |C CORP 100.000 % Yes

100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
§2-1304289

(A5 TOURNAMENT PLAYERS CLUB OF TUCSON INC INACTIVE AZ PGA TOUR GOLFC |c CORP O% Yes

100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
XX-XXXXXXX

(16 YfOURNAMENT PLAYERS CLUB OF SCOTTSDALE IN GOLF OPERATIO AZ PGA TOUR GOLF C |C CORP 100.000 4% ves

406 PGA TOUR BOULEVARD
PONTE VEORA BEACH, FL 32082
XX-XXXXXXX

(LF }TOURNAMENT PLAYERS CLUB AT SOUTHWIND INC ISOLF OPERATIO TN PGA TOUR GOLF C |G CORP 100.000 % Yas

100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
XX-XXXXXXX

(18 }TOURNAMENT PLAYERS CLUB AT PIPER GLEN IN GOLF GPERATIO nc PGA TOUR GOLF C |c CORP £00,000 4% Yes

100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
XX-XXXXXXX

(AS TOURNAMENT PLAYERS CLUB OF MICHIGAN INC GOLF OPERATIO FL PGA TOUR GOLF C |C CORP 100.000 4% yes

$00 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
XX-XXXXXXX

(20) TOURNAMENT PLAYERS CLUB AT CHEVAL INC INACTIVE FL PGA TOUR GOLF CE [C CORP 100.000 4% Yes

100 PGA TOUR BOULEVARD
PONTE VEORA BEACH, FL 32082
XX-XXXXXXX

(21) TOURNAMENT PLAYERS CLUS AT SUMMERLIN INC GOLF OPERATIO NYE PGA TOUR GOLF C fC CORP 100,000 Yes

100 PGA TOUR BOULEVARD
PONTE VEORA BEACH, PL 32082
$9-2956533

(22) TOURNAMENT PLAYERS CLUB OF LOUISIANA INC GOLF OPERATIO LA PGA TOUR GOLFC jc core 100.000 % Yas

100 PGA TOUR BOULEVARD
PONTE VEORA BEACH, FL 32082
XX-XXXXXXX

(23)TOURNAMENT SLAYERS CLUB OF MASSACHUSETTS GOLF OPERATIO MA PGA TOUR GOLF C jC CORP 100.000 % ‘yes

100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, Ft 32082
O4-3474477

{24) TOURNAMENT PLAYERS CLUB OF CINCINNATI IN GOLF OPERATIO OH PGA TOUR GOLF C |C CORP £09.000 % Yas

100 PGA TOUR BOULEVARD
PONTE VEORA BEACH, FL 32082
3171648529

{25)TOURNAMENT PLAYERS CLUB OF MCKINNEY INC GOLF OPERATIC FL PGA TOUR GOLF C /C CORP 100.000 % Yas

100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32052
XX-XXXXXXX

(26)TOURNAMENT PLAYERS CLUB OF PRINCETON ING GOLF OPERATIO No PGA TOUR GOLF O/C CORP 100.000 % Yas

100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
XX-XXXXXXX

(27 } TOURNAMENT PLAYERS CLUB AT HERON BAY INC INACTIVE FL FGA TOUR GOLF C /C CORP 100,000 Yo Yes

100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
§9-3143532

(28) TOURNAMENT PLAYERS CLUB AT SUGARLOAF INC GOLF OPERATIO GA PGA TOUR GOLF C JC CORP 100.000 % yes

100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
XX-XXXXXXX

(29) TOURNAMENT PLAYERS CLUB OF SOUTH CAROLIN INACTIVE sc PGA TOUR GOLF C JC CORP 100.000 % Yes

100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
59-d401600

(30) TOURNAMENT PLAYERS CLUB GF ILLINOIS INC GOLF OPERATIO Th PGA TOUR GOLF C |C CORP 100.000 4 Yes

100 #GA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
5§-2323689

(31) TOURNAMENT PLAYERS CLUB GF VIRGINIA INC INACTIVE VA PSA TOUR GOtFC |C CORP 100.000 % Yes

190 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
§9-3466225

(32)TOURNAMENT PLAYERS CLUB OF MINNESOTA ENG GOLF OPERATIC MN PGA TOUR GOLF CO | CORP 100.000 % Yes

160 PGA TOUR BOULEVARE
PONTE VEDRA BEACH, FL 32082
41-£900252

(32)TOURNAMENT PLAYERS CLUB OF NORTH CAROLIN GOLF OPERATIO NC PGA TOUR GOLF C | CORP 100.000 % Yes

100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
€2-1714690

(34) TOURNAMENT PLAYERS CLUB GF CALIFORNIA IN GOLF OPERATIC CA PGA TOUR GOLF f |¢ CORP 100.000 % Yas

100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
$9-3162770

(35)PGA TOUR GLOBAL CONSULTING INC CONSULTING FL PGA TOUR HOLDIN |C CORP 100.000 % ves

100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
XX-XXXXXXX

(36)PGA TOUR PUBLIC GOLF (DADE) INC INACTIVE FL PGA TOUR PUBLIC |C CORP 100.000 % yes

100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 22092
XX-XXXXXXX

{37)PGA TOUR TRAVEL INC TRAVEL ARRANG FL FGA TOUR HOLE IC CORP 100.000 % yes

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100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32092

190,000 %

S9-2643709
(33}PGA TOUR PUBLISHING INC

100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082

INACTIVE

PGA TOUR HOLDIN

CORP

106,000 %

59-34 74939
(335PGA TOUR LICENSED PROPERTIES INC

100 PGA TOUR BOULEVARD
PONTE VEORA BEACH, FL 32082

LICENSING

PGA TOUR HOLDIN

< CORP

XX-XXXXXXX
(40}°GA TOUR MANAGEMENT SERVICES INC

400 FGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32682
XX-XXXXXXX

MANAGEMENT

PGA TOUR HOLOIN

< CORP

Cc CORP

196,000 %

106.000 %

Yes

Yes

(42 }TOUR ALB INC

100 PGA TOUR BOULEVARD
PONTE VEDRA BEACH, FL 32082
XX-XXXXXXX

AIR TRANSPORT

FL

PGA TOUR GOLF C

100.000 %

Yes

(42)SELECT TICKETS INC

100 PGA TOUR BCULEVARD.
PONTE VEDRA BEACH, FL 32082
XX-XXXXXXX

COMMISSION SA.

FL

PGA TOUR HOLOIN

2 CORP

Page 3

Schedule R (Form 990) 2019

Schedule R (Form $90) 2019 Page 3
tv Transactions With Related Organizations. Complete if the organization answered "Yes" on Form 990, Part IV, line 34, 35b, or 36.
Note, Complete line ¢ if any entity is fisted in Parts 11, III, or IV of this schedule. Yes | No
1 During the tax year, did the ergranization engage in any of the following transactions with one or more related organizations listed in Parts I-IV?
a Receipt of (£} interest, Cijjannuities, {iti} royalties, or (iv} rent from a controlled entity . ea a La | ¥es
b Gift, grant, or capital contribution to related organization(s}... 1 ye ek ee 2b] Yes
ce Gift, grant, or capital contribution from related organization{s) . .  « sons . . eee eh le No
d= Loans or joan guarantees to or for related organization(s} .  . . Ba Ad} Yes
a Loans or foan guarantees by related organization(s} . 1 boo hoo sor oe . . le} Yes
f Dividends from related organization(s) . . 1 4 « ao . . oor ee ee if No
g Sate of assets to related organization(s) . oe wee . Bw ig} Yes
h Purchase of assets from related organization(s). . . « «6 4 - aoe . toa a th No
i Exchange of assets with related organization(s), - - ooo aoe na tone ii No
j Lease of facilities, equipment, or other assets to related arganization(s) . soe ee aoe - ~ oe : li No
k Lease of facilities, equipment, or other assets from related organization{s) . . soe oe aoe ee ee aoe * ak } Yes
I Performance of services or membership or fundraising solicitations for related organization(s) .— - es oe oe oe Be il | Yes
m Performance of services or membership or fundraising solicitations by related organization(s} . «+ soe ka soe kek im} Yes
n Sharing of facilities, equipment, mailing lists, or other assets with related organization(s). 1 es soe . ~ oe oe et tn} Yes
a Sharing of paid employees with related organization(s). 1 + . Bk ke to} Yes
p Reimbursement paid to related organization(s) for expenses. . soe oe ks . . ~ oe et ap No
4q Reimbursement paid by related organization(s) for expenses . a oe oe soe oa eo ee iq} Yes
r Other transfer of cash or property to related organization(s). . + = soe oe eee ek ir j Yes
S$ Other transfer of cash or property fram related organization(s) . + ’ ee ke ao. ~ oe is | Yes
2 ifthe answer to any of the above is "Yes," see the instructions for information an who must complete this line, including covered relationships and transaction thresholds,
(ah (hy (c} {a}
Name of related organization Transaction Amount involved Method of determining amount involved
type (ass)
(L)PGA TOUR GOLF COURSE PROPERTIES INC ati} 6,455,439 AFR,
(2)PGA FOUR MEDIS CENTER INC ati} 20,593 AFR
(3)PGA TOUR CONSTRUCTION SERVICES INC afi} 226,882 AFR
(4)PGA TOUR DESIGN SERVICES INC ati} 95,489 AFR
(S)]TOURNAMENT PLAYERS CLUB AT SAWGRASS INC afi} 595,156 AFR,
(6)TOURNAMENT PLAYERS CLUB OF CONNECFICUT INC agi) 688,736 AFP.
{7)TOURMAMENT PLAYERS CLUB AT SOUTHWIND INC ati) 140,079 AFR.
(3) TOURNAMENT PLAYERS CLUB AT SUMMERLIN INC ati) 292,827 AFR
(9) TOURNAMENT PLAYERS CLUB OF CINCINNATI INC ati) 92,760 AFR.
(1O}TOURNAMENT PLAYERS CLUB OF PRINCETON ING ati) 706 AFR,
(LA }TOURNAMENT PLAYERS CLUB AT SUGARLOAF INC ati) 464,205 AFR
(12)TOURNAMENT PLAYERS CLUB OF ILLINGIS INC ati) 126,764 AFR
(13 TOURNAMENT PLAYERS CLUB OF MINNESOTA INC ati) 309,961 JAF.
(14 TOURNAMENT PLAYERS CLUB OF NGRTH CAROLINA INC ati) 59,186 AFR,
(1S TOURNAMENT PLAYERS CLUB OF CALIFORNIA INC ati) 24,469 AFR,
(16}Ga TOUR HOLDINGS INC ati) 108,607 AFR,
(17}°GA TOUR TRAVEL INC att) 94,171 APR
(18)PGA TOUR LICENSED PROPERTIES INC att) 321,961 AFR,
(19 }PGA TOUR MANAGEMENT SERVICES INC att) 2,496 AFR.
atti 173,939 ARMS LENGTH

(20 TOURNAMENT PLAYERS CLUB OF BOSTON AT GREATWOO

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(21 )TOURNAMENT PLAYERS CLUB OF ILLINGIS LLC agi 136,176 ARMS LENGTH
(22)PGA TOUR GOLF COURSE PROPERTIES INC a(ili 8,753,383 [ARMS LENGTH
(23 TOURNAMENT PLAYERS CLUB OF CONNECTICUT INC a(iié 34,500 ARMS LENGTH
(24 }TOURNAMENT PLAYERS CLUB AT AVENEL INC adit LAF. 280 ARMS LENGTH
(25 TOURNAMENT PLAYERS CLUB AF SOUTHWWIND INC atti 35,540 ARMS LENGTH
(26 TOURNAMENT PLAYERS CLUB AT SUMMERUIA INC atiii 62,285 ARMS LENGTH
(27 TOURNAMENT PLAYERS CLUB DF CINCINNATI INC atiii 165,576. ARMS LENGTH
(28)TOURNAMENT PLAYERS CLUB AT SUGARLOAF INC alii 34,165 ARMS LENGTH
(25 )TOURNAMENT PLAYERS CLUB OF MINNESOTA INC aliii 151,756 ARMS LENGTH
(20)PGA TOUR GOLF COURSE PROPERTIES INC ativ) 208,032 ARMS LENGTH
(34)PGA TOUR CONSTRUCTION SERVICES INC ativ) 33,150 ARMS LENGTH
{32)PGA TOUR DESIGN SERVICES INC atly) 33,150 ARMS LENGTH
€33)PGA TOUR CHARITIES INC b 4,425,295 CASH VALUE
{34)PGA TOUR GOLF COURSE PROPERTIES INC a 26,224,761 CASH VALUE
(35)PGA TOUR MEDIA CENTER INC d 1,222,084 CASH VALUE
(36}PGA TOUR CONSTRUCTION SERVICES INC d 1,493,567 CASH VALUE
{37)PGA TOUR DESIGN SERVICES INC d 103,777 CASH VALUE
(38) TOURNAMENT PLAYERS CLUB AY SAWGRASS INC d 3,224,084 CASH VALUE
(38) TOURNAMENT PLAYERS CLUS OF CONNECTICUT INC d 13,677,625 CASH VALUE
{40} TOURNAMENT PLAYERS CLUB AT SQUTHWINDG INC d 3,264,426 CASH VALUE
(42 )TQURNAMENT PLAYERS CLUB AT SUMMERLIN INC a 2,766,732 CASH VALUE
(42]TOURNAMENT PLAYERS CLUB OF CINCINNATT INC ¢ 1,733,835 CASH VALUE
(43)FOURNAMENT PLAYERS CLUS OF PRINCETON INC a 342,835 CASH VALUE
(44 JFOURNAMENT PLAYERS CLUS AT SUGARLOAF INC d 8,280,944 CASH VALUE
(45)TOURNAMENT PLAYERS CLU& OF ILLINOIS INC d 1,892,790 CASH VALUE
(45 )TOURNAMENT PLAYERS CLUS OF MINNESOTA INC d 1,682,469 CASH VALUE
(47) TOURNAMENT PLAYERS CLUB OF NORTH CAROLINA INC d £30,008 CASH VALUE
{48)TOURNAMENT PLAYERS CLUB OF CALIFORMIA INC d 416,895 CASH VALUE
(49)PG4 TOUR HCLDINGS INC d 10,172,014 ‘CASH VALUE
(S0)PGA TOUR TRAVEL INC d 780,214 CASH VALUE
(51)PGA TOUR GOLF COURSE PROPERTIES INC e 67,790,841 CASH VALUE
(52)PGa4 TOUR INVESTMENTS FINANCE INC € 10,946,351 ‘CASH VALUE
(53 }TOUR AIR INC @ 936,906 CASH VALUE
(54)TOURNAMENT PLAYERS CLUB AT AVENEL INC @ 361,480 CASH VALUE
(55 TOURNAMENT PLAYERS CLUB OF SCOTTSDALE INC q 2,746,705 CASH VALUE
(56 TOURNAMENT PLAYERS CLUB GF MASSACHUSETTS INC a 937,696 CASH VALUE
(57 TOURNAMENT PLAYERS CLUB OF MCKINNEY INC @ 909,131 CASH VALUE
(58)PGA TOUR GOLF COURSE PROPERTIES INC 5 3,400,000 ARMS LENGTH
(59 FOURNAMENT PLAYERS CLUB AT SAWGRASS INC k §,947,403 ARMS LENGTH
(60 TOURNAMENT PLAYERS CLUB OF LOUISIANA INC k 760,000 ARMS LENGTH
(61)PGA TOUR GOLF COURSE PROPERTIES INC I 6,738,007 ARMS LENGTH
(62 TOURNAMENT PLAYERS CLUB OF BOSTON AT GREATWOO m 77,244 ARMS LENGTH
(63)PGA TOUR GOLF COURSE PROPERTIES INC m 6,813,577 ARMS LENGTH
(64) TOUR AIR INC m 3,771,590 ARMS LENGTH
(65) TOURNAMENT PLAYERS CLUB AT SAWGRASS INC m 4,419,027 ARMS LENGTH
(66) TOURNAMENT PLAYERS CLUB OF CONNECTICUT INC m 165,393 ARMS LENGTH
(67)TOURNAMENT PLAYERS CLUB AT AVENEL INC m 71,949 ARMS LENGTH
(6B)TOURNAMENT PLAYERS CLUB OF SCOTTSDALE INC m 1k3,952 ARMS LENGTH
{69) TOURNAMENT PLAYERS CLUS AT SGUTHWIND INC m 328,765 ARMS LENGTH
[FO)TOURNAMENT PLAYERS CLUB OF PRINCETON INC m 121,269 ARMS LENGTH
{7A)PGA TOUR HOLDINGS INC fm 3,334,487 ARMS LENGTH
{72}PGA TOUR TRAVEL INC m 497,736 ARMS LENGTH
{73)PGA TOUR GOLF COURSE PROPERTIES INC 4 1,076,534 cost
{74)PGA TOUR GOLF COURSE PROPERTIES INC Tr 786,263 CASH VALUE
{75)PGA TOUR INVESTMENTS FINANCE INC r 2,289,607 CASH VALUE
{7G)PARK INVESTMENTS ING tr 131,436 CASH VALUE
{77)TOURNAMENT PLAYERS CLUB AT AVENEL INC t 114,755 CASH VALUE

> T34 4en ace ratte

Tare NTR IRI ARAGAPT RF APA PIES AE EAT TRI

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PGA TOUR INC - Full Filing- Nonprofit Exptorer - ProPublica

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(FOP FUURINAPIER  PLATERS (OUD Ur OUU TT SLALE 28k e ae kro aor VALUE
{79)TOURNAMENT PLAYERS CLUB OF LOUISIANA INC r 1,502,996 CASH VALUE
{a0 TOURNAMENT PLAYERS CLUB OF MASSACHUSETTS INC r 274,257 CASH VALUE
(S21 TOURNAMENT PLAYERS CLUB OF PRINCETON INC r 129,969 CASH VALUE
(82)PGa TOUR HOLDINGS INC v 1,346,725 CASH VALUE
(@3)SELECT TICKETS v BAG, FLL CASH VALUE
(84)GOLF COURSE PROPERTIES INC s 73,597 CASH VALUE
(45)TOURNAMENT PLAVERS CLUB AT SUMMERLIN INC & 90,032 CASH VALUE
(46)PGA TOUR LICENSED PROPERTIES INC s 1,883,522 CASH VALUE
(37)PGA TOUR GLOBAL CONSULTING ING s 285,480 CASH VALUE

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ut

Unrelated Organizations Taxable as a Partnership. Complete if the organization answered "Yes" on Form 990, Part IV, fine 37.

Provide the fofowing information for each entity taxed as a partnership through which the organization conducted more than five percent of its activities (measured by total assets or gross revenue) that
was not a related organization. Sea instructions regarding exclusion for certain investment partnerships.

(a)
Name, address, and EIN of entiny

(b}
Primary activity

tc)
Legal
domicile
(state or
forelgn
coUntey)

(a)
Predominant
tincame
(related,
unrelated,
excluded fram
tax under
soctions Si2-
514)

fe)

Are all partners

section
501(eK(3)

organizations?

NO

(f)
Share of
total
Income

(9) (h)
Share of Disproprtignate
end-of-year allocatians?
assats
Yes No

qiy 7? {k)
Code V-UBI General or Percentage
arount in box! Managing ownership
20 partner?
of Schedule
KL
(Porm 1065}
¥es No

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Park VIF Supplemental Information

Provide additional information for responses to questions on Schedule R. (see instructions).

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Explanation

Additional Data

Software ID:
Software Version:

https://projects.propublica. org/nonprofits/organizations/520999206/2020232 1934930977 7full

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